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                           Exhibit A

                    Note Purchase Agreement
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                                                                   Execution Version




                  NOTE PURCHASE AGREEMENT



                        dated as of August 4, 2020



                                 among



                            PROTERRA INC
                             as the Company

                                   and


THE SUBSIDIARIES OF THE COMPANY FROM TIME TO TIME PARTY HERETO
                          as the Guarantors

                                   and


        THE INVESTORS FROM TIME TO TIME PARTY HERETO
                         as the Investors

                                   and


                              CSI GP I LLC
                         as the Collateral Agent
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                                  NOTE PURCHASE AGREEMENT

         This Note Purchase Agreement (this “Agreement”) is made as of August 4, 2020, by and among
Proterra Inc, a Delaware corporation (the “Company”), each Subsidiary (as defined below) of the Company
identified on the signature pages hereof or otherwise joined from time to time hereto as a guarantor (such
Subsidiaries are referred to hereinafter each individually as a “Guarantor” and collectively as the
“Guarantors”), and the parties that are party hereto from time to time as Investors (as defined below) and
CSI GP I LLC, a Delaware limited liability company, as collateral agent (in such capacity, the “Collateral
Agent”).

        WHEREAS, (a) the Company currently requires funds to provide working capital to continue
operations and for general corporate purposes of the Company and (b) the Investors are willing to advance
funds to the Company for such purposes in exchange for the issuance to them of certain senior secured
convertible promissory notes evidencing, among other things, the Company’s obligation to repay such
advanced funds as provided in this Agreement and the other Financing Documents (as defined below).

         WHEREAS The Company has obtained all consents, waivers and approvals from all third parties,
including all stockholders of the Company as of the date of Initial Closing, required under any contract or
provision of applicable law, including under the Company’s Restated Certificate and bylaws, any purchase
option, call option, right of first refusal, preemptive right, subscription right or any similar right, in
connection with the issuance of the Notes or the Warrants or the performance of the terms thereof or the
consummation of the transactions contemplated thereby, including the conversion and/or exercise in full
thereof and the issuance of any Conversion Stock or other securities pursuant to the terms thereof (including
the issuance of shares of Common Stock upon the conversion of any Conversion Stock that are Preferred
Stock).

        NOW THEREFORE, the parties hereby agree as follows.

        1.      PURCHASE AND SALE OF NOTES AND WARRANTS.

                 1.1    Note Purchase. Subject to the terms and conditions of this Agreement, the
Company agrees to sell to each Investor, and each Investor severally agrees to purchase from the Company,
one or more Secured Convertible Promissory Notes in the form attached to this Agreement as Exhibit A
(each individually a “Note” and collectively the “Notes”) in the principal amount set forth opposite such
Investor’s name on Schedule A. Each Note will be secured on the terms set forth herein, in each Note and
the Security Agreement and the other Security Documents. The following are collectively referred to as
the “Financing Documents”: (a) this Agreement, (b) the Notes, (c) the Security Agreement, (d) any other
Security Document, (e) the Intercreditor Agreement, (f) the Warrants, and (g) any document entered into
or executed in connection with, or for the purpose of amending, any of the documents referred to in clauses
(a) through (g) above.

                1.2      Warrant Issuance.

                         (a)      At the Initial Closing, the Company shall sell and issue to each Investor
purchasing a Note at the Initial Closing, a warrant (each a “Warrant,” and, together with the Warrants
issued pursuant to Section 1.2(b), collectively the “Warrants”) to purchase shares of Common Stock (or if
applicable pursuant to the terms of the Warrant, Preferred Stock) (the “Warrant Stock”) at an exercise price
equal to $0.01 per share, on the form of Warrant Agreement attached as Exhibit B. Each Warrant issued
hereunder shall be exercisable into that number of Warrant Stock that is equal to (i) the Aggregate Warrant
Coverage (as determined immediately following the Initial Closing), multiplied by (ii) a fraction the
numerator of which is the total principal amount of the Note purchased by such Investor pursuant to this

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Agreement at the Initial Closing, and the denominator of which is the Existing Principal Amount (as
determined immediately following the Initial Closing), rounded down to the nearest whole share.

                        (b)      At each Additional Closing, the Company shall sell and issue to each
Investor purchasing a Note at such Additional Closing, a Warrant. Each Warrant issued hereunder shall be
exercisable into that number of Warrant Stock that is equal to (i) the Aggregate Warrant Coverage (as
determined immediately following the applicable Additional Closing), multiplied by (ii) a fraction the
numerator of which is the total principal amount (excluding any increase thereto for PIK interest) of the
Note purchased by such Investor pursuant to this Agreement at such Additional Closing, and the
denominator of which is the Existing Principal Amount (as determined immediately following the
applicable Additional Closing), rounded down to the nearest whole share.

                         (c)     Immediately following the Second Period, the Company shall sell and
issue to each Investor a Warrant exercisable into that number of Warrant Stock that is equal to (x) (i) the
Aggregate Warrant Coverage (as determined immediately following the Second Period), multiplied by (ii)
a fraction the numerator of which is the total principal amount (excluding any increase thereto for PIK
interest) of the Notes purchased by such Investor pursuant to this Agreement (as determined immediately
following the Second Period), and the denominator of which is the Existing Principal Amount (as
determined immediately following the Second Period), less (y) such Investor’s Accumulated Warrant Stock
(as determined immediately following the Second Period), rounded down to the nearest whole share.

        2.      CLOSING AND USE OF PROCEEDS.

                 2.1      The Initial Closing. The initial purchase and sale of the Notes will take place on
the date of this Agreement remotely via the exchange of documents and signatures, or at such other place
as the Company and the Cowen Initial Investors (as defined below) mutually agree upon (the “Initial
Closing” and together with any Additional Closing (as defined below), each a “Closing” and, collectively,
the “Closings”). At the Initial Closing, each Investor purchasing Notes at the Initial Closing will deliver to
the Company as payment in full for the Note to be purchased by such Investor at the Initial Closing, the
amount set forth opposite such Investor’s name on Schedule A, by wire transfer of funds to the Company;
provided that (a) at the Initial Closing the Cowen Initial Investors shall purchase a Note in the aggregate
principal amount of $100,000,000 and (b) the Additional Investors (as defined below) may, but would not
be obligated to, purchase Notes in the aggregate principal amount of up to $50,000,000 (that amount in (b)
being the “Initial Other Amount”). At the Initial Closing, the Company will deliver to each Investor
purchasing Notes at the Initial Closing a duly executed Note in the principal amount set forth opposite such
Investor’s name on Schedule A.

                2.2      Additional Closing(s).

                        (a)      First Additional Period. Subject to the terms and conditions of this
Agreement, at any time and from time to time during the thirty (30) days immediately following the Initial
Closing (such period, the “First Period”):

                                  (i)    the Company may at one or more Closings, without obtaining the
signature, consent or permission of any of the Investors, offer and sell to any Initial Closing Date Holders
or other Persons mutually acceptable to the Company and the Collateral Agent (such acceptance not to be
unreasonably withheld) (the “Additional Investors”) Notes pursuant to this Agreement, on the same terms
and conditions set forth in this Agreement, having an aggregate principal amount equal to the Initial Other
Amount, minus the aggregate principal amount (excluding any increase thereto for PIK interest) of all Notes
sold hereunder to Additional Investors at any prior Closing; and


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                                (ii)    the Cowen Parties may elect to purchase an additional Note or
Notes pursuant to this Agreement, on the terms and conditions of this Agreement, having an aggregate
principal amount of up to $50,000,000 (the “Additional CSI Amount”) at one or more additional Closings.

Each Closing during the First Period shall take place at such locations and at such times as shall be mutually
agreed upon in writing by the Company and the Investors purchasing such Notes. The First Period shall
automatically terminate upon (x) the completion of the sale of the full Initial Other Amount and the
Additional CSI Amount or (y) mutual agreement of the Collateral Agent and the Company.

                         (b)     Second Additional Period. Subject to the terms and conditions of this
Agreement, at any time and from time to time during the fifteen (15) day period immediately following the
expiry of the First Period (the “Second Period”), the Company may, at one or more additional Closings,
without obtaining the signature, consent or permission of any of the Investors, offer and sell to any
Additional Investors Notes pursuant to this Agreement, on the same terms and conditions set forth in this
Agreement, having an aggregate principal amount (excluding any increase thereto for PIK interest) up to
the sum of (i) $100,000,000 minus (ii) the aggregate principal amount (excluding any increase thereto for
PIK interest) of the Notes sold to Additional Investors at any prior Closings minus (iii) the aggregate
principal amount (excluding any increase thereto for PIK interest) of Notes sold to any Cowen Party during
the First Period. Each Closing during the Second Period shall take place at such locations and at such times
as shall be mutually agreed upon in writing by the Company and the Additional Investors purchasing such
Notes. The Second Period shall automatically terminate upon (x) the completion of the sale of the
maximum amount of Notes purchasable during the Second Period or (y) irrevocable written notice by the
Company to the Collateral Agent of such termination.

                         (c)     Amendments; Status of Investors. The Company and each Additional
Investor purchasing one or more Notes at an Additional Closing, will execute counterpart signature pages
to this Agreement and to each other agreement required to be executed and delivered by Investors at the
Initial Closing as a condition under Section 6.1, and each such Person will, upon delivery by such Person
to the Company of such signature pages, and the payment by such Person to the Company of the principal
amount of the Note(s) purchased by such Additional Investor at such Additional Closing, become a party
to, and bound by, this Agreement as an Investor to the same extent as if such Person had been an Investor
at the Initial Closing and be deemed to be an “Investor” for all purposes of this Agreement and the other
Financing Documents. The obligation of the Company to sell and issue Notes to Additional Investors at
each Additional Closing, and the obligation of each such Person at each Additional Closing, to purchase
any Note, shall each be subject to satisfaction of the applicable conditions set forth in Section 6.
Immediately after each Additional Closing, the Schedule of Investors attached to this Agreement as
Schedule A will be amended to add to Schedule A the names of the Investors purchasing Notes at such
Additional Closing as “Investors” hereunder and to set forth the principal amount of each Note purchased
by each Investor under this Agreement at such Additional Closing. The Company will promptly furnish to
each Investor upon request, a copy of Schedule A as amended to the date of such request.

                  2.3     Use of Proceeds. The Company covenants and agrees that it shall use the proceeds
of the sale of the Notes (i) substantially concurrent with the Initial Closing (and in any event on the date of
Initial Closing), to repay in full in cash the outstanding Debt of the Company under that certain Amended
and Restated Loan and Security Agreement, dated as of October 31, 2017, between the Company and
Hercules Capital, Inc., as amended, including by that certain Amendment No. 1 to Amended and Restated
Loan and Security Agreement, dated as of May 8, 2019 (as so amended, the “Hercules Facility”), and (ii)
thereafter, for working capital and general corporate purposes of the Company and its Subsidiaries.




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        3.     DEFINED TERMS USED IN THIS AGREEMENT. In addition to any additional terms
defined above or below this Section 3, the following terms used in this Agreement shall be construed to
have the meanings set forth or referenced below.

        “Accumulated Warrant Stock” means, in respect of an Investor, the total number of Warrant Stock
issuable upon exercise of all Warrants issued to that Investor under Sections 1.2(a) and 1.2(b).

         “Acquisition” means a transaction or series of transactions resulting in (a) acquisition of a
business, division or substantially all assets of a Person; (b) record or beneficial ownership of 50% or more
of the Equity Interests of a Person; or (c) merger, consolidation or combination of the Company or a
Subsidiary with another Person.

        “Additional Closing” means each closing following the Initial Closing.

       “Affiliate” means with respect to a specified Person, any other Person that directly, or indirectly
through intermediaries, Controls, is Controlled by or is under common Control with the specified Person.

        “Aggregate Warrant Coverage” means, as of any date of determination, (i) 159,752,771 shares,
multiplied by (ii) 3.2%, multiplied by (iii) the Existing Principal Amount, and divided by (iv)
$200,000,000.00.

        “Applicable Law” means all laws, rules, regulations and governmental guidelines applicable to the
Person or matter in question, including statutory law, common law and equitable principles, as well as
provisions of constitutions, treaties, statutes, rules, regulations, orders and decrees of Governmental
Authorities.

        “Asset Disposition” means a sale, lease, license, consignment, transfer or other disposition of
property of an Obligor, including any disposition by Division, in connection with a sale-leaseback
transaction or synthetic lease or otherwise.

      “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable
EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing Article 55
of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
implementing law for such EEA Member Country from time to time that is described in the EU Bail-In
Legislation Schedule.

        “Bank Product” means “Bank Products” as such term is defined in the Senior Loan Agreement.

        “Board” means the Board of Directors of the Company.

         “Borrowed Money” of any Obligor means, without duplication, (a) Debt that (i) arises from the
lending of money by any Person to such Obligor, (ii) is evidenced by notes, drafts, bonds, debentures, credit
documents or similar instruments, (iii) accrues interest or is a type upon which interest charges are
customarily paid (excluding trade payables owing in the Ordinary Course of Business), or (iv) was issued
or assumed as full or partial payment for property or assets; (b) Capital Lease Obligations; (c) letter of
credit reimbursement obligations; and (d) guaranties of any of the foregoing owing by another Person.

        “Business Day” means a weekday on which banks are open for general banking business in San
Francisco, California.

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         “Capital Lease Obligations” means, as to any Person, the obligations of such Person to pay rent or
other amounts under a lease of (or other agreement conveying the right to use) real and/or personal property
or assets which obligations are required to be classified and accounted for as a capital lease on a balance
sheet of such Person under GAAP (or after ASU No. 2016-02, Leases (Topic 842) applies to the Company,
a finance lease) and, for purposes of this Agreement, the amount of such obligations shall be the capitalized
amount thereof, determined in accordance with GAAP.

        “Cash Burn” means, as of the last day of each month (each a “Test Date”), an amount equal to (a)
the Unrestricted cash and Cash Equivalents of the Company and its Subsidiaries on the last day of the
immediately preceding month, minus (b) an amount equal to the Unrestricted cash and Cash Equivalents
of the Company and its Subsidiaries on such Test Date, in each case excluding in the determination thereof
any increase in such Unrestricted cash and Cash Equivalents resulting from the incurrence of any Debt or
other borrowings of Borrowed Money and proceeds from the sale or other issuance of any Equity Interests.

         “Cash Equivalents” means (a) marketable obligations issued or unconditionally guaranteed by,
and backed by the full faith and credit of, the U.S. government, maturing within 12 months of the date of
acquisition, (b) certificates of deposit, time deposits and bankers’ acceptances maturing within 12 months
of the date of acquisition, and overnight bank deposits, in each case which are issued by Bank of America
or a commercial bank organized under the laws of the United States or any state or district thereof, rated A-
1 (or better) by S&P or P-1 (or better) by Moody’s at the time of acquisition, and (unless issued by a lender
under the Senior Loan Agreement) not subject to offset rights, (c) repurchase obligations with a term of not
more than 30 days for underlying investments of the types described in clauses (a) and (b) entered into with
any bank described in clause (b), (d) commercial paper issued rated A-1 (or better) by S&P or P-1 (or better)
by Moody’s, and maturing within twelve months of the date of acquisition, (e) shares of any money market
fund that has substantially all of its assets invested continuously in the types of investments referred to
above, has net assets of at least $500,000,000 and has the highest rating obtainable from either Moody’s or
S&P, and (f) investments permitted pursuant to the Company’s investment policy as approved by the board
of directors (or committee thereof) of the Company and (i) provided to the Investors prior to the Initial
Closing or (ii) subsequently approved by the Required Holders.

        “CEC Agreements” means (i) the grant award from the California Energy Commission, dated July
24, 2019, and the related schedules and exhibits thereto, including, without limitation, the Alternative and
Renewable Fuel and Vehicle Technology Program Terms and Conditions and (ii) similar grant awards
received by the Company from the California Energy Commission after the date hereof.

       “CERCLA” means the Comprehensive Environmental Response Compensation and Liability Act
(42 U.S.C. §§ 9601 et seq.).

         “Claims” means all claims, liabilities, obligations, losses, damages, penalties, judgments,
proceedings, interest, costs and expenses of any kind (including remedial response costs, reasonable
attorneys’ fees and Extraordinary Expenses) at any time (including after the full and indefeasible cash
payment (including any interest, fees and other charges accruing during an Insolvency Proceeding (whether
or not allowed in the proceeding)) of the Obligations or replacement of the Collateral Agent or any Investor)
incurred by any Indemnitee or asserted against any Indemnitee by any Obligor or other Person, in any way
relating to (a) any Notes, Financing Documents, information and documents delivered by the Obligors
thereunder or the use thereof or transactions relating thereto, (b) any action taken or omitted in connection
with any Financing Documents, (c) the existence or perfection of any Liens, or realization upon any
Collateral, (d) exercise of any rights or remedies under any Financing Documents or Applicable Law, or
(e) failure by any Obligor to perform or observe any terms of any Financing Document, in each case
including all costs and expenses relating to any investigation, litigation, arbitration or other proceeding


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(including an Insolvency Proceeding or appellate proceedings), whether or not the applicable Indemnitee
is a party thereto.

        “Collateral” is defined in the Security Agreement.

        “Collateral Agent” is defined in the preamble to this Agreement.

        “Common Stock” means the Common Stock of the Company, $0.0001 par value per share.

        “Company Covered Person” means, with respect to the Company as an “issuer” for purposes of
Rule 506 promulgated under the Securities Act, any Person listed in the first paragraph of Rule 506(d)(1).

        “Company Intellectual Property” means Intellectual Property that is owned or purported to be
        owned by the Company or any of its Subsidiaries.

        “Company Registered IP” has the meaning given to that term in Section 4.10(i).

        “Company Software” is defined in Section 4.10(h).

         “Competitor” means any of the Persons listed on Schedule C hereto. The Company shall be
entitled to update such list at the end of each fiscal quarter to include Persons which, individually or together
with any of their Affiliates, directly and materially compete with the Company’s business of selling electric
vehicles, and/or batteries or battery systems, and/or charging infrastructure; provided that if a merger,
acquisition or other similar business combination transaction occurs after the end of the Company’s most
recent fiscal quarter, and the Board determines reasonably and in good faith that the resulting entity,
individually or together with any of its Affiliates, directly and materially competes with the Company’s
business of selling electric vehicles, and/or batteries or battery systems, and/or charging infrastructure and
related services, then the Board may update Schedule C prior to the end of the then-current fiscal quarter to
include such resulting entity and/or Affiliates, as applicable, as a Competitor. In addition, any operating
company that a transferring Holder knows (or should reasonably know) derived more than one hundred
million Dollars ($100,000,000) in annual revenue from electric vehicle sales, and/or batteries or battery
systems, and/or charging infrastructure and related services, as reported in such operating company’s most
recently concluded fiscal year, shall be deemed to be a Competitor. Notwithstanding anything in this
definition or Schedule C to the contrary, a Person that holds an equity interest in, or otherwise invests in or
controls, a Competitor but does not itself directly and materially compete with the Company’s business
shall not be deemed to be a Competitor.

       “Compliance Certificate” means a certificate, in substantially the form set forth as Exhibit F or
otherwise in form and substance reasonably satisfactory to the Collateral Agent.

        “Contingent Obligation” means any obligation of a Person arising from a guaranty, indemnity or
other assurance of payment or performance of any Debt, lease, dividend or other obligation (“primary
obligations”) of another obligor (“primary obligor”) in any manner, whether directly or indirectly,
including any obligation of such Person under any (a) guaranty, endorsement, co-making or sale with
recourse of an obligation of a primary obligor; (b) obligation to make take-or-pay or similar payments if
required regardless of nonperformance by any other party to the applicable agreement giving rise to such
obligation; and (c) arrangement (i) to purchase any primary obligation or security therefor, (ii) to supply
funds for the purchase or payment of any primary obligation, (iii) to maintain or assure working capital,
equity capital, net worth or solvency of the primary obligor, (iv) to purchase property or services for the
purpose of assuring the ability of the primary obligor to perform a primary obligation, or (v) otherwise to
assure or hold harmless the holder of any primary obligation against loss in respect thereof. The amount of

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any Contingent Obligation shall be deemed to be the stated or determinable amount of the primary
obligation (or, if less, the maximum amount for which such Person may be liable under the instrument
evidencing the Contingent Obligation) or, if not stated or determinable, the maximum reasonably
anticipated liability with respect thereto; provided that (A) the amount of any take-or-pay or similar
payment shall be the projected payment due for the applicable period based on such Person’s pro forma
satisfaction of the underlying obligation and (B) the amount of any repurchase obligation shall be the
projected payment due for the applicable period.

        “Control” means possession, directly or indirectly, of the power to direct or cause direction of a
Person’s management or policies, whether through the ability to exercise voting power, by contract or
otherwise. For purposes of this definition, the terms “controlling,” “controlled by,” or “under common
control with” shall have the corresponding meaning.

       “Conversion Stock” means shares of the Company’s Common Stock or Preferred Stock issuable
upon conversion of the Notes.

     “Convertible Debt” means Debt of the Company or any of its Subsidiaries that is convertible into
common stock of the Company or any of its Subsidiaries (and cash in lieu of fractional shares).

        “Cowen Initial Investor” means each Person listed on Schedule A under the title “Cowen Investor”.

        “Cowen Investor” means, on any date of determination, each Cowen Party if such Person is an
Investor on such date of determination.

         “Cowen Party” means (a) any Cowen Initial Investor, (b) any Affiliate of any Cowen Initial
Investor, (c) any separate account, fund or other investment vehicle or other Person managed and/or advised
by Cowen Investment Management LLC and any of its Affiliates and (d) any Person to whom any Cowen
Party makes a disposition of all or any portion of the Securities pursuant to clauses (i)(A), (i)(C) or (i)(D)
of the final paragraph in Section 5.8 and in accordance with the terms hereunder and any of its Affiliates.

        “CWA” means the Clean Water Act (33 U.S.C. §§1251 et seq.).

        “Debt” means, as applied to any Person, without duplication, (a) all items that would be included
as liabilities on a balance sheet in accordance with GAAP, including Capital Lease Obligations, but
excluding trade payables incurred and being paid in the Ordinary Course of Business, (b) all Contingent
Obligations, (c) all reimbursement obligations in connection with letters of credit issued for the account of
such Person and (d) in the case of the Company and its Subsidiaries, the Obligations and the Senior Bank
Debt. The Debt of a Person shall include any recourse Debt of any partnership in which such Person is a
general partner or joint venturer.

         “Debtor Relief Laws” means the Title 11 of the United States Code (11 U.S.C. §101 et seq.) and
all other liquidation, conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium,
rearrangement, receivership, insolvency, reorganization, or similar debtor relief laws of the United States
or other applicable jurisdictions from time to time in effect and, in each case, affecting the rights of creditors
generally.

        “Default” means an event or condition that, with the lapse of time or giving of notice, would
constitute an Event of Default.

        “Designated Jurisdiction” means a country or territory that is the target of a Sanction.


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        “Disclosure Schedule” means Schedule B to this Agreement.

         “Distribution” means, with respect to any Person, any declaration or payment of a distribution,
interest or dividend on any Equity Interest of such Person; any distribution, advance or repayment of any
Subordinated Debt of such Person or Debt owed to any holder of Equity Interests of such Person; or
purchase, redemption, or other acquisition or retirement for value of any such Equity Interest or Debt.

         “Division” means the creation of one or more new limited liability companies by means of any
statutory division of a limited liability company pursuant to any applicable limited liability company act or
similar statue of any jurisdiction. “Divide” shall have the corresponding meaning.

       “EBITDA” has the meaning specified in the Senior Loan Agreement as amended, restated,
modified or replaced from time to time.

         “EEA Financial Institution” means (a) any credit institution or investment firm established in an
EEA Member Country that is subject to the supervision of an EEA Resolution Authority; (b) any entity
established in an EEA Member Country that is a parent of an institution described in clause (a) above; or
(c) any financial institution established in an EEA Member Country that is a subsidiary of an institution
described in the foregoing clauses and is subject to consolidated supervision with its parent.

        “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein and Norway.

        “EEA Resolution Authority” means any public administrative authority or any Person entrusted
with public administrative authority of an EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

         “Enforcement Action” means any action to enforce any Obligations or Financing Documents or to
exercise any rights or remedies relating to any Collateral, whether by judicial action, self-help, notification
of Account Debtors (as defined in the UCC), setoff or recoupment, credit bid, deed in lieu of foreclosure,
action in an Insolvency Proceeding or otherwise.

       “Environmental Laws” means Applicable Laws (including programs, permits and guidance
promulgated by regulators) relating to public health (other than occupational safety and health regulated by
OSHA) or the protection or pollution of the environment, including CERCLA, RCRA and CWA.

         “Environmental Notice” means a notice (whether written or oral) from any Governmental
Authority or other Person of any possible noncompliance with, investigation of a possible violation of,
litigation relating to, or potential fine or liability under any Environmental Law, or with respect to any
Environmental Release, environmental pollution or hazardous materials, including any complaint,
summons, citation, order, claim, demand or request for correction, remediation or otherwise.

       “Environmental Release” means a release as defined in CERCLA or under any other
Environmental Law.

         “Equity Interest” means the interest of any (a) shareholder in a corporation; (b) partner in a
partnership (whether general, limited, limited liability or joint venture); (c) member in a limited liability
company; or (d) other Person having any other form of equity security or ownership interest, including any
securities or other instruments that are (i) convertible, exchangeable or exercisable into any form of equity
security or ownership interest; or (ii) give the holder any other right or option to acquire any form of equity
security or ownership interest.

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        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

         “ERISA Affiliate” means any trade or business (whether or not incorporated) under common
control with an Obligor within the meaning of Section 414(b) or (c) of the Code (and Sections 414(m) and
(o) of the Code for purposes of provisions relating to Section 412 of the Code).

          “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) withdrawal of an
Obligor or ERISA Affiliate from a Pension Plan subject to Section 4063 of ERISA during a plan year in
which it was a substantial employer (as defined in Section 4001(a)(2) of ERISA) or a cessation of operations
that is treated as such a withdrawal under Section 4062(e) of ERISA; (c) complete or partial withdrawal of
an Obligor or ERISA Affiliate from a Multiemployer Plan or notification that a Multiemployer Plan is in
reorganization; (d) filing of a notice of intent to terminate, treatment of a Pension Plan amendment as a
termination under Section 4041 or 4041A of ERISA, or institution of proceedings by the PBGC to terminate
a Pension Plan; (e) determination that a Pension Plan is considered an at-risk plan or a plan in critical or
endangered status under the Code or ERISA; (f) an event or condition that constitutes grounds under Section
4042 of ERISA for termination of, or appointment of a trustee to administer, any Pension Plan; (g)
imposition of any liability on an Obligor or ERISA Affiliate under Title IV of ERISA, other than for PBGC
premiums due but not delinquent under Section 4007 of ERISA; or (h) failure by an Obligor or ERISA
Affiliate to meet all applicable requirements under the Pension Funding Rules in respect of a Pension Plan,
whether or not waived, or to make a required contribution to a Multiemployer Plan.

      “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the
Loan Market Association (or any successor person), as in effect from time to time.

        “Event of Default” means the occurrence of any of the following events:

                (a)    The Company fails to make (i) any payment of principal when due under any Note
        on the applicable due date, or (ii) any other payment when due under any Note or any other
        Financing Document on the applicable due date and does not make such payment within five (5)
        Business Days of such due date;

                (b)     Any representation, warranty or other written statement of an Obligor made in
        connection with any Financing Documents or transactions contemplated thereby is incorrect or
        misleading in any material respect when given;

                (c)      The Company breaches or fails to perform any covenant contained in Section
        7.1(a), Section 7.1(b), Section 7.1(g), Section 7.1(k), Section 7.2, or any covenant of any Security
        Document;

               (d)      The Company breaches or fails to perform any other covenant contained in any
        Financing Documents, and such breach or failure is not cured within 15 days after the earlier of (i)
        a Senior Officer of such Obligor has knowledge thereof and (ii) receipt by the Company or any
        other Obligor of notice thereof from the Collateral Agent or any Investor; provided that such notice
        and opportunity to cure shall not apply if the breach or failure to perform is not capable of being
        cured within such period or is a willful breach by any Obligor;

                (e)      A Guarantor repudiates, revokes or attempts to revoke its Guaranty; an Obligor or
        third party denies or contests the validity or enforceability of any Financing Documents or
        Obligations, or the perfection or priority of any Lien with respect to the Collateral; or any Financing
        Document ceases to be in full force or effect for any reason (other than a waiver or release in
        accordance with the terms of this Agreement);

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         (f)      Any breach or default by the Company or any other Obligor occurs under (i) any
Hedging Agreement; (ii) the Senior Loan Agreement or (iii) any instrument or agreement to which
it is a party or by which it or any of its properties is bound, relating to any Debt (other than the
Obligations) in excess of $5,000,000, if the maturity of or any payment with respect to such Debt
may be accelerated or demanded due to such breach; provided that if such breach or default under
such Hedging Agreement, Senior Loan Agreement or other instrument or agreement related to a
breach or default under a financial covenant the Company shall notify the Investors immediately
in writing and if such breach or default is cured or waived under the applicable agreement and the
Company notifies the Investors of such cure or waiver immediately following its occurrence and
provides evidence reasonably satisfactory to the Investors of the same, the Event of Default arising
therefrom shall automatically be cured and such breach or default shall not be an Event of Default
hereunder, unless, prior to such cure or waiver, all or any part of the Obligations has become due
and payable in accordance with Section 8.

         (g)     (i) Nonmonetary judgments that could reasonably be expected to have a Material
Adverse Effect or (ii) any judgment or order for the payment of money is entered against an Obligor
in an amount that exceeds, individually or cumulatively with all unsatisfied judgments or orders
against the Company, $5,000,000 (net of insurance coverage therefor that has not been denied by
the insurer), in each case which judgment is not stayed, released or discharged within sixty (60)
days after the entry, issuance or commencement thereof;

       (h)     A loss, theft, damage or destruction occurs with respect to any Collateral if the
amount not covered by insurance exceeds $5,000,000;

        (i)     The Company or any other Obligor is enjoined, restrained or in any way prevented
by any Governmental Authority from conducting any material part of its business; the Company or
any other Obligor suffers the loss, revocation or termination of any material license, permit, lease
or agreement necessary to its business; there is a cessation of any material part of the Company’s
or such other Obligor’s business for a material period of time; any material Collateral or property
of the Company or such Obligor is taken or impaired through condemnation; the Company or any
other Obligor agrees to or commences any liquidation, dissolution or winding up of its affairs; or
the Company is not Solvent;

        (j)      An Insolvency Proceeding is commenced by the Company or any other Obligor;
the Company or any other Obligor makes an offer of settlement, extension or composition to its
unsecured creditors generally; a trustee is appointed to take possession of any substantial property
of or to operate any of the business of the Company or such other Obligor; or an Insolvency
Proceeding is commenced against the Company or any other Obligor and the Company or such
other Obligor consents to institution of the proceeding, the petition commencing the proceeding is
not timely contested by the Company or such other Obligor, the petition is not dismissed within 30
days after filing, or an order for relief is entered in the proceeding;

         (k)     An ERISA Event occurs with respect to a Pension Plan or Multiemployer Plan that
has resulted or could reasonably be expected to result in liability of the Company or any other
Obligor to a Pension Plan, Multiemployer Plan or PBGC, or that constitutes grounds for
appointment of a trustee for or termination by the PBGC of any Pension Plan or Multiemployer
Plan; the Company or ERISA Affiliate fails to pay when due any installment payment with respect
to its withdrawal liability under Section 4201 of ERISA under a Multiemployer Plan; or any event
similar to the foregoing occurs or exists with respect to a Foreign Plan; and



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                (l)     the Company, any other Obligor or any of their Senior Officers is criminally
        indicted or convicted for (i) a felony committed in the conduct of the Company’s business, or (ii)
        violating any state or federal law (including the Controlled Substances Act, Money Laundering
        Control Act of 1986 and Illegal Exportation of War Materials Act) that could lead to forfeiture of
        any material property or any Collateral.

        “Excluded Equity Interests” is defined in the Security Agreement.

         “Excluded Subsidiary” means (a) each Immaterial Subsidiary, and (b) (i) any Subsidiary that
is a “controlled foreign corporation” within the meaning of Section 957 of the Code (a “CFC”), (ii) any
Subsidiary that owns no material assets other than the Equity Interests or indebtedness of one or more CFCs
and/or one or more CFCHCs (a “CFCHC”) and (iii) any direct or indirect Subsidiary of any CFC or
CFCHC; provided, however that, notwithstanding the foregoing, no Obligor shall be an Excluded
Subsidiary.

          “Existing Principal Amount” means, at any date of determination, the aggregate principal amount
of the Notes purchased by all Investors pursuant to this Agreement excluding any increase thereto for PIK
interest.



         “Extraordinary Expenses” means all costs, expenses or advances that a Secured Party may incur
during a Default or Event of Default, or during the pendency of an Insolvency Proceeding of an Obligor,
including those relating to (a) any audit, inspection, repossession, storage, repair, appraisal, insurance,
manufacture, preparation or advertising for sale, sale, collection, or other preservation of or realization upon
any Collateral; (b) any action, arbitration or other proceeding (whether instituted by or against the Collateral
Agent, any Investor, any Obligor, any representative of creditors of an Obligor or any other Person) in any
way relating to any Collateral (including the validity, perfection, priority or avoidability of the Collateral
Agent’s Liens with respect to any Collateral), Financing Documents or Obligations, including any lender
liability or other Claims; (c) the exercise of any rights or remedies of Secured Parties in, or the monitoring
of, any Insolvency Proceeding; (d) settlement or satisfaction of taxes, charges or Liens with respect to any
Collateral; (e) any Enforcement Action; and (f) negotiation and documentation of any modification, waiver,
workout, restructuring or forbearance with respect to any Financing Documents or Obligations. Such costs,
expenses and advances include transfer fees, taxes, storage fees, insurance costs, permit fees, utility
reservation and standby fees, legal fees, appraisal fees, brokers’ and auctioneers’ fees and commissions,
accountants’ fees, environmental study fees, wages and salaries paid to employees of any Obligor or
independent contractors in liquidating any Collateral, and travel expenses.

         “FATCA” means Sections 1471 through 1474 of the Code (including any amended or successor
version if substantively comparable and not materially more onerous to comply with), any current or future
regulations or official interpretations thereof, and any agreements entered into pursuant to Section
1471(b)(1) of the Code and any fiscal or regulator legislation, rules or practices adopted pursuant to any
intergovernmental agreement, treaty or convention among Governmental Authorities and implementing
such Sections of the Code.

        “FLSA” means the Fair Labor Standards Act of 1938.

        “Foreign Plan” means any employee benefit plan or arrangement (a) maintained or contributed to
by the Company or any Subsidiary that is not subject to the laws of the United States; or (b) mandated by
a government other than the United States for employees of the Company or any Subsidiary.


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           “GAAP” means generally accepted accounting principles in effect in the United States from time
to time.

         “Governmental Approvals” means all authorizations, consents, approvals, licenses and exemptions
of, registrations and filings with, and required reports to, all Governmental Authorities.

        “Governmental Authority” means any federal, state, local, foreign or other agency, authority, body,
commission, court, instrumentality, political subdivision, central bank, or other entity or officer exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions for any
governmental, judicial, investigative, regulatory or self-regulatory authority (including the Financial
Conduct Authority, the Prudential Regulation Authority and any supra-national bodies such as the European
Union or European Central Bank).

       “Guarantor” means each Person who executes or becomes a party to this Agreement as a guarantor
pursuant to Section 7.1(i) or otherwise executes and delivers a Guaranty and each other Person that
guarantees payment or performance of Obligations.

       “Guaranty” means each guaranty provided under Section 10.19 hereof and each guaranty
agreement guaranteeing any of the Obligations executed by a Guarantor in favor of the Investors.

       “Hedging Agreement” means a “swap agreement” as defined in Bankruptcy Code Section
101(53B)(A).

         “Immaterial Subsidiary” means any Subsidiary of an Obligor that, as of the date of determination,
does not have (a) assets (when combined with the assets of all other Immaterial Subsidiaries, after
eliminating intercompany obligations) in excess of 4.00% of consolidated total assets or (b) generate
EBITDA for the most recent twelve month period (when combined with EBITDA generated by all other
Immaterial Subsidiaries, after eliminating intercompany obligations) in excess of 4.00% of total EBITDA
for the applicable twelve month period; provided that, as of the date of determination, no Immaterial
Subsidiary shall have (x) assets in excess of 3.00% of consolidated total assets or (y) contribute EBITDA
for the applicable twelve month period in excess of 3.00% of total EBITDA for the applicable twelve month
period.

      “Indemnitee” means the Collateral Agent, each Investor and their respective officers, directors,
employees, Affiliates, agents and attorneys.


           “Initial Closing Date Holders” has the meaning given to it in Section 4.4(g).

        “Insolvency Proceeding” means any case or proceeding commenced by or against a Person under
any state, federal or foreign law for, or any agreement of such Person to, (a) the entry of an order for relief
under the Bankruptcy Code, or any other insolvency, debtor relief or debt adjustment law; (b) the
appointment of a receiver, trustee, liquidator, administrator, conservator or other custodian for such Person
or any part of its property; or (c) an assignment or trust mortgage for the benefit of creditors.

           “Instruments” is defined in the Security Agreement.

           “Intellectual Property” is defined in the Security Agreement.

       “Intellectual Property Claim” means any claim or assertion (whether in writing, by suit or
otherwise) that the Company or any of its Subsidiary’s ownership, use, marketing, sale or distribution of

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any inventory, equipment, Intellectual Property or other property, or the conduct of the business of the
Company or its Subsidiaries, violates, misappropriates or infringes another Person’s Intellectual Property
or that any Company Registered IP is invalid or unenforceable.

        “Intercreditor Agreement” means the Intercreditor Agreement dated as of the date hereof by and
among the Collateral Agent and Bank of America and acknowledged by the Company as hereafter amended
from time to time in accordance with the terms thereof.

         “Investment” means an Acquisition, an acquisition of record or beneficial ownership of any Equity
Interests of a Person, or an advance or capital contribution to or other investment in a Person.

         “Investor” means, on any date of determination, (a) each Person listed on the Schedule of Investors
attached to this Agreement as Schedule A and (b) each successor, or permitted assignee or transferee of
rights and obligations under the Financing Documents, of any Person referred to in clause (a) above, in
each case other than any such Person that does not hold any Notes or Warrants or any securities issued with
respect to Notes or Warrants on such date of determination.

        “IRS” means the United States Internal Revenue Service.

        “Knowledge,” including the phrase “to the Company’s knowledge,” shall mean the actual or
constructive knowledge of Jack Allen, Amy Ard and JoAnn Covington after due inquiry.

        “License” means any license or agreement under which an Obligor or a Subsidiary is authorized to
use Intellectual Property in connection with any manufacture, marketing, distribution or disposition of
Collateral, any use of property (including Intellectual Property) or any other conduct of its business.

       “Lien” means a Person’s interest in property securing an obligation owed to, or a claim by, such
Person, including any lien, security interest, pledge, hypothecation, assignment, trust, reservation,
encroachment, easement, right-of-way, covenant, condition, restriction, lease, or other title exception or
encumbrance.

         “Liquidity” means, at any time, the sum of (a) Unrestricted cash and Cash Equivalents held by the
Company and its Subsidiaries in an account that is subject to the Collateral Agent’s perfected security
interest plus (b) Availability (as defined in the Senior Loan Agreement as in effect on the date hereof).

        “Margin Stock” is defined in Regulation U of the Board of Governors.

         “Material Adverse Effect” means the effect of any event or circumstance that, taken alone or in
conjunction with other events or circumstances, (a) has or could be reasonably expected to have a material
adverse effect on the business, operations, properties or financial condition of the Obligors, taken as a
whole, on the value of any material Collateral, on the enforceability of any Financing Document, or on the
validity or priority of the Collateral Agent’s Liens on any Collateral; (b) materially impairs the ability of
the Obligors, taken as a whole, to perform their payment obligations under the Financing Documents,
including repayment of any Obligations; or (c) otherwise materially and adversely impairs the ability of the
Collateral Agent or any Investor to enforce or collect any Obligations or to realize upon any Collateral.

        “Material Contract” means (a) any written agreement or arrangement to which the Company or
any Subsidiary is party (other than the Financing Documents) (i) that is deemed to be a material contract
under any securities law applicable to such Person, including the Securities Act of 1933, (ii) for which
breach, termination, nonperformance or failure to renew could reasonably be expected to have a Material


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Adverse Effect, or (iii) that relates to Debt in an aggregate amount of $7,500,000 or more and (b) the Senior
Bank Debt.

        “Moody’s” means Moody’s Investors Service, Inc. or any successor reasonably acceptable to the
Collateral Agent.

        “Multiemployer Plan” means any employee benefit plan of the type described in Section
4001(a)(3) of ERISA, to which an Obligor or ERISA Affiliate makes or is obligated to make contributions,
or during the preceding five plan years, has made or been obligated to make contributions.

        “Obligations” means all amounts, obligations, liabilities, indemnities, covenants and duties of
every type and description owing by an Obligor arising out of, under, or in connection with, any Financing
Documents, whether direct or indirect (regardless of whether acquired by assignment), absolute or
contingent, due or to become due, whether liquidated or not, now existing or hereafter arising and however
acquired, and whether or not evidenced by any instrument or for the payment of money, including, without
duplication, (i) all Notes, (ii) all interest, whether or not accruing after the filing of any petition in
bankruptcy or after the commencement of any insolvency, reorganization or similar proceeding, and
whether or not a claim for post-filing or post-petition interest is allowed in any such proceeding, and (iii)
all other fees, expenses (including fees, charges and disbursement of counsel), interest, commissions,
charges, costs, disbursements, indemnities and reimbursement of amounts paid and other sums chargeable
to an Obligor under any Financing Document. For the avoidance of doubt, the term “Obligations” shall not
include the obligations of the Company under the Warrants.

       “Obligor” means the Company, each Guarantor and any other Person that is liable for payment or
performance of any Obligations.

        “OFAC” means Office of Foreign Assets Control of the U.S. Treasury Department.

        “Open Source Software” means software made available under any license that is, or is
substantially similar to, a license now or in the future approved by the Open Source Initiative (including all
versions of GNU GPL, GNU LGPL, GNU Affero GPL, MIT license, Eclipse Public License, Common
Public License, CDDL, Mozilla Public License, Academic Free License, BSD license and Apache license)
and any license under which such software or other materials are distributed or licensed as “free software,”
“open source software” or any license term or condition that: (a) requires or conditions the use or
distribution of such software on the disclosure, licensing, or distribution of the source code for any
derivative work of such software; or (b) otherwise imposes any material limitation, restriction, or condition
on the right or ability of the licensee of such software to use or distribute any derivative work of such
software.

       “Ordinary Course of Business” means the ordinary course of business of the Company or any
Subsidiary, undertaken in good faith and consistent with Applicable Law and past practices.

        “Organic Documents” means, with respect to any Person, its charter, certificate or articles of
incorporation, bylaws, articles of organization, limited liability agreement, operating agreement, members
agreement, shareholders agreement, partnership agreement, certificate of partnership, certificate of
formation, voting trust agreement, or similar agreement or instrument governing the formation or operation
of such Person.



        “OSHA” means the Occupational Safety and Hazard Act of 1970, as amended.

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       “PATRIOT Act” means the Uniting and Strengthening America by Providing Appropriate Tools
Required to Intercept and Obstruct Terrorism Act of 2001, Pub. L. No. 107-56, 115 Stat. 272 (2001), as
amended.

        “Payment Items” means each check, draft or other item of payment payable to the Company,
including those constituting proceeds of any Collateral.

        “PBGC” means the Pension Benefit Guaranty Corporation.

         “Pension Funding Rules” means Code and ERISA rules regarding minimum required
contributions (including installment payments) to Pension Plans set forth in, for plan years ending prior to
the Pension Protection Act of 2006 effective date, Section 412 of the Code and Section 302 of ERISA, both
as in effect prior to such act, and thereafter, Sections 412, 430, 431, 432 and 436 of the Code and Sections
302, 303, 304 and 305 of ERISA.

        “Pension Plan” means any employee pension benefit plan (as defined in Section 3(2) of ERISA),
other than a Multiemployer Plan, that is subject to Title IV of ERISA and is sponsored or maintained by
any Obligor or ERISA Affiliate or to which any Obligor or ERISA Affiliate contributes or has an obligation
to contribute, or in the case of a multiple employer or other plan described in Section 4064(a) of ERISA,
has made contributions at any time during the preceding five plan years.

        “Perfection Certificate” means a perfection certificate in the form of Exhibit E, or otherwise in
form and substance reasonably satisfactory to the Cowen Investors, delivered by each Obligor to the
Investors pursuant to Section 6.1(l)(vii).

        “Permitted Acquisition” means any Acquisition so long as (a) such Acquisition is consensual, (b)
the assets, business or Person being acquired is useful or engaged in the business of the Company and
Subsidiaries, (c) no Debt or Liens are assumed or incurred, except as permitted by Sections 7.2(a)(vi) and
7.2(b)(ii), (d) as of the date of such Acquisition and immediately after giving effect thereto, no Default or
Event of Default has occurred and is continuing, (e) the aggregate cash consideration paid by the Obligors
in connection with such Acquisition do not exceed $7,500,000, (f) the Company shall have on a pro forma
basis immediately after giving effect to such Acquisition Liquidity sufficient to satisfy the “Minimum
Liquidity” condition set forth in Section 7.1(k), (g) the Acquisition does not materially change the nature
of the Company’s business, (h) any assets so acquired by an Obligor shall become part of the Collateral
upon completion of the relevant Acquisition and any Person so acquired that becomes a Subsidiary shall
become a Guarantor in accordance with Section 7.1(i) and (i) Company delivers to the Investors, (i) at least
ten (10) Business Days prior to the Acquisition, copies of all material agreements relating thereto and (ii)
on the date of such Acquisition, a certificate from a Senior Officer of the Company stating that the
Acquisition is a “Permitted Acquisition” and demonstrating compliance with the foregoing requirements.

         “Permitted Asset Disposition” means as long as no Default or Event of Default has occurred and
is continuing, an Asset Disposition that is (a) a sale of Inventory in the Ordinary Course of Business, (b) a
disposition or series of dispositions of assets that, in the aggregate during any 12 month period, has a fair
market or book value (whichever is more) of $3,000,000 or less, (c) a disposition of inventory that is
obsolete, unmerchantable or otherwise unsalable or a disposition of equipment that is obsolete or not
necessary for operations in the Ordinary Course of Business, (d) termination of a lease of real or personal
property that is not necessary for the Ordinary Course of Business, could not reasonably be expected to
have a Material Adverse Effect and does not result from an Obligor’s default, (e) dispositions resulting
from any casualty or other insured damage to, or any taking under any power of eminent domain or by
condemnation or similar proceedings of, any property of any Obligor or any Subsidiary, (f) any transactions
permitted by Sections 7.2(b), 7.2(c), 7.2(d), 7.2(f), 7.2(g), 7.2(h), each to the extent deemed an Asset

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Disposition, (g) non-exclusive licensing agreement for Intellectual Property, leases, or subleases, in each
case in the Ordinary Course of Business, or (h) approved in writing by the Collateral Agent.

         “Permitted Contingent Obligations” means Contingent Obligations (a) arising from endorsements
of checks, drafts or other items of payment for collection or deposit in the Ordinary Course of Business; (b)
arising from Hedging Agreements; (c) existing on the date hereof, and any extension or renewal thereof so
long as such extension or renewal is a Permitted Refinancing; (d) incurred in the Ordinary Course of
Business with respect to surety, appeal or performance bonds, or other similar obligations; (e) arising from
customary indemnification obligations in favor of purchasers in connection with dispositions of equipment
permitted hereunder; (f) incurred in respect of take-or-pay obligations contained in supply arrangements
and repurchase obligations under commercial contracts, in each case, in the Ordinary Course of Business;
(g) arising under this Agreement or the Notes; and (h) otherwise not permitted in an aggregate amount not
to exceed $2,000,000.

         “Permitted Purchase Money Debt” means Purchase Money Debt of Company and its Subsidiaries
that is unsecured or secured only by a Purchase Money Lien, as long as the aggregate amount does not
exceed $10,000,000.

        “Permitted Refinancing” means, with respect to any existing Debt, any extensions, renewals and
replacements of such existing Debt; provided that such extension, renewal or replacement (a) shall not
increase the outstanding principal amount of such Debt (other than by the amount of premiums paid thereon,
any paid-in-kind or other capitalized interest and the fees and expenses incurred in connection therewith
and by the amount of unfunded commitments with respect thereto), (b) shall not have a final maturity sooner
than, or a weighted average life less than the Debt being extended, renewed or refinanced, (c) shall be
subordinated to the Obligations at least to the same extent as the Debt being extended, renewed or
refinanced, (d) shall contain representations, covenants and defaults that are no less favorable to the
Company and its Subsidiaries than those applicable to the Debt being extended, renewed or refinanced, (e)
no additional Lien is granted to secure it, (f) no additional Person is obligated on such Debt, and (g) upon
giving effect to it, no Default or Event of Default exists.

        “Person” means any individual, corporation, partnership, trust, limited liability company,
association or other entity.

        “Plan” means an employee benefit plan (as defined in Section 3(3) of ERISA) maintained for
employees of an Obligor or ERISA Affiliate, or to which an Obligor or ERISA Affiliate is required to
contribute on behalf of its employees.

        “Preferred Stock” means any preferred stock of the Company.

         “Properly Contested” means with respect to any obligation of an Obligor, (a) the obligation is
subject to a bona fide dispute regarding amount or an Obligor’s liability to pay, (b) the obligation is being
properly contested in good faith by appropriate proceedings promptly instituted and diligently pursued, (c)
appropriate reserves have been established in accordance with GAAP, (d) non-payment could not have a
Material Adverse Effect, nor result in forfeiture or sale of any assets of an Obligor, (e) no Lien (other than
a Permitted Lien) is imposed on assets of an Obligor, unless bonded and stayed to the satisfaction of
Collateral Agent, and (f) if the obligation results from entry of a judgment or other order, such judgment or
order is stayed pending appeal or other judicial review.

       “Purchase Money Debt” means (a) Debt (other than the Obligations) for payment of any of the
purchase price of fixed assets, (b) Debt (other than the Obligations) incurred within 10 days before or after


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acquisition of any fixed assets, for the purpose of financing any of the purchase price thereof, and (c) any
renewals, extensions or refinancings (but not increases) thereof.

        “Purchase Money Lien” means a Lien that secures Purchase Money Debt, encumbering only the
fixed assets acquired with such Debt and constituting a Capital Lease Obligation or a purchase money
security interest under the UCC.

        “RCRA” means the Resource Conservation and Recovery Act (42 U.S.C. §§ 6901-6992k).

        “Real Estate” means all right, title and interest (whether as owner, lessor or lessee) in any real
property or any buildings, structures, parking areas or other improvements thereon.

         “Refinancing” means the repayment in full of all principal, accrued and unpaid interest, fees
premiums, if any, and other amounts outstanding under the Hercules Facility (other than contingent
obligations not then due and payable and that by their terms survive the termination thereof), the termination
of all commitments to extend credit under the Hercules Facility and the termination or release, as applicable,
of any guarantees and security interests to secure the obligations thereunder.

        “Required Holders” has the meaning given to that term in Section 10.11.

      “Restated Certificate” means the Restated Certificate of Incorporation of the Company, as
amended from time to time.

        “Restricted” means, when referring to cash or Cash Equivalents of the Company and its
Subsidiaries, that such cash or Cash Equivalents (a) appear (or would be required to appear) as “restricted”
on the consolidated balance sheet of the Company, (b) are subject to any Lien in favor of any Person or (c)
are not otherwise generally available for use by such Person or any Subsidiary of such Person so long as
such Subsidiary is not prohibited by applicable law, contractual obligation or otherwise from transferring
such cash or Cash Equivalents to the Company.

        “Reportable Event” means any event set forth in Section 4043(c) of ERISA, other than an event
for which the 30-day notice period has been waived.

        “Restrictive Agreement” means an agreement (other than a Financing Document or the Senior Loan
Agreement) that conditions or restricts the right of the Company or its Subsidiaries or other Obligor to incur
or repay Borrowed Money, to grant Liens on any assets, to declare or make Distributions, to modify, extend
or renew any agreement evidencing Borrowed Money, or to repay any intercompany Debt.

      “S&P” means Standard & Poor’s Financial Services LLC, a subsidiary of The McGraw-Hill
Companies, Inc., or any successor thereto.

        “Sanction” means any sanction administered or enforced by the U.S. government (including
OFAC), United Nations Security Council, European Union, U.K. government or other applicable sanctions
authority.

        “Secured Parties” is defined in the Security Agreement.

        “Securities” is defined in the Security Agreement.

       “Securities Act” means the Securities Act of 1933, as amended, and the rules and regulations
promulgated by the Securities and Exchange Commission thereunder.


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        “Security Agreement” means the Security Agreement, dated as of the date hereof, executed in favor
of the Secured Parties, by the Company, in substantially the form attached as Exhibit C, as amended,
modified or replaced from time to time.

         “Security Documents” means, collectively, the Security Agreement, and each other security
document, pledge agreement, landlord access and waiver agreement, collateral access agreement, control
agreement or financing statement required or recommended to grant or perfect Liens in favor of the Secured
Parties.

      “Senior Bank Debt” means “First Lien Debt” as such term is defined in the Senior Loan
Agreement.

        “Senior Loan Agreement” shall mean (i) that certain Loan, Guaranty and Security Agreement
dated May 8, 2019 by and among the Company, Bank of America, N.A., a national banking association
(“Bank of America”), and the Lenders (as defined therein) party thereto, as it may be amended, restated,
supplemented or otherwise modified from time to time as permitted by the terms of the Intercreditor
Agreement (the “BofA Loan Agreement”) or (ii) if the BofA Loan Agreement is terminated, refinanced or
replaced, such other agreement (the “Refinanced Senior Loan Agreement”) from time to time, by and
among the Company and other banks or other lending institutions regularly engaged in the business of
lending money (excluding venture capital, private equity or similar institutions and their affiliates, which
sometimes engage in lending activities but which are primarily engaged in investments in equity securities)
and the other parties party thereto; but only if the terms, conditions and borrowing availability under the
Refinanced Senior Loan Agreement is substantially similar to the BofA Loan Agreement and in each case
would have been permitted by the terms of the Intercreditor Agreement if it were effected by an amendment
to the BofA Loan Agreement.

        “Senior Officer” means the chairman of the board, president, chief executive officer or chief
financial officer of the Company.

        “Series 1 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 2 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 3 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 4 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 5 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 6 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 7 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Series 8 Preferred Stock” has the meaning set forth in the Restated Certificate.

        “Shrink Wrap Software” has the meaning given to that term in Section 4.10(e).

        “Side Letter” means that certain side letter agreement delivered by the Company pursuant to
Section 6.1(g).




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          “Solvent” means as to any Person, such Person (a) owns property whose fair salable value is greater
than the amount required to pay all of its debts (including contingent, subordinated, unmatured and
unliquidated liabilities); (b) owns property whose present fair salable value (as defined below) is greater
than the probable total liabilities (including contingent, subordinated, unmatured and unliquidated
liabilities) of such Person as they become absolute and matured; (c) is able to pay all of its debts as they
mature; (d) has capital that is not unreasonably small for its business and is sufficient to carry on its business
and transactions and all business and transactions in which it is about to engage; (e) is not “insolvent” within
the meaning of Section 101(32) of the Bankruptcy Code; and (f) has not incurred (by way of assumption or
otherwise) any obligations or liabilities (contingent or otherwise) under any Financing Documents, or made
any conveyance in connection therewith, with actual intent to hinder, delay or defraud either present or
future creditors of such Person or any of its Affiliates. “Fair salable value” means the amount that could
be obtained for assets within a reasonable time, either through collection or through sale under ordinary
selling conditions by a capable and diligent seller to an interested buyer who is willing (but under no
compulsion) to purchase.

         “Subsidiary” means any entity at least 50% of whose voting securities or Equity Interests are owned
by the Company or combination of the Company and its Subsidiaries (including indirect ownership through
other entities in which the Company directly or indirectly owns 50% of the voting securities or Equity
Interests). Unless otherwise specified, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer
to a Subsidiary or Subsidiaries of the Company.

        “Subordinated Debt” means Debt incurred by the Company or any Subsidiary that is subordinate
and/or junior in right of payment to full payment of all Obligations.

        “Tax” or “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

        “UCC” means the Uniform Commercial Code as in effect in the State of New York or, when the
laws of any other jurisdiction govern the perfection or enforcement of any Lien, the Uniform Commercial
Code of such jurisdiction.

       “Unrestricted” means, when referring to cash or Cash Equivalents, that such cash or Cash
Equivalents are not Restricted.

        “Upstream Payment” means a Distribution by a Subsidiary of an Obligor to such Obligor.

        “Write-Down and Conversion Powers” means, with respect to any EEA Resolution Authority,
the write-down and conversion powers of such EEA Resolution Authority from time to time under the
Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion powers
are described in the EU Bail-In Legislation Schedule.

         4.      REPRESENTATIONS AND WARRANTIES OF THE COMPANY. Each Obligor
hereby represents and warrants to each Investor that the statements in the following paragraphs of this
Section 4 are all true and complete as of and after giving effect to (a) the Initial Closing, and (b) each
Additional Closing. The Disclosure Schedule shall be arranged in sections corresponding to the numbered
and lettered sections contained in this Section 4, and the disclosures in any section of the Disclosure
Schedule shall qualify other sections in this Section 4 to the extent it is reasonably apparent from a reading
of the disclosure that such disclosure is applicable to such other sections.



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                 4.1     Organization and Qualification. Each Obligor and Subsidiary is duly organized,
validly existing and in good standing under the laws of the jurisdiction of its organization. Each Obligor
and Subsidiary is duly qualified, authorized to do business and in good standing as a foreign corporation in
each jurisdiction where failure to be so qualified could reasonably be expected to have a Material Adverse
Effect. No Obligor is an EEA Financial Institution.

                 4.2     Authorization. Each Obligor is duly authorized to execute, deliver and perform
its Financing Documents. The execution, delivery and performance of the Financing Documents have been
duly authorized by all necessary action, and do not (a) require any consent or approval of any holders of
Equity Interests of any Obligor, except those already obtained; (b) contravene the Organic Documents of
any Obligor; (c) violate or cause a default under any Applicable Law or Material Contract; or (d) result in
or require imposition of a Lien (other than Permitted Liens) on any Obligor’s property.

                  4.3      Enforceability. The Financing Documents, when executed and delivered by any
Obligor, shall constitute legal, valid and binding obligations of such Obligor, enforceable against such
Obligor in accordance with their respective terms except (i) as limited by applicable bankruptcy,
insolvency, reorganization, moratorium, fraudulent conveyance, or other laws of general application
relating to or affecting the enforcement of creditors’ rights generally, (ii) as limited by laws relating to the
availability of specific performance, injunctive relief, or other equitable remedies, or (iii) to the extent the
indemnification provisions contained in the Investors’ Rights Agreement may be limited by applicable
federal or state securities laws.

               4.4      Capitalization. The authorized equity capital of the Company consists,
immediately prior to the Initial Closing (unless otherwise noted), of the following.

                         (a)       175,100,000 shares of Common Stock (i) 4,853,117 shares of which are
issued and outstanding immediately prior to the Initial Closing; (ii) 27,476,120 shares of which are issuable
on conversion of shares of the Series 1 Preferred Stock, (iii) 6,221,569 shares of which are issuable on
conversion of shares of the Series 2 Preferred Stock, (iv) 7,957,958 shares of which are issuable on
conversion of shares of the Series 3 Preferred Stock, (v) 8,682,155 shares of which are issuable on
conversion of shares of the Series 4 Preferred Stock, (vi) 28,391,526 shares of which are issuable on
conversion of shares of the Series 5 Preferred Stock, (vii) 14,440,784 shares of which are issuable on
conversion of shares of the Series 6 Preferred Stock, (viii) 23,749,620 shares of which are issuable on
conversion of shares of the Series 7 Preferred Stock and (ix) 12,576,907 shares of which are issuable on
conversion of shares of the Series 8 Preferred Stock. All of the outstanding shares of Common Stock are
duly authorized, validly issued, fully paid and non-assessable and were issued in material compliance with
all applicable federal and state securities laws.

                          (b)      129,572,982 shares of Preferred Stock, 27,567,694 of which are
designated as Series 1 Preferred Stock, 27,476,120 of which are issued and outstanding, 6,069,073 of which
are designated as Series 2 Preferred Stock, all of which are issued and outstanding, 7,617,704 of which are
designated as Series 3 Preferred Stock, all of which are issued and outstanding, 9,159,674 of which are
designated as Series 4 Preferred Stock, 8,682,155 of which are issued and outstanding, 28,391,526 of which
are designated as Series 5 Preferred Stock, all of which are issued and outstanding, 14,440,784 of which
are designated as Series 6 Preferred Stock, all of which are issued and outstanding, 23,749,620 of which
are designated as Series 7 Preferred Stock, all of which are issued or outstanding and 12,576,907 of which
are designated as Series 8 Preferred Stock, all of which are issued or outstanding immediately prior to the
Initial Closing. None of the rights, preferences and powers of, or the restrictions on, the Preferred Stock
set forth in the Restated Certificate are prohibited by the General Corporation Law of the State of Delaware.
Upon the Initial Closing, each outstanding share of Series 1 Preferred Stock will initially be convertible
into one (1) share of Common Stock, each outstanding share of Series 2 Preferred Stock will initially be

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convertible into 1.02513 shares of Common Stock, each outstanding share of Series 3 Preferred stock will
initially be convertible into 1.04467 shares of Common Stock, each outstanding share of Series 4 Preferred
Stock will initially be convertible into one (1) share of Common Stock, each outstanding share of Series 5
Preferred Stock will initially be convertible into one (1) share of Common Stock, each outstanding share of
Series 6 Preferred Stock will initially be convertible into one (1) share of Common Stock, each outstanding
share of Series 7 Preferred Stock will initially be convertible into one (1) share of Common Stock and each
outstanding share of Series 8 Preferred Stock will initially be convertible into one (1) share of Common
Stock.

                          (c)    31,994,478 shares of Common Stock are reserved for issuance to officers,
directors, employees and consultants of the Company pursuant to the Company’s 2010 Equity Incentive
Plan duly adopted by the Board and approved by the Company stockholders (the “Stock Plan”). Of such
shares of Common Stock reserved under the Stock Plan as of the Initial Closing, options to purchase
23,820,542 shares have been granted and are currently outstanding, 3,682,956 shares have been issued
pursuant to the exercise of options, and 4,490,980 shares of Common Stock remain available for issuance
to officers, directors, employees and consultants pursuant to the Stock Plan. The Company has furnished
to the Investors (or their counsel(s)) complete and accurate copies of the Stock Plan and forms of
agreements used thereunder.

                            (d)     Warrants to purchase 91,574 shares of Series 1 Preferred Stock are issued
and outstanding, warrants to purchase 117,630 shares of Common Stock are issued and outstanding and
warrants to purchase 477,519 shares of Series 4 Preferred Stock are issued and outstanding. There are no
outstanding preemptive rights, options, warrants, conversion privileges or rights (including but not limited
to rights of first refusal or similar rights), orally or in writing, to purchase or acquire any securities from the
Company including, without limitation, any shares of Common Stock, or Preferred Stock, or any securities
convertible into or exchangeable or exercisable for shares of Common Stock or Preferred Stock, except for
(i) the conversion privileges of the Notes to be issued under this Agreement, (ii) the rights provided in
Section 4 of the Company’s Eighth Amended and Restated Investors’ Rights Agreement, dated August 2,
2019 (the “Investors’ Rights Agreement”), (iii) the securities and rights described in Section 4.4(c) and
4.4(d) the securities and rights described in the first sentence of this Section 4.4(d). All outstanding shares
of the Company’s Common Stock and all shares of the Company’s Common Stock underlying outstanding
options issued under the Stock Plan are subject to (i) a right of first refusal in favor of the Company upon
any proposed transfer (other than transfers for estate planning purposes); and (ii) a lock-up or market
standoff agreement of not less than 180 days following the initial public offering of securities of the
Company pursuant to a registration statement filed with the Securities and Exchange Commission under
the Securities Act commencing with the initial public offering of the Company’s securities. Except as set
forth in Article 4 of the Restated Certificate and in Section 4 of the Investors’ Rights Agreement, no Person
has been granted full ratchet, formula adjustment, or any other type of, protection against dilution of their
ownership interest in the Company. No Person (A) has been granted rights to require the Company to
repurchase any of the Company’s securities, (B) has been granted rights to receive the same or better rights
in connection with any ownership interest in the Company as any other Person may receive either pursuant
to this Agreement or at any time hereafter or (C) have been granted rights of redemption by the Company.

                        (e)     To the Company’s knowledge, all elections and notices under Section
83(b) of the United States Internal Revenue Code of 1986, as amended, and the rules and regulations
promulgated by the IRS thereunder (the “Code”) have been or will be timely filed by all individuals who
have acquired unvested shares of Common Stock.

                        (f)      None of the Company’s stock purchase agreements or stock option
documents contains a provision for acceleration of vesting (or lapse of a repurchase right) or other changes
in the vesting provisions or other terms of such agreement or understanding upon the occurrence of any

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event or combination of events. The Company has never adjusted or amended the exercise price of any
stock options previously awarded, whether through amendment, cancellation, replacement grant, repricing,
or any other means. Except as may be set forth in the Restated Certificate, the Company has no obligation
(contingent or otherwise) to purchase or redeem any of its capital stock.

                        (g)     Section 4.4(g) to the Disclosure Schedule is a complete list of all
stockholders, option holders, warrant holders, convertible note holders and other security holders of the
Company as of the date of the Initial Closing (the “Initial Closing Date Holders”), including the type and
number of securities held by each such holder.

                        (h)    The Company has obtained valid waivers of any rights by other parties to
purchase any of the Notes or Conversion Stock and all such waivers are in full force and effect.

                 4.5      Subsidiaries. As of the date hereof, the Company does not currently own or
control, directly or indirectly, any interest in any other corporation, partnership, trust, joint venture, limited
liability company, association, or other business entity. As of the date hereof, the Company is not a
participant in any joint venture, partnership or similar arrangement.

                 4.6     Valid Issuance of Notes. Based in part on the accuracy of the representations of
the Investors in Section 4 of this Agreement and subject to the filings described in Section 4.7 below, the
offer, sale and issuance of the Notes to be issued pursuant to and in conformity with the terms of this
Agreement and the issuance of the Conversion Stock, if any, to be issued upon conversion thereof pursuant
to the terms of the Notes, will be issued in compliance with all applicable federal and state securities laws.
The Company shall, before the conversion of the Notes, authorize and reserve for issuance the Conversion
Stock sufficient in number to permit such conversion. Assuming such authorization, the Conversion Stock,
when issued, sold and delivered in accordance with the terms of this Agreement and the Notes for the
consideration provided for herein and therein, will be duly and validly issued, fully paid and nonassessable.
No “bad actor” disqualifying event described in Rule 506(d)(1)(i)-(viii) of the Securities Act (a
“Disqualification Event”) is applicable to the Company or, to the Company’s knowledge, any Company
Covered Person, except for a Disqualification Event as to which Rule 506(d)(2)(ii-iv) or (d)(3), is
applicable.

                 4.7     Governmental Approvals and Filings. Each Obligor and Subsidiary has, is in
compliance with, and is in good standing with respect to, all Governmental Approvals necessary to conduct
its business and to own, lease and operate its properties, except as would not reasonably be expected to
result in a Material Adverse Effect. All necessary import, export or other licenses, permits or certificates
for the import or handling of any goods or other Collateral have been procured and are in effect, and
Obligors and Subsidiaries have complied with all foreign and domestic laws with respect to the shipment
and importation of any goods or Collateral, except where noncompliance could not reasonably be expected
to have a Material Adverse Effect. Based in part on the accuracy of the representations made by the
Investors in Section 5 of this Agreement, no consent, approval, order or authorization of, or registration,
qualification, designation, declaration or filing with, any federal, state or local governmental authority is
required on the part of any Obligor in connection with any Obligor’s, valid execution, delivery and
performance of the Financing Documents except for filings pursuant to Regulation D of the Securities Act,
and applicable state securities laws, which have been made or will be made in a timely manner.

                4.8      Title to Properties; Perfection of Liens. Each Obligor and Subsidiary has good
and marketable title to (or valid leasehold interests in) all of its Real Estate, and good title to all of its
personal property, including all property reflected in any financial statements delivered to the Collateral
Agent or the Investors, in each case free of Liens except Permitted Liens. To the extent constituting
Collateral, no Real Estate is located in a special flood hazard zone, except as disclosed to the Investors.

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Each Obligor and Subsidiary has paid and discharged all lawful claims that, if unpaid, could become a Lien
on its properties, other than Permitted Liens. All Liens of the Collateral Agent in the Collateral are (or
upon the completion of the applicable filings by the Collateral Agent, will be) duly perfected first priority
Liens, subject only to Permitted Liens (and subject to the terms of the Intercreditor Agreement).

                 4.9     Litigation. Except as shown on Section 4.9 of the Disclosure Schedule, there are
no proceedings or investigations pending or, to any Obligor’s knowledge, threatened against any Obligor
or Subsidiary, or any of their businesses, operations, properties or financial condition, that (a) relate to any
Financing Documents or transactions contemplated thereby; or (b) could reasonably be expected to have a
Material Adverse Effect if determined adversely to any Obligor or Subsidiary. Except as set out in Section
4.9 of the Disclosure Schedule, no Obligor has a Commercial Tort Claim (other than, as long as no Default
or Event of Default exists, a Commercial Tort Claim for less than $500,000). Except as where such default
would not reasonably be expected to have a Material Adverse Effect, no Obligor or Subsidiary is in default
with respect to any order, injunction or judgment of any Governmental Authority.

                 4.10     Intellectual Property.

                          (a)     Each Obligor and the Subsidiaries own or have the lawful right to use all
Intellectual Property necessary for the conduct of its business, without violation, misappropriation or
infringement of any Intellectual Property of others. The Company’s and its Subsidiaries’ manufacturing,
marketing and sale of its products and services does not violate or infringe any rights to Intellectual Property
of any other Person, except that with respect to third-party patents, patent applications, trademarks,
trademark applications, service marks, or service mark applications, the foregoing representation is made
to the Company’s knowledge only. To the Company’s knowledge, no product or service proposed by the
Company or any of its Subsidiaries to be marketed or sold violates or infringes any Intellectual Property of
a third party. Neither the Company nor any of its Subsidiaries has received any written communications
alleging that the Company or any of its Subsidiaries has violated or, by conducting its business, would
violate any of the Intellectual Property of any other Person.

                         (b)     There is no pending or, to the Company’s knowledge, threatened material
Intellectual Property Claim with respect to any Obligor, any Subsidiary or any of their property (including
any Intellectual Property), and to the Company’s knowledge there has been no unresolved material
Intellectual Property Claim in the past.

                         (c)      The Company or its Subsidiaries exclusively own all Company
Intellectual Property free and clear of all Liens other than Permitted Liens.

                           (d)     Section 4.10(d) of the Disclosure Schedule lists all (i) government
funding; (ii) facilities or resources of a university, college, other educational institution or research center;
and (iii) funding from any Person (other than funds received in consideration for the Company’s capital
stock or convertible securities) used in the development of the Company Intellectual Property. Except as
set forth in Section 4.10(d) of the Disclosure Schedule, no governmental entity, university, college, other
educational institution or research center has any ownership or other right in or to any Company Intellectual
Property. To the Company’s knowledge, no current or former employee, consultant or independent
contractor of the Company or any of its Subsidiaries, who was involved in, or who contributed to, the
creation or development of any Company Intellectual Property, has performed services for any government,
university, college or other educational institution or research center during a period of time during which
such employee, consultant or independent contractor was also performing services for the Company or any
of its Subsidiaries.



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                        (e)     Except as disclosed on Section 4.10(e) of the Disclosure Schedule and
other than license agreements for commercially available off-the-shelf software that is generally available
to the public (“Shrink Wrap Software”), as of the date hereof, no Obligor or Subsidiary pays or owes any
royalty or other compensation to any Person with respect to any Intellectual Property.

                          (f)      Other than with respect to Shrink Wrap Software, Section 4.10(f) of the
Disclosure Schedule sets forth all material agreements under which the Company or any of its Subsidiaries
has received rights to a third party’s Intellectual Property.

                         (g)     Section 4.10(g) of the Disclosure Schedule sets forth all Intellectual
Property Licenses under which the Company or any of its Subsidiaries licensed, sublicensed, transferred,
assigned or granted to another Person any option or right with respect to any Company Intellectual Property
(excluding any non-exclusive license granted to customers or suppliers that is incidental to the product
being transferred or acquired).

                          (h)     Except as disclosed on Section 4.10(h) of the Disclosure Schedule, the
Company and each of its Subsidiaries is and have been in compliance with all licenses for all Open Source
Software incorporated into or distributed or used with any software owned or purported to be owned by the
Company or any of its Subsidiaries ("Company Software") or otherwise used in connection with the
business of the Company or any of its Subsidiaries. Except as disclosed on Section 4.10(h) of the Disclosure
Schedule, no Company Software contains, is combined with, is derived from, is distributed with or is being
or was developed using Open Source Software in a manner that, or using Open Source Software that is
licensed under any term that: (A) imposes or could impose a requirement or condition that the Company or
its Subsidiary grant a license under its patent rights or that any Company Software: (1) be disclosed or
distributed in source code form; (2) be licensed for the purpose of making modifications or derivative
works; or (3) be redistributable at no charge; or (B) otherwise imposes or could impose any other material
limitation, restriction, or condition on the right or ability of the Company or its Subsidiary to use or
distribute any such Company Software.

                         (i)      All Intellectual Property owned or exclusively licensed by, or otherwise
subject to any exclusive interests of, any Obligor or Subsidiary as of the date hereof, that is registered (or
applied for) with or issued by a governmental entity or domain name registrar (“Company Registered IP”)
is shown on Section 4.10(i) of the Disclosure Schedule.

                         (j)      The Company and each Subsidiary has taken reasonable measures to
protect the secrecy, confidentiality and value of all trade secrets and other confidential information used in
their respective businesses, including the source code for the Company Software.

                         (k)     To the Company’s knowledge, each current and former employee,
consultant and officer of the Company and its Subsidiaries has executed an agreement with the Company
or such Subsidiary regarding confidentiality, proprietary information, and non-solicitation substantially in
the form or forms delivered to the counsel for the Investors. Except as disclosed on Section 4.10(k) of the
Disclosure Schedule, no current or former employee or consultant has excluded works or inventions from
his or her assignment of inventions pursuant to such agreement. To the Company’s knowledge, no such
employees or consultants is in violation thereof.

                 4.11 Financial Statements; Solvency. The consolidated and consolidating balance
sheets, and related statements of income, cash flow and shareholders equity, of Obligors and Subsidiaries
that have been and are hereafter delivered to the Collateral Agent and the Investors, are prepared in
accordance with GAAP, and fairly present in all material respects the financial positions and results of
operations of the Obligors and the Subsidiaries at the dates and for the periods indicated and, for unaudited

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financial statements, subject to normal yearend adjustments and the absence of footnotes. All projections
delivered from time to time to the Collateral Agent and the Investors have been prepared in good faith,
based on reasonable assumptions in light of the circumstances at such time. Since December 31, 2019,
there has been no change in the condition or otherwise of any Obligor or Subsidiary that could reasonably
be expected to have a Material Adverse Effect. No financial statement delivered to Collateral Agent or
Investors at any time contains any untrue statement of a material fact, nor fails to disclose any material fact
necessary to make such statement when taken as a whole not materially misleading. It being understood
that (a) projections are by their nature subject to significant uncertainties and contingencies, many of which
are beyond the Obligor’s control, (b) actual results may differ materially from the projections and such
variations may be material, (c) the projections are not a guarantee of performance, and (d) the financial
statements for the month ended June 30, 2020 delivered to the Collateral Agent and the Investors are subject
to adjustment and correction in the Ordinary Course of Business. The Obligors and their Subsidiaries are
Solvent on a consolidated basis.

                4.12 Surety Obligations. No Obligor or Subsidiary is obligated as surety or indemnitor
under any bond or other contract that assures payment or performance of any obligation of any Person,
except as permitted hereunder.

                 4.13 Compliance with Laws. Each Obligor and Subsidiary has duly complied, and its
properties and business operations are in compliance in all material respects with all Applicable Law, except
(other than with respect to Sanctions, anti-money laundering and anti-terrorism laws and regulations) where
noncompliance could not reasonably be expected to have a Material Adverse Effect. There have been no
citations, notices or orders of material noncompliance issued to any Obligor or Subsidiary under any
Applicable Law, except where noncompliance would not reasonably be expected to result in a Material
Adverse Effect. No inventory has been produced in violation of the FLSA.

                 4.14 Compliance with Environmental Laws. Except as disclosed in Section 4.14 of
the Disclosure Schedule or as would not reasonably be expected to result in a Material Adverse Effect, no
Obligor’s or Subsidiary’s past or present operations, Real Estate or other properties are subject to any
federal, state or local investigation to determine whether any remedial action is needed to address any
environmental pollution, hazardous material or environmental clean-up. No Obligor or Subsidiary has
received any Environmental Notice that would reasonably be expected to result in a Material Adverse
Effect. No Obligor or Subsidiary has any contingent liability with respect to any Environmental Release,
environmental pollution or hazardous material on any Real Estate now or previously owned, leased or
operated by it that would reasonably be expected to result in a Material Adverse Effect.

                 4.15 Burdensome Contracts. No Obligor or Subsidiary is a party or subject to any
contract, agreement or charter restriction that could reasonably be expected to have a Material Adverse
Effect. No Obligor or Subsidiary is party or subject to any Restrictive Agreement, except as shown on
Section 4.15 of the Disclosure Schedule. No such Restrictive Agreement prohibits the execution, delivery
or performance of any Financing Document by any Obligor.

                 4.16 No Defaults. No event or circumstance has occurred or exists that constitutes a
Default or Event of Default. No Obligor or Subsidiary is in default, and no event or circumstance has
occurred or exists that with the passage of time or giving of notice would constitute a default, under any
Material Contract or in the payment of any Borrowed Money in excess of $1,000,000. There is no basis
upon which any party (other than any Obligor or Subsidiary) could terminate a Material Contract prior to
its scheduled termination date.

                 4.17 Taxes. Each Obligor and Subsidiary has timely filed all federal, state and material
local tax returns and other reports that it is required by law to file, and all such tax returns are true, correct

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and complete in all material respects. Each Obligor and Subsidiary has timely paid, or made provision in
accordance with GAAP for the payment of, all Taxes upon it, its income, its assets and its properties that
are due and payable, except to the extent being Properly Contested, and except for unpaid Taxes that are
not material in amount and for which no Lien attaches. The provision for Taxes on the books of each
Obligor and Subsidiary is adequate in all material respects for all years not closed by applicable statutes,
and for its current fiscal year.

                4.18     ERISA. Except as disclosed in Section 4.18 of the Disclosure Schedule:

                           (a)     Each Plan is in compliance in all material respects with the applicable
provisions of ERISA, the Code, and other federal and state laws. Each Plan that is intended to qualify under
Section 401(a) of the Code has received a favorable determination letter from the IRS or an application for
such a letter is currently being processed by the IRS with respect thereto and, to the knowledge of Obligors,
nothing has occurred which would prevent, or cause the loss of, such qualification. Each Obligor and
ERISA Affiliate has met all applicable requirements under the Code, ERISA and the Pension Protection
Act of 2006, and no application for a waiver of the minimum funding standards or an extension of any
amortization period has been made with respect to any Plan.

                          (b)      There are no pending or, to the knowledge of Obligors, threatened claims,
actions or lawsuits, or action by any Governmental Authority, with respect to any Plan that could reasonably
be expected to have a Material Adverse Effect. There has been no prohibited transaction or violation of the
fiduciary responsibility rules with respect to any Plan that has resulted in or could reasonably be expected
to have a Material Adverse Effect.

                        (c)      (A) No ERISA Event has occurred or is reasonably expected to occur; (B)
as of the most recent valuation date for any Pension Plan, the funding target attainment percentage (as
defined in Section 430(d)(2) of the Code) is at least 60%; and no Obligor or ERISA Affiliate knows of any
reason that such percentage could reasonably be expected to drop below 60%; (C) no Obligor or ERISA
Affiliate has incurred any liability to the PBGC except for the payment of premiums, and no premium
payments are due and unpaid; (D) no Obligor or ERISA Affiliate has engaged in a transaction that could
be subject to Section 4069 or 4212(c) of ERISA; and (E) no Pension Plan has been terminated by its plan
administrator or the PBGC, and no fact or circumstance exists that could reasonably be expected to cause
the PBGC to institute proceedings to terminate a Pension Plan; and

                          (d)      With respect to any Foreign Plan, (A) all employer and employee
contributions required by law or by the terms of the Foreign Plan have been made, or, if applicable, accrued,
in accordance with normal accounting practices; (B) the fair market value of the assets of each funded
Foreign Plan, the liability of each insurer for any Foreign Plan funded through insurance, or the book reserve
established for any Foreign Plan, together with any accrued contributions, is sufficient to procure or provide
for the accrued benefit obligations with respect to all current and former participants in such Foreign Plan
according to the actuarial assumptions and valuations most recently used to account for such obligations in
accordance with applicable generally accepted accounting principles; and (C) it has been registered as
required and has been maintained in good standing with applicable regulatory authorities.

                         (e)     The Company represents and warrants as of the date hereof that the
Company is not and will not be (i) an employee benefit plan subject to Title I of the ERISA, (ii) a plan or
account subject to Section 4975 of the Code; (iii) an entity deemed to hold “plan assets” of any such plans
or accounts for purposes of ERISA or the Code; (iv) a “governmental plan” within the meaning of ERISA
or (v) using “plan assets” (within the meaning of 29 CFR § 2510.3-101, as modified by Section 3(42) of
ERISA) of one or more Benefit Plans in connection with the Notes.


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                 4.19 Trade Relations. There exists no actual or threatened termination, limitation or
modification of any business relationship between any Obligor or Subsidiary and any material customer or
supplier, or any group of customers or suppliers, who individually or in the aggregate are material to the
business of any Obligor or Subsidiaries, taken as a whole. There exists no condition or circumstance that
could reasonably be expected to materially and adversely impair the ability of any Obligor or Subsidiaries
to conduct its business at any time hereafter in substantially the same manner as conducted on the date
hereof.

                 4.20 Labor Relations. Except as described on Section 4.20 of the Disclosure Schedule,
no Obligor or Subsidiary is party to or bound by any collective bargaining agreement, management
agreement or consulting agreement. There are no material grievances, disputes or controversies with any
union or other organization of any Obligor’s or Subsidiary’s employees, or, to the Obligor’s knowledge,
any asserted or threatened strikes, work stoppages or demands for collective bargaining.

                 4.21 Not a Regulated Entity. No Obligor is (a) an “investment company” or a “person
directly or indirectly controlled by or acting on behalf of an investment company” within the meaning of
the Investment Company Act of 1940; or (b) subject to regulation under the Federal Power Act, the
Interstate Commerce Act, any public utilities code or any other Applicable Law regarding its authority to
incur Debt.

                4.22 Margin Stock. No Obligor or Subsidiary is engaged, principally or as one of its
important activities, in the business of extending credit for the purpose of purchasing or carrying any Margin
Stock. No Note proceeds will be used by the Company to purchase or carry, or to reduce or refinance any
Debt incurred to purchase or carry, any Margin Stock or for any related purpose governed by Regulations
T, U or X of the Board of Governors.

                  4.23 OFAC. No Obligor or Subsidiary, or any director, officer, employee, agent,
affiliate or representative thereof, is or is owned or controlled by any individual or entity that is currently
the target of any Sanction or is located, organized or resident in a Designated Jurisdiction

                4.24 Brokers. No Obligor is required to pay any brokerage commission, finder’s fees
or investment banking fees payable in connection with issuance of the Notes.

                 4.25    Disclosure.

                          (a)   The Obligors have made available to the Investors all the information
reasonably available to the Obligors that the Investors have requested in writing for deciding whether to
acquire the Notes (including all due diligence requests of the Investors and/or their counsel(s)). Such
information includes certain of the Obligor’s projections describing its proposed business plan. Such
business plan was prepared in good faith; however, the Obligors do not warrant that they will achieve any
results projected therein.

                          (b)       None of the representations or warranties of the Obligors contained in this
Agreement, as qualified by the Disclosure Schedule, and no certificate or other written information
furnished or to be furnished to Investors at the Initial Closing and any Additional Closing, when taken as a
whole, contain any untrue statement of a material fact or to the Company’s knowledge omits to state a
material fact necessary in order to make the statements contained herein or therein not misleading in light
of the circumstances under which they were made. No Financing Document contains any untrue statement
of a material fact, nor fails to disclose any material fact necessary to make the statements contained therein
not materially misleading in light of the circumstances under which it was made or deemed made. There is
no fact or circumstance that any Obligor has failed to disclose to the Investors in writing that could

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reasonably be expected to have a Material Adverse Effect. It is understood that this representation is
qualified by the fact that the Company has not delivered to the Investors, and has not been requested to
deliver, a private placement or similar memorandum or any written disclosure of the types of information
customarily furnished to purchasers of securities.

                 4.26 Rights of Registration and Voting Rights. Except as provided in the Investors’
Rights Agreement, the Company is not under any obligation to register under the Securities Act any of its
securities (whether currently outstanding or to be issued in the future). To the Company’s knowledge,
except as contemplated in the Company’s Ninth Amended and Restated Voting Agreement among the
Company and certain stockholders of the Company, dated August 2, 2019, as may be amended from time
to time, no stockholder of the Company has entered into any agreement with respect to the voting of capital
shares of the Company.

                 4.27 Stock Restriction Agreements. Each person who, pursuant to any benefit, bonus
or incentive plan of the Company, holds any currently outstanding shares of common stock or other
securities of the Company or any option, warrant or right to acquire such shares or other securities, has
entered into or is otherwise bound by, an agreement granting the Company (a) the right to repurchase the
shares for the original purchase price, or to cancel the option, warrant or right, in the event the holder’s
employment or services with the Company terminate for any reason, subject to release of such repurchase
or cancellation right on terms and conditions specified by the Board, and (b) a right of first refusal with
respect to all such shares. The Company has made available to special counsel to the Investors true and
complete copies of the forms of all such stock restriction agreements.

        5.       REPRESENTATIONS, WARRANTIES AND CERTAIN AGREEMENTS OF
INVESTORS. Each Investor hereby, severally and not jointly, represents and warrants to, and agrees with
the Obligors as follows.

                 5.1      Authorization. This Agreement constitutes, and the other Financing Documents
which constitute agreements of the Investor when executed and delivered by the Investor will constitute,
such Investor’s valid and legally binding obligations, enforceable against such Investor in accordance with
its terms, except as may be limited by (a) applicable bankruptcy, insolvency, reorganization or other laws
of general application relating to or affecting the enforcement of creditors’ rights generally and (b) the effect
of rules of law governing the availability of equitable remedies. Each Investor represents and warrants to
the Obligors that such Investor has full power and authority to enter into this Agreement.

                  5.2     Purchase for Own Account. The Notes and the Conversion Stock and any shares
of capital stock issued upon conversion thereof (collectively, the “Securities”) will be acquired for
investment for such Investor’s own account, not as a nominee or agent, and not with a view to the public
resale or distribution thereof within the meaning of the Securities Act, and such Investor has no present
intention of selling, granting any participation in, or otherwise distributing the same.

                  5.3    No Solicitation. At no time was such Investor presented with or solicited by any
publicly issued or circulated newspaper, mail, radio, television or other form of general advertising or
solicitation in connection with the offer, sale and purchase of the Securities.

                 5.4     Disclosure of Information. Such Investor has received or has had full access to
all the information such Investor considers necessary or appropriate to make an informed investment
decision with respect to the Securities. Such Investor further has had an opportunity to ask questions and
receive answers from the Obligors regarding the terms and conditions of the offering of the Securities and
to obtain additional information (to the extent the Obligors possessed such information or could acquire it
without unreasonable effort or expense) necessary to verify any information furnished to such Investor or

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to which such Investor had access. The foregoing, however, does not in any way limit or modify the
representations and warranties made by the Obligors in Section 4.

                  5.5      Investment Experience. Such Investor understands that the purchase of the
Securities involves substantial risk. Such Investor has experience as an investor in securities of companies
in the development stage and acknowledges that such Investor is able to fend for itself, can bear the
economic risk of such Investor’s investment in the Securities. Such Investor either: (1) has such knowledge
and experience in financial or business matters that such Investor is capable of evaluating the merits and
risks of this investment in the Securities and protecting such Investor’s own interests in connection with
this investment in the Securities; or (2) has a preexisting personal or business relationship with the Company
and certain of its officers, directors or controlling persons of a nature and duration that enables such Investor
to be aware of the character, business acumen and financial circumstances of such persons.

                  5.6     Accredited Investor Status. Such Investor is familiar with the definition of, and
qualifies as, an “accredited investor” within the meaning of Regulation D promulgated under the Securities
Act. Such Investor represents that, if the Investor beneficially owns 20% or more of the Company’s
outstanding voting equity securities, neither such Investor, nor any person or entity with whom such
Investor shares beneficial ownership of Company securities and who would be deemed to beneficially own
20% or more of the Company’s outstanding voting equity securities, is subject to any of the “Bad Actor”
disqualifications described in Rule 506(d)(1)(i) to (viii) under the 1933 Act except as to which Rule
506(d)(2)(ii)-(iv) or (d)(3) is applicable.

                 5.7      Restricted Securities. Such Investor understands that the Securities are
characterized as “restricted securities” under the Securities Act and Rule 144 promulgated thereunder
(“Rule 144”) since they are being acquired from the Company in a transaction not involving a public
offering, and that under the Securities Act and applicable regulations thereunder the Securities may be
resold without registration under the Securities Act only in certain limited circumstances. Investor further
understands that the Company is under no obligation to register the Securities, and the Company has no
present plans to do so. Furthermore, such Investor is familiar with Rule 144, as presently in effect, and
understands the limitations imposed thereby and by the Securities Act on resale of the Securities without
such registration. Such Investor understands that, whether or not the Securities may be resold in the future
without registration under the Securities Act, no public market now exists for any of the Securities and that
it is uncertain whether a public market will ever exist for the Securities.

                 5.8      Further Limitations on Disposition. Without in any way limiting the
representations set forth above, such Investor further agrees not to make any disposition of all or any portion
of the Securities unless and until:

                         (a) there is then in effect a registration statement under the Securities Act
covering such proposed disposition and such disposition is made in accordance with such effective
registration statement; or

                          (b)    such Investor shall have notified the Company of the proposed disposition
and shall have furnished the Company with a statement of the circumstances surrounding the proposed
disposition and, at the expense of such Investor or its transferee, with an opinion of counsel reasonably
satisfactory in form and substance to the Company that such disposition will not require registration of such
Securities under the Securities Act.

Notwithstanding the provisions of clauses (a) and (b) of this Section 5.8, no such registration statement or
opinion of counsel shall be required for any transfer: (i) of any Securities in compliance with Rule 144 or
Rule 144A promulgated under the Securities Act when the Company is promptly provided evidence of

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such compliance (ii) of any Securities for no consideration by an Investor that is a partnership, a limited
liability company or a corporation to (A) a general or limited partner of such partnership, members of
such limited liability company or stockholders of such corporation, (B) an Affiliate of such partnership,
limited liability company or corporation, (C) a retired partner of such partnership who retires after the
date hereof, (D) the estate of any deceased partner of such partnership or deceased stockholders of such
corporation or deceased members of such limited liability company; or (iii) by gift, will or intestate
succession by any Investor to his or her spouse or lineal descendants or ancestors or any trust for any of
the foregoing; provided that in each of the foregoing cases the transferee agrees in writing to be subject to
the terms of this Section 5 to the same extent as if the transferee had been an original Investor hereunder.

                 5.9      “MARKET STAND-OFF” AGREEMENT. Each of the Notes contains a
market standoff provision prohibiting the Investors from selling the Company’s securities subsequent to
certain registered offerings of the Company’s capital stock. The market stand-off agreements are binding
upon such Investors and their transferees.

                5.10 Legends. Such Investor understands and agrees that the certificates evidencing
the Securities will bear legends substantially similar to those set forth below in addition to any other legend
that may be required by applicable law, the Company’s Certificate of Incorporation or Bylaws, Section 5.8
of this Agreement, or any other agreement between the Company and such Investor:

                 (a)   THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN
REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR UNDER
THE SECURITIES LAWS OF APPLICABLE STATES. THESE SECURITIES ARE SUBJECT TO
RESTRICTIONS ON TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR
RESOLD EXCEPT AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES
LAWS, PURSUANT TO REGISTRATION UNDER SUCH LAWS OR AN EXEMPTION FROM SUCH
REGISTRATION REQUIREMENT. INVESTORS SHOULD BE AWARE THAT THEY MAY BE
REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE
PERIOD OF TIME. THE ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF
COUNSEL IN FORM AND SUBSTANCE SATISFACTORY TO THE ISSUER TO THE EFFECT THAT
ANY PROPOSED TRANSFER OR RESALE IS IN COMPLIANCE WITH THE ACT AND ALL
APPLICABLE STATE SECURITIES LAWS.

                    (b)   THE SECURITIES REPRESENTED BY THIS CERTIFICATE
        ARE SUBJECT TO A LOCK-UP PERIOD OF UP TO 180 DAYS AFTER THE
        EFFECTIVE DATE OF THE ISSUER’S REGISTRATION STATEMENT FILED UNDER
        THE SECURITIES ACT OF 1933, AS AMENDED, AS SET FORTH IN AN AGREEMENT
        BETWEEN THE COMPANY AND THE ORIGINAL HOLDER OF THESE SECURITIES,
        A COPY OF WHICH MAY BE OBTAINED AT THE ISSUER’S PRINCIPAL OFFICE.
        SUCH LOCK-UP PERIOD IS BINDING ON TRANSFEREES OF THESE SECURITIES.

                         (c)     Any legend required by the laws of the State of the Company’s formation,
                         or any State securities laws.

The legend set forth in (a) above shall be removed by the Company from any certificate evidencing the
Securities upon delivery to the Company of an opinion of counsel, reasonably satisfactory in form and
substance to the Company, that either (i) a registration statement under the Securities Act is at that time in
effect with respect to the legended security or (ii) such security can be freely transferred in a public sale
(other than pursuant to Rule 144, Rule 144A or Rule 145 promulgated under the Securities Act) without
such a registration statement being in effect and that such transfer will not jeopardize the exemption or
exemptions from registration pursuant to which the Company issued the Securities.

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        6.      CONDITIONS TO CLOSING.

                 6.1    Conditions to Investors’ Obligations. The obligations of each Investor under
Section 2 of this Agreement are subject to the fulfillment or waiver, on or before each Closing, of each of
the following conditions, the waiver of which shall not be effective against any Investor who does not
consent to such waiver, which consent may only be given by written communication to the Company, or
its counsel:

                         (a)     each of the representations and warranties of the Company and any other
Obligor contained in Section 4 and in any other Financing Document shall be true and complete on and as
of such Closing after giving effect thereto and as if made on and as of the date of the relevant Closing.

                         (b)     the Company shall have performed and complied with all agreements,
obligations and conditions contained in this Agreement and the other Financing Documents that are
required to be performed or complied with by it on or before the relevant Closing and shall have obtained
all approvals, consents and qualifications necessary to complete the purchase and sale described herein.

                          (c)      the Company shall have delivered to each Investor at the relevant Closing
a certificate signed on its behalf by its President, Chief Executive Officer or Chief Financial Officer
certifying that (i) the conditions specified in Sections 6.1(a) and (b) have been fulfilled, (ii) the Company
and its Subsidiaries are Solvent on a consolidated basis; and (iii) no Default or Event of Default exists.

                          (d)     the Company shall have executed and delivered to each Investor a Note,
in the form attached hereto as Exhibit A, evidencing the Company’s Debt to such Investor in the amount
set forth next to such Investor’s name in Schedule A, as updated to reflect the principal amount of Notes to
be sold to such Investor at such Closing.

                         (e)    The Collateral Agent and Bank of America shall have executed and
delivered the Intercreditor Agreement.

                       (f)    The Company shall have executed and delivered the Security Agreement
and this Agreement and acknowledged the Intercreditor Agreement.

                           (g)    The Company shall have executed and delivered to the Cowen Investors
that certain side letter agreement between the Company and the Cowen Initial Investors.

                         (h)       The Company shall have executed and delivered to the Collateral Agent
short form intellectual property security agreements for filing with the United States Copyright Office and
the United States Patent and Trademark Office or any similar office or agency in any other country or any
political subdivision thereof, in each case in the form set forth on Exhibit D.

                          (i)     Upon the reasonable request of any Investor made at least five (5) Business
Days prior to the relevant Closing, the Company shall have provided to such Investor, and such Investor
shall be reasonably satisfied with, the documentation and other information so requested in connection with
applicable “know your customer” and anti-money-laundering rules and regulations, including, without
limitation, the PATRIOT Act, in each case at least 5 days prior to the relevant Closing.

                         (j)     [Reserved].

                        (k)     Prior to or substantially concurrently with the occurrence of the Initial
Closing, the Refinancing shall have been consummated and the Investors shall have received, in form and

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substance satisfactory to the Investors, a payoff letter and other lien release documentation for the Hercules
Facility which confirms the Refinancing.

                         (l)      On or prior to Initial Closing:

                                 (i)      the Investors shall have received in a form suitable for filing all
filings, documents or recordations necessary to perfect the Collateral Agent’s Liens in the Collateral, as
well as UCC and Lien searches and other evidence reasonably satisfactory to the Investors that such Liens
are the only Liens upon the Collateral, except Permitted Liens;

                                 (ii)     the Investors shall have received a certificate of a duly authorized
officer of each Obligor, certifying (A) that attached copies of such Obligor’s Organic Documents are true
and complete, and in full force and effect, without amendment except as shown; (B) that an attached copy
of resolutions authorizing execution and delivery of the Financing Documents to which it is a party is true
and complete, and that such resolutions are in full force and effect, were duly adopted, have not been
amended, modified or revoked, and constitute all resolutions adopted with respect to the Financing
Documents; and (C) to the title, name and signature of each Person authorized to sign the applicable
Financing Documents. The Investors may conclusively rely on this certificate until they are otherwise
notified by the applicable Obligor in writing;

                              (iii)   the Investors shall have received a written opinion of Fenwick &
West LLP in form and substance reasonably satisfactory to the Investors;

                                 (iv)     the Investors shall have received copies of the charter documents
of each Obligor, certified by the Secretary of State or other appropriate official of such Obligor’s
jurisdiction of organization. The Investors shall have received good standing certificates for each Obligor,
issued by the Secretary of State or other appropriate official of such Obligor’s jurisdiction of organization
and such Obligor’s headquarters or principal place of business;

                                 (v)     the Company shall have paid all fees and expenses to be paid to
the Investors and the Collateral Agent on the date of Initial Closing;

                                  (vi)     the Investors shall have received (i) certificates of insurance for
the insurance policies carried by the Obligors to (x) all “All Risk” policies (including, without limitation,
business interruption policies to the extent maintained by any Obligor from time to time) naming the
Collateral Agent, on behalf of the Secured Parties, as loss payee, and (y) all general liability policies naming
the Collateral Agent, the Investors and the other Secured Parties as additional insureds, and (ii) legends
providing that no cancellation, material reduction in amount or material change in insurance coverage
thereof shall be effective until at least twenty (20) days (or ten (10) days with respect to failing to pay
premiums) after receipt by the Collateral Agent of written notice thereof; and

                                  (vii)    the Investors shall have received a Perfection Certificate by, and
in respect of, each Obligor.

                6.2     Condition to Company’s Obligations. The obligations of the Company to each
Investor under this Agreement are subject to the fulfillment or waiver on or before each Closing of the
following conditions by such Investor:

                         (a)     Each of the representations and warranties of such Investor contained in
Section 5 shall be true and complete on and as of the relevant Closing after giving effect thereto and as if
made on and as of the date of the relevant Closing.

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                       (b)      Such Investor shall have executed and delivered counterpart signature
pages to this Agreement and shall have acknowledged its Note.

                 (c)    Such Investor shall have executed and delivered a validly completed IRS
Form W-8BEN/W-8BEN-E, IRS Form W-9 or similar form.


        7.       COVENANTS.

                 7.1     Affirmative Covenants. For so long as the Notes are outstanding, the Company
will:

                        (a)      Financial Statements and Other Information. Keep adequate records and
books of account with respect to its business activities, in which proper entries are made in accordance with
GAAP reflecting all financial transactions; and furnish to the Investors holding outstanding Notes:

                                  (i)      as soon as available, and in any event within 120 days after the
close of each fiscal year, balance sheets as of the end of such fiscal year and the related statements of
income, cash flow and shareholders equity for such fiscal year, on consolidated and consolidating bases for
Obligors and Subsidiaries, which consolidated statements shall be audited and certified (without
qualification (or similar notation) as to scope or going concern (it being understood that any qualification
with respect to the stated maturity date of the Notes or the Senior Bank Debt is permissible)) by a firm of
independent certified public accountants of recognized standing selected by Obligors, and shall set forth in
comparative form corresponding figures for the preceding fiscal year and other information acceptable to
the Collateral Agent;

                                (ii)    as soon as available, and in any event within 30 days after the end
of each month, unaudited balance sheets as of the end of such month and the related statements of income
and cash flow for such month and for the portion of the fiscal year then elapsed, on consolidated and
consolidating bases for Obligors and Subsidiaries, setting forth in comparative form corresponding figures
for the preceding fiscal year and certified by the chief financial officer or other Senior Officer of the
Company as prepared in accordance with GAAP and fairly presenting the financial position and results of
operations for such month and period, subject to normal year-end adjustments and the absence of footnotes;

                                 (iii)   concurrently with delivery of financial statements under clauses
(i) and (ii) above, or more frequently if requested by the Collateral Agent during the continuance of a
Default or Event of Default, a Compliance Certificate executed by the chief financial officer or other Senior
Officer of the Company;

                                (iv)    concurrently with delivery of financial statements under clause (i)
above, copies of all management letters and other material reports submitted to Obligors by their
accountants in connection with such financial statements;

                                    (v)      not later than 45 days after the commencement of each fiscal
quarter, a certificate of a Senior Officer listing (A) all applications filed or acquired by the Company for
copyrights, patents or trademarks since the date of the prior certificate (or, in the case of the first such
certificate, since the date hereof), (B) all acquired registrations or issuances of registrations or letters on
existing applications by the Company for copyrights, patents and trademarks received since the date of the
prior certificate (or, in the case of the first such certificate, since the date hereof), and (C) all trademark
licenses, copyright licenses and patent licenses entered into by the Company since the date of the prior
certificate (or, in the case of the first such certificate, the date hereof);

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                                 (vi)    not later than 45 days after the commencement of each fiscal year,
projections of Obligors’ consolidated balance sheets, results of operations and cash flow for such fiscal year
month by month, and for the next three (3) fiscal years, year by year;

                                  (vii) promptly after the sending or filing thereof, copies of any proxy
statements, financial statements or reports that any Obligor has made generally available to its shareholders;
copies of any regular, periodic and special reports or registration statements or prospectuses that any
Obligor files with the Securities and Exchange Commission or any other Governmental Authority, or any
securities exchange; and copies of any press releases or other statements made available by an Obligor to
the public concerning material changes to or developments in the business of such Obligor;

                                  (viii) promptly after the sending or filing thereof, copies of any annual
report to be filed in connection with each Plan or Foreign Plan;

                                 (ix)    such other reports and information (financial or otherwise) as the
Collateral Agent may request from time to time in connection with any Collateral or any Obligor’s,
Subsidiary’s or other Obligor’s financial condition or business;

                                  (x)     as soon as available, and in any event within 120 days after the
close of each fiscal year, financial statements for each Guarantor, in form and substance reasonably
satisfactory to the Collateral Agent; and

                                (xi)   promptly following any request therefor, provide information and
documentation reasonably requested by the Collateral Agent or any Investor for purposes of compliance
with applicable “know your customer” and anti-money-laundering rules and regulations, including, without
limitation, the PATRIOT Act.

Information required to be delivered pursuant to Section 7.1(a) may be delivered electronically and if so
delivered, shall be deemed to have delivered on the date (i) on which the Company posts such information
or provides a link thereto on the Company’s website on the internet at http://www.proterra.com or at
http://www.sec.gov and promptly notifies the Collateral Agent and the Investors of such posting or (ii) on
which such information is posted on the Company’s behalf on any Internet or intranet website, if any, to
which the Collateral Agent and the Investors have been granted access and have been promptly notified of
such posting (whether a commercial, third party website or whether sponsored by the Collateral Agent).

                          (b)      Access and Inspections. Permit the Collateral Agent up to one (1) time per
calendar year (or more frequently if a Default or Event of Default has occurred and is continuing), subject
to reasonable notice and normal business hours, to visit and inspect the properties of any Obligor or
Subsidiary, inspect, audit and make extracts from any Obligor’s or Subsidiary’s books and records, discuss
with its officers, employees, agents, advisors and independent accountants such Obligor’s or Subsidiary’s
business, financial condition, assets, prospects and results of operations. The Investors may participate in
any such visit or inspection, at their own expense. The Secured Parties shall have no duty to any Obligor to
make any inspection, nor to share any results of any inspection, appraisal or report with any Obligor. The
Obligors acknowledge that all inspections, appraisals and reports are prepared by the Collateral Agent and
the Investors for their purposes, and the Obligors shall not be entitled to rely upon them. The Company
shall reimburse the Collateral Agent for all its reasonable and documented out-of-pocket charges, costs and
expenses in connection with examinations of the Obligors’ books and records or any other financial or
Collateral matters as it deems appropriate, in an amount not to exceed $15,000, up to one (1) time per
calendar year; provided, that during the continuance of a Default or Event of Default, all reasonable and
documented out-of-pocket charges, costs and expenses relating thereto shall be reimbursed by the Obligors
without regard to such limits.

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                          (c)     Notices. Notify the Collateral Agent and the Investors in writing, promptly
after an Obligor’s obtaining knowledge thereof, of any of the following that affects an Obligor: (i) the threat
or commencement of any proceeding or investigation, whether or not covered by insurance, that would
reasonably be expected to have a Material Adverse Effect; (ii) any pending or threatened labor dispute,
strike or walkout, or the expiration of any material labor contract; (iii) any default under or termination of
a Material Contract; (iv) the existence of any Default or Event of Default; (v) any judgment in an amount
exceeding $2,000,000; (vi) the assertion of any Intellectual Property Claim that would reasonably be
expected to have a Material Adverse Effect; (vii) any violation or asserted violation of any Applicable Law
(including ERISA, OSHA, FLSA, or any Environmental Laws that would reasonably be expected to have
a Material Adverse Effect; (viii) any Environmental Release by an Obligor or on any property owned,
leased or occupied by an Obligor; or receipt of any Environmental Notice; (ix) the occurrence of any ERISA
Event; (x) the discharge of or any withdrawal or resignation by Obligors’ independent accountants; or (xi)
any opening of a new office or place of business, at least 10 days prior to such opening.

                        (d)     Landlord and Storage Agreements. Promptly following request, provide
the Collateral Agent copies of (i) all existing agreements and (ii) after execution thereof, all future
agreements, between an Obligor and any landlord, warehouseman, processor, shipper, bailee or other
Person that owns any premises at which any Collateral consisting of Equipment or Inventory may be kept
or that otherwise may possess or handle any Collateral consisting of Equipment or Inventory.

                          (e)     Compliance with Laws. Comply with all Applicable Laws, including
ERISA, Environmental Laws, FLSA, OSHA, anti-terrorism laws, and laws regarding collection and
payment of Taxes, and maintain all Governmental Approvals necessary to the ownership of its properties
or conduct of its business, unless failure to comply (other than failure to comply with anti-terrorism laws)
or maintain could not reasonably be expected to have a Material Adverse Effect. Without limiting the
generality of the foregoing, if any Environmental Release occurs at or on any properties of any Obligor or
Subsidiary, it shall act promptly and diligently to investigate and report to the Investors and all appropriate
Governmental Authorities the extent of, and to make appropriate remedial action to eliminate, such
Environmental Release to the extent required by Environmental Laws, whether or not directed to do so by
any Governmental Authority.

                          (f)     Taxes. Pay and discharge all Taxes prior to the date on which they become
delinquent or interest or penalties attach, unless such Taxes are being Properly Contested, and unless such
unpaid Taxes are not material in amount and no Lien is imposed.

                          (g)     Insurance. In addition to the insurance required hereunder with respect to
Collateral, maintain insurance with insurers (with a Best rating of at least A+, unless otherwise approved
by the Collateral Agent in its reasonable discretion) reasonably satisfactory to the Collateral Agent, (i) with
respect to the properties and business of the Obligors and the Subsidiaries of such type (including product
liability, workers’ compensation, larceny, embezzlement, or other criminal misappropriation insurance), in
such amounts, and with such coverages and deductibles as are customary for companies similarly situated;
and (ii) business interruption insurance, in such amounts, and with such coverages and deductibles as are
customary for companies similarly situated.

                         (h)     Licenses. Keep each material License affecting any Collateral (including
the manufacture, distribution or disposition of Inventory) unless the failure to do so would not materially
impact the Collateral Agent’s ability to exercise its rights and remedies with respect to the Collateral or the
failure to do so would not reasonably be expected to result in a Material Adverse Effect.

                        (i)     Future Subsidiaries. As soon as practicable but in any event within thirty
(30) Business Days following the acquisition or creation (by Division or otherwise) of any Subsidiary (other

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than an Excluded Subsidiary), or the time any existing Excluded Subsidiary ceases to be an Excluded
Subsidiary, cause to be delivered to the Investors notice thereof and each of the following, as applicable:

                                 (i)      a joinder agreement reasonably acceptable to the Collateral Agent
duly executed by such Subsidiary sufficient to cause such Subsidiary to become a Guarantor, together with
executed counterparts of each other Financing Document reasonably requested by the Collateral Agent,
including the Security Agreement and other documents reasonably requested to establish and preserve the
Lien of the Collateral Agent in all Collateral of such Subsidiary;

                                   (ii)    UCC financing statements naming such Person as “Debtor” and
naming the Collateral Agent for the benefit of the Secured Parties as “Secured Party,” in form, substance
and number sufficient in the reasonable opinion of the Collateral Agent and its special counsel to be filed
in all UCC filing offices and in all jurisdictions in which filing is necessary to perfect in favor of the
Collateral Agent for the benefit of the Secured Parties the Lien on the Collateral conferred under any
Security Document to the extent such Lien may be perfected by UCC filing, and pledge agreements, control
agreements, documents and original collateral (including pledged Equity Interests (other than Excluded
Equity Interests), Securities and Instruments) and such other documents and agreements as may be
reasonably required by the Collateral Agent, all as necessary to establish and maintain a valid, perfected
security interest in all Collateral in which such Subsidiary has an interest consistent with the terms of the
Financing Documents;

                               (iii)    upon the request of the Collateral Agent, an opinion of counsel to
each such Subsidiary and addressed to the Collateral Agent, in form and substance reasonably acceptable
to the Collateral Agent; and

                                 (iv)     current copies of the Organic Documents of each such Subsidiary,
together with minutes of duly called and conducted meetings (or duly effected consent actions) of the board
of directors, partners, or appropriate committees thereof (and, if required by such Organic Documents or
applicable law, of the shareholders, members or partners) of such Person authorizing the actions and the
execution and delivery of documents described in this Section 7.1(i), all certified by the applicable
Governmental Authority or appropriate officer as the Collateral Agent may elect.

                        (j)     Anti-Corruption Laws. Conduct its business in compliance with
applicable anti-corruption laws and maintain policies and procedures designed to promote and achieve
compliance with such laws.

                          (k)     Minimum Liquidity. The Company and its Subsidiaries shall maintain
Liquidity as of the last day of each quarter of not less than the greater of (i) seventy-five million Dollars
($75,000,000) and (ii) an amount equal to the product of multiplying (1) the amount of “Cash Burn” from
operations for the three (3) month period ending on the end of such month by (2) four (4).

                  7.2     Negative Covenants. For so long as the Notes are outstanding, the Company shall
not (and shall cause each of its Subsidiaries not to) without the prior written consent of the Required Holders
(in addition to any other written consent or vote required to be obtained pursuant to the Restated Certificate):

                         (a)      Debt. Create, incur, guarantee or suffer to exist any Debt, except:

                                  (i)      the Obligations;

                               (ii)    Debt existing on the date hereof and set forth in Section 7.2(a) of
the Disclosure Schedule and Permitted Refinancings thereof;

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                                  (iii)   the Senior Bank Debt so long as the aggregate outstanding
principal amount thereof does not exceed the lesser of (1) $75,000,000 and (2) the sum of (A) the Borrowing
Base (as defined in the Senior Loan Agreement as in effect on the date hereof) which, if applicable, shall
be calculated after giving effect to the Availability Block (as defined in the Senior Loan Agreement as in
effect on the date hereof), plus (B) $3,000,000 of Bank Products constituting Senior Bank Debt;

                                 (iv)     Permitted Purchase Money Debt and Permitted Refinancings
thereof;

                                 (v)      [Reserved];

                                  (vi)    (1) Debt that is in existence when a Person becomes a Subsidiary
or that is secured by an asset when acquired by an Obligor or Subsidiary, as long as such Debt was not
incurred in contemplation of such Person becoming a Subsidiary or such acquisition, so long as the
aggregate principal amount of all Debt incurred in reliance on this clause (vi) shall not exceed $10,000,000
at any time, and (2) Debt arising from agreements providing for indemnification, adjustment of purchase
price, earnout or other similar obligations, in each case, incurred or assumed in connection with the
acquisition or disposition of any business, assets or a Subsidiary, and in each case, Permitted Refinancings
thereof;

                                 (vii)    Permitted Contingent Obligations;

                                 (viii)   [Reserved];

                               (ix)    Debt in respect of Hedging Agreements entered into in the
Ordinary Course of Business and not for speculative purposes;

                                 (x)      Debt incurred in connection with the financing of insurance
premiums;

                                (xi)   Debt owed to any Person providing workers’ compensation,
health, disability or other employment benefits or property, casualty or liability insurance, pursuant to
reimbursement or indemnification obligations to such Person, in each case incurred in the Ordinary Course
of Business;

                                  (xii) Debt in respect of completion bonds, performance bonds, bid
bonds, appeal bonds and surety bonds and similar obligations and reimbursement obligations under letters
of credit securing completion bonds, performance bonds, bid bonds, appeal bonds, surety bonds, operating
leases and similar obligations, in each case, provided in the Ordinary Course of Business;

                                 (xiii) Debt incurred in connection with cash management services,
including treasury, depository, overdraft, credit or debit card, purchasing cards, electronic funds transfer,
automatic clearing house arrangements, cash pooling arrangements, netting services, merchant services and
other similar arrangements of the Company or any Subsidiary, in each case in the Ordinary Course of
Business in an aggregate principal amount for all such Debt under this clause (xiii) not to exceed
$2,000,000;

                                 (xiv) reimbursement obligations in connection with letters of credit
issued for the account of the Company or its Subsidiaries in an aggregate amount to not exceed $3,000,000;




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                                (xv)    Debt incurred as a result of endorsing negotiable instruments
received in the Ordinary Course of Business;

                                 (xvi) intercompany Debt (1) among any Obligor and any other Obligor,
so long as such Debt is subordinated to the Obligations (2) owed by any Obligor to a Subsidiary that is not
an Obligor, so long as (A) such Debt is subordinated to the Obligations and (B) the aggregate amount of all
Debt under this clause (2) does not exceed $500,000, or (3) owed by any Subsidiary that is not an Obligor
to any Obligor, so long as the aggregate amount of all Debt under this clause (3) does not exceed $500,000;

                                 (xvii) Debt pursuant to the Hercules Facility; provided that the
Refinancing occurs prior to or substantially concurrently with the occurrence of the Initial Closing;

                                  (xviii) other Debt so long as the outstanding aggregate principal amount
of all Debt under this clause (xvii) does not exceed $2,000,000; and

provided that the Company and its Subsidiaries shall not be permitted to incur any Convertible Debt or any
Subordinated Debt in reliance on the foregoing paragraphs (i) to and including (xvii).

                       (b)    Liens. Create or suffer to exist any Lien on any property or asset of the
Company or any of its Subsidiaries whether now owned by it or hereafter acquired, except (collectively,
“Permitted Liens”):

                                 (i)     Liens in favor of the Collateral Agent;

                                (ii)   any Lien on any property or asset of the Company or any of its
Subsidiaries existing on the date hereof and set forth in Disclosure Schedule and Liens securing any
Permitted Refinancings thereof;

                                 (iii)   Liens securing the Senior Bank Debt;

                               (iv)    Purchase Money Liens securing Permitted Purchase Money Debt
and Liens securing any Permitted Refinancings thereof;

                                 (v)     Liens for Taxes not yet due or being Properly Contested;

                                  (vi)    statutory Liens (other than Liens for Taxes or imposed under
ERISA) arising in the Ordinary Course of Business, but only if (1) payment of the obligations secured
thereby is not yet due or is being Properly Contested, and (2) such Liens do not materially impair the value
or use of the property or materially impair operation of the business of any Obligor or Subsidiary;

                                  (vii) Liens incurred or deposits made in the Ordinary Course of
Business to secure the performance of government tenders, bids, contracts, statutory obligations and other
similar obligations, as long as such Liens are required or provided by law;

                               (viii) Liens securing claims or demands of materialmen, artisans,
mechanics, carriers, warehousemen, landlords and other like Persons arising in the ordinary course of the
Company's business and imposed without action of such parties; provided, that the payment thereof is not
yet required;




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                                 (ix)   Liens arising from judgments, decrees or attachments in
circumstances which do not constitute an Event of Default hereunder so long as such Liens are at all times
junior to the Collateral Agent’s Liens;

                                (x)     easements, rights-of-way, restrictions, covenants or other
agreements of record, and other similar charges or encumbrances on Real Estate, that do not secure any
monetary obligation and do not interfere with the Ordinary Course of Business;

                                 (xi)     normal and customary rights of setoff upon deposits in favor of
depository institutions, and Liens of a collecting bank on Payment Items in the course of collection;

                                (xii) Liens on assets acquired in a Permitted Acquisition, securing Debt
permitted by Section 7.2(a) and Liens securing any Permitted Refinancings thereof;

                               (xiii) leases, licenses, subleases and sublicenses granted to others in the
Ordinary Course of Business that do not interfere in any material respect with the business of the Company
and its Subsidiaries;

                                  (xiv) Liens arising from UCC financing statements filed regarding
operating leases entered into in the Ordinary Course of Business;

                                (xv)     Liens in favor of customs or revenue authorities to secure payment
of customs duties in connection with the importation of goods;

                              (xvi) Liens solely on cash earnest money deposits made by the
Company or any Subsidiary in connection with any letter of intent or purchase agreement not prohibited
under this Agreement;

                                (xvii) Liens securing attachments, appeal bonds, judgments and other
similar obligations in connection with court proceedings or judgments that do not constitute an Event of
Default;

                                 (xviii) any interest or title of a lessor or sublessor and any lender to a
lessor or sublessor under any lease or sublease not prohibited by this Agreement, in each case pertaining to
assets that are not owned by the Company or any Subsidiary and to the extent such lease or sublease has
been entered into by the Company or any Subsidiary in the Ordinary Course of Business and covering only
the assets so leased;

                                  (xix) Liens, arising in the Ordinary Course of Business, (1) of a
collection bank arising under Section 4-210 of the UCC on items in the course of collection, and (2) in
favor of a financial institution encumbering deposits (including brokers’ Liens, bankers’ Liens, rights of
set-off and other similar Liens and cash security deposits) that are within the general parameters customary
in the banking industry, including with respect to deposit accounts, cash management services, including
treasury, depository, overdraft, credit or debit card, purchasing cards, electronic funds transfer, automatic
clearing house arrangements, cash pooling arrangements, netting services, merchant services and other
similar arrangements of the Company or any Subsidiary, in each case in the Ordinary Course of Business,
and not in respect of any Debt by such bank or other financial institution to the Company);

                                  (xx)   Liens (other than any Lien imposed by ERISA) consisting of (1)
pledges or deposits required in the Ordinary Course of Business in connection with workers’ compensation,
unemployment insurance and other social security legislation, (2) deposits to secure the performance of

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tenders, statutory obligations, surety, stay, customs and appeals bonds, bid bonds, indemnity obligations,
operating leases, governmental contracts, trade contracts, completion bonds, performance bonds, and return
of money bonds and other similar obligations (exclusive of obligations for the payment of borrowed
money), or to secure letters of credit in respect thereof, or (3) pledges to secure liability to insurance carriers,
in each case, in the Ordinary Course of Business;

                                    (xxi) Liens on cash securing reimbursement obligations in connection
with letters of credit issued for the account of the Company or its Subsidiaries permitted pursuant to Section
7.2(a)(xiv);

                                   (xxii) restrictions on the Company’s ability to encumber certain of its
property (other than Accounts and Inventory and proceeds thereof) with respect to which the Company
received (or is entitled to receive) reimbursement payments under the CEC Agreements and any rights that
the applicable governmental entity enjoys in such property (other than Accounts and Inventory and
proceeds thereof) under the CEC Agreements; and

                                (xxiii) other Liens attached to Collateral securing obligations in an
aggregate principal amount not to exceed $2,000,000; and

                                 (xxiv) Liens in favor of the Hercules Facility provided that such Liens
are released and terminated in full prior to or substantially concurrently with the occurrence of the Initial
Closing,

         provided, that no Permitted Liens in favor of third parties (other than statutory or other
nonconsensual Permitted Liens or Liens in favor of the Senior Bank Debt) shall attach to Company’s or
any of its Subsidiaries’ Intellectual Property.

                          (c)      Investments. Make any Investment except:

                                   (i)      Investments in Subsidiaries to the extent existing on the date of
Initial Closing;

                                (ii)     Cash Equivalents that, to the extent required under the Security
Agreement, are subject to the Collateral Agent’s Lien and control, pursuant to documentation in form and
substance reasonably satisfactory to the Collateral Agent;

                                   (iii)    loans and advances permitted under Section 7.2(f);

                                   (iv)     Permitted Acquisitions;

                              (v)     other Investments (other than Acquisitions) so long as the
aggregate amount of Investments made under this clause (v) do not exceed $2,000,000;

                                    (vi)     Investments consisting of extensions of credit in the nature of
accounts receivable or notes receivable arising from the grant of trade credit in the Ordinary Course of
Business and payable or dischargeable in accordance with customary trade terms, and Investments received
in satisfaction or partial satisfaction thereof from financially troubled Account Debtors and other creditors
to suppliers in the Ordinary Course of Business; provided, however, that such trade terms may include such
concessionary trade terms as the Company or any such Subsidiary deems reasonable under the
circumstances;



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                                (vii) Investments consisting of cashless loans made by the Company to
officers, directors and employees of the Company or any Subsidiary that are used by such Persons to
simultaneously purchase equity interests of the Company; provided that such equity interests of the
Company shall be pledged and delivered to the Collateral Agent (or the collateral agent under the Senior
Loan Agreement, as applicable) in form and substance reasonably satisfactory to the Collateral Agent
pursuant to a pledge agreement as collateral security for the Obligations; or

                                 (viii) Investments consisting of endorsements of negotiable instruments
for collection in the Ordinary Course of Business.

                         (d)      Distribution; Upstream Payments.

                                  (i)      Declare or make any Distributions, except:

                                           (1)     Upstream Payments;

                                         (2)     Each Obligor may declare and make Distributions with
respect to its Equity Interests payable solely in additional shares of its Equity Interests so long as the
Investors have received at least 10 Business Days’ prior written notice of any record date in respect of such
Distribution;

                                           (3)     the Company may make Distributions to redeem in whole
or in part any of its Equity Interests for another class of its Equity Interests or rights to acquire its Equity
Interests or with proceeds from substantially concurrent equity contributions or issuances of new Equity
Interests; provided that the only consideration paid for any such redemption is Equity Interests of the
Company or the proceeds of any substantially concurrent equity contribution or issuance of Equity Interests;

                                           (4)      the Company may (x) repurchase fractional shares of its
Equity Interests arising out of stock dividends, splits or combinations, business combinations or conversions
of convertible securities or exercises of warrants or options or (y) “net exercise” or “net share settle”
warrants or options;

                                          (5)      the Company may redeem or otherwise cancel Equity
Interests or rights in respect thereof granted to (or make payments on behalf of) directors, officers,
employees or other providers of services to the Company and the Subsidiaries in an amount required to
satisfy tax withholding obligations relating to the vesting, settlement or exercise of such Equity Interests or
rights;

                                           (6)     the Company may repurchase Equity Interests or rights in
respect thereof granted to directors, officers, employees or other providers of services to the Company and
the Subsidiaries at the original purchase price of such Equity Interests or rights in respect thereof pursuant
to a right of repurchase set forth in equity compensation plans in connection with a cessation of service;
and

                                         (7)      the receipt or acceptance by the Company or any
Subsidiary of the return of Equity Interests issued by the Company or any Subsidiary to the seller of a
Person, business or division as consideration for the purchase of such Person, business or division, which
return is in settlement of indemnification claims owed by such seller in connection with such acquisition;
or




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                                   (ii)    Create or suffer to exist any encumbrance or restriction on the
ability of a Subsidiary to make any Upstream Payment, except for (1) restrictions under this Agreement or
the Senior Loan Agreement, (2) restrictions under Applicable Law, (3) restrictions in effect on the date of
Initial Closing as shown on Section 4.15 of the Disclosure Schedule, (4) customary restrictions and
conditions contained in agreements relating to the sale of a Subsidiary or assets of the Company or any
Subsidiary pending such sale, provided that such restrictions and conditions apply only to the Subsidiary
or assets to be sold and such sale is not prohibited hereunder, (5) any agreement or restriction or condition
in effect at the time any Person becomes a Subsidiary, so long as such agreement was not entered into solely
in contemplation of such Person becoming a Subsidiary (but shall apply to any extension or renewal of, or
any amendment or modification materially expanding the scope of, any such restrictions or conditions taken
as a whole), (6) restrictions or conditions imposed by any agreement relating to secured Debt permitted by
this Agreement or the Senior Loan Agreement if such restrictions or conditions apply only to the property
or assets securing such Debt, (7) customary provisions in leases, licenses, sub-leases and sub-licenses and
other contracts restricting the assignment thereof or restricting the grant of Liens in such lease, license, sub-
lease, sub-license or other contract, and (8) restrictions on cash or other deposits (including escrowed funds)
imposed under contracts entered into in the Ordinary Course of Business or restrictions imposed by the
terms of a Permitted Lien on the property subject to such Permitted Lien.

                        (e)     Disposition of Assets. Make any Asset Disposition, except a Permitted
Asset Disposition, a replacement of equipment that is worn, damaged or obsolete with equipment that is
used or useful in the business of the Obligors, if the replacement equipment is acquired substantially
contemporaneously with such disposition and is free of Liens other than Permitted Liens, or a transfer of
property by a Subsidiary or Obligor to a Obligor.

                        (f)      Loans. Make any loans or other advances of money to any Person, except
(i) advances to an officer or employee for salary, travel expenses, commissions and similar items in the
Ordinary Course of Business, (ii) prepaid expenses and extensions of trade credit made in the Ordinary
Course of Business; (iii) deposits with financial institutions permitted hereunder; and (iv) as long as no
Default or Event of Default exists, intercompany loans by an Obligor to another Obligor.

                        (g)    Restrictions on Payment of Subordinated Debt. Make any payments
(whether voluntary or mandatory, or a prepayment, redemption, retirement, defeasance or acquisition) with
respect to any Subordinated Debt.

                          (h)     Fundamental Changes. Change its name or conduct business under any
fictitious name; change its tax, charter or other organizational identification number; change its form or
state of organization; liquidate, wind up its affairs or dissolve itself; or merge, combine or consolidate with
any Person, whether in a single transaction or in a series of related transactions, except for (i) mergers or
consolidations of a wholly-owned Subsidiary with another wholly-owned Subsidiary or into an Obligor; or
(ii) Permitted Acquisitions, but only so long as an Obligor is the surviving entity of any Permitted
Acquisition.

                         (i)     Subsidiaries. Form or acquire any Subsidiary after the date of Initial
Closing, except in accordance with Sections 7.1(i) or 7.2(c) and 7.2(h); or permit any existing Subsidiary
to issue any additional Equity Interests except directors’ qualifying shares.

                         (j)     Organic Documents. Amend, modify or otherwise change any of its
Organic Documents in a manner that could reasonably be expected to materially adversely affect the
interests of the Collateral Agent or the Investors, in each case, in such Peron’s capacity as noteholder or
secured creditor (and for the avoidance of doubt, not in any capacity as stockholder, warrantholder or other
equityholder), except in connection with a transaction permitted under Section 7.2(h).

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                        (k)     Tax Consolidation. File or consent to the filing of any consolidated
income tax return with any Person other than the Obligors and Subsidiaries.

                          (l)      Accounting Changes. Make any material change in accounting treatment
or reporting practices, except as required by GAAP or as recommended by the Company’s certified public
accountants and such change is disclosed to the Investors at least 5 Business Days in advance and is in
conformity with GAAP; or, unless the Company provides at least 30 days advance written notice to the
Investors, change its fiscal year.

                         (m)      Burdensome Contracts. Become a party to any Restrictive Agreement,
except a Restrictive Agreement (i) in effect on the date hereof, (ii) relating to secured Debt permitted
hereunder, as long as the restrictions apply only to collateral for such Debt, or (iii) constituting customary
restrictions on assignment in leases, Hedging Agreements and other contracts.

                         (n)     Hedging Agreements. Enter into any Hedging Agreement, except to
hedge risks arising in the Ordinary Course of Business and not for speculative purposes.

                         (o)       Conduct of Business. Engage to any material extent in any business
materially different than its business as conducted on the date hereof and any reasonably related or ancillary
thereto or reasonable extensions thereof.

                          (p)     Affiliate Transactions. Enter into or be party to any transaction with an
Affiliate, except (i) transactions expressly permitted by the Financing Documents on terms reasonably
disclosed to the Investors and not less favorable to the Company than could be obtained on an arm’s-length
basis from unrelated third parties, (ii) payment of reasonable compensation to directors, officers and
employees for services actually rendered, and payment of customary directors’, officers’ and employees’
indemnification claims, (iii) transactions among the Company and its Subsidiaries in respect of transfer
pricing, cost plus and cost sharing arrangements in the Ordinary Course of Business and on terms not less
favorable to the Company than could be obtained on an arm’s-length basis from unrelated third parties, (iv)
transactions solely among Obligors; (v) transactions with Affiliates consummated prior to the date hereof
and disclosed in Section 7.2(p) of the Disclosure Schedule, and (vi) transactions with Affiliates in the
Ordinary Course of Business, upon fair and reasonable terms fully disclosed to the Investors and no less
favorable than would be obtained in a comparable arm’s-length transaction with a non-Affiliate.

                         (q)     Plans. Become party to any Multiemployer Plan or Foreign Plan, other
than any in existence on the date hereof.

                         (r)     [Reserved].



        8.      RIGHTS OF INVESTORS UPON DEFAULT. Upon the occurrence of any Event of
Default (other than an Event of Default described in clause (j) of the definition thereof) and at any time
thereafter during the continuance of such Event of Default, the Required Holders may by written notice to
the Company, declare all outstanding Obligations to be immediately due and payable without presentment,
demand, protest or any other notice of any kind, all of which are hereby expressly waived, anything
contained herein or in the other Financing Documents to the contrary notwithstanding. Upon the occurrence
of any Event of Default described in clause (j) of the definition thereof, immediately and without notice, all
outstanding Obligations shall automatically become immediately due and payable, without presentment,
demand, protest or any other notice of any kind, all of which are hereby expressly waived, anything
contained herein or in the other Financing Documents to the contrary notwithstanding. In addition to the

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foregoing remedies, upon the occurrence and during the continuance of any Event of Default, the Secured
Parties may exercise any other right, power or remedy granted to them by any Financing Document or as
otherwise permitted by any law, either by suit in equity or by action at law, or both.

        9.      TAX MATTERS.

                 9.1     Withholding; Tax Payment. All payments by the Obligors on the Notes shall be
made without deduction or withholding for any Taxes, except as required by Applicable Law. If Applicable
Law requires the deduction or withholding of any Tax from any such payment by an Obligor, then such
Obligor shall be entitled to make such deduction or withholding based on information and documentation
provided pursuant to Section 6.2. If any Obligor is required by Applicable Law to withhold or deduct Taxes,
from any payment, then (i) such Obligor shall pay the full amount that it determines is to be withheld or
deducted to the relevant Governmental Authority pursuant to Applicable Law, and (ii) the sum payable by
the applicable Obligor shall be increased as necessary so that the applicable Investor receives an amount
equal to the sum it would have received had no such withholding or deduction been made; provided that,
no payment is required under this clause (ii) in respect of (x) Taxes imposed on an Investor due to a present
or former connection between it and the taxing jurisdiction (other than connections arising from an Investor
having executed, delivered, become party to, performed obligations or received payments under, received
or perfected a Lien or engaged in any other transaction pursuant to, enforced, or sold or assigned an interest
in, the Notes); (y) U.S. federal withholding Taxes imposed on amounts payable to or for the account of
such Investor with respect to the Notes pursuant to a law in effect when the Investor acquired the Notes,
except to the extent such Taxes were payable to an assignor immediately prior to an assignment; and (z)
U.S. federal withholding Taxes imposed pursuant to FATCA (clauses (x) through (z) collectively,
“Excluded Taxes”).

                 9.2     Other Taxes. The Obligors shall timely pay to the applicable Governmental
Authority all present or future stamp, court documentary, intangible, recording, filing or similar Taxes
(other than any Excluded Taxes) that arise from any payment made under, from the execution, delivery,
performance, enforcement or registration of, from the receipt or perfection of a Lien under, or otherwise
with respect to, any Note.

                 9.3    Register. Each Investor shall promptly notify the Company of any transfer or
assignment in accordance with Section 5.8. The Company shall maintain a register for the recordation of
the names, addresses and Note amounts of each Investor. The register shall be available for inspection by
any Investor, from time to time upon reasonable notice.

                9.4     Investment Unit. For federal income tax purposes, pursuant to Treasury
Regulations § 1.1273-2(h), the Company and the Investors acknowledge that the “issue price” of the Notes
at Closing is 100% of the stated principal amount of the Notes minus the fair market value and purchase
price of the Warrants; and the aggregate fair market value and purchase price of the Warrants is eight
million Dollars ($8,000,000) if one hundred million Dollars ($100,000,000) stated principal amount of
Notes are purchased and sixteen million Dollars ($16,000,000) if two hundred million Dollars
($200,000,000) stated principal amount of Notes are purchased. Each of the Obligors and the Investors
agree to use the foregoing issue price, fair market value and purchase price for U.S. federal income tax
purposes with respect to the transactions contemplated hereby (unless otherwise required by a final
determination by the IRS or a court of competent jurisdiction).




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        10.      GENERAL PROVISIONS.

                 10.1 Intercreditor Agreement. Each Investor, by purchasing a Note and becoming a
party to this Agreement, hereby agrees that each Secured Party will be bound by and will take no actions
contrary to the provisions of the Intercreditor Agreement.

                 10.2 Survival of Warranties and Covenants. The representations, warranties and
covenants of the Company and the Investors contained in or made pursuant to this Agreement shall survive
the execution and delivery of this Agreement, any Closing and any conversion of the Notes into Conversion
Stock in accordance with the terms of the Financing Documents and shall in no way be affected by any
investigation of the subject matter thereof made by or on behalf of any of the Investors or the Company, as
the case may be.

                  10.3 Successors and Assigns. The terms and conditions of this Agreement shall inure
to the benefit of and be binding upon the respective successors and assigns of the parties, provided, however,
that nothing in this Section 10.3 shall permit any of the Investors to transfer or assign any of the Securities
acquired under this Agreement except as provided in Section 5.

           10.4 Governing Law. UNLESS EXPRESSLY PROVIDED IN ANY FINANCING
DOCUMENT, THIS AGREEMENT, THE OTHER FINANCING DOCUMENTS AND ALL CLAIMS
SHALL BE GOVERNED BY THE LAWS OF THE STATE OF NEW YORK, WITHOUT GIVING
EFFECT TO ANY CONFLICT OF LAW PRINCIPLES THAT WOULD RESULT IN THE
APPLICATION OF THE LAWS OF A DIFFERENT JURISDICTION.

                10.5 Forum. EACH OBLIGOR HEREBY CONSENTS TO THE EXCLUSIVE
JURISDICTION OF ANY STATE COURT SITTING IN BOROUGH OF MANHATTAN OR THE
UNITED STATES DISTRICT COURT OF THE SOUTHERN DISTRICT OF NEW YORK, IN ANY
DISPUTE, ACTION, LITIGATION OR OTHER PROCEEDING RELATING IN ANY WAY TO ANY
FINANCING DOCUMENTS, AND AGREES THAT ANY DISPUTE, ACTION, LITIGATION OR
OTHER PROCEEDING SHALL BE BROUGHT BY IT SOLELY IN ANY SUCH COURT. EACH
OBLIGOR IRREVOCABLY AND UNCONDITIONALLY WAIVES ALL CLAIMS, OBJECTIONS
AND DEFENSES THAT IT MAY HAVE REGARDING ANY SUCH COURT’S PERSONAL OR
SUBJECT MATTER JURISDICTION, VENUE OR INCONVENIENT FORUM. EACH OBLIGOR AND
EACH SECURED PARTY IRREVOCABLY AND UNCONDITIONALLY SUBMITS TO THE
JURISDICTION OF SUCH COURTS AND CONSENTS TO SERVICE OF PROCESS IN THE
MANNER PROVIDED FOR NOTICES IN THE FINANCING DOCUMENTS. A final judgment in any
proceeding of any such court shall be conclusive and may be enforced in other jurisdictions by suit on the
judgment or any other manner provided by Applicable Law.

                  10.6 Waivers by Obligors. To the fullest extent permitted by Applicable Law, each
Obligor waives (a) the right to trial by jury (which the Secured Parties hereby also waive) in any proceeding
or dispute of any kind relating in any way to any Financing Documents, Obligations or Collateral under
this Agreement; (b) presentment, demand, protest, notice of presentment, default, non-payment, maturity,
release, compromise, settlement, extension or renewal of any commercial paper, accounts, documents,
instruments, chattel paper and guaranties at any time held by any Secured Party on which any Obligor may
in any way be liable, and hereby ratifies anything any Secured Party may do in this regard; (c) notice prior
to taking possession or control of any Collateral under this Agreement; (d) any bond or security that might
be required by a court prior to allowing any Secured Party to exercise any rights or remedies; (e) the benefit
of all valuation, appraisement and exemption laws; (f) any claim against any indemnitee, on any theory of
liability, for special, indirect, consequential, exemplary or punitive damages (as opposed to direct or actual
damages) in any way relating to any Enforcement Action, Obligations, Financing Documents or

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transactions relating thereto; and (g) notice of acceptance hereof. Each Obligor acknowledges that the
foregoing waivers are a material inducement to the Secured Parties to enter into the Financing Documents
and that they are relying upon the foregoing in their dealings with the Obligors. The Obligors have reviewed
the foregoing waivers with their legal counsel and have knowingly and voluntarily waived their jury trial
and other rights following consultation with legal counsel. In the event of litigation, this Agreement may
be filed as a written consent to a trial by the court.

                10.7 Counterparts. This Agreement may be executed in two or more counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the same
instrument. Counterparts may be delivered via electronic mail (including pdf or “tif”), or other transmission
method and any counterpart so delivered shall be deemed to have been duly and validly delivered and be
valid and effective for all purposes. Investors may (but shall have no obligation to) accept any signature,
contract formation or record-keeping through electronic means, which shall have the same legal validity
and enforceability as manual or paper-based methods, to the fullest extent permitted by Applicable Law,
including the Federal Electronic Signatures in Global and National Commerce Act, the New York State
Electronic Signatures and Records Act, or any similar state law based on the Uniform Electronic
Transactions Act. Upon request by any Investor, any electronic signature or delivery shall be promptly
followed by a manually executed or paper document.

                 10.8 Headings; Interpretation. The terms “herein,” “hereof,” “hereunder” and other
words of similar import refer to this Agreement as a whole and not to any particular section, paragraph or
subdivision. Any pronoun used shall be deemed to cover all genders. In the computation of periods of time
from a specified date to a later specified date, “from” means “from and including,” and “to” and “until”
each mean “to but excluding.” The terms “including” and “include” shall mean “including, without
limitation” and, for purposes of each Financing Document, the parties agree that the rule of ejusdem generis
shall not be applicable to limit any provision. Section titles appear as a matter of convenience only and shall
not affect the interpretation of any Financing Document. All references to (a) laws include all related
regulations, interpretations, supplements, amendments and successor provisions; (b) any document,
instrument or agreement include any amendments, waivers and other modifications, extensions or renewals
(to the extent permitted by the Financing Documents); (c) any section mean, unless the context otherwise
requires, a section of this Agreement; (d) any exhibits or schedules mean, unless the context otherwise
requires, exhibits and schedules attached hereto, which are hereby incorporated by reference; (e) any Person
include successors and assigns; (f) time of day means time of day at Company’s notice address under
Section 10.9; (g) “asset” and “property” shall be construed to have the same meaning and effect and to refer
to any kind of property or asset, whether real, personal or mixed, or tangible or intangible, including without
limitation cash, securities, accounts and contract rights; (h) discretion of any Investor means the sole and
absolute discretion of such Person exercised at any time; and (i) where any Financing Document
contemplates that the Collateral Agent shall or may take any decision, step or other action, the Collateral
Agent shall at all times act in accordance with the instructions of the Required Holders (or, if so specified
by this Agreement, all Investors or any other instructing group of Investors specified by this Agreement)
and, in the absence of such instructions, shall not be required to take any decision, step or other action, it
being understood that the Required Holders shall not be under any obligation to provide any such
instructions. All references amounts herein shall be denominated in United States Dollars (“Dollars”),
unless expressly provided otherwise, and all determinations made from time to time under the Financing
Documents shall be made in light of the circumstances existing at such time. The Obligors shall have the
burden of establishing any alleged negligence, misconduct or lack of good faith by Collateral Agent or any
Investor under any Financing Documents. Reference to any Obligor’s “knowledge” or similar concept
means actual knowledge of a Senior Officer, or knowledge that a Senior Officer would have obtained if he
or she had engaged in good faith and diligent performance of his or her duties, including reasonably specific
inquiries of employees or agents and a good faith attempt to ascertain the matter. All covenants under
Section 7.2 shall be given independent effect so that if a particular action or condition is not permitted by

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any of such covenants, the fact that it would be permitted by an exception to, or be otherwise within the
limitations of, another covenant, shall not avoid the occurrence of an Event of Default or Default if such
action is taken or condition exists. As used herein, the following terms are defined in accordance with the
UCC in effect in the State of New York from time to time: “Account”,
Account Debtor”, “Commercial Tort Claim”, “Equipment” and “Inventory”.

                  10.9 Notices. Unless otherwise provided herein, any notice required or permitted under
this Agreement shall be given in writing and shall be deemed effectively given (a) at the time of personal
delivery, if delivered in person or via electronic mail (provided confirmation of receipt by the intended
recipient is received); (b) when sent, if sent by electronic mail or facsimile during normal business hours
of the recipient, and if not sent during normal business hours, then on the recipient’s next Business Day;
(c) one (1) Business Day after deposit with an express overnight courier for United States deliveries or sent
via facsimile, or three (3) Business Days after deposit with an international express air courier for deliveries
outside of the United States, in each case with proof of delivery from the courier requested; or (d) four (4)
Business Days after deposit in the United States mail by certified mail (return receipt requested) for United
States deliveries, when addressed to the Investor to be notified at the address indicated for such party in
Schedule A or, in the case of the Company, at 1815 Rollins Road, Burlingame, California 94010, and a
copy (which shall not constitute notice) shall also be sent to Fenwick & West LLP, Fenwick & West LLP,
801 California Street, Mountain View, California 94041, Attn: Dawn Belt, email: dbelt@fenwick.com, or
at such other address as any party may designate by giving ten (10) days’ advance written notice to all other
parties in accordance with the provisions of this Section 10.9.

                10.10 No Finder’s Fees. Each party represents that it neither is nor will be obligated for
any finder’s or broker’s fee or commission in connection with the transactions contemplated by this
Agreement. Each Investor agrees to indemnify and to hold harmless the Company from any liability for
any commission or compensation in the nature of a finder’s or broker’s fee (and any asserted liability) for
which the Investor or any of its directors, officers, partners, members, employees or representatives is
responsible. The Company agrees to indemnify and hold harmless each Investor from any liability for any
commission or compensation in the nature of a finder’s or broker’s fee (and any asserted liability) for which
the Company or any of its officers, employees or representatives is responsible.

                   10.11 Amendments and Waivers. Any term of the Financing Documents may be
amended and the observance of any term of the Financing Documents may be waived (either generally or
in a particular instance and either retroactively or prospectively), only with the written consent of the
Company and (a) the holders of Notes representing the majority of the aggregate Principal Balances (as
defined in the Notes) of all the Notes then outstanding and (b) if the Cowen Investors, in the aggregate,
hold Notes having an aggregate stated principal amount (excluding any increase thereto for PIK interest) in
excess of fifty million Dollars ($50,000,000), the Cowen Investors holding a majority of the aggregate
Principal Balances (as defined in the Notes) of all of the Notes held by Cowen Investors ((a) and (b)
together, the “Required Holders”), provided that (i) without the prior written consent of Collateral Agent,
no modification shall alter any provision in a Financing Document that relates to any rights, duties or
discretion of Collateral Agent; (ii) without the prior written consent of each affected Investor no
modification shall (A) increase any obligation of an Investor to purchase any Notes; (B) reduce the amount
of, or waive or delay payment of, any principal, interest or fees payable to such Investor; (C) extend the
Maturity Date (as defined in the Notes) applicable to such Investor’s Obligations; or (D) amend this sub-
clause (ii); and (iii) without the prior written consent of all Investors, no modification shall (A) alter Section
4 of the Notes, Section 3 of the Security Agreement (except to add Collateral) or this Section 10.11; (B)
amend the definition of Required Holders; (C) release or subordinate the Collateral Agent’s Lien with
respect to all or substantially all Collateral; or (D) except in connection with a merger, disposition or similar
transaction expressly permitted hereby, release any Obligor from liability for any Obligations. Any
amendment or waiver effected in accordance with this Section 10.11 shall be binding upon each holder of

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Notes then outstanding, each future holder of such securities, and the Company; provided, however, that
Additional Investors may become parties to this Agreement in accordance with Section 2.2 without any
amendment of this Agreement or any consent or approval of any Investor.

                10.12 Severability. If one or more provisions of this Agreement are held to be
unenforceable under applicable law, then such provision(s) shall be excluded from this Agreement and the
balance of the Agreement shall be interpreted as if such provision(s) were so excluded and shall be
enforceable in accordance with its terms.

                 10.13 Entire Agreement. This Agreement, together with all exhibits and schedules
hereto, and the other Financing Documents, constitute the entire agreement and understanding of the parties
hereto with respect to the subject matter hereof and supersede any and all prior negotiations,
correspondence, agreements, understandings duties or obligations between any of the parties with respect
to the subject matter hereof.

                  10.14 Further Assurances. From and after the date of this Agreement, upon the request
of any Investor or the Company, the Company and the Investors shall execute and deliver such instruments,
documents or other writings as may be reasonably necessary or desirable to confirm and carry out and to
effectuate fully the intent and purposes of this Agreement. Without limiting the generality of the foregoing,
if any filings, approvals or consents from any governmental or regulatory authority or stock exchange are
required in connection with the issuance of the Notes or the Warrants or the performance of the terms
thereof or the consummation of the transactions contemplated thereby, including the conversion and/or
exercise in full thereof and the issuance of any Conversion Stock or other securities pursuant to the terms
thereof (including the issuance of shares of Common Stock upon the conversion of any Conversion Stock
that are Preferred Stock) (each, a “Required Governmental Approval”), the Company shall, at its sole cost
and expense, cooperate with the Investors and use its reasonable efforts to make all necessary filings,
applications and registrations with respect to, and obtain as promptly as practicable, all Required
Governmental Approvals. Notwithstanding anything herein or in the Notes, the Warrants or any
Conversion Stock to the contrary, if the performance of the terms of the Notes, the Warrants or any
Conversion Stock (including the issuance of any securities pursuant thereto) is limited by any governmental,
stock exchange or other regulatory requirement, (i) the Investors shall be entitled to exercise or convert the
Notes, the Warrants and/or the Conversion Stock to the fullest extent permitted by such governmental, stock
exchange or other regulatory requirement, (ii) the Company shall issue the maximum number of Conversion
Stock or other securities pursuant thereto as may be permitted by such governmental, stock exchange or
other regulatory requirement, (iii) the Investors’ rights, the Company’s obligations with respect to any
portion of the Notes, the Warrants and/or the Conversion Stock that are so limited shall continue without
regard to the expiration of any time periods or other limitations, (iv) the Company shall continue to
cooperate with the Investors and use its reasonable efforts to obtain all Required Governmental Approvals
as promptly as practicable thereafter, and (v) the Company shall issue to the Investors the Conversion Stock
or other securities not so issued as soon as practicable after such securities can be issued without violating
any governmental, stock exchange or other regulatory requirement.

                 10.15 Waiver of Conflict of Interest. Each Investor and the Company is aware that
Fenwick & West LLP (“F&W”), counsel to the Company, may have an investment in certain of the
Investors or may have previously performed and may continue to perform certain legal services for certain
of the Investors in matters unrelated to F&W’s representation of the Company. In connection with such
Investor representation, F&W may have obtained confidential information of such Investors that could be
material to F&W’s representation of the Company in connection with negotiation, execution and
performance of this Agreement. By signing this Agreement, each Investor and the Company hereby
acknowledges that the terms of this Agreement were negotiated between the Investors and the Company
and are fair and reasonable and waives any potential conflict of interest arising out of such representation

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or such possession of confidential information by F&W. Each Investor and the Company further represents
that it has had the opportunity to be, or has been, represented by independent counsel in giving the waivers
contained in this Section 10.15.

                 10.16 Fees and Expenses; Indemnity.

                          (a)     EACH OBLIGOR SHALL INDEMNIFY AND HOLD HARMLESS
THE INDEMNITEES AGAINST ANY CLAIMS THAT MAY BE INCURRED BY OR ASSERTED
AGAINST ANY INDEMNITEE, INCLUDING CLAIMS ASSERTED BY ANY OBLIGOR OR OTHER
PERSON OR ARISING FROM THE NEGLIGENCE OF AN INDEMNITEE. In no event shall any party
to a Financing Document have any obligation thereunder to indemnify or hold harmless an Indemnitee with
respect to a Claim that is determined in a final, non-appealable judgment by a court of competent
jurisdiction to result from the gross negligence or willful misconduct of such Indemnitee.

                         (b)      Obligors shall pay all Extraordinary Expenses promptly upon request.
Obligors shall also reimburse the Secured Parties for all reasonable and documented out-of-pocket legal,
accounting, appraisal, consulting, and other fees and expenses incurred by it in connection with (i)
negotiation and preparation of any Financing Document, including any modification thereof; (ii)
administration of and actions relating to any Collateral, Financing Documents and transactions
contemplated thereby, including any actions taken to perfect or maintain priority of the Collateral Agent’s
Liens on any Collateral, to maintain any insurance required hereunder or to verify Collateral; and (iii) any
examination or appraisal with respect to any Obligor or Collateral by the Collateral Agent’s personnel or a
third party. All reasonable and documented out-of-pocket legal, accounting and consulting fees shall be
charged to the Obligors by the Secured Parties’ professionals at their full hourly rates, regardless of any
alternative fee arrangements that any Secured Party or any of its Affiliates may have with such professionals
that otherwise might apply to this or any other transaction. The Obligors acknowledge that counsel may
provide the Secured Parties with a benefit (such as a discount, credit or accommodation for other matters)
based on counsel’s overall relationship with the Secured Parties, including fees paid hereunder. All amounts
payable by the Obligors under this Section 10.16 shall be due on demand.

                        (c)     Notwithstanding paragraphs (a) and (b) above, with respect to any
expenses and legal fees incurred by the Cowen Parties in connection with the preparation execution and
delivery of this Agreement, the other Financing Documents and the issuance of the securities issuable
hereunder, in each case on or prior to Initial Closing, the Obligors’ indemnification and reimbursement
obligations under paragraphs (a) and (b) above shall be capped at the amounts and subject to the terms
agreed by the Company and the Cowen Parties, it being understood, for the avoidance of doubt, that this
paragraph (c) does in no way limit or otherwise restrict the Cowen Parties’ ability to claim indemnification
and/or reimbursement with respect to liabilities incurred or otherwise accrued after Initial Closing.

                  10.17 Confidentiality of Records. Each of Investor shall maintain the confidentiality
of all Information (as defined below), except that Information may be disclosed (a) to its Affiliates, and to
its and their partners, directors, officers, employees, agents, auditors, advisors and representatives (provided
they are informed of the confidential nature of the Information and instructed to keep it confidential); (b)
to the extent requested by any governmental, regulatory or self-regulatory authority purporting to have
jurisdiction over it or its Affiliates; (c) to the extent required by Applicable Law or by any subpoena or
other legal process (provided that such Investor provides prior written notice to the Company and affords
the Company the reasonable opportunity to defend against such subpoena or other legal process, in each
case only to the extent permitted under Applicable Law and such subpoena or other legal process); (d) to
any other party hereto; (e) in connection with any action or proceeding relating to any Financing Documents
or Obligations; (f) subject to an agreement containing provisions substantially the same as this Section
10.17, to any Person actually or potentially acquiring an interest in any Obligations and/or Securities or any

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actual or prospective party (or its advisors) to any Bank Product or to any swap, derivative or other
transaction under which payments are to be made by reference to an Obligor or Obligor’s obligations; (g)
to the extent such Information (i) becomes publicly available other than as a result of a breach of this Section
10.17 or (ii) is available to the Collateral Agent, any Investor or any of their Affiliates on a nonconfidential
basis from a source other than the Obligors; (h) on a confidential basis to a provider of any electronic system
maintained by the Investors or the Collateral Agent for the receipt of information and documents required
to be delivered by the Company under the terms of the Financing Documents; or (i) with the consent of the
Company. Notwithstanding the foregoing, the Collateral Agent and the Investors may publish or
disseminate general information concerning the Financing Documents for league table, tombstone, and,
with the Company’s prior written consent, may use the Obligors’ logos, trademarks or product photographs
in advertising materials. As used herein, “Information” means information received from an Obligor or
Subsidiary relating to it or its business that is identified as confidential when delivered. A Person required
to maintain the confidentiality of Information pursuant to this Section 10.17 shall be deemed to have
complied if it exercises a degree of care similar to that accorded its own confidential information. Each of
the Collateral Agent and the Investors acknowledges that (i) Information may include material non-public
information; (ii) it has developed compliance procedures regarding the use of such information; and (iii) it
will handle the material non-public information in accordance with Applicable Law.

                10.18 Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Financing Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any liability of
any EEA Financial Institution arising under any Financing Document, to the extent such liability is
unsecured, may be subject to the write-down and conversion powers of an EEA Resolution Authority and
agrees and consents to, and acknowledges and agrees to be bound by:

                        (a)      the application of any Write-Down and Conversion Powers by an EEA
Resolution Authority to any such liabilities arising hereunder that may be payable to it by any party hereto
that is an EEA Financial Institution; and

                         (b)      the effects of any Bail-in Action on any such liability, including, if
applicable:

                                  (i)      a reduction in full or in part or cancellation of any such liability;

                                   (ii)     a conversion of all, or a portion of, such liability into shares or
other instruments of ownership in such EEA Financial Institution, its parent undertaking, or a bridge
institution that may be issued to it or otherwise conferred on it, and that such shares or other instruments of
ownership will be accepted by it in lieu of any rights with respect to any such liability under this Agreement
or any other Financing Document; or

                                (iii)  the variation of the terms of such liability in connection with the
exercise of the write-down and conversion powers of any EEA Resolution Authority.

                 10.19 Continuing Guaranty.

                         (a)    Guaranty. Each Guarantor hereby absolutely and unconditionally
guarantees, as a guaranty of payment and performance and not merely as a guaranty of collection, prompt
payment when due, whether at stated maturity, by required prepayment, upon acceleration, demand or
otherwise, and at all times thereafter, of any and all of the Obligations, whether for principal, interest,
premiums, fees, indemnities, damages, costs, expenses or otherwise, of the Company to the Secured Parties,

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arising hereunder or under any other Financing Document (including all renewals, extensions, amendments,
refinancings and other modifications thereof and all costs, attorneys’ fees and expenses incurred by the
Secured Parties in connection with the collection or enforcement thereof) (the “Guarantied Obligations”).
The Collateral Agent’s books and records showing the amount of the Guarantied Obligations shall be
admissible in evidence in any action or proceeding, and shall be binding upon each Guarantor, and
conclusive for the purpose of establishing the amount of the Guarantied Obligations. This Guaranty shall
not be affected by the genuineness, validity, regularity or enforceability of the Guarantied Obligations or
any instrument or agreement evidencing any Guarantied Obligations, or by the existence, validity,
enforceability, perfection, non-perfection or extent of any collateral therefor, or by any fact or circumstance
relating to the Guarantied Obligations which might otherwise constitute a defense to the obligations of any
Guarantor under this Guaranty, and each Guarantor hereby irrevocably waives any defenses it may now
have or hereafter acquire in any way relating to any or all of the foregoing.

                           (b)    Rights of Investors. Each Guarantor consents and agrees that the Secured
Parties may, at any time and from time to time, without notice or demand, and without affecting the
enforceability or continuing effectiveness hereof: (i) amend, extend, renew, compromise, discharge,
accelerate or otherwise change the time for payment or the terms of the Guarantied Obligations or any part
thereof; (ii) take, hold, exchange, enforce, waive, release, fail to perfect, sell, or otherwise dispose of any
security for the payment of this Guaranty or any Guarantied Obligations; (iii) apply such security and direct
the order or manner of sale thereof as the Collateral Agent and the Investors in their sole discretion may
determine; and (iv) release or substitute one or more of any endorsers or other guarantors of any of the
Guarantied Obligations. Without limiting the generality of the foregoing, each Guarantor consents to the
taking of, or failure to take, any action which might in any manner or to any extent vary the risks of any
Guarantor under this Guaranty or which, but for this provision, might operate as a discharge of any
Guarantor

                          (c)      Certain Waivers. Each Guarantor waives (i) any defense arising by reason
of any disability or other defense of the Company or any other guarantor, or the cessation from any cause
whatsoever (including any act or omission of any Secured Party) of the liability of the Company; (ii) any
defense based on any claim that any Guarantor’s obligations exceed or are more burdensome than those of
the Company; (iii) the benefit of any statute of limitations affecting any Guarantor’s liability hereunder;
(iv) any right to proceed against the Company, proceed against or exhaust any security for the Guarantied
Obligations, or pursue any other remedy in the power of any Secured Party whatsoever; (v) any benefit of
and any right to participate in any security now or hereafter held by any Secured Party; and (vi) to the fullest
extent permitted by law, any and all other defenses or benefits that may be derived from or afforded by
Applicable Law limiting the liability of or exonerating guarantors or sureties. Each Guarantor expressly
waives all setoffs and counterclaims and all presentments, demands for payment or performance, notices
of nonpayment or nonperformance, protests, notices of protest, notices of dishonor and all other notices or
demands of any kind or nature whatsoever with respect to the Guarantied Obligations, and all notices of
acceptance of this Guaranty or of the existence, creation or incurrence of new or additional Guarantied
Obligations.

                         (d)     Obligations Independent. The obligations of each Guarantor hereunder
are those of primary obligor, and not merely as surety, and are independent of the Guarantied Obligations
and the obligations of any other guarantor, and a separate action may be brought against each Guarantor to
enforce this Guaranty whether or not the Company or any other person or entity is joined as a party.

                         (e)     Subrogation. No Guarantor shall exercise any right of subrogation,
contribution, indemnity, reimbursement or similar rights with respect to any payments it makes under this
Guaranty until the Maturity Date (as defined in the Notes). If any amounts are paid to any Guarantor in
violation of the foregoing limitation, then such amounts shall be held in trust for the benefit of the Secured

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Parties and shall forthwith be paid to the Secured Parties to reduce the amount of the Obligations, whether
matured or unmatured.

                          (f)      Termination; Reinstatement. This Guaranty is a continuing and
irrevocable guaranty of all Guarantied Obligations now or hereafter existing and shall remain in full force
and effect until the Maturity Date (as defined in the Notes). Notwithstanding the foregoing, this Guaranty
shall continue in full force and effect or be revived, as the case may be, if any payment by or on behalf of
the Company or any Guarantor is made, or any of the Secured Parties exercises its right of setoff, in respect
of the Guarantied Obligations and such payment or the proceeds of such setoff or any part thereof is
subsequently invalidated, declared to be fraudulent or preferential, set aside or required (including pursuant
to any settlement entered into by any of the Secured Parties in their discretion) to be repaid to a trustee,
receiver or any other party, in connection with any proceeding under any Debtor Relief Laws or otherwise,
all as if such payment had not been made or such setoff had not occurred and whether or not the Secured
Parties are in possession of or have released this Guaranty and regardless of any prior revocation, rescission,
termination or reduction. The obligations of each Guarantor under this paragraph shall survive termination
of this Guaranty.

                         (g)     Subordination. Each Guarantor hereby subordinates the payment of all
obligations and indebtedness of the Company owing to each Guarantor, whether now existing or hereafter
arising, including but not limited to any obligation of the Company to any Guarantor as subrogee of the
Secured Parties or resulting from any Guarantor’s performance under this Guaranty, to the full and
indefeasible cash payment (including of any interest, fees and other charges accruing during an Insolvency
Proceeding (whether or not allowed in the proceeding)) of the Obligations. If the Secured Parties so request,
any such obligation or indebtedness of the Company to any Guarantor shall be enforced and performance
received by any Guarantor as trustee for the Secured Parties and the proceeds thereof shall be paid over to
the Secured Parties on account of the Guarantied Obligations, but without reducing or affecting in any
manner the liability of any Guarantor under this Guaranty.

                        (h)     Stay of Acceleration. If acceleration of the time for payment of any of the
Guarantied Obligations is stayed, in connection with any case commenced by or against any Guarantor or
the Company under any Debtor Relief Laws, or otherwise, all such amounts shall nonetheless be payable
by each Guarantor immediately upon demand by the Secured Parties.

                          (i)     Condition of Company. Each Guarantor acknowledges and agrees that it
has the sole responsibility for, and has adequate means of, obtaining from the Company and any other
guarantor such information concerning the financial condition, business and operations of the Company
and any such other guarantor as each Guarantor requires, and that none of the Secured Parties has any duty,
and no Guarantor is relying on the Secured Parties at any time, to disclose to any Guarantor any information
relating to the business, operations or financial condition of the Company or any other guarantor waiving
any duty on the part of the Secured Parties to disclose such information and any defense relating to the
failure to provide the same.

                          (j)     Limitation of Guaranty. Notwithstanding anything to the contrary herein
or otherwise, the Company, the Collateral Agent and the Investors hereby irrevocably agree that the
Guarantied Obligations of each Guarantor in respect of the guarantee set forth in this Section 10.19 at any
time shall be limited to the maximum amount as will result in the Guarantied Obligations of such Guarantor
not constituting a fraudulent transfer or conveyance after giving full effect to the liability under such
guarantee set forth in this Section 10.19 and its related contribution rights but before taking into account
any liabilities under any other guarantee by such Guarantor.



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                10.20 Third Party Beneficiary. The parties hereto designate BofA Securities, Inc. as an
express third party beneficiary of the representations of the Company in Section 4.6 and 4.7 hereto, as if
BofA Securities Inc. were a party hereto with respect to such representations.

        11.      THE COLLATERAL AGENT.

                 11.1    Appointments.

                        (a)      Each Investor and each other Secured Party hereby appoints CSI GP I
LLC, a Delaware limited liability company, as its Collateral Agent under and for purposes of each Financing
Document, and hereby authorizes the Collateral Agent to act on behalf of such Secured Party under each
Financing Document and, in the absence of other written instructions from the Investors pursuant to the
terms of the Financing Documents received from time to time by the Collateral Agent, to exercise such
powers hereunder and thereunder as are specifically delegated to or required of the Collateral Agent by the
terms hereof and thereof, together with such powers as may be incidental thereto.

                         (b)      Each Investor, by purchasing a Note and becoming party to this
Agreement hereby agrees that it will be bound by and will take no actions contrary to the provisions of the
Intercreditor Agreement and each Investor and each other Secured Party hereby directs the Collateral Agent
to execute and deliver the Financing Documents (including the Intercreditor Agreement and, in each case,
any amendments, supplements and other modifications thereto not prohibited by the terms of this
Agreement) on behalf of such Secured Party, in all cases in such form as the Collateral Agent shall
determine. Upon execution and delivery of the Financing Documents by the Collateral Agent, each Secured
Party shall be bound by the terms and conditions thereof. Without limiting the foregoing, the Collateral
Agent is hereby expressly authorized to execute and deliver any and all such documents (including releases)
with respect to the Collateral and the rights of the Secured Parties with respect thereto, as contemplated by
and in accordance with the terms and conditions of this Agreement and the other Financing Documents.

                           (c)      Each Investor and each other Secured Party hereby irrevocably designates
and appoints the Collateral Agent as the agent of such Investor. Notwithstanding any provision to the
contrary elsewhere in this Agreement, (i) the Collateral Agent is acting solely on behalf of the Secured
Parties and with duties that are entirely administrative in nature, notwithstanding the use of the terms
“Collateral Agent,” and “collateral agent,” which terms are used for title purposes only, and (ii) the
Collateral Agent shall not have any duties or responsibilities, except those expressly set forth herein, or any
fiduciary relationship with any Investor or other Secured Party, and no implied covenants, functions,
responsibilities, duties, obligations or liabilities shall be read into this Agreement or any other Financing
Document or otherwise exist against the Collateral Agent. Anything contained in any of the Financing
Documents to the contrary notwithstanding, each Obligor, the Collateral Agent and each Secured Party
hereby agree that (i) no Secured Party (other than the Collateral Agent) shall have any right individually to
realize upon any of the Collateral or to enforce the Guaranty or any other Security Documents, it being
understood and agreed that all powers, rights and remedies hereunder or thereunder may be exercised solely
by the Collateral Agent, on behalf of the Secured Parties, in accordance with the terms hereof or thereof
(including, without limitation, acting at the direction of the Required Holders), as applicable, and (ii) in the
event of a foreclosure by the Collateral Agent on any of the Collateral pursuant to a public or private sale
or other disposition, the Collateral Agent or any Investor may be the purchaser or licensor of any or all of
such Collateral at any such sale or other disposition and the Collateral Agent as collateral agent for and
representative of the Secured Parties (but not any Investor or Investors in its or their respective individual
capacities), shall be entitled, for the purpose of bidding and making settlement or payment of the purchase
price for all or any portion of the Collateral sold at any such public sale, to use and apply any of the
Obligations (including Obligations owed to any other Secured Party) as a credit on account of the purchase
price for any Collateral payable by the Collateral Agent at such sale or other disposition, the Investors

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hereby agreeing that they may not exercise any right to credit bid at any public or private foreclosure sale
or other disposition of Collateral unless instructed to do so by the Collateral Agent in writing.

                 11.2 Delegation of Duties. The Collateral Agent may execute any of its duties under
this Agreement and the other Financing Documents by or through agents or attorneys in fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Collateral Agent shall not
be responsible for the negligence or misconduct of any agents or attorneys in fact selected by it with
reasonable care.

                  11.3 Exculpatory Provisions. Neither the Collateral Agent nor any of its respective
officers, directors, employees, agents, attorneys in fact or Affiliates shall be (a) liable for any action
lawfully taken or omitted to be taken by it or such Person under or in connection with this Agreement or
any other Financing Document (including that the Collateral Agent shall not be required to take any action
that, in its opinion or the opinion of its counsel, may expose the Collateral Agent to liability or that is
contrary to any Financing Document or applicable law, including for the avoidance of doubt any action that
may be in violation of the automatic stay under any Bankruptcy Code or any other bankruptcy or insolvency
laws), except to the extent that any of the foregoing are found by a final, non-appealable order of a court of
competent jurisdiction to have resulted from its or such Person’s (as applicable) own gross negligence or
willful misconduct, or (b) responsible in any manner to any of the Investors or any other Secured Party for
any recitals, statements, representations or warranties made or deemed made by or on behalf of any Obligor
or any officer thereof in this Agreement or any other Financing Document or in any certificate, report,
statement or other document referred to or provided for in, or received by the Collateral Agent under or in
connection with, this Agreement or any other Financing Document or for the value, validity, effectiveness,
genuineness, enforceability or sufficiency of this Agreement or any other Financing Document or for any
failure of any Obligor or other Person to perform its obligations hereunder or thereunder. The Collateral
Agent shall not be under any obligation to any Investor to ascertain or to inquire as to the observance or
performance of any of the agreements contained in, or conditions of, this Agreement or any other Financing
Document, or to inspect the properties, books or records of any Obligor.

                   11.4 Reliance by Collateral Agent. The Collateral Agent shall be entitled to rely, and
shall be fully protected in relying, upon any instrument, writing, resolution, notice, consent, certificate,
affidavit, letter, telecopy, telex or teletype message, statement, order or other document or conversation
believed by it to be genuine and correct and to have been signed, sent or made by the proper Person or
Persons and upon advice and statements of legal counsel (including counsel to the Obligors), independent
accountants and other experts selected by the Collateral Agent. The Collateral Agent may deem and treat
the payee of any Note as the owner thereof for all purposes unless a written notice of assignment,
negotiation or transfer thereof shall have been filed with the Collateral Agent. The Collateral Agent shall
be fully justified in failing or refusing to take any action under this Agreement or any other Financing
Document unless it shall first receive such advice or concurrence of Required Holders (or, if so specified
by this Agreement, all Investors or any other instructing group of Investors specified by this Agreement) as
it deems appropriate or it shall first be indemnified to its satisfaction by the Investors against any and all
liability and expense that may be incurred by it by reason of taking or continuing to take any such action.
The Collateral Agent shall in all cases be fully protected in acting, or in refraining from acting, under this
Agreement and the other Financing Documents in accordance with a request of the Required Holders (or,
if so specified by this Agreement, all Investors or any other instructing group of Investors specified by this
Agreement), and such request and any action taken or failure to act pursuant thereto shall be binding upon
all the Investors and all future holders of the Notes and all other Secured Parties.

                 11.5 Notice of Default. The Collateral Agent shall not be deemed to have knowledge
or notice of the occurrence of any Default or Event of Default unless the Collateral Agent has received
notice from an Investor or an Obligor referring to this Agreement, describing such Default or Event of

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Default, and stating that such notice is a “notice of default”. In the event that the Collateral Agent receives
such a notice, the Collateral Agent shall give notice thereof to the Investors. The Collateral Agent shall take
such action with respect to such Default or Event of Default as shall be directed by the Required Holders
(or, if so specified by this Agreement, all Investors or any other instructing group of Investors specified by
this Agreement); provided, that unless and until the Collateral Agent shall have received such directions,
the Collateral Agent may (but shall not be obligated to) take such action, or refrain from taking such action,
with respect to such Default or Event of Default as the Collateral Agent shall deem advisable in the best
interests of the Secured Parties.

                 11.6 Non-Reliance on Collateral Agent and Other Investors. Each Investor
expressly acknowledges that neither the Collateral Agent nor any of its officers, directors, employees,
agents, attorneys in fact or Affiliates have made any representations or warranties to such Investor and that
no act by the Collateral Agent hereafter taken, including any review of the affairs of an Obligor or any
Affiliate of an Obligor, shall be deemed to constitute any representation or warranty by the Collateral Agent
to any Secured Party. Each Investor represents to the Collateral Agent that such Investor has, independently
and without reliance upon the Collateral Agent or any other Investor or any other Secured Party, and based
on such documents and information as it has deemed appropriate, made its own appraisal of, and
investigation into, the business, operations, property, financial and other condition and creditworthiness of
the Obligors and their Affiliates and made its own decision to enter into this Agreement and purchase its
Notes hereunder. Each Investor also represents that it will, independently and without reliance upon the
Collateral Agent or any other Investor or any other Secured Party, and based on such documents and
information as it shall deem appropriate at the time, continue to make its own credit analysis, appraisals
and decisions in taking or not taking action under this Agreement and the other Financing Documents, and
to make such investigation as it deems necessary to inform itself as to the business, operations, property,
financial and other condition and creditworthiness of the Obligors and their Affiliates. Except for notices,
reports and other documents expressly required to be furnished to the Investors by the Collateral Agent
hereunder, the Collateral Agent shall not have any duty or responsibility to provide any Investor or any
other Secured Party with any credit or other information concerning the business, operations, property,
condition (financial or otherwise), prospects or creditworthiness of any Obligor or any Affiliate of an
Obligor that may come into the possession of the Collateral Agent or any of its officers, directors,
employees, agents, attorneys in fact or Affiliates.

                 11.7 Indemnification by Investors. The Investors agree to indemnify the Collateral
Agent in its capacity as such (to the extent not reimbursed by the Obligors and without limiting the
obligation of the Obligors to do so), ratably according to their respective portion of the aggregate Principal
Balances on the date on which indemnification is sought under this Section 11.7 (or, if indemnification is
sought after the date upon which the Notes shall have been paid in cash and/or converted into Conversion
Stock in full, ratably in accordance with such respective portion of the aggregate Principal Balances
immediately prior to such date), from and against any and all liabilities, obligations, losses, damages,
penalties, actions, judgments, suits, costs, expenses or disbursements of any kind whatsoever that may at
any time (whether before or after the payment or conversion of the Notes) be imposed on, incurred by, or
asserted against, the Collateral Agent in any way relating to or arising out of, the Notes, this Agreement,
any of the other Financing Documents or any documents contemplated by or referred to herein or therein
or the transactions contemplated hereby or thereby or any action taken or omitted by the Collateral Agent
under or in connection with any of the foregoing; provided, that no Investor shall be liable for the payment
of any portion of such liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs,
expenses or disbursements that are found by a final, non-appealable order of a court of competent
jurisdiction to have resulted from the Collateral Agent’s gross negligence or willful misconduct. The
agreements in this Section 11.7 shall survive the payment or conversion of the Notes and all other amounts
payable hereunder. Collateral Agent in its Individual Capacities. The Collateral Agent and its Affiliates
may make loans to, accept deposits from and generally engage in any kind of business with any Obligor,

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and any Affiliate of any Obligor, all as though the Collateral Agent were not the Collateral Agent. With
respect to its Notes purchased (if any), the Collateral Agent shall have the same rights and powers under
this Agreement and the other Financing Documents as any Investor and may exercise the same as though
it were not the Collateral Agent, and the terms “Investor”, “Investors”, “Secured Party” and “Secured
Parties” shall include the Collateral Agent in its individual capacity.

                  11.8 Successor Collateral Agent. The Collateral Agent may resign as Collateral Agent
upon thirty (30) days’ written notice to the Investors and the Company; provided that the Collateral Agent
may resign as Collateral Agent immediately upon written notice to the Investors and the Company if a
Default or Event of Default has occurred and is continuing. If the Collateral Agent shall resign as Collateral
Agent under this Agreement and the other Financing Documents, then the Required Holders shall appoint
from among the Investors a successor collateral agent, which successor collateral agent shall (unless an
Event of Default shall have occurred and be continuing) be subject to approval by the Company (which
approval shall not be unreasonably withheld, delayed, conditioned or burdened), whereupon such successor
collateral agent shall succeed to the rights, powers and duties of the Collateral Agent, and the term
“Collateral Agent” shall thereafter mean such successor collateral agent effective upon such appointment
and approval, and the former Collateral Agent’s rights, powers and duties as Collateral Agent shall be
terminated, without any other or further act or deed on the part of such former Collateral Agent or any of
the other parties to this Agreement or any holders of the Notes. If no successor collateral agent has accepted
appointment as Collateral Agent by the date upon which such retiring Collateral Agent’s notice of
resignation is effective in accordance with the first sentence of this Section 11.8, such retiring Collateral
Agent’s resignation shall nevertheless become effective on the applicable date and the Investors shall
assume and perform all of the duties of such Collateral Agent hereunder until such time, if any, as the
Required Holders appoint a successor collateral agent as provided for above. After any retiring Collateral
Agent’s resignation as the Collateral Agent the provisions of this Section 11 shall inure to its benefit as to
any actions taken or omitted to be taken by it while it was the Collateral Agent under this Agreement and
the other Financing Documents

                  11.9 Collateral Agent Generally. Except as expressly set forth in this Agreement or
any other Financing Document, the Collateral Agent shall not have any duties or responsibilities hereunder
in its capacity as such.

                 11.10 Restrictions on Actions by Secured Parties; Sharing of Payments.

                           (a)     Each of the Investors agrees that it shall not, without the express written
consent of the Collateral Agent, and that it shall, to the extent it is lawfully entitled to do so, upon the written
request of the Collateral Agent, set off against the Obligations, any amounts owing by such Investor to any
Obligor or any of their respective Subsidiaries or any deposit accounts of any Obligor or any of their
respective Subsidiaries now or hereafter maintained with such Investor. Each of the Investors further agrees
that it shall not, unless specifically requested to do so in writing by the Collateral Agent or the Collateral
Agent otherwise consents in writing, take or cause to be taken any action, including the commencement of
any legal or equitable proceedings, judicial or otherwise, to enforce any Financing Document or any right
or remedy against any Obligor or to foreclose any Lien on, or otherwise enforce any security interest in,
any of the Collateral. The provisions of this Section 11.10(a) are for the sole benefit of the Secured Parties
and shall not afford any right to, or constitute a defense available to, any Obligor or other Person.

                         (b)     Unless expressly provided to the contrary in the Financing Documents, if
at any time or times any Investor receives (i) by payment, foreclosure, setoff, or otherwise, any proceeds of
Collateral or any payments with respect to the Obligations, except for any such proceeds or payments
received by such Investor from the Collateral Agent pursuant to the terms of the Financing Documents, or
(ii) payments from the Collateral Agent in excess of such Investor’s pro rata share of all such distributions

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by the Collateral Agent, then in each such case such Investor promptly shall (A) turn the same over to the
Collateral Agent, in kind, and with such endorsements as may be required to negotiate the same to the
Collateral Agent, or in immediately available funds, as applicable, for the account of all of the applicable
Investors and for application to the Obligations in accordance with the applicable provisions of the
Financing Documents, or (B) purchase, without recourse or warranty, an undivided interest and
participation in the Obligations owed to the other applicable Investors so that such excess payment received
shall be applied ratably as among the applicable Investors in accordance with their pro rata shares;
provided, that to the extent that such excess payment received by the purchasing party is thereafter
recovered from it, those purchases of participations shall be rescinded in whole or in part, as applicable,
and the applicable portion of the purchase price paid therefor shall be returned to such purchasing party,
but without interest except to the extent that such purchasing party is required to pay interest in connection
with the recovery of the excess payment.

                  11.11 Agency for Perfection. The Collateral Agent hereby appoints each other Secured
Party as its agent and bailee and as sub-agent for the other Secured Parties (and each Secured Party hereby
accepts such appointment) for the purpose of perfecting all Liens with respect to the Collateral, including
with respect to assets which, in accordance with Article 8 or Article 9, as applicable, of the UCC of any
applicable state can be perfected by possession or control. Should any Secured Party obtain possession or
control of any such Collateral, such Secured Party shall notify the Collateral Agent thereof and, promptly
upon the Collateral Agent’s request therefor, shall deliver possession or control of such Collateral to the
Collateral Agent and take such other actions as agent or sub-agent in accordance with the Collateral Agent’s
instructions to the extent, and only to the extent, so authorized or directed by the Collateral Agent.

                 11.12 Credit Bid. Each Obligor and each Investor hereby irrevocably authorizes the
Collateral Agent or its designee, based upon the written instruction of the Required Holders, to bid and
purchase for an amount approved by the Required Holders (either directly or through one or more
acquisition vehicles) all or any portion of the Collateral at any sale thereof conducted (a) by the Collateral
Agent under the provisions of the UCC, including pursuant to Sections 9-610 or 9-620 of the UCC, (b)
under the provisions of the Bankruptcy Code, including Sections 363, 365 and 1129 of the Bankruptcy
Code, or (c) by the Collateral Agent (whether by judicial action or otherwise, including a foreclosure sale)
in accordance with Applicable Law (any such sale described clauses (a), (b) or (c), a “Collateral Sale”), and
in connection with any Collateral Sale, the Collateral Agent or its designee may (with the consent of the
Required Holders) accept non-cash consideration, including debt and equity securities issued by such
acquisition vehicle under the direction or control of the Collateral Agent and the Collateral Agent may (with
the consent of the Required Holders) offset all or any portion of the Obligations against the purchase price
for such Collateral.

                 11.13 One Investor Sufficient. This Agreement shall be and shall remain in full force
and effect, and all agency provisions shall be and shall remain effective, notwithstanding the fact that from
time to time (including on the date of any Closing) there may be only one Investor hereunder and the fact
that such Investor may be the same Person that is serving as the Collateral Agent hereunder.


                                         [Signature page follows]




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                    IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase Agreement as
            of the date first written above.

            THE COMPANY:

            PROTERRA INC



            By: _____________________________________

            Name: Jack Allen

            Title: Chief Executive Officer




                                 [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

THE INVESTORS:

CSI I PRODIGY HOLDCO LP

By: CSI GP I LLC, its general partner


By: _________________________________
Name: Ewa Kozicz
Title: Co-Head


By: _________________________________
Name: Vusal Najafov
Title: Co-Head




                 [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

THE INVESTORS:

CSI PRODIGY CO-INVESTMENT LP

By: CSI GP I LLC, its general partner


By: _________________________________
Name: Ewa Kozicz
Title: Co-Head


By: _________________________________
Name: Vusal Najafov
Title: Co-Head




                 [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

THE COLLATERAL AGENT:

CSI GP I LLC



By: _________________________________
Name: Ewa Kozicz
Title: Co-Head


By: _________________________________
Name: Vusal Najafov
Title: Co-Head




               [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

THE INVESTORS:

QPB HOLDINGS LTD.,
a Cayman Islands Exempted Limited Company

By: _________________________________

Name: John DeSisto

Title: Attorney-in-Fact




                [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

THE INVESTORS:

PALINDROME MASTER FUND LP
a Delaware Limited Partnership

By: Palindrome Master Fund GP LLC
Its: General Partner

By:

Name: John DeSisto

Title: Attorney-in-Fact




                 [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

THE INVESTORS:

BROADSCALE PT INVESTORS LP

By: Broadscale PT Investors General Partner LLC
Its: General Partner

By: _________________________________

Name: Andrew Shapiro

Title: Managing Member




                [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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                  IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
            Agreement as of the date first written above.

              THE INVESTORS:

              GENERATION IM CLIMATE SOLUTIONS II, L.P.

              By: Generation IM Climate Solutions II GP, Ltd
              Its: General Partner

              By: _________________________________

              Name: Tammy Jennissen

              Title: Director




                                 [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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      IN WITNESS WHEREOF, the parties hereto have executed this Note Purchase
Agreement as of the date first written above.

    THE INVESTORS:

    CSI PRTA CO-INVESTMENT LP

    By: CSI GP I LLC, its general partner

    By:
    Name: Ewa Kozciz
    Title: Co-Head

    By:
    Name: Vusal Najafov
    Title: Co-Head




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Attachments:

Schedule A     –      Schedule of Investors
Schedule B     –      Disclosure Schedule
Schedule C     –      Competitors

Exhibit A      –      Form of Convertible Promissory Note
Exhibit B      –      Form of Warrant Agreement
Exhibit C      –      Security Agreement
Exhibit D      –      Short Form IP Security Agreements
Exhibit E      –      Perfection Certificate
Exhibit F      –      Compliance Certificate




                   [SIGNATURE PAGE TO PROTERRA INC NOTE PURCHASE AGREEMENT]
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                                    SCHEDULE A
                               SCHEDULE OF INVESTORS


                               Initial Closing: August 4, 2020


                                           Note Principal              Cowen Investor
                                             Amount
CSI I Prodigy Holdco LP
c/o Cowen Sustainable Advisors LLC
599 Lexington Avenue, 19th Floor                 $75,000,000.00                         Yes
New York, NY 10022

CSI Prodigy Co-Investment LP
c/o Cowen Sustainable Advisors LLC
599 Lexington Avenue, 19th Floor                 $25,000,000.00                         Yes
New York, NY 10022

       TOTALS:                               $100,000,000.00



                            Additional Closing: August 11, 2020


                                           Note Principal              Cowen Investor
                                             Amount
QPB Holdings, Ltd.,
a Cayman Islands Exempted Limited
Company                                          $37,247,000.00                         No
Cayman Corporate Centre
27 Hospital Road
George Town KY1-9008
Cayman Islands
Palindrome Master Fund LP
a Delaware limited partnership
c/o Corporation Trust Company                     $5,253,000.00                         No
1209 Orange Street
Wilmington, DE 19801

       TOTALS:                                   $42,500,000.00
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                              Additional Closing: August 13, 2020


                                            Note Principal             Cowen Investor
                                              Amount
Broadscale PT Investors LP
430 Park Avenue, Suite 1501                       $4,000,000.00                         No
New York, NY 10022

       TOTALS:                                    $4,000,000.00



                              Additional Closing: August 14, 2020


                                            Note Principal             Cowen Investor
                                              Amount
Generation IM Climate Solutions II,
L.P.
c/o Generation Investment                         $3,500,000.00                         No
Management LLP
20 Air Street
London W1B 5AN
United Kingdom

       TOTALS:                                    $3,500,000.00



                              Additional Closing: August 31, 2020


                                            Note Principal             Cowen Investor
                                              Amount
CSI PRTA Co-Investment LP
c/o Cowen Sustainable Advisors LLC
599 Lexington Avenue, 19th Floor                 $50,000,000.00                         Yes
New York, NY 10022

       TOTALS:                                   $50,000,000.00
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                         SCHEDULE B
                    DISCLOSURE SCHEDULE
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                                          PROTERRA, INC
                                     DISCLOSURE SCHEDULE

                                             August 4, 2020



        This Disclosure Schedule is made and given pursuant to Section 4 of the Note Purchase
Agreement, dated as of August 4, 2020 (the “Agreement”), between Proterra Inc (the “Company”)
and the Investors listed on Exhibit A thereto. All capitalized terms used but not defined herein shall
have the meanings as defined in the Agreement, unless otherwise provided. The section numbers
below correspond to the section numbers of the representations and warranties in Section 4 of the
Agreement and the disclosures in any section shall qualify other sections in Section 4 of the Agreement
to the extent it is reasonably apparent from a reading of the disclosure that such disclosure is applicable
to such other sections.

        Nothing in this Disclosure Schedule is intended to broaden the scope of any representation or
warranty contained in the Agreement or to create any covenant. Inclusion of any item in this Disclosure
Schedule (1) does not represent a determination that such item is material or establish a standard of
materiality, (2) does not represent a determination that such item did not arise in the ordinary course
of business, (3) does not represent a determination that the transactions contemplated by the
Agreement require the consent of third parties, and (4) shall not constitute, or be deemed to be, an
admission to any third party concerning such item. Any brief descriptions or summaries of agreements
and instruments contained herein do not purport to be comprehensive and are qualified in their entirety
by reference to the text of the documents described, copies of which are available upon reasonable
request.
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                                             Schedule 4.4

                                            Capitalization.


(d)

      1. Pursuant to certain recent offer letters, the Company has agreed to recommend an aggregate of
         190,750 shares underlying options to purchase shares of Common Stock for certain recently
         hired individuals (the “Promised Options”).

      2. The Company intends to grant retention stock option and promotion option awards to key,
         non-executive level employees in 2020 to purchase up to an aggregate of 305,000 shares of
         Common Stock (“Retention and Promotion Options”).

      3. The Company intends to grant a stock option award to Amy Ard, its Chief Financial Officer,
         to purchase 200,000 shares of Common Stock (the “Ard Option Commitment”)

      4. The Company intends to grant a stock option award to JoAnn Covington, its Chief Legal
         Officer, to purchase 200,000 shares of Common Stock (the “Covington Option
         Commitment”).


(f)

      1. Executive Employment Agreement dated June 9, 2011 between the Company and Dale Hill
         as amended by that certain Amendment No. 1 to Hill Executive Employment Agreement
         dated February 1, 2012, as amended by that certain Amendment No. 1 to Hill Executive
         Employment Agreement dated February 1, 2012 and Amendment No. 2 to Hill Executive
         Employment Agreement dated November 15, 2013 (collectively, the “Hill Employment
         Agreement”).

      2. Executive Employment Agreement dated October 20, 2014 between the Company and Ryan
         Popple (the “Popple Employee Agreement”)

      3. Offer letter dated September 3, 2015 between the Company and Dustin Grace, Director of
         Battery Engineering of the Company (the “Grace Offer Letter”).

      4. Offer Letter dated August 30, 2016 between the Company and Josh Ensign (the “Ensign
         Offer Letter”), as replaced and restated on April 23, 2019.

      5. Offer Letter dated April 17, 2017 between the Company and Amy Ard, Chief Financial
         Officer of the Company (the “Ard Offer Letter”), as replaced and restated on April 22, 2019.

      6. Separation Agreement dated May 18, 2017 between the Company and Charlie Plummer,
         former Chief Financial Officer of the Company (the “Plummer Separation Agreement”).
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      7. Offer Letter dated July 6, 2017 between the Company and Jason Lewandowski, Site Director
         in Greenville, South Carolina of the Company (the “Lewandowski Offer Letter”).

      8. The Company undertook a 409A correction process pursuant to IRS Notice 2008-113 and
         related guidance, with respect to options granted between June 2016 – August 2016 (the
         “2016 Options”) and on February 20, 2017 (the “2017 Option”) under the Stock Plan. In
         connection with the correction procedures, the exercise price of the 2016 Options has been
         increased from $1.69 per share to $1.79 per share, and the exercise price of the 2017 Option
         has been increased from $1.79 per share to $1.89 per share.

      9. The Company has determined that the stock option for 150,000 shares to Ryan Popple
         recorded in the cap table as granted as of February 24, 2016 was improperly granted. The
         Company granted a new equity award with substantially equivalent value to Ryan Popple in
         May 2018.

      10. Severance Agreements for Jack Allen (Chief Executive Officer) dated March 16, 2020, Ryan
          Popple (Executive Director) dated March 16, 2020 which superseded the Severance
          Agreement for Ryan Popple dated September 11, 2018, Amy Ard (Chief Financial Officer),
          JoAnn Covington (Chief Legal Officer), and Joshua Ensign (Chief Operating Officer), each
          dated September 11, 2018. These contracts supersede any prior severance agreements
          between the Company and each of the above officers (the “Executive Officer Severance
          Agreement Disclosure”).

      11. Option Cancellation Agreement dated March 16, 2020 between the Company and Ryan
          Popple.

      12. Separation Agreement dated February 21, 2020 between the Company and Eric McCarthy,
          former Senior Vice President of the Company (the “McCarthy Separation Agreement”).

      13. Separation Agreement dated February 3, 2020 between the Company and Matt Horton,
          former Chief Commercial Officer of the Company (the “Horton Separation Agreement”).

      14. Separation Agreement dated October 25, 2018 between the Company and Gary Horvat
          former Chief Technology Officer of the Company (the “Horvat Separation Agreement”).

      15. Separation Agreement dated June 24, 2020 between the Company and Tobias Kraus, former
          Vice President of the Company (the “Kraus Separation Agreement”).


(g)

See Attached Annex 4.4(g).
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                                      Schedule 4.5

                                      Subsidiaries.

1. The Company established a California nonprofit unincorporated association called
   Californians for Zero-Emission Vehicles (CalZEV).
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                                       Schedule 4.7

                          Governmental Approvals and Filings.

1. The Company’s manufacturing license in the State of Texas expired in March 2020, and the
   Company is in the process of renewing its manufacturing license.

2. The Company’s annual report in the State of Illinois was rejected and the Company is in the
   process of resolving the state’s action.
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                                       Schedule 4.9

                                        Litigation.

1. The Company had a warranty dispute with its supplier, Tritium, regarding chargers installed
   at certain Proterra customer locations. The Company entered into a settlement agreement
   with Tritium in July 2019 pursuant to which Tritium has payment obligations contingent on
   the Company’s return of the at-issue charters. In the course of negotiating with Proterra
   regarding Proterra’s warranty claims, Tritium asserted that Proterra personnel had made
   disparaging remarks regarding Tritium’s product. No formal claims against Proterra or
   Proterra employees have been made.

2. A former employee, Ms. Diana Pineda, filed a complaint on September 27, 2019 in the
   California Superior Court for Los Angeles County, against the Company, a Company
   employee, and a former Company employee, asserting Fair Employment and Housing Act
   (FEHA) claims for disability discrimination, failure to accommodate, retaliation for reporting
   labor code violations and unlawful employment practices, gender discrimination, and
   wrongful termination. The complaint seeks monetary damages in an unspecified amount.
   The Company answered the complaint on November 4, 2019 and the parties have started the
   discovery phase. A trial date is set on November 17, 2020.

3. An attorney on behalf of former employee, Mr. Robert Jenkins, sent a letter on December 24,
   2019 alleging unlawful employment practices, including retaliation for reporting fraudulent
   business practices, meal and rest break violations, unreimbursed business expenses, non-
   compliant wage statements, and failure to pay for work off the clock. The letter offered to
   settle the claims for $25,000. On July 7, 2020, Mr. Jenkins’ attorney submitted a demand for
   arbitration to JAMS in accordance with Mr. Jenkins’ employment agreement and indicated
   that a class action claim was being evaluated (the “Robert Jenkins Matter”).

4. On May 29, 2020 the Company received a letter from Clausen Miller, P.C., recovery counsel
   for AXA Insurance Company, which insures policyholder Keolis North America, seeking
   recovery from the Company of an unspecified amount of uninsured damages related to
   property damage and loss of use from a January 9, 2020 fire on a bus owned by Foothill and
   operated by Keolis North America. The Company has hired counsel and is investigating the
   claim.
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                                             Schedule 4.10

                                         Intellectual Property.


(a)

      1. On June 3, 2019, the Company received an invitation to license a portfolio of patents from
         MPEGLA, which is a licensing agent representing a group of patents that it claims are
         essential to the vehicle charging technology described in CCS standards. The proposed
         license includes patents in the United States, Japan, China, and several European countries.
         The Company currently provides charging solutions that are compliant with the CCS
         standards in North America. The Company is evaluating the licensing opportunity.


(d)

      1. The counter parties to the agreements listed below paid or may pay certain engineering
         service fees to the Company pursuant to such agreements for the custom development work:

           •   Agreement for the One-Time Supply of a Battery Electric Vehicle (“BEV”) System
               Prototype and Advisory Consultancy Services, dated November 1, 2017 between
               Proterra Inc and Navistar, Inc.

           •   Development Agreement between Alexander Dennis Limited and Proterra Inc dated
               February 12, 2018 regarding a battery electric vehicle system for use in Alexander
               Dennis manufactured double decker coach buses, as amended on January 17, 2019,
               March 1, 2019, and May 13, 2019.

           •   Master Supply Agreement between Alexander Dennis Limited and Proterra Inc dated
               May 13, 2019 regarding a battery electric vehicle system for use in Alexander Dennis
               manufactured double decker coach buses.

           •   Product Supply Agreement dated June 22, 2018 between Van Hool NV and Proterra
               Inc regarding a battery electric vehicle system for use in Van Hool manufactured coach
               buses.

           •   Development Agreement dated July 26, 2018 between Thomas Built Buses Inc and
               Proterra Inc regarding a battery electric vehicle system for use in a Thomas Built Buses
               school bus.

           •   Development Agreement dated May 3, 2019 between Daimler Trucks North America
               LLC and its subsidiaries Thomas Built Buses, Inc. and Freightliner Custom Chassis
               Corporation regarding a battery electric vehicle system for us in a Thomas Built Buses
               school bus.
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     •   Development Agreement between Proterra Inc., and Optimal Inc., dated February 20,
         2020, regarding Proterra’s manufacture and integration of a BEV System into the
         protype Vehicle.

     •   Development Agreement between Daimler Purchasing Coordination Corp. (DPCC) on
         behalf of Mercedes-Benz Special Trucks (MBS), and Proterra Inc., dated October 10,
         2018 regarding Proterra’s supply and integration of Proterra EV Products into the truck
         to create the BEV Prototype.


     •   Framework Joint Development Agreement between Mitsui & Co. LTD and Proterra
         Inc, dated March 29, 2019 related to proposing, planning and developing potential
         second life applications for Proterra’s battery systems.

     •   Development Agreement between Bustech Pty Ltd (Australia) and Proterra Inc dated
         July 17, 2020 regarding Proterra’s manufacture and integration of a BEV system into a
         prototype vehicle.


2. Pursuant to a Sub-Award Agreement (Firm Amount) between Elemental Excelerator Inc. and
   Proterra Inc. (Sub-Awardee), dated December 9, 2019, Proterra was awarded grant funding
   to use its technology to provide commercially sustainable solutions that meet identified U.S.
   Navy energy need in Hawai’i and the Asia-Pacific region. The Sub Award Agreement allows
   funds to be used to develop intellectual property, but the Company is currently using the
   funds to support business development activities supporting electric bus deployments in
   Hawaii.

3. Pursuant to that certain Letter Agreement for Services related to the Dual Variable Output
   Fuel Cell Hybrid Bus Validation Testing and Demonstration Project under the National Fuel
   Cell Bus Program dated March 5, 2010 from Daniel J. Raudebaugh of the Center for
   Transportation and the Environment to Jeff Granato of Proterra, and that certain United
   States of America Department of Transportation Federal Transit Administration Master
   Agreement certain governmental agencies may have certain rights regarding Company
   Intellectual Property in its patent and patent applications regarding Vehicle Battery Systems
   and Method in as set forth in such agreements.

4. Pursuant to that certain Letter Agreement for Services related to the Proterra Dual HD3O
   Hybrid Bus Demonstration Project under the National Fuel Cell Bus Program Project ID:
   GA-04-7003-01 dated March 20, 2013 from Daniel J. Raudebaugh of the Center for
   Transportation and the Environment to Marc Gottschalk of the Company (“National Fuel
   Cell Bus Program 2.1 Contract”), and that certain United States of America Department of
   Transportation Federal Transit Administration Master Agreement certain governmental
   agencies may have certain rights regarding Company Intellectual Property in its patent and
   patent applications regarding Vehicle Battery Systems and Method in as set forth in such
   agreements.
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      5. Pursuant to that certain Sponsored Research Agreement executed June 14, 2013 by the
         Company between Clemson University (“Clemson”) and the Company regarding Energy
         control strategy for driver eco-driving enhancement, feedback and driving style assessment,
         the Company and Clemson have agreed to joint ownership of certain intellectual property
         associated with such work.

      6. Pursuant to that certain Purchase Order 001-40937 from Eaton Corporate Research and
         Technology to the Company and Purchase Order Addendum dated March 31, 2017,
         regarding development of 3 and 4 speed automated transmission technology, certain
         governmental agencies may have certain rights regarding Company Intellectual Property in
         any patent and patent applications regarding multi-speed transmission solutions.

      7. Memorandum of Understanding between Proterra Inc and The Center for Transportation and
         the Environment, dated February 21, 2017, to potentially develop an active electric
         suspension for electric buses.


(e)

      1. The disclosures in Section 4.10(f) are incorporated by reference herein.


(f)

      1. Development and Supply Agreement dated January 1, 2019 between Munich Electrification
         Systems and the Company concerning battery management systems, as amended by
         Amendment No. 1 dated September 9, 2019 and Amendment No. 2 dated November 20,
         2019 (“Munich Agreement”).

      2. Agreement to Develop a Low Rolling Resistance Tire for a Heavy Duty Electric Vehicle by
         and between Proterra Inc and Michelin North America, Inc., dated June 24, 2016 (the
         “Michelin Agreement”).

      3. Product Supply Agreement dated November 16, 2016 between LG Chem, Ltd and the
         Company concerning battery cells (“LG Chem Agreement”).

      4. Master Services Agreement dated December 15, 2016, as amended April 20, 2017, between
         AxleTech International, LLC and the Company concerning axles and related technology
         which was assigned on April 10, 2019 to Allison Transmission and terminated by the Allison
         Settlement Agreement dated June 17, 2020. (“AxleTech/Allison Agreement”).

      5. Sales Agreement dated March 24, 2017 between PIDSA Industrial Devices Sales Company
         of America, Division of Panasonic Corporation of North America, and the Company
         concerning battery cells, (“Panasonic Agreement”).
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      6. Purchase and Supply Agreement, executed March 21, 2018 between Iotecha Corp. and the
         Company related to certain modules for electric vehicle chargers and electric vehicles,
         (“Iotecha Agreement”).

      7. Development and Supply Agreement executed July 21, 2017 between Rhombus Energy
         Solutions Inc and the Company concerning electric vehicle chargers, as amended (“Rhombus
         Agreement”).

      8. Product Supply Agreement dated August 13, 2017 between Chargepoint Inc. and Proterra Inc
         for chargers.

      9. Memorandum of Understanding dated May 10, 2017 between Tritium and Proterra Inc for
         chargers.

      10. The Agreements referred to in Section 4.10(d) are incorporated by reference herein.

      11. Master Services Agreement between StrataFushion Group Inc and the Company, dated May
          2, 2016 for software development services.

      12. Master Services Agreement between Automatak and the Company dated May 14, 2020 for
          software development services for V2G program development assistance.

      13. Master Services Agreement between Innominds Software Inc. and the Company dated April
          23, 2019 for software development services.

      14. Master Services Agreement between Samin TekMindz Inc and the Company dated
          December 16, 2019 for software development services.

      15. Agreement between Swiftly and the Company dated March 23, 2020 for Swiftly GPS
          Playback API data access.

      16. Term Sheet between the Company and Power Electronics, dated July 27, 2020, for a
          proposed supply agreement for electric vehicle charging products.

(g)

      1. Master Agreement between Mobility Forefront LLC, a wholly owned subsidiary of Mitsui &
         Co. Ltd (“Mobility”) and Proterra Inc dated March 29, 2019 concerning battery purchase by
         Mobility and lease by Mobility of batteries to Proterra transit bus customers and ongoing
         Proterra warranty obligations for the batteries contains contingent obligations to Proterra
         Intellectual Property if Proterra is unable to provide warranty service to customers.

      2. All contracts using the Company’s standard forms of Product Supply Agreement and
         Purchase Order Terms and Conditions set forth that suppliers are granted a license to use the
         Company’s specifications and provided materials for the purpose of the applicable
         agreement.
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   3. The Company has pledged the free use of the following three patents (the “Single Blade
      Technology”), as it relates its current overhead charging technology. Details of this pledge
      are described in a press release accessible at https://www.proterra.com/press-release/proterra-
      opens-its-electric-vehicle-fast-charging-technology-to-mass-transit-industry/.

Title                Patent       Summary of Independent claim

                               A charging station with a charging chassis including a pair of
CHARGING                       collector braces to charge the vehicle. Each collector brace is
STATIONS FOR                   formed with spaced apart guiding strips having an electrically
                     8,324,858
ELECTRIC                       conductive surface for contact with a pair of electrodes of the
VEHICLES                       vehicle. Each collector brace is connected to a charging mount and
                               extends downward and away from the charging mount.

                               A charging station for a vehicle comprising a charging mount and a
                               rigid arm extending downward and away from the charging
                               mount. One or more collector braces are coupled to the rigid
                               arm. Each collector brace includes a pair of spaced apart guiding
Methods and
                               strips and two or more contact pads configured to contact electrodes
Systems for          8,829,853
                               on the vehicle roof. A connection mechanism couples the rigid arm
Charging Vehicles
                               to the charging mount. The connection mechanism includes a pivot
                               that allows the one or more collector braces and the rigid arm to
                               rotate about a common axis passing through the pivot and extending
                               perpendicular to a plane of travel of the vehicle.

                               An electric vehicle with a charging interface positioned on its
                               roof. The charging interface is configured to engage with an
                               external charging station to charge the vehicle. The charging
                               interface includes an insulating body projecting from the roof and
CHARGING OF
                               extending along a length direction of the vehicle. A pair of
ELECTRIC             9,352,658
                               electrodes that extend along the length of the insulating body are
VEHICLES
                               positioned on opposite sides of the insulating body. A pair of
                               guiding elements are symmetrically positioned about the insulating
                               body such that a spacing between the guiding elements is greater at
                               the front than the rear.


   4. The Company is on the SAE working committee developing SAE J3105 standards for
      Electric Vehicle Power Transfer System Using a Mechanized Coupler. To the extent the
      Company’s patents read on the final J3105 standard adopted by SAE International, the
      Company has pledged to license those necessary patents on fair, reasonable and non-
      discriminatory terms. The Company is also on the SAE working committee developing SAE
      J3125 standards for Integration of Battery Pack Systems in Bus Electrification and would
      provide a pledge to license those patents that read on the final J3125 standard adopted by
      SAE International on fair, reasonable and non-discriminatory terms.
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      5. The Agreements referred to in Section 4.10(d)(1) are incorporated by reference herein.


(h)

      1. The Company has developed a proprietary software program called the Charge Controller
         master which acts as a communication gateway between the charging system and the vehicle.
         This application is used in the Linux operating environment. The Charge Controller is
         complied with code called OpenV2G which is licensed under the GNU GPL v3 license. The
         Company is obtaining a commercial license for the OpenV2G code compatible with its use.
         The Charge Controller also uses open-blt, described below.
      2. The Company has developed a proprietary software program called the Energy Storage
         Master (ESM) which acts as a communication gateway between the battery system and the
         vehicle. This application is used in the Linux operating environment. The ESM uses an
         open-blt library that is compiled independently from the proprietary commercial source code.
         The Company is obtaining a commercially licensed version of the open-blt software
         compatible with its use in the ESM and the Charge Controller.
      3. The Company has also used the library open-blt, licensed under GNU GPL v3 in its data
         logger, part number 033213, on the Company’s vehicles. The data logger runs in a Linux
         operating environment. The open-blt library is used in a bootloader that the Company
         modified for the data logger, and it is compiled independently from proprietary commercial
         source code. The bootloader instantiates the application program which contains proprietary
         commercial source code but is not compiled or linked to it. The Company is obtaining a
         commercially licensed version of the open-blt software compatible with its use.
      4. The Company also uses a collection of open source libraries in the same data logger, which
         are licensed as indicated below. These libraries are downloaded verbatim and compiled
         independently from the Company’s proprietary source code into separate, distinct
         applications. Some of these libraries may also be may be part of the Linux operating system,
         which is also open source software.
         GNU GPL:
         libxml-parser-perl-native, perl, perl-native
         GNU GPL v2:
         acl, acl-native, alsa-lib, alsa-lib-native, alsa-utils, attr, attr-native, autoconf-native, automake-
         native, avahi, base-files, base-passwd, bash-completion, bc, bc-native, bluez5, bmap-tools-
         native, busybox, ca-certificates, ca-certificates-native, can-utils, createrepo-native,
         cryptodev-linux, cryptodev-linux-native, dbus, dbus-glib, gbus-glib-native, dbus-native,
         dbus-test, dpkg, dtc-native, e2fsprogs, e2fsprogs-native, glibc, glibc-initial, glibc-locale,
         gmp, gmp-native, gnome-common-native, gobject-introspection, gobject-introspection-
         native, gtk-doc-native, hostap-utils, imx-alsa-plugins, intltool-native, iproute2, iptables, kdb,
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      kern-tools-native, kmod, kmod-native, ldconfig-native, libcap, libgcrypt, libgpg-error,
      libsamplerate0, libtool, libtool-cross, libtool-native, linux-compulab, linux-libc-headers,
      lrzsz, lzo, lzo-native, lzop-native, makedevs-native, mdadm, mklibs-native, mtd-utils, neard,
      netbase, nettle, nfs-utils, ofono, opkg-native, opkg-utils, opkg-utils-native, pciutils,
      pkgconfig-native, ppp, prelink-native, procps, ptest-runner, python-smartpm-native, qemu-
      native, quilt-native, quota, rpmresolve-native, setserial, sgml-common-native, sysfsutils,
      systemd, system-serialgetty, u-boot-compulab, u-boot-fw-utils, u-boot-mkimage-native, u-
      boot-script-compulab, update-rc.d, update-rc.d-native, usb-modeswitch, usb-modeswitch-
      data, usbutils, util-linux, util-linux-natifve, wireless-tools, xz, xz-native
      GNU GPL v3:
      autoconf-native, bash, binutils-cross-arm, binutils-native, coreutils, coreutils-native, diffutils,
      dosfstools, dosfstools-native, elfutils, elfutils-native, gawk, gcc-cross-arm, gcc-cross-initial-
      arm, gcc-runtime, gdbm, gettext, gettext-native, gmp, gmp-native, gnome-common-native,
      gnu-config-native, gnutls, gperf-native, grep, groff, groff-native, less, libgcc, libgcc-initial,
      libgcrypt, libidn, m4, m4-native, make, mpfr-native, mtools-native, nano, python-docutils,
      readline, readline-native, rsync-native, screen, sed, tar, xz, xz-native, open-blt
      GNU LGPL v2:
      e2fsprogs, e2fsprogs-native, gobject-introspection, gobject-introspection-native, make,
      parted-native, ppp, procps, shared-mime-info, shared-mime-info-native
      GNU LGPL v2.1:
      acl, acl-native, alsa-lib, alsa-lib-native, attr, attr-native, avahi, bc, bc-native, bluez5, cross-
      localedef-native, gettext, gettext-native, glib-2.0, glib-2.0-native, glibc, glibc-initial, glibc-
      locale, gnome-desktop-testing, gnutls, kmod, kmod-native, libcgroup, libcheck, libdaemon,
      libexif, libgcrypt, libgpg-error, libical, libidn, libnl, libnss-mdns, libsdl-native, libsndfile1,
      libsocketcan, libtool, libtool-cross, libtool-native, libusb1, libusb-compat, pseudo-native,
      python3-pygobject, python-pip, quota, rpm-native, sysfsutils, systemd, util-linux, util-linux-
      natifve, wireless-tools, xz, xz-native
      GNU LGPL v3:

      libidn, libmpc-native, mpfr-native, nettle


(i)

                                                Patents
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Reference                                Patent         Issue    Application     Filing
                       Title                                                                Country    Status
   No.                                   Number         Date      Number         Date
00041-       VEHICLE BATTERY SYSTEMS    8453773      6/4/2013    12/459,074    6/26/2009   United      Issued
0001-00000   AND METHODS                                                                   States

00041-       VEHICLE BATTERY SYSTEMS    2009261982   12/4/2014   2009261982    6/26/2009   Australia   Issued
0001-00110   AND METHODS

00041-       VEHICLE BATTERY SYSTEMS    2728679      8/2/2016    2728679       6/26/2009   Canada      Issued
0001-00131   AND METHODS

00041-       VEHICLE BATTERY SYSTEMS    2307218      9/30/2015   9771205.3     6/26/2009   European    Issued
0001-00155   AND METHODS                                                                   Patent
                                                                                           Office
00041-       VEHICLE BATTERY SYSTEMS    318588       3/19/2014   MX/a/2010/    6/26/2009   Mexico      Issued
0001-00223   AND METHODS                                         014560

00041-       LOW-FLOOR ELECTRIC BUS     9252417      2/2/2016    13/887,135    5/3/2013    United      Issued
0001-01000                                                                                 States
00041-       VEHICLE BATTERY SYSTEMS                             15183066.8    6/29/2009   European    Pending
0001-01155   AND METHODS                                                                   Patent
                                                                                           Office
00041-       LOW-FLOOR ELECTRIC BUS     9680139      6/13/2017   14/992,900    1/11/2016   United      Issued
0001-03000                                                                                 States
00041-       LOW-FLOOR ELECTRIC         10505164     12/10/201   15/589,170    5/8/2017    United      Issued
0001-04000   VEHICLE                                 9                                     States
00041-       ELECTRIC BUS                                        16/601,801    10/15/201   United      Pending
0001-05000                                                                     9           States
00041-       CHARGING STATIONS FOR      8324858      12/4/2012   12/496,569    7/1/2009    United      Issued
0002-00000   ELECTRIC VEHICLES                                                             States

00041-       CHARGING STATIONS FOR      2009266952   8/29/2013   2009266952    7/1/2009    Australia   Issued
0002-00110   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR      2729356      2/7/2017    2729356       7/1/2009    Canada      Issued
0002-00131   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR      2296933      10/5/2016   9774471.8     7/1/2009    European    Issued
0002-00155   ELECTRIC VEHICLES                                                             Patent
                                                                                           Office
00041-       CHARGING STATIONS FOR      210178       4/1/2015    210178        7/1/2009    Israel      Issued
0002-00186   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR      298780       5/2/2012    MX/a/2010/    7/1/2009    Mexico      Issued
0002-00223   ELECTRIC VEHICLES                                   014551
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Reference                                Patent       Issue    Application     Filing
                        Title                                                             Country   Status
   No.                                   Number       Date      Number         Date
00041-       Methods and Systems for    8829853    9/9/2014    13/678,493    11/15/201   United     Issued
0002-01000   Charging Vehicles                                               2           States

00041-       CHARGING STATIONS FOR      3141417    2/27/2019   16191966.7    7/1/2009    European   Issued
0002-01155   ELECTRIC VEHICLES                                                           Patent
                                                                                         Office
00041-       CHARGING STATIONS FOR      315272     11/12/201   MX/a/2012/    7/1/2009    Mexico     Issued
0002-01223   ELECTRIC VEHICLES                     3           005077

00041-       CHARGING SYSTEMS FOR       9446672    9/20/2016   14/449,842    8/1/2014    United     Issued
0002-02000   ELECTRIC VEHICLES                                                           States

00041-       CHARGING SYSTEMS FOR       10112498   10/30/201   15/244,277    8/23/2016   United     Issued
0002-03000   ELECTRIC VEHICLES                     8                                     States

00041-       CHARGING SYSTEMS FOR       9908435    3/6/2018    15/485,385    4/12/2017   United     Issued
0002-04000   ELECTRIC VEHICLES                                                           States

00041-       CHARGING SYSTEMS FOR                              16/149,919    10/2/2018   United     Pending
0002-05000   ELECTRIC VEHICLES                                                           States

00041-       CHARGING OF ELECTRIC       9352658    5/31/2016   13/518,847    11/26/201   United     Issued
0003-00000   VEHICLES                                                        3           States
00041-       CHARGING STATIONS FOR      2785516    9/17/2019   2785516       12/22/201   Canada     Issued
0003-00131   ELECTRIC VEHICLES                                               0

00041-       CHARGING STATIONS FOR      317386     1/22/2014   MX/a/2012/    12/22/201   Mexico     Issued
0003-00223   ELECTRIC VEHICLES                                 007381        0

00041-       ELECTRIC VEHICLES AND      10232724   3/19/2019   15/145,280    5/3/2016    United     Issued
0003-01000   CHARGING STATIONS                                                           States

00041-       CHARGING STATIONS FOR      10518656   12/31/201   16/266,175    2/4/2019    United     Issued
0003-02000   ELECTRIC VEHICLES                     9                                     States

00041-       ELECTRIC VEHICLES AND                             16/691,695    11/22/201   United     Pending
0003-03000   CHARGING STATIONS                                               9           States

00041-       SYSTEMS AND METHODS FOR    9365128    6/14/2016   13/643,541    4/11/2013   United     Issued
0005-00000   AUTOMATIC CONNECTION                                                        States
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
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Reference                                Patent         Issue    Application     Filing
                      Title                                                                 Country   Status
   No.                                   Number         Date      Number         Date
00041-       SYSTEMS AND METHODS FOR                             2797575       4/26/2011   Canada     Pending
0005-00131   AUTOMATIC CONNECTION
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR    ZL20118002   9/14/2016   2.0118E+11    4/26/2011   China      Issued
0005-00139   AUTOMATIC CONNECTION       6409.5
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR                             11777906.6    4/26/2011   European   Pending
0005-00155   AUTOMATIC CONNECTION                                                          Patent
             AND CHARGING OF AN                                                            Office
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR    9764653      9/19/2017   15/144,406    5/2/2016    United     Issued
0005-01000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR    9975444      5/22/2018   15/694,421    9/1/2017    United     Issued
0005-02000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR    10384553     8/20/2019   15/958,165    4/20/2018   United     Issued
0005-03000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR                             16/502,123    7/3/2019    United     Pending
0005-04000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR                             16/907,766    6/22/2020   United     Pending
0005-05000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR    9496730      11/15/201   13/193,278    7/28/2011   United     Issued
0006-00000   BATTERY MANAGEMENT                      6                                     States

00041-       SYSTEMS AND METHODS FOR    2.0118E+11   12/21/201   2.0118E+11    7/28/2011   China      Issued
0006-00139   BATTERY MANAGEMENT                      6

00041-       SYSTEMS AND METHODS FOR                 4/1/2020    11822290      7/28/2011   European   Issued
0006-00155   BATTERY MANAGEMENT                                                            Patent
                                                                                           Office
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Reference                                    Patent       Issue    Application     Filing
                        Title                                                                 Country   Status
   No.                                       Number       Date      Number         Date
00041-       SYSTEMS AND METHODS FOR        324330     10/10/201   MX/a/2013/    7/28/2011   Mexico     Issued
0006-00223   BATTERY MANAGEMENT                        4           002538

00041-       METHODS FOR ELECTRIC BUS       9496735    11/15/201   13/825,531    5/22/2013   United     Issued
0007-00000   CHARGING TO INCREASE                      6                                     States
             BATTERY LIFE
00041-       SYSTEMS AND METHODS FOR        8975866    3/10/2015   14/249,175    4/9/2014    United     Issued
0009-00000   BATTERY LIFE MAXIMIZATION                                                       States
             UNDER FIXED-ROUTE
             APPLICATIONS
00041-       SYSTEMS AND METHODS FOR        2851503    1/7/2020    2851503       10/10/201   Canada     Issued
0009-00131   BATTERY LIFE MAXIMIZATION                                           2
             UNDER FIXED-ROUTE
             APPLICATIONS
00041-       SYSTEMS AND METHODS FOR        2766216    5/27/2020   12840270.8    10/10/201   European   Issued
0009-00155   BATTERY LIFE MAXIMIZATION                                           2           Patent
             UNDER FIXED-ROUTE                                                               Office
             APPLICATIONS
00041-       BUS                            D642092    7/26/2011   29/368,987    8/31/2010   United     Issued
0010-00000                                                                                   States
00041-       SIDE-FACING VEHICLE            9718367    8/1/2017    14/420,872    2/10/2015   United     Issued
0011-01000   CHARGING SYSTEMS                                                                States

00041-       SYSTEMS AND METHODS FOR                               2890753       11/13/201   Canada     Pending
0013-00131   ENABLING FAST CHARGING                                              3
             OF AN ELECTRIC VEHICLE AT A
             CHARGING STATION

00041-       SYSTEMS AND METHODS FOR        2920022    1/10/2018   13855153.6    11/13/201   European   Issued
0013-00155   ENABLING FAST CHARGING                                              3           Patent
             OF AN ELECTRIC VEHICLE AT A                                                     Office
             CHARGING STATION

00041-       ELECTRIC VEHICLE CHARGING      9925887    3/27/2018   14/442,200    5/12/2015   United     Issued
0013-01000   INTERFACE                                                                       States

00041-       SYSTEMS AND METHODS FOR        3299212    10/30/201   17200683.5    11/13/201   European   Issued
0013-01155   ENABLING FAST CHARGING                    9                         3           Patent
             OF AN ELECTRIC VEHICLE AT A                                                     Office
             CHARGING STATION

00041-       ELECTRIC VEHICLE CHARGING      10696174   6/30/2020   15/890,534    2/7/2018    United     Pending
0013-02000   INTERFACE                                                                       States
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Reference                                  Patent       Issue    Application     Filing
                       Title                                                                Country   Status
   No.                                     Number       Date      Number         Date
00041-       TRANSMISSION CONTROL         8827867    9/9/2014    14/179,388    2/12/2014   United     Issued
4001-00000   SYSTEM FOR AN ELECTRIC                                                        States
             VEHICLE
00041-       ELECTRIC VEHICLE CHARGING    10377251   8/13/2019   14/670,027    3/26/2015   United     Issued
4002-00000   INTERFACE                                                                     States

00041-       CHARGING OF A FLEET OF       10017068   7/10/2018   14/309,560    6/19/2014   United     Issued
4003-00000   ELECTRIC VEHICLES                                                             States

00041-       CHARGING OF A FLEET OF                              15172411.9    6/16/2015   European   Pending
4003-00155   ELECTRIC VEHICLES                                                             Patent
                                                                                           Office
00041-       CHARGING OF AN ELECTRIC                             16/005,156    6/11/2018   United     Pending
4003-01000   VEHICLE FLEET                                                                 States

00041-       SYSTEMS AND METHODS FOR      10125799   11/13/201   14/701,880    5/1/2015    United     Issued
4006-00000   MOUNTING OBJECTS TO A                   8                                     States
             STRUCTURE
00041-       SYSTEMS AND METHODS FOR                             2927219       4/14/2016   Canada     Pending
4006-00131   MOUNTING OBJECTS TO A
             STRUCTURE
00041-       SYSTEMS AND METHODS FOR                             16167678.8    4/29/2016   European   Pending
4006-00155   MOUNTING OBJECTS TO A                                                         Patent
             STRUCTURE                                                                     Office
00041-       CHARGE HEAD LANDING          9809122    11/7/2017   14/980,697    12/28/201   United     Issued
4007-00000   SWITCH                                                            5           States
00041-       DETERMINING VEHICLE          9315111    4/19/2016   14/755,738    6/30/2015   United     Issued
4008-00000   POSITION USING RFID                                                           States

00041-       ACCELERATION CONTROL FOR     9096135    8/4/2015    14/498,422    9/26/2014   United     Issued
4009-00000   AN ELECTRIC VEHICLE                                                           States

00041-       CONTROLLING ELECTRIC         9321355    4/26/2016   14/755,981    6/30/2015   United     Issued
4011-00000   VEHICLE OPERATION BASED                                                       States
             ON INCLINATION
00041-       SYSTEM AND METHOD TO         9776520    10/3/2017   14/671,163    3/27/2015   United     Issued
4012-00000   ASSIST IN VEHICLE                                                             States
             POSITIONING
00041-       ELECTRIC VEHICLE CHARGING    9321366    4/26/2016   14/564,378    12/9/2014   United     Issued
4013-00000   BY ADJUSTING CHARGER                                                          States
             CURRENT
00041-       SCALABLE ENERGY STORAGE                             14/586,349    12/30/201   United     Pending
4014-00000   SYSTEM                                                            4           States
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                        Title                                                               Country   Status
   No.                                     Number       Date      Number         Date
00041-       STEERING CONTROL             9302702    4/5/2016    14/671,296    3/27/2015   United     Issued
4017-00000   MECHANISMS FOR AN                                                             States
             ELECTRIC VEHICLE
00041-       WINDOW GASKET FOR A          9296286    3/29/2016   14/661,033    3/18/2015   United     Issued
4018-00000   VEHICLE                                                                       States
00041-       ENERGY CONTROL               9352635    5/31/2016   14/675,200    3/31/2015   United     Issued
4019-00000   MECHANISMS FOR AN                                                             States
             ELECTRIC VEHICLE
00041-       VEHICLE ACCESSIBILITY                               15/087,132    3/31/2016   United     Pending
4020-00000   SYSTEM                                                                        States
00041-       HARNESSING HEAT DURING       9260025    2/16/2016   14/661,060    3/18/2015   United     Issued
4022-00000   ELECTRIC VEHICLE CHARGING                                                     States

00041-       BATTERY SYSTEM COOLING       9905893    2/27/2018   14/788,249    6/30/2015   United     Issued
4024-00000                                                                                 States
00041-       BATTERY SYSTEM COOLING                              15/869,705    1/12/2018   United     Pending
4024-01000                                                                                 States
00041-       METHOD OF DOCKING AN         9878637    1/30/2018   14/980,672    12/28/201   United     Issued
4025-00000   ELECTRIC VEHICLE FOR                                              5           States
             CHARGING
00041-       METHOD OF DOCKING AN                                16206520.5    12/22/201   European   Pending
4025-00155   ELECTRIC VEHICLE FOR                                              6           Patent
             CHARGING                                                                      Office
00041-       BRAKING SYSTEM OF A                                 14/964,860    12/10/201   United     Pending
5003-00000   HEAVY-DUTY VEHICLE                                                5           States

00041-       STATE OF CHARGE              9423465    8/23/2016   14/755,891    6/30/2015   United     Issued
5005-00000   DETERMINATION                                                                 States
00041-       POSITIONING SYSTEM FOR       9550428    1/24/2017   15/088,359    4/1/2016    United     Issued
5006-00000   ELECTRIC CHARGING                                                             States

00041-       HEATED CHARGING              9321364    4/26/2016   14/788,060    6/30/2015   United     Issued
5008-00000   INTERFACE OF ELECTRIC                                                         States
             VEHICLE
00041-       SPRING LOADED BRUSH          9522603    12/20/201   14/984,468    12/30/201   United     Issued
5011-00000   CARRIER                                 6                         5           States
00041-       ELECTRIC VEHICLE CHARGING                           14/985,126    12/30/201   United     Pending
5019-00000   TO REDUCE UTILITY COST                                            5           States

00041-       ELECTRIC VEHICLE CHARGING                           2952372       12/21/201   Canada     Pending
5019-00131   TO REDUCE UTILITY COST                                            6
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Reference                                    Patent       Issue    Application     Filing
                         Title                                                                Country   Status
   No.                                       Number       Date      Number         Date
00041-       METHOD OF DOCKING AN           9987939    6/5/2018    15/231,992    8/9/2016    United     Issued
5023-00000   ELECTRIC VEHICLE FOR                                                            States
             CHARGING
00041-       Multi Protocol Charge Ports    9669719    6/6/2017    15/227,163    8/3/2016    United     Issued
6001-00000                                                                                   States
00041-       Multi Protocol Charge Ports                           2966747       5/10/2017   Canada     Pending
6001-00131
00041-       Multi Protocol Charge Ports                           17170709.4    5/11/2017   European   Pending
6001-00155                                                                                   Patent
                                                                                             Office
00041-       MULTI-PROTOCOL CHARGE          10442301   10/15/201   15/589,281    5/8/2017    United     Issued
6001-01000   PORT FOR AN ELECTRIC BUS                  9                                     States

00041-       ELECTRIC MOTOR CONTROL         9764658    9/19/2017   15/188,757    6/21/2016   United     Issued
6002-00000   BY TORQUE PERTURBATION                                                          States

00041-       BATTERY SYSTEM OF AN           10272758   4/30/2019   15/341,401    11/2/2016   United     Issued
6004-00000   ELECTRIC VEHICLE                                                                States

00041-       BATTERY SYSTEM OF AN                                  2983327       10/23/201   Canada     Pending
6004-00131   ELECTRIC VEHICLE                                                    7

00041-       BATTERY SYSTEM OF AN                                  17197629.3    10/20/201   European   Pending
6004-00155   ELECTRIC VEHICLE                                                    7           Patent
                                                                                             Office
00041-       BATTERY SYSTEM OF AN           10647189   5/12/2020   16/354,653    3/15/2019   United     Issued
6004-01000   ELECTRIC VEHICLE                                                                States

00041-       BATTERY SYSTEM OF AN                                  16/847,917    4/14/2020   United     Pending
6004-02000   ELECTRIC VEHICLE                                                                States

00041-       THERMAL EVENT                  9954259    4/24/2018   15/372,000    12/7/2016   United     Issued
6005-00000   MANAGEMENT SYSTEM FOR                                                           States
             AN ELECTRIC VEHICLE
00041-       THERMAL EVENT                                         2985451       11/14/201   Canada     Pending
6005-00131   MANAGEMENT SYSTEM FOR                                               7
             AN ELECTRIC VEHICLE
00041-       THERMAL EVENT                                         17201211.4    11/10/201   European   Pending
6005-00155   MANAGEMENT SYSTEM FOR                                               7           Patent
             AN ELECTRIC VEHICLE                                                             Office
00041-       THERMAL EVENT DETECTION        10658714   5/19/2020   15/925,964    3/20/2018   United     Issued
6005-01000   AND MANAGEMENT SYSTEM                                                           States
             FOR AN ELECTRIC VEHICLE
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Reference                                   Patent       Issue    Application     Filing
                       Title                                                                 Country   Status
   No.                                      Number       Date      Number         Date
00041-       SYSTEMS AND METHODS TO                               15/485,772    4/12/2017   United     Pending
6006-00000   IMPROVE PERFORMANCE OF                                                         States
             AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                               2999008       3/23/2018   Canada     Pending
6006-00131   IMPROVE PERFORMANCE OF
             AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                               18165137.3    3/29/2018   European   Pending
6006-00155   IMPROVE PERFORMANCE OF                                                         Patent
             AN ELECTRIC VEHICLE                                                            Office

00041-       ELECTRIC VEHICLE CHARGING                            15/705,920    9/15/2017   United     Pending
6007-00000   BY ADJUSTING CHARGER                                                           States
             CURRENT
00041-       LIMITING VOLTAGE SPIKES                              15/699,405    9/8/2017    United     Pending
7001-00000   DURING ELECTRIC VEHICLE                                                        States
             CHARGING
00041-       EFFICIENCY OPTIMIZATION OF                           15/656,037    7/21/2017   United     Pending
7003-00000   MULTI-MOTOR ELECTRIC                                                           States
             VEHICLES
00041-       EFFICIENCY OPTIMIZATION OF                           3010088       6/29/2018   Canada     Pending
7003-00131   MULTI-MOTOR ELECTRIC
             VEHICLES
00041-       EFFICIENCY OPTIMIZATION OF                           18181986.3    7/5/2018    European   Pending
7003-00155   MULTI-MOTOR ELECTRIC                                                           Patent
             VEHICLES                                                                       Office
00041-       CONTROLLING THE                                      3012936       7/31/2018   Canada     Pending
7007-00131   POWERTRAIN OF A VEHICLE

00041-       CONTROLLING THE                                      18186897.7    8/1/2018    European   Pending
7007-00155   POWERTRAIN OF A VEHICLE                                                        Patent
                                                                                            Office
00041-       CONTROLLING THE               10272899   4/30/2019   15/727,221    10/6/2017   United     Issued
7007-01000   POWERTRAIN OF A VEHICLE                                                        States

00041-       CONTROLLING THE               10538231   1/21/2020   16/354,586    3/15/2019   United     Issued
7007-02000   POWERTRAIN OF A VEHICLE                                                        States

00041-       DEPOT CHARGING OF AN                                 3078598       10/5/2018   Canada     Pending
7008-00131   ELECTRIC VEHICLE FLEET

00041-       DEPOT CHARGING OF AN                                 18797228.6    10/5/2018   European   Pending
7008-00155   ELECTRIC VEHICLE FLEET                                                         Patent
                                                                                            Office
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Reference                                Patent       Issue    Application     Filing
                        Title                                                             Country       Status
   No.                                   Number       Date      Number         Date
00041-       DEPOT CHARGING OF AN                              PCT/US2018    10/5/2018   World          Pending
7008-00304   ELECTRIC VEHICLE FLEET                            /054649                   Intellectual
                                                                                         Property
                                                                                         Organizatio
                                                                                         n
00041-       DEPOT CHARGING OF AN                              16/753,647    4/3/2020    United         Pending
7008-02000   ELECTRIC VEHICLE FLEET                                                      States

00041-       CONTROLLING THE                                   3019673       10/3/2018   Canada         Pending
7009-00131   POWERTRAIN OF A VEHICLE

00041-       CONTROLLING THE            3467354    3/4/2020    18199052.4    10/8/2018   European       Issued
7009-00155   POWERTRAIN OF A VEHICLE                                                     Patent
                                                                                         Office
00041-       CONTROLLING THE                                   16/153,329    10/5/2018   United         Pending
7009-01000   POWERTRAIN OF A VEHICLE                                                     States

00041-       DYNAMIC BUS ROUTING                               16/723,130    12/20/201   United         Pending
7010-01000                                                                   9           States
00041-       OVERCURRENT PROTECTION                            15/955,052    4/17/2018   United         Pending
8001-00000   FOR BATTERY SYSTEMS                                                         States

00041-       OVERCURRENT PROTECTION                            3037545       3/21/2019   Canada         Pending
8001-00131   FOR BATTERY SYSTEMS

00041-       OVERCURRENT PROTECTION                            19164104.2    3/20/2019   European       Pending
8001-00155   FOR BATTERY SYSTEMS                                                         Patent
                                                                                         Office
00041-       BALANCING ENERGY IN A                             16/169,594    10/24/201   United         Pending
8002-00000   PARALLELIZED BATTERY                                            8           States
             SYSTEM
00041-       LOCATING AN ELECTRIC                              16/228,918    12/21/201   United         Pending
8006-01000   VEHICLE IN A CHARGING                                           8           States
             STATION
00041-       ELECTRIC VEHICLE           10690234   6/23/2020   16/353,244    3/14/2019   United         Issued
8007-00000   POWERTRAIN                                                                  States
00041-       ELECTRIC VEHICLE                                  3074310       3/3/2020    Canada         Pending
8007-00131   POWERTRAIN
00041-       TEMPERATURE                                       16/429,222    6/3/2019    United         Pending
8008-00000   MANAGEMENT SYSTEMS AND                                                      States
             METHODS FOR ELECTRIC
             VEHICLE
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Reference                                       Patent          Issue       Application     Filing
                          Title                                                                        Country      Status
   No.                                          Number          Date         Number         Date
00041-          TEMPERATURE                                                               5/28/2020   Canada       Pending
8008-00131      MANAGEMENT SYSTEMS AND
                METHODS FOR ELECTRIC
                VEHICLE
00041-          ADAPTIVE POWERTRAIN                                         16/781,400    2/4/2020    United       Pending
9001-01000      CONTROL OF AN ELECTRIC                                                                States
                VEHICLE
00041-          CHARGING SYSTEM FOR                                         3074829       3/6/2020    Canada       Pending
9003-00131      ELECTRIC VEHICLES

00041-          CHARGING SYSTEM FOR                                         16/817,813    3/13/2020   United       Pending
9003-01000      ELECTRIC VEHICLES                                                                     States

00041-          BATTERY CASSETTE                                            62/906,931    9/27/2019   United       Pending
9004-00600                                                                                            States
00041-          BATTERY VENT SYSTEM                                         16/713,042    12/13/201   United       Pending
9005-00000                                                                                9           States
00041-          BATTERY SYSTEM OF AN                                        62/898,301    9/10/2019   United       Pending
9006-00600      ELECTRIC VEHICLE                                                                      States

00041-          SYSTEMS AND METHOD FOR                                      16/806,048    3/2/2020    United       Pending
9009-00000      MANAGEMENT OF ELECTRIC                                                                States
                VEHICLE SUPPLY EQUIPMENT

                CHARGING SYSTEM FOR AN                                      16/205,825    11/30/201   United       Non
                ELECTRIC VEHICLE                                                          1           States       Final
                                                                                                                   Action
                                                                                                                   Mailed




                                                   Trademarks

Country          Trademark                 Classes     Status           App. No.      Reg. No.   Filing        Reg. Date
                                                                                                 Date
United States    PROTERRA                  9, 12       Registered       77/983,282    4230384    27-Jan-       23-Oct-
WR File No.                                                                                      2010          2012
022198.7005

United States    PROTERRA                  42          Registered       77/921,623    4478357    27-Jan-       4-Feb-2014
WR File No.                                                                                      2010
.022198.7006
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Country         Trademark           Classes     Status       App. No.     Reg. No.   Filing     Reg. Date
                                                                                     Date
United States   PROTERRA            9, 12, 42 Pending        88/093,236   n/a        27-Aug-    n/a
WR File No.                                                                          2018
022198-7011



United States                       9, 12, 42 Registered     87/120,131   5897517    28-Jul-    29-Oct-
WR File No.                                                                          2016       2019
022198-7002

United States                       9, 12, 42 Pending        88/093,247   n/a        27-Aug-    n/a
WR File No.                                                                          2018
022198.7012

United States   PROTERRA APEX       42          Pending      88/559,554   n/a        1-Aug-     n/a
WR File No.                                                                          2019
022198-7015

United States   PROTERRA            12          Registered   86/386,295   4731122    5-Sep-2014 5-May-
WR File No.     CATALYST                                                                        2015
022198.7007

United States   APEX                42          Pending      88/315,030   n/a        2-Feb-2019 n/a
WR File No.
022198-7014

United States   CATALYST            12          Registered   86/611,754   4831980    28-Apr-    13-Oct-
WR File No.                                                                          2015       2015
022198.7008

United States   DUOPOWER            12          Registered   87/638,135   5991622    9-Oct-2017 18-Feb-
WR File No.                                                                                     2020
022198-7010



United States   ECORIDE             12          Registered   85/108,762   4226218    16-Aug-    16-Oct-
WR File No.                                                                          2010       2012
022198.7004

United States   REVOLUTIONIZING 41              Registered   88/409,981   5902895    30-Apr-    n/a
WR File No.     TRANSIT                                                              2019
022198-7013

Canada          PROTERRA            12          Registered   1700609      TMA        31-Oct-    17-Jun-
WR File No.                                                               1026357    2014       2019
022198-8005

Canada          PROTERRA            9, 12, 42   Pending      1933521      n/a        30-Nov-    n/a
WR File No.                                                                          2018       (appl. based
022198-8015                                                                                     on WIPO Intl.
                                                                                                Reg.)
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Country         Trademark          Classes    Status       App. No.     Reg. No.   Filing    Reg. Date
                                                                                   Date

Canada                             9, 12, 42 Registered    1813758      TMA        12-Dec-   2-Aug-
WR File No.                                                             1046588    2016      2019
022198-8002



Canada          PROTERRA           12         Registered   1697804      TMA        10-Oct-   17-Jun-
WR File No.     CATALYST                                                1025458    2014      2019
022198-8003

Canada          CATALYST           12         Registered   1742587      TMA        20-Aug-   17-Jun-
WR File No.                                                             1025503    2015      2019
022198-8004

Canada          DUOPOWER           12         Pending      1864650      n/a        26-Oct-   n/a
WR File No.                                                                        2017
022198-8005

EU              PROTERRA           9, 12, 42 Registered    1446462      1446462    13-Sep-   25-Jul-
WR File No.                                                                        2018      2019
022198.8012                                                                                  (13-Sep-2018
                                                                                             (based on
                                                                                             WIPO)

EU                                 9, 12, 42 Registered    1457389      1457389    27-Aug-   12-Sept-
WR File No.                                                                        2018      2019
022198.8014                                                                                  (27-Aug-2018
                                                                                             based on
                                                                                             WIPO)

UK              PROTERRA           9, 12, 42 Pending       1446462      n/a        14-Oct-   n/a
WR File No.                                                                        2019
022198.8016

UK                                 9, 12, 42 Registered    1457389      1457389    14-Oct-   16-Apr-
WR File No.                                                                        2019      2020
022198.8017                                                                                  (27-Aug-2018
                                                                                             (based on
                                                                                             WIPO)

Intl. Reg.      PROTERRA           9, 12, 42 Registered    1446462      1446462    13-Sep-   13-Sep-
(WIPO)                                                                             2018      2018
WR File No
022198. 8011

Intl. Reg.                         9, 12,42   Registered   1457389      1457389    27-Aug-   27-Aug-
(WIPO)                                                                             2018      2018
WR File No
022198. 8013

Intl. Reg.      DUOPOWER           12         Registered   1381092      1381092    25-Oct-   25-Oct-
(WIPO)                                                                             2017      2017
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  Country          Trademark                 Classes   Status            App. No.      Reg. No.   Filing    Reg. Date
                                                                                                  Date
  WR File No.
  022198.8009




                                                  Copyrights



  Country         Status      App. No./Reg. No.                 Filing       Reg. Date             Work
                                                                Date
  United        Registered    VA 1-954-702                03-Apr-            03-Apr-        Proterra Logo
  States                                                  2015               2015
(k)

      1. The following individuals have excluded works or inventions from his or her assignment of
         inventions, none of which are material to the Intellectual Property necessary to the business
         of the Company as presently conducted:

            •    Mark Norton

            •    Michael Wynnik

            •    Yogesh Pawar

            •    Curt Hargraves

            •    David Boucard

            •    Scott Brunner

            •    Matthew Simonini

            •    Perry Jones (former employee)

            •    Andrew Colletti (former employee)

            •    James Harper

            •    Seneca Schepmann (former employee)

            •    Sarah Hulseman (former employee)

            •    Derek Paul

            •    Dustin Grace
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•   Edward Funnell

•   Jesse McRae (former employee)

•   Matthew Nowacki

•   Thomas Reno

•   John Casey (former employee)

•   Jon Wright (former employee)

•   Brian Karcher (former employee)

•   Krystin Kitteridge (former employee)
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                                          Schedule 4.11


                                 Financial Statements; Solvency


        Since December 31, 2019, with the onset of the global coronavirus pandemic, the Company
made changes to its business plan (which changes have been discussed with the Investors prior to the
date hereof) in anticipation of lower revenues and production output due to potential supply chain
disruptions, delays in government bus testing due to shuttered facilities, and impacts to customer
revenue and capital expenditures.
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                                       Schedule 4.12

                                    Surety Obligations.

1. Guaranty and Side Agreement, by and among Proterra Inc, Onset Financial, Inc. and
   Keystone, dated July 29, 2016, for certain guarantees by Proterra Inc relating to a Lease
   Agreement for use of five forty-foot fast charge battery electric buses and related charging
   equipment by and between Aon Center and Onset Financial (the “Aon Center Guaranty and
   Side Agreement”).

2. Guaranty and Side Agreement by and among Proterra Inc, Onset Financial, Inc. and
   Keystone, dated July 29, 2016 for certain guarantees by Proterra Inc relating to a Lease
   Agreement for use of five forty-foot fast charge battery electric buses and related charging
   equipment by and between SL PRU/Prudential Plaza and Onset Financial (the “SL
   PRU/Prudential Plaza Guaranty and Side Agreement”).
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                                       Schedule 4.13

                                  Compliance with Laws.

1. The Bus Testing and Research Center for the Federal Transit Administration’s 2012, 2015
   and 2017 publicly available Federal Transit Bus Test reports, which are required for
   customers to receive federal funding and which were provided to customers in the
   solicitation and/or contracting process, reported that certain of the Company’s vehicle data
   fell outside of federal or state regulations that may be applicable to certain customers. The
   Company has engaged with customers on this issue and does not expect these data will
   materially affect the Company’s business.
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                                          Schedule 4.17

                                              Taxes.


The Company has timely paid all taxes, filed all returns, and there have been no examinations or
audits of the Company by government agency other than the following:

   1. The IRS federal excise tax audit for quarter ended September 30, 2018 was completed in
      2020 without any liability.

   2. The Company is currently subject to California sales tax audit for a 3-year period and elected
      the period from July 1, 2017 to June 30, 2020.
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                                     Schedule 4.19

                                    Trade Relations.


1. Proterra and Allison Transmission executed the Allison Settlement Agreement dated June 17,
   2020 that terminated the Master Services Agreement dated December 15, 2016, as amended
   April 20, 2017, between AxleTech International, LLC and the Company concerning axles
   and related technology, which was assigned on April 10, 2019 to Allison Transmission.

2. On July 21, 2020, the Development and Supply Agreement executed July 21, 2017 between
   Rhombus Energy Solutions Inc and the Company concerning electric vehicle chargers, as
   amended, terminated in accordance with its three-year term.
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                                        Schedule 4.20

                                      Labor Relations.

1. Proterra, Jobs to Move America, a California Public Benefit Corporation, and United
   Steelworkers International signed a Terms of Negotiation Pertaining to Proterra’s City of
   Industry, CA Facility on June 9, 2017 regarding good faith negotiation of a mutually
   acceptable community benefits agreement. No further agreements have been reached. The
   Company is in discussions regarding a neutrality agreement with the United Steelworkers
   International concerning its City of Industry location.

2. The Company entered a neutrality agreement with the United Steelworkers International
   (“Union”) concerning its City of Industry location on August 7, 2019 and voluntarily
   certified the Union as the bargaining representative of certain employees at the City of
   Industry location in November 2019. The Company is in the process of negotiating a
   Collective Bargaining Agreement with the Union.

3. The Company conducted a layoff of 18 employees in February 2020 and in connection with
   this lay off the Company offered severance compensation.

4. The disclosure in Section 4.4(f) are incorporated by reference herein.


5. Reference is made to the Robert Jenkins Matter. The Company is conducting an internal
   investigation into potential irregularities in meal period calculations under California law.
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                                       Schedule 4.24

                                         Brokers.

1. The Company will pay a fee in connection with the issuance of the Notes pursuant to the Letter
   Agreement between the Company and BofA Securities, Inc., dated March 30, 2020.
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                                      Schedule 4.25

                                        Disclosure.

1. The Company confidentially submitted a draft registration statement on Form S-1 with the
   Securities and Exchange Commission on October 30, 2018, and submitted subsequent
   amendments on December 18, 2018, February 12, 2019 and May 8, 2019.

2. In April 2019 Daimler conducted an On-Site Assessment of Proterra’s Greenville location as
   a possible supplier of electric vehicle drivetrains for Daimler Trucks and Buses. The On-Site
   Assessment is not an audit result and is not for communication to third parties. The On-Site
   Assessment deemed Proterra’s then-current processes unsuitable for cooperation with
   Daimler Trucks and Buses and provided corrective actions to the Company including
   implementation and certification under ISO standards. The Company is undertaking these
   actions and expects to satisfy Daimler’s requirements before it anticipates entering into
   production supply agreements with Daimler.
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                                      Schedule 4.26

                           Rights of Registration and Voting Rights.

1. Silicon Valley Bank holds a Series 1 Preferred Stock Warrant for 91,574 shares of Series 1
   Preferred Stock of the Company.
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                                           Schedule 7.2

                                       Negative Covenants.


(a)(ii)


The Company has outstanding debt obligations pursuant to the following agreements:


      1. U.S. Small Business Administration Note dated May 5, 2020 between the Company and
         Town Center Bank (“Paycheck Protection Program Loan”).The Company intends to apply
         for forgiveness of the Paycheck Protection Program loan in its entirety.


(p)

      1. The Company has entered into a Key Management Transfer Restriction Agreement with
         Ryan Popple, dated September 18, 2018.

      2. Reference is hereby made to the Executive Officer Severance Agreement Disclosure.

      3. Strategic Collaboration Agreement dated September 18, 2018 between the Company and
         Daimler North America Corporation, a subsidiary of Daimler AG (the “Daimler
         Collaboration Agreement”).

      4. Option Cancellation Agreement dated March 16, 2020 between the Company and Ryan
         Popple.

      5. Employment Agreement dated March 16, 2020 between the Company and Jack Allen.

      6. Development Agreement dated July 26, 2018 Thomas Built Buses, Inc., a subsidiary of
         Daimler Trucks North America LLC, as amended by the Amendment to Development
         Agreement dated December 6, 2018.

      7. Development Agreement dated May 3, 2019 (Phase 2 Agreement) Daimler Trucks North
         America LLC and its subsidiaries Thomas Built Buses, Inc. and Freightliner Custom Chassis
         Corporation.

      8. Limited Supply Agreement dated December 6, 2019 Daimler Trucks North America LLC
         and its subsidiaries.

      9. Development Agreement dated August 26, 2019 with Daimler Trucks North America LLC
         and its subsidiary Freightliner Custom Chassis Corporation.
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                         EXHIBIT A



         FORM OF CONVERTIBLE PROMISSORY NOTE
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NEITHER THIS NOTE NOR THE SECURITIES ISSUABLE UPON CONVERSION OF THIS NOTE HAVE
BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR
UNDER THE SECURITIES LAWS OF APPLICABLE STATES. THIS NOTE AND SUCH SECURITIES
ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND RESALE AND MAY NOT BE
TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER THE ACT AND THE APPLICABLE
STATE SECURITIES LAWS, PURSUANT TO REGISTRATION UNDER SUCH LAWS OR AN
EXEMPTION FROM SUCH REGISTRATION REQUIREMENTS. INVESTORS SHOULD BE AWARE
THAT THEY MAY BE REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN
INDEFINITE PERIOD OF TIME. THE ISSUER OF THIS NOTE AND ANY SECURITIES ISSUABLE
UPON CONVERSION OF THIS NOTE MAY REQUIRE AN OPINION OF COUNSEL IN FORM AND
SUBSTANCE SATISFACTORY TO THE ISSUER TO THE EFFECT THAT ANY PROPOSED TRANSFER
OR RESALE IS IN COMPLIANCE WITH THE ACT AND ALL APPLICABLE STATE SECURITIES LAWS.

        ANYTHING HEREIN TO THE CONTRARY NOTWITHSTANDING, THE LIENS AND SECURITY
INTERESTS SECURING THE OBLIGATIONS EVIDENCED BY THIS NOTE, THE EXERCISE OF ANY
RIGHT OR REMEDY WITH RESPECT THERETO, AND CERTAIN OF THE RIGHTS OF THE HOLDER
ARE SUBJECT TO THE PROVISIONS OF THE INTERCREDITOR AGREEMENT DATED AS OF [•],
2020, (AS AMENDED, RESTATED, SUPPLEMENTED, OR OTHERWISE MODIFIED FROM TIME TO
TIME, THE “INTERCREDITOR AGREEMENT”), BY AND BETWEEN BANK OF AMERICA, N.A., AS
FIRST LIEN AGENT, AND CSI GP I LLC, AS SECOND LIEN AGENT. IN THE EVENT OF ANY
CONFLICT BETWEEN THE TERMS OF THE INTERCREDITOR AGREEMENT AND THIS
PROMISSORY NOTE, THE TERMS OF THE INTERCREDITOR AGREEMENT SHALL GOVERN AND
CONTROL.


                                            PROTERRA INC

                         SECURED CONVERTIBLE PROMISSORY NOTE

Note No.: [●]
[$●]                                                                                  Made as of [●], 2020

         Subject to the terms and conditions of this Note, for value received, Proterra Inc, a Delaware
corporation (the “Company”), with chief executive offices at 1815 Rollins Road, Burlingame, California,
94010, hereby promises to pay to [●] or registered assigns (“Holder”), the principal sum of [●] ([$●]), or
such amount as shall then equal the outstanding principal amount hereunder, together with any interest
paid-in-kind added to the principal amount and simple interest accrued since the last Interest Payment Date
(as defined below) on the unpaid principal amount at the Applicable Rate (as defined below) and any unpaid
interest accrued in accordance with Section 2.5. Interest shall begin to accrue on the date of this Note on a
daily basis and shall be payable on each Interest Payment Date partially in cash pursuant to Sections 2.3
and partially by increasing the Principal Balance of this Note pursuant to Section 2.4 or on demand in
accordance with Section 2.5, then continue to accrue on the outstanding Principal Balance until the entire
Balance is paid (or converted, as provided in Section 6), and shall be computed based on the actual number
of days elapsed and on a year of 365 days.

        This Note has been issued pursuant to that certain Note Purchase Agreement, dated as of August 4,
2020 (the “Purchase Agreement”), by and among the Company, the original holder of this Note and certain
other investors and is subject to the provisions of the Purchase Agreement. The Company’s obligations
under this Note are secured by a security interest in certain property granted by the Company for the benefit
of the Holder and other Secured Parties, pursuant to the terms of the Security Documents, including that
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certain Security Agreement dated as of August 4, 2020by and among the Company, the other Obligors party
thereto from time to time and the Collateral Agent.

        The following is a statement of the rights of Holder and the terms and conditions to which this Note
is subject, and to which the Holder hereof, by the acceptance of this Note, agrees.

       1.        DEFINITIONS. Capitalized terms used but not defined herein shall have the respective
meanings ascribed to such terms in the Purchase Agreement. The following definitions shall apply for
purposes of this Note.

        “Actual Conversion Amount” means all (or if permitted by the terms of this Note or the Purchase
Agreement, that lesser portion) of the Balance actually converted into Conversion Stock pursuant to Section
6, on an Actual Conversion Date, including, if accrued interest and expenses convert pursuant to the terms
of this Note, interest and expenses accrued through such Actual Conversion Date and actually converted
into Conversion Stock.

        “Actual Conversion Date” means a date on which all (or if permitted by this Note, a lesser portion)
of the Balance of this Note is converted pursuant to Section 6.

        “Applicable Rate” means a rate equal to the sum of the Cash Interest Rate and the PIK Interest
Rate.

        “Balance” means, at the applicable time, the sum of all then outstanding principal of this Note, all
then accrued but unpaid interest and all other amounts then accrued but unpaid under this Note.

        “Common Stock” means the Company’s Common Stock, par value $0.0001 per share.

        “Company” shall include, in addition to the Company identified in the opening paragraph of this
Note, any corporation or other entity which succeeds to the Company’s obligations under this Note, whether
by permitted assignment, by merger or consolidation, operation of law or otherwise.

        “Conversion Price” means:

                        (a)      if the Conversion Stock is being issued upon conversion of this Note at or
following a QIPO under Sections 6.1 or 6.2(a), an amount equal to the QIPO Price Per Share multiplied by
the Discount Coefficient in effect on the date of the QIPO;

                        (b)     if the Conversion Stock is being issued upon conversion of this Note at the
election of the Holder under Section 6.3 following a Qualified Financing, an amount equal to 75% of the
lowest per share cash purchase price of the Common Stock or preferred stock sold by the Company in the
Qualified Financing; and

                        (c)  If the Conversion Stock is being issued upon conversion of this Note at or
following a SPAC Transaction under Sections 6.2(b) or 6.3, an amount equal 75% of to the SPAC
Transaction Price Per Share.

The Conversion Price is subject to adjustment as provided herein.

        “Conversion Stock” means




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                         (a)   if the stock is being issued upon conversion of this Note at or following a
QIPO under Sections 6.1 or 6.2(a), shares of the Company’s Common Stock;

                       (b)     if the stock is being issued upon conversion of this Note at the election of
the Holder under Section 6.3, shares of the most senior series of the Company’s securities sold in the
Qualified Financing; and

                          (c)   if the stock is being issued upon conversion of this Note at or following a
SPAC Transaction under Section 6.2(b) or at the election of the Holder under Section 6.3 in connection
with a SPAC Transaction, shares of the Company’s Common Stock (or, as applicable, the common stock
of its successor or parent company).

         The number and character of shares of Conversion Stock are subject to adjustment as provided in
this Note and the term “Conversion Stock” shall include the stock and other securities and property that
are, on the Actual Conversion Date, receivable or issuable upon such conversion of this Note in accordance
with its terms.

        “Discount Coefficient” means:

                  For the period:                                   The following percentage:
         Up to and including August 3, 2021                                    90%
 August 4, 2021 up to and including February 3, 2022                         87.25%
 February 4, 2022 up to and including August 3, 2022                          84.5%
 August 4, 2022 up to and including February 3, 2023                         81.75%
 February 4, 2023 up to and including August 3, 2023                           79%
 August 4, 2023 up to and including February 3, 2024                         76.25%
 February 4, 2024 up to and including August 3, 2024                          73.5%
 August 4, 2024 up to and including February 3, 2025                         70.75%
 February 4, 2025 up to and including August 3, 2025                           68%


         “Freely Tradable” means, with respect to Conversion Stock, (i) such Conversion Stock is listed on
the NYSE, Nasdaq or other national or international stock exchange that is reasonably acceptable to the
Required Holders and (ii) such Conversion Stock is not subject to any “lock-up” or other legal or contractual
restriction on transfer by the holder thereof (it being acknowledged and agreed that the possession of
material non-public information with respect to the Company or Holder’s status as an “affiliate” as defined
under Rule 144 does not prevent the Conversion Stock from being considered Freely Tradable).

         “Interest Payment Date” means the final day of each fiscal quarter of the Company’s fiscal year,
until the entire Balance under this Note is paid (or converted, as provided in Section 6), or the Note is
otherwise terminated.

        “Liquidation Event” means (a) the commencement of a voluntary or involuntary liquidation,
dissolution or winding up of the Company (provided that in the event of a voluntary liquidation, dissolution
or winding up of the Company, the Required Holders (as defined in the Purchase Agreement) have
consented to the occurrence of such event), or (b) the consummation of a Deemed Liquidation Event (as
defined in the Company’s Restated Certificate of Incorporation, as amended from time to time (the
“Restated Certificate”)).

        “Lost Note Documentation” means documentation reasonably satisfactory to the Company with
regard to a lost or stolen Note, including, if required by the Company, an affidavit of lost note and a

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customary indemnification agreement by Holder in favor of the Company with respect to such lost or stolen
Note.

        “Mandatory Conversion Trigger Event” means either of the following events occurring at any
time after the expiration of the QIPO “lock-up” period:

                         (a)     if the QIPO Price Per Share equals or exceeds $6.9075 (equitably adjusted
to reflect any stock dividends, stock splits, reverse stock splits, recapitalizations or other similar events),
then upon the volume-weighted average price of the Company’s publicly-traded Common Stock on the
New York Stock Exchange, Nasdaq or other national or international stock exchange that is reasonably
acceptable to the Required Holders over a period of 20 consecutive trading days exceeding 150% of the
Conversion Price; or

                         (b)      if the QIPO Price Per Share is lower than $6.9075 (equitably adjusted to
reflect any stock dividends, stock splits, reverse stock splits, recapitalizations or other similar events), then
upon the volume-weighted average price of the Company’s publicly-traded Common Stock on the New
York Stock Exchange, Nasdaq or other national or international stock exchange that is reasonably
acceptable to the Required Holders over a period of 20 consecutive trading days exceeding 150% of an
amount equal to $6.9075 (equitably adjusted to reflect any stock dividends, stock splits, reverse stock splits,
recapitalizations or other similar events) multiplied by the Discount Coefficient at the time of the QIPO.

        “Mandatory SPAC Conversion Trigger Event” means either of the following events occurring at
any time after a SPAC Transaction in which the excess of the SPAC Contribution Amount over the
aggregate amount of the obligations and liabilities of the SPAC (other than obligations or liabilities that
were paid in full at or prior to the closing of the SPAC Transaction) was at least $100,000,000:

                          (a)     if the SPAC Transaction Price Per Share equals or exceeds $6.9075
(equitably adjusted to reflect any stock dividends, stock splits, reverse stock splits, recapitalizations or other
similar events), then upon the volume-weighted average price of the Company’s publicly-traded Common
Stock on the New York Stock Exchange, Nasdaq or other national or international stock exchange that is
reasonably acceptable to the Required Holders over a period of 20 consecutive trading days commencing
after the SPAC Price Determination Date exceeding 150% of the Conversion Price; or

                           (b)     if the SPAC Transaction Price Per Share is lower than $6.9075 (equitably
adjusted to reflect any stock dividends, stock splits, reverse stock splits, recapitalizations or other similar
events), then upon the volume-weighted average price of the Company’s publicly-traded Common Stock
on the New York Stock Exchange, Nasdaq or other national or international stock exchange that is
reasonably acceptable to the Required Holders over a period of 20 consecutive trading days commencing
after the SPAC Price Determination Date and over which the Conversion Stock would be Freely Tradable
exceeding 175% of an amount equal to $6.9075 (equitably adjusted to reflect any stock dividends, stock
splits, reverse stock splits, recapitalizations or other similar events) multiplied by 75%.

        “Maturity Date” means the earlier of (a) [●], 2025 1 , or (b) the time at which the Balance of this
Note is due and payable upon an Event of Default; provided, however that if a specific Event of Default is
cured as permitted in this Note, then the Maturity Date shall not thereafter be deemed to have occurred with
regard to such Event of Default under this clause (b).

           “Note” means this Secured Convertible Promissory Note.


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    NTD: To be 60 months from the date of this Note.

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         “Notes” means a series of secured convertible promissory notes issued under the Purchase
Agreement, of which this Note is one, each such note containing substantially identical terms and conditions
as this Note.

        “Principal Balance” means, at the applicable time, all the then outstanding principal of this Note
including, for the avoidance of doubt, after giving effect to any increase thereto in accordance with Section
2.4.

       “QIPO” means the initial firm underwritten public offering of the Company’s Common Stock
pursuant to an effective registration statement under the Securities Act, resulting in gross proceeds to the
Company of not less than $100,000,000.

       “QIPO Price Per Share” means the offering price per share of the Common Stock to the public in
the QIPO.

        “Qualified Financing” means, as of any date of determination, the most recent bona fide equity
financing, if any, following the date of the Purchase Agreement, in which the Company sells equity or
equity-linked securities in a capital-raising transaction. For the avoidance of doubt, a Qualified Financing
may include a public offering of the Company’s equity securities that is not a QIPO. Notwithstanding the
foregoing, if there has not otherwise been a Qualified Financing within 36 months following the date of the
Purchase Agreement then the Series 8 Financing shall be deemed a Qualified Financing.

       “Securities Act” means the Securities Act of 1933, as amended, and the rules and regulations
promulgated by the Securities and Exchange Commission thereunder.

         “Series 8 Financing” means the sale of the Company’s Series 8 Preferred Stock pursuant to that
certain Series 8 Preferred Stock Purchase Agreement dated August 2, 2019, by and among the Company
and the Purchasers (as defined therein).

        “SPAC” means a publicly traded special purpose acquisition company or other similar entity.

       “SPAC Price Determination Date” means the six-month anniversary of the closing of the SPAC
Transaction.

      “SPAC Transaction” means a merger, acquisition or other business combination involving the
Company and a SPAC that does not constitute a Deemed Liquidation Event.

        “SPAC Transaction Price Per Share” means with respect to a SPAC Transaction a price equal to
the quotient of (i) the number of shares of common stock of the Company (or, as applicable, its successor
or parent company) held immediately following such transaction by the stockholders of the SPAC
immediately prior to such transaction (on an as-exercised, converted and/or exchanged basis, assuming that
the maximum number of shares issuable upon the satisfaction of any conditions (including the passage of
time) are issued) divided by (ii) the amount of cash and cash equivalents (net of transaction fees and
expenses) contributed by the SPAC that become unrestricted cash and cash equivalents of the Company (or
as applicable its successor or parent company) as a result of such transaction (such amount, the “SPAC
Contribution Amount”).

        2.      PAYMENT AT MATURITY DATE; INTEREST.

                2.1      Payment at Maturity Date. If the Maturity Date occurs before the payment or
conversion of the entire Balance of this Note, then the Company shall pay the Balance of the Note at the


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Maturity Date. Payment on this Note (if any) shall be made, at the election of the Company, at the chief
executive offices of the Company or by mail to the address of Holder of this Note (or by wire transfer of
immediately available funds to such account as maybe specified by the Holder to the Company) in lawful
money of the United States.

                 2.2       Payment upon a Liquidation Event or Deemed Liquidation Event. If at any
time prior to the Maturity Date, a Liquidation Event occurs before the payment or conversion of the entire
Balance of this Note, then the Company shall pay to the Holder at the Liquidation Event (and before making
any payments with respect to any shares of capital stock) the greater of (i) 150% of the Principal Balance
of the Note, or (ii) the consideration that the Holder would have received had the Holder elected to convert
the Note into preferred stock pursuant to Section 6.3 (treating, for purposes of this Section 2.2, the Series 8
Financing as a Qualified Financing if no Qualified Financing shall have occurred before the Liquidation
Event) immediately prior to such Liquidation Event. The Company shall give the Holder written notice of
an anticipated payment pursuant to this Section 2.2 at least ten business days prior to the anticipated
Liquidation Event, which notice shall include a reasonably detailed summary of the Liquidation Event and
all consideration to be provided to the Company’s stockholders in connection therewith.

                2.3     Payment of Cash Interest. The Company shall pay cash interest at a rate of 5%
per annum (the “Cash Interest Rate”) on the Principal Balance outstanding. Such cash interest shall be due
and payable at each Interest Payment Date by wire transfer of immediately available funds to such account
as may be specified by the Holder to the Company.

                 2.4      Payment of PIK Interest. Subject to section 2.5 below, the Company shall pay
PIK interest at a rate of 4.5% per annum (the “PIK Interest Rate”) on the Principal Balance outstanding.
Such PIK interest shall be payable by increasing the Principal Balance of this Note (with such increased
amount accruing interest as well) on each Interest Payment Date. On each Interest Payment Date, the
Company shall make a record on its books of the additional increase to the Principal Balance of this Note
due to the payment of paid-in-kind interest.

                2.5     Default Interest. Notwithstanding anything to the contrary herein, automatically
during an Insolvency Proceeding with respect to the Company, or during any other Event of Default if the
Required Holders in their discretion so elect, the PIK Interest Rate shall increase to 6.5% per annum.

        3.      NO PREPAYMENT. The Company may not pay any unpaid Balance of this Note before
it becomes due unless such prepayment is approved by the Required Holders.

        4.       NOTES PARI PASSU; APPLICATION OF PAYMENTS. Each of the Notes shall rank
equally without preference or priority of any kind over one another, but senior in all rights, privileges and
preferences to all other shares of the Company’s capital stock and all other securities of the Company that
are convertible into or exercisable for the Company’s capital stock directly or indirectly, and all payments
and recoveries under any other Financing Document payable on account of principal and interest on the
Notes shall be paid and applied ratably and proportionately on the Balances of all then-outstanding Notes
on the basis of their original principal amount (it being understood that in the event Holder receives an
amount in excess of its pro rata proportion relative to the other Notes, such Holder agrees to remit such
excess to the holders of the other Notes in order to maintain a ratable and proportionate application of the
payment or recovery in question). Subject to Section 2 and the foregoing provisions of this Section, all
payments and amounts recovered in connection with any sale, lease or other dispositions of Collateral under
the Security Agreement, will be applied first to the repayment of accrued fees and expenses under this Note,
then to accrued interest until all then outstanding accrued interest has been paid in full, and then to the
repayment of principal until all principal has been paid in full. After all applications of such payments have


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been made as provided in this Section, then the remaining amount of such payments that are in excess of
the aggregate Balance of all outstanding Notes, shall be returned to the Company.

        5.      [NOT USED]

        6.      CONVERSION.

                 6.1      Optional Conversion At or After a QIPO. If this Note has not been previously
converted and if the Company has not previously paid the entire Balance, then, at any time at or after the
consummation of the QIPO but prior to the earlier of (i) the Maturity Date and (ii) Mandatory Conversion
Date (as defined below), Holder may, at its sole discretion, by providing written notice to the Company,
elect to cancel the entire Balance then outstanding and convert such Balance into that number of shares of
Conversion Stock obtained by dividing (a) the entire Balance as of the date immediately prior to the Actual
Conversion Date or, if converting at the QIPO, as of the pricing date for such offering by (b) the Conversion
Price, rounded down to the nearest whole number of shares. The Company agrees that it shall give Holder
ten (10) business days advance notice of the anticipated QIPO. A conversion under this Section 6.1 shall
be effective with respect to a Note as of the time of delivery by the Holder thereof of written notice of
conversion.

                6.2      Mandatory Conversion After a QIPO or a SPAC Transaction.

                 (a)     If this Note has not been previously converted and if the Company has not
previously paid the entire Balance, then, upon the occurrence of a Mandatory Conversion Trigger Event,
the entire Balance then outstanding shall automatically be cancelled and converted into that number of
shares of Conversion Stock obtained by dividing (a) the entire Balance by (b) the Conversion Price, rounded
down to the nearest whole number of shares. Such conversion shall be deemed to occur under this Section
6.2(a) as of the first Business Day following the occurrence of the applicable Mandatory Conversion
Trigger Event (the “QIPO Mandatory Conversion Date”), without regard to whether Holder has then
delivered to the Company this Note (or the Lost Note documentation where applicable).

                 (b)     If this Note has not been previously converted and if the Company has not
previously paid the entire Balance, then, upon the occurrence of a Mandatory SPAC Conversion Trigger
Event, the entire Balance then outstanding shall automatically be cancelled and converted into that number
of shares of Conversion Stock obtained by dividing (a) the entire Balance by (b) the Conversion Price,
rounded down to the nearest whole number of shares. Such conversion shall be deemed to occur under this
Section 6.2(b) as of the first Business Day following the occurrence of the applicable Mandatory SPAC
Conversion Trigger Event (the “SPAC Mandatory Conversion Date” and, collectively with the QIPO
Mandatory Conversion Date, the “Mandatory Conversion Date”), without regard to whether Holder has
then delivered to the Company this Note (or the Lost Note documentation where applicable).

                  6.3     Optional Conversion At a Qualified Financing or a SPAC Transaction. If this
Note has not been previously converted and if the Company has not previously paid the entire Balance,
then, at the closing of a Qualified Financing or a SPAC Transaction, Holder may, at its sole discretion, by
providing written notice to the Company (the “Conversion Notice”), elect to cancel the entire Balance then
outstanding and convert such Balance into that number of shares of Conversion Stock obtained by dividing
(a) the entire Balance as of immediately prior to the initial closing of such Qualified Financing or SPAC
Transaction (or if converting into Series 8 Preferred Stock, the entire Balance as of the date of the
Conversion Notice, provided such date is at least 36 months following the date of the Initial Closing under
the Purchase Agreement), by (b) the Conversion Price, rounded down to the nearest whole number of
shares. Notwithstanding the foregoing, if the Company delivers written notice to the Required Holders that
the Company has commenced the process to promptly effect a QIPO or a SPAC Transaction, then for so

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long as the Company is diligently and actively pursuing such QIPO or SPAC Transaction, Holder shall not
be permitted to elect a conversion pursuant to this Section 6.3 (other than a conversion in connection with
the Maturity Date). A conversion under this Section 6.3 shall be effective with respect to a Note as of the
time of delivery by the Holder thereof of a Conversion Notice. The Conversion Stock so issued to the
Holder shall be issued to the Holders on substantially the same terms as such securities are issued or sold
to the investors in the Qualified Financing or SPAC Transaction, including full pro rata participation in
any warrants, rights or other “equity kickers” (and, if such investors receive different consideration or terms,
on the terms most favorable to any such investor that are provided to any such investor), excluding (x) any
rights related to particular commercial agreements or arrangements with any of the Investors in the
Qualified Financing (but only to the extent that such rights are on arms-length fair market value terms) and
(y) board of directors designation rights granted to any of the investors in the Qualified Financing [(but
only to the extent that the board designation rights provided for in the Side Letter continue to apply after
such transaction, subject to the terms of the Side Letter)] 2 .

                 6.4    Termination of Rights. Except for the right to obtain certificates representing the
Conversion Stock under Section 7, all rights with respect to this Note shall terminate upon the conversion
of this Note as provided in Section 6, whichever is applicable, or repayment of the Balance of this Note.
Notwithstanding the foregoing, Holder agrees to surrender this Note to the Company (or Lost Note
Documentation where applicable) as soon as practicable after conversion of this Note.

         7.       CERTIFICATES; NO FRACTIONAL SHARES. As soon as practicable after
conversion of this Note pursuant to Section 6 (and, following a QIPO, within one business day of such
conversion), the Company at its expense will cause to be issued in the name of Holder and to be delivered
to Holder, a certificate or certificates for the number of shares of Conversion Stock to which Holder shall
be entitled upon such conversion (bearing such legends as may be required by applicable state and federal
securities laws in the opinion of legal counsel of the Company, by the Company’s Certificate of
Incorporation and Bylaws and by any agreement between the Company and Holder), together with any
other securities and property to which Holder is entitled upon such conversion under the terms of this Note.
In any event, Holder shall not be entitled to receive any stock certificates representing the shares of
Conversion Stock issuable upon conversion of this Note unless and until Holder has surrendered the original
of this Note (or Lost Note Documentation where applicable). No fractional shares shall be issued upon
conversion of this Note. If upon any conversion of this Note (and after aggregating the amounts of all other
Notes held by the same Holder which are converted at the same time as this Note), a fraction of a share
would otherwise be issued, then in lieu of such fractional share, the Company shall pay to Holder an amount
in cash equal to such fraction of a share multiplied by the applicable Conversion Price.

         8.      ADJUSTMENT PROVISIONS. So long as any of the Balance of this Note remains
outstanding and the conversion right under Section 6 has not terminated, the number and character of shares
of Conversion Stock issuable upon conversion of this Note upon an Actual Conversion Date and, to the
extent applicable, the Conversion Price therefor, are each subject to adjustment upon each occurrence of an
adjustment event described in Sections 8.1 through 8.4 occurring between the date this Note is issued and
such Actual Conversion Date. After an adjustment is made, any subsequent event requiring an adjustment
shall cause an adjustment to the terms of this Note as so adjusted by the prior adjustment.

                8.1       Adjustment for Stock Splits and Stock Dividends. The Conversion Price and
the number of shares of Conversion Stock shall each be proportionally adjusted to reflect any stock
dividend, stock split, reverse stock split or other similar event affecting the number of outstanding shares



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    NTD: Bracketed language to be included in Notes held by Cowen Investors only.

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of Conversion Stock (and/or as applicable, without the payment of consideration to the Company therefor
at any time before an Actual Conversion Date).

                  8.2     Adjustment for Other Dividends and Distributions. If the Company shall make
or issue, or shall fix a record date for the determination of eligible holders of its capital stock entitled to
receive, a dividend or other distribution payable with respect to the Conversion Stock that is payable in
securities of the Company (other than issuances with respect to which adjustment is made under
Sections 8.1 or 8.3), or in assets (other than cash dividends paid on shares of Conversion Stock that is
preferred stock) (each, a “Dividend Event”), that are permitted pursuant to the terms of the Purchase
Agreement, and such dividend or other distribution is actually made, then, and in each such case, Holder,
upon conversion of an Actual Conversion Amount at any time after such Dividend Event, shall receive, in
addition to the Conversion Stock issuable upon such conversion of the Note, the securities, cash or other
assets that would have been paid or issuable to Holder had Holder, immediately prior to such Dividend
Event, converted such Actual Conversion Amount into Conversion Stock; provided that with respect to
Conversion Stock that is not Common Stock, if a dividend or distribution is made or issued (or a record
date therefor is fixed) with respect to the Common Stock, then such dividend or distribution shall be treated
as having been made on the Conversion Stock with respect to the shares of Common Stock issuable upon
the conversion of such Conversion Stock.

                 8.3      Adjustment for Consolidation or Merger. If prior to the repayment or
conversion of the entire Balance of this Note, the Company shall consolidate with or merge with or into
one or more other corporations or other entities, and pursuant to such consolidation or merger stock, other
securities or other property is issued or paid to holders of Conversion Stock other than a Liquidation Event
(each, a “Reorganization Event”), then, and in each such case, Holder, upon conversion of an Actual
Conversion Amount after the consummation of such Reorganization Event, shall be entitled to receive (in
lieu of the stock or other securities and property that Holder would have been entitled to receive under the
terms of this Note upon such conversion but for such Reorganization Event), the stock or other securities
or property that Holder would have been entitled to receive upon the consummation of such Reorganization
Event if Holder had been the record holder of the Conversion Stock received upon conversion of this Note
immediately prior to such Reorganization Event (or the record date therefor), all subject to further
adjustment as provided in this Note, and the successor corporation or other successor entity in such
Reorganization Event shall duly execute and deliver to Holder a supplement to this Note acknowledging
such corporation’s or other entity’s obligations under this Note; and in each such case, the terms of the Note
shall be applicable to the shares of stock or other securities or property receivable upon the conversion of
this Note after the consummation of such Reorganization Event.

                 8.4      Conversion of Stock. In each case not otherwise covered in Section 8.3 where
prior to the repayment or conversion of the entire Balance of this Note (a) all the outstanding Conversion
Stock is converted, pursuant to the terms of the Restated Certificate, into Common Stock or other securities
or property, or (b) the Conversion Stock otherwise ceases to exist or to be authorized under the Restated
Certificate (each a “Stock Event”), then Holder, upon conversion of an Actual Conversion Amount at any
time after such Stock Event, shall receive, in lieu of the number of shares of Conversion Stock that would
have been issuable upon conversion of this Note immediately prior to such Stock Event, the stock and other
securities and property that Holder would have been entitled to receive upon the Stock Event, if immediately
prior to such Stock Event, Holder had been the record holder of the Conversion Stock received upon
conversion of this Note before giving effect to such Stock Event.

                8.5     Notice of Adjustments. The Company shall promptly give written notice of each
adjustment of the Conversion Price or the number or type of shares of Conversion Stock or other securities
or property issuable upon conversion of this Note that is required under this Section 8. The notice shall


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describe the adjustment or readjustment and show in reasonable detail the facts on which the adjustment or
readjustment is based.

                 8.6    No Change Necessary. The form of this Note may, but need not, be changed
because of any adjustment in the Conversion Price or in the number or type of shares of Conversion Stock
issuable upon its conversion.

                8.7       Reservation of Stock. If the number of shares of Conversion Stock or other
securities authorized and reserved for issuance upon conversion of this Note shall not be sufficient to effect
the conversion of the Balance of this Note, then the Company shall take such corporate action as may, in
the opinion of its counsel, be necessary to increase its authorized but unissued shares of Conversion Stock
or other securities issuable upon conversion of this Note as shall be sufficient for such purpose.

                8.8        Non-Circumvention. The Company shall not, by amendment of its organizational
documents or through any reorganization, transfers of assets, consolidation, merger, dissolution, issuance
or sale of securities or any other action, avoid or seek to avoid the observance or performance of any of the
terms to be observed or performed by it hereunder, and will at all times use commercially reasonable efforts
to assist in the carrying out of the provisions of this Note and in taking all such actions as may reasonably
be requested by the Required Holders in order to protect the conversion privileges of the Holders consistent
with the terms of this Note; provided however, that the Company shall not be deemed to have avoided
observance or performance of any of the terms of this Note, if the Company shall amend, or if the holders
of the Company’s capital stock waive rights under, the Company’s organizational documents, in a manner
that does not (individually or when considered in the context of any other actions being taken in connection
with such amendments or waivers) adversely affect the rights of the Holder hereunder in a manner different
from the effect that such amendments or waivers have on the rights of other holders of the same series and
class as the Conversion Stock; provided, further, that (x) no holder of the Company’s capital stock shall
have been provided with any payment, rights or other remuneration in consideration for any such
amendment or waiver and (y) to the extent applicable, such amendment or waiver applies equitably and
ratably to each class of capital stock of the Company (including each series of Preferred Stock). Without
limiting the generality of the foregoing, the Company (a) shall not increase the par value of any shares of
Conversion Stock above the Conversion Price then in effect, and (b) shall take all such actions as may be
necessary or appropriate in order that the Company may validly and legally issue fully paid and non-
assessable shares of Conversion Stock upon the conversion of this Note.

        9.      PROVISIONS RELATING TO STOCKHOLDERS RIGHTS.

                9.1       “Market Stand-Off” Agreement. Holder hereby agrees that Holder shall be
bound by the market standoff provision set forth in Section 3.11 of the Eighth Amended and Restated
Investors’ Rights Agreement, dated as of August 2, 2019, by and among the Company and certain parties
thereto, as may be amended from time to time. Holder further agrees to execute such agreements as may
be reasonably requested by the underwriters in connection with QIPO that are consistent with this Section
9.1 or that are necessary to give further effect thereto.

                  9.2     No Voting or Other Rights. This Note does not entitle Holder to any voting rights
or other rights as a stockholder of the Company, unless and until (and only to the extent that) this Note is
actually converted into shares of the Company’s capital stock in accordance with its terms. In the absence
of conversion of this Note into Conversion Stock, no provisions of this Note and no enumeration herein of
the rights or privileges of Holder shall cause Holder to be a stockholder of the Company for any purpose.

         10.     INTERCREDITOR AGREEMENT. The indebtedness evidenced by this Note is subject
to the Intercreditor Agreement. Holder agrees to be bound by the terms of the Intercreditor Agreement.

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        11.      REPRESENTATIONS AND WARRANTIES OF HOLDER.

        In order to induce the Company to enter into the Financing Documents and issue this Note to the
original Holder, the original Holder has made representations and warranties to the Company as set forth
in the Purchase Agreement.

        12.      GENERAL PROVISIONS.

               12.1 Waivers. The Company and all endorsers of this Note hereby waive notice,
presentment, protest and notice of dishonor.

                  12.2 Transfer This Note may be assigned, conveyed or transferred (each a “Transfer”),
in whole or in part, without the Company’s prior written consent to a Person that is not a Competitor. Prior
to a Transfer, the Holder will use commercially reasonable, good faith efforts to provide the Company at
least five (5) business days’ notice of an intended Transfer, including the identity of the proposed transferee,
and will discuss with the Company the reasonable concerns of the Company concerning the proposed
Transfer. Prior to consummation of a Transfer, the Holder will deliver a written notice from a Senior
Officer of the Holder confirming that, to the knowledge of the Holder after reasonable inquiry, the
Transferee is not a Competitor including reasonable supporting detail. The Company may not assign or
delegate its obligations under this Note to any other party without the prior written consent of the Required
Holders. Subject to the foregoing, the rights and obligations of the Company and Holder under this Note
and the other Financing Documents shall be binding upon and benefit their respective permitted successors,
assigns, heirs, administrators and transferees.

                 12.3    Usury. In the event any interest is paid on this Note which is deemed to be in
excess of the then legal maximum rate, then that portion of the interest payment representing an amount
in excess of the then legal maximum rate shall be deemed a payment of principal and applied against the
principal of this Note.


            12.4 Governing Law. UNLESS EXPRESSLY PROVIDED IN ANY FINANCING
DOCUMENT, THIS NOTE, EXCEPT SECTIONS 2.2, 6, 7, 8, 9 AND ANY DEFINITIONS WHICH
PERTAIN TO SUCH SECTIONS, THE OTHER FINANCING DOCUMENTS AND ALL CLAIMS
(EXCEPT THOSE CLAIMS RELATING TO SECTIONS 2.2, 6, 7, 8, 9 OF THIS NOTE AND ANY
DEFINITIONS WHICH PERTAIN TO SUCH SECTIONS OF THIS NOTE) SHALL BE GOVERNED
BY THE LAWS OF THE STATE OF NEW YORK, WITHOUT GIVING EFFECT TO ANY CONFLICT
OF LAW PRINCIPLES THAT WOULD RESULT IN THE APPLICATION OF THE LAWS OF A
DIFFERENT JURISDICTION. SECTIONS 2.2, 6, 7, 8, 9 OF THIS NOTE AND ANY DEFINITIONS
WHICH PERTAIN TO SUCH SECTIONS OF THIS NOTE AND ALL CLAIMS RELATING TO THOSE
SECTIONS SHALL BE GOVERNED BY THE LAWS OF THE STATE OF DELAWARE, WITHOUT
GIVING EFFECT TO ANY CONFLICT OF LAW PRINCIPLES THAT WOULD RESULT IN THE
APPLICATION     OF    THE     LAWS        OF      A     DIFFERENT   JURISDICTION.



                 12.5    Consent to Forum.

                 (a)   THE COMPANY HEREBY CONSENTS TO THE EXCLUSIVE
JURISDICTION OF ANY STATE COURT SITTING IN BOROUGH OF MANHATTAN OR THE
UNITED STATES DISTRICT COURT OF THE SOUTHERN DISTRICT OF NEW YORK, IN ANY


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DISPUTE, ACTION, LITIGATION OR OTHER PROCEEDING RELATING IN ANY WAY TO ANY
FINANCING DOCUMENTS, AND AGREES THAT ANY DISPUTE, ACTION, LITIGATION OR
OTHER PROCEEDING SHALL BE BROUGHT BY IT SOLELY IN ANY SUCH COURT. THE
COMPANY IRREVOCABLY AND UNCONDITIONALLY WAIVES ALL CLAIMS, OBJECTIONS
AND DEFENSES THAT IT MAY HAVE REGARDING ANY SUCH COURT’S PERSONAL OR
SUBJECT MATTER JURISDICTION, VENUE OR INCONVENIENT FORUM. THE COMPANY AND
EACH HOLDER IRREVOCABLY AND UNCONDITIONALLY SUBMITS TO THE JURISDICTION
OF SUCH COURTS AND CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED
FOR NOTICES IN THE FINANCING DOCUMENTS. A final judgment in any proceeding of any such
court shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or any other
manner provided by Applicable Law.

                        (b)     Nothing herein shall limit the right of any Holder to bring proceedings
against the Company in any other court, nor limit the right of any party to serve process in any other manner
permitted by Applicable Law. Nothing in this Note shall be deemed to preclude enforcement by any Holder
of any judgment or order obtained in any forum or jurisdiction.

                 12.6 Waivers by Company. To the fullest extent permitted by Applicable Law, the
Company waives (a) the right to trial by jury (which the Holders hereby also waive) in any proceeding or
dispute of any kind relating in any way to any Financing Documents, Obligations or Collateral under this
Note; (b) presentment, demand, protest, notice of presentment, default, non-payment, maturity, release,
compromise, settlement, extension or renewal of any commercial paper, accounts, documents, instruments,
chattel paper and guaranties at any time held by any Holder on which the Company may in any way be
liable, and hereby ratifies anything any Holder may do in this regard; (c) notice prior to taking possession
or control of any Collateral under this Note; (d) any bond or security that might be required by a court prior
to allowing any Holder to exercise any rights or remedies; (e) the benefit of all valuation, appraisement and
exemption laws; (f) any claim against any indemnitee, on any theory of liability, for special, indirect,
consequential, exemplary or punitive damages (as opposed to direct or actual damages) in any way relating
to any Enforcement Action, Obligations, Financing Documents or transactions relating thereto; and (g)
notice of acceptance hereof. The Company acknowledges that the foregoing waivers are a material
inducement to the Holders to purchase this Note and that they are relying upon the foregoing in their
dealings with the Company. The Company has reviewed the foregoing waivers with its legal counsel and
has knowingly and voluntarily waived its jury trial and other rights following consultation with legal
counsel. In the event of litigation, this Note may be filed as a written consent to a trial by the court.

               12.7 Counterparts. This Note may be executed in two or more counterparts, each
of which shall be deemed an original, but all of which together shall constitute one and the same
instrument. Counterparts may be delivered via electronic mail (including pdf or “tif”), or other
transmission method and any counterpart so delivered shall be deemed to have been duly and
validly delivered and be valid and effective for all purposes. Holders may (but shall have no
obligation to) accept any signature, contract formation or record-keeping through electronic
means, which shall have the same legal validity and enforceability as manual or paper-based
methods, to the fullest extent permitted by Applicable Law, including the Federal Electronic
Signatures in Global and National Commerce Act, the New York State Electronic Signatures and
Records Act, or any similar state law based on the Uniform Electronic Transactions Act. Upon
request by any Holder, any electronic signature or delivery shall be promptly followed by a
manually executed or paper document

                12.9    Headings. The headings and captions used in this Note are used only for
convenience and are not to be considered in construing or interpreting this Note. All references in this Note

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to sections and exhibits shall, unless otherwise provided, refer to sections hereof and exhibits attached
hereto, all of which exhibits are incorporated herein by this reference.

                  12.10 Notices. Unless otherwise provided herein, any notice required or permitted under
this Note shall be given in writing and shall be deemed effectively given (a) at the time of personal delivery,
if delivery is in person or via electronic mail (provided confirmation of receipt by the intended recipient is
received); (b) one (1) Business Day after deposit with an express overnight courier for United States
deliveries or sent via facsimile, or three (3) Business Days after deposit with an international express
overnight air courier for deliveries outside of the United States, in each case with proof of delivery from
the courier requested; or (c) four (4) Business Days after deposit in the United States mail by certified mail
(return receipt requested) for United States deliveries, when addressed to the party to be notified at the
address indicated for such party in Section 8.7 of the Purchase Agreement, or at such other address as any
party hereto may designate for itself to receive notices by giving ten (10) days’ advance written notice to
all other parties in accordance with the provisions of this Section.

                12.11 Amendments and Waivers. This Note and all other Notes issued under the
Purchase Agreement may be amended and provisions may be waived by the Note holders and the Company
as provided in Section 8.9 of the Purchase Agreement. Any amendment or waiver effected in accordance
with Section 8.9 of the Purchase Agreement shall be binding upon each holder of any Notes at the time
outstanding, each future holder of the Notes and the Company.

                 12.12 Tax Forms. Holder or its registered assigns agrees to deliver to the Company one
duly executed and completed United States Internal Revenue Service Form W-8 or W-9 (or successor
thereto) as appropriate. Such forms or documents shall be delivered upon (i) issuance of the Note, and (ii)
reasonable written request of the Company.

                12.13 Severability. If one or more provisions of this Note are held to be unenforceable
under applicable law, then such provision(s) shall be excluded from this Note to the extent they are held to
be unenforceable and the remainder of the Note shall be interpreted as if such provision(s) were so excluded
and shall be enforceable in accordance with its terms.

                                          [Signature page follows]




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         IN WITNESS WHEREOF, the Company has caused this Note to be signed in its name as of the
date first written above.

                                                THE COMPANY

                                                PROTERRA INC



                                                By:_____________________________________

                                                Name:

                                                Title:



 AGREED AND ACKNOWLEDGED:

 HOLDER

 [Name of Holder]

 By:

 Name:

 Title:




          [SIGNATURE PAGE TO SECURED CONVERTIBLE PROMISSORY NOTE OF PROTERRA INC]
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                         EXHIBIT B


              FORM OF WARRANT AGREEMENT
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                                                                          EXECUTION VERSION


NEITHER THIS WARRANT NOR THE SECURITIES ISSUABLE UPON EXERCISE OF THIS
WARRANT HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS
AMENDED (THE “ACT”), OR UNDER THE SECURITIES LAWS OF APPLICABLE STATES.
THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND
RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER
THE ACT AND THE APPLICABLE STATE SECURITIES LAWS, PURSUANT TO
REGISTRATION UNDER SUCH LAWS OR EXEMPTION FROM SUCH REGISTRATION
REQUIREMENTS. INVESTORS SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO
BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF
TIME. THE ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL IN
FORM AND SUBSTANCE SATISFACTORY TO THE ISSUER TO THE EFFECT THAT ANY
PROPOSED TRANSFER OR RESALE IS IN COMPLIANCE WITH THE ACT AND ANY
APPLICABLE STATE SECURITIES LAWS.

                                       PROTERRA INC

                            WARRANT TO PURCHASE STOCK


                                                                         Issued on [DATE], 2020

        This certifies that that for good and valuable consideration, receipt of which is hereby
acknowledged, [NAME OF HOLDER] or his/her/its registered assigns (“Holder”) is entitled,
subject to the terms and conditions of this Warrant, to purchase from Proterra Inc, a Delaware
corporation (the “Company”), at a price per share equal to the Warrant Price (as defined below),
at any time prior to the Expiration Date (as defined below), up to [SHARES] ([SHARES]) shares
of Warrant Stock (as defined below, provided that if the Warrant Stock is Preferred Stock, the
Warrant will be exercisable for that number of shares of Preferred Stock convertible into
[SHARES] ([SHARES]) shares of Common Stock)), upon surrender of this Warrant at the
principal offices of the Company, together with a duly executed subscription form in the form
attached hereto as Exhibit 1 and simultaneous payment of an amount equal to the product obtained
by multiplying the Warrant Price by the number of shares of Warrant Stock so purchased in lawful
money of the United States or, if permitted, by an election to net exercise as set forth in Section
2.7 hereof. The Warrant Price and the number and character of shares of Warrant Stock
purchasable under this Warrant are subject to adjustment as provided herein.

        This Warrant has been issued pursuant to that certain Note Purchase Agreement, dated as
of August 4, 2020 (the “Purchase Agreement”), by and among the Company, the original holder
of this Warrant and certain other investors, and is subject to the provisions of the Purchase
Agreement.

        1.     DEFINITIONS. Capitalized terms used but not defined herein shall have the
respective meanings ascribed to such terms in the Purchase Agreement. The following definitions
shall apply for purposes of this Warrant:

       “Act” means the Securities Act of 1933, as amended.
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          “Change of Control” means a Deemed Liquidation Event (as defined in the Company’s
Restated Certificate of Incorporation, as the same may be amended, modified or restated from time
to time).

        “Company” shall include, in addition to the Company identified in the opening paragraph
of this Warrant, any corporation or other entity that succeeds to the Company’s obligations under
this Warrant, whether by permitted assignment, by merger or consolidation or otherwise.

       “Expiration Date” means 5:00 p.m. Pacific Time on [DATE], 2027 or such earlier date
and time on which this Warrant ceases to be exercisable as provided in Section 4 hereof.

        “Initial Public Offering” means a firm commitment underwritten public offering pursuant
to an effective registration statement filed under the Act.

       “Liquidation Event” means (a) the commencement of a voluntary or involuntary
liquidation, dissolution or winding up of the Company (provided that in the event of a voluntary
liquidation, dissolution or winding up of the Company, the Requisite Majority Holders have
consented to the occurrence of such event), or (b) the consummation of a Deemed Liquidation
Event (as defined in the Company’s Restated Certificate of Incorporation, as the same may be
amended, modified or restated from time to time).

       “QIPO” means the initial firm underwritten public offering of the Company’s Common
Stock pursuant to an effective registration statement under the Securities Act, resulting in gross
proceeds to the Company of not less than $100,000,000.

        “Qualified Financing” means, as of any date of determination, the most recent bona fide
equity financing, if any, following the date of the Purchase Agreement, in which the Company
sells equity or equity-linked securities in a capital-raising transaction. For the avoidance of doubt,
a Qualified Financing may include a public offering of the Company’s equity securities that is not
a QIPO. Notwithstanding the foregoing, if there has not otherwise been a Qualified Financing
within 36 months following the date of the Purchase Agreement then the Series 8 Financing shall
be deemed a Qualified Financing.

        “Requisite Majority Holders” means (i) for so long as any Notes are outstanding, (a) the
holders of Notes representing the majority of the aggregate Principal Balances (as defined in the
Notes) of all the Notes then outstanding and (b) if the Cowen Investors, in the aggregate, hold
Notes having an aggregate stated principal amount (excluding any increase thereto for PIK
interest) in excess of fifty million Dollars ($50,000,000), the Cowen Investors holding a majority
of the aggregate Principal Balances of all of the Notes held by Cowen Investors; and (ii) at any
other time, the holders of Warrants representing a majority of the Warrant Stock.

        “Securities” mean collectively this Warrant and the Warrant Stock issuable upon exercise
of this Warrant.

        “Series 8 Financing” means the sale of the Company’s Series 8 Preferred Stock pursuant
to that certain Series 8 Preferred Stock Purchase Agreement dated August 2, 2019, by and among
the Company and the Purchasers (as defined therein).



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        “Shareholder Agreements” means (a) that certain Eighth Amended and Restated
Investors’ Rights Agreement dated as of August 2, 2019 by and among the Company and certain
stockholders of the Company, (b) that certain Ninth Amended and Restated Voting Agreement by
and among the Company and certain stockholders of the Company, dated August 2, 2019, and (c)
that certain Eighth Amended and Restated Right of First Refusal and Co-Sale Agreement dated as
of August 2, 2019, by and among the Company and certain stockholders of the Company, each as
may be amended or amended and restated from time to time.

       “Warrant” means this Warrant and any warrant(s) delivered in substitution or exchange
therefor, as provided herein.

        “Warrant Price” means $0.01 per share of Warrant Stock. The Warrant Price is subject
to adjustment as provided herein.

        “Warrant Stock” means the Company’s Common Stock, $0.0001 par value per share;
provided, however, that if a QIPO has not occurred by the fifth anniversary of the Initial Closing
(as defined in the Purchase Agreement), or upon the earlier occurrence of a Liquidation Event,
Warrant Stock shall mean the series of the Company’s Preferred Stock issued in the most recent
Qualified Financing (or, if no Qualified Financing has then occurred, shares of the Company’s
Series 8 Preferred Stock). The number and character of shares of Warrant Stock are subject to
adjustment as provided herein and the term “Warrant Stock” shall include stock and other
securities and property at any time receivable or issuable upon exercise of this Warrant taking into
account all such adjustments.

       2.      EXERCISE.

                2.1    Method of Exercise. Subject to the terms and conditions of this Warrant,
Holder may exercise this Warrant in whole or in part, at any time or from time to time, on any
Business Day before the Expiration Date, for up to [SHARES] ([SHARES]) shares of Warrant
Stock (provided that if the Warrant Stock is Preferred Stock, the Warrant will be exercisable for
that number of shares of Preferred Stock convertible into [SHARES] ([SHARES]) shares of
Common Stock). This Warrant shall be exercised by surrendering this Warrant at the principal
offices of the Company, with the subscription form attached hereto duly executed by Holder, and
by payment in a form specified in Section 2.2 hereof of an amount equal to the product obtained
by multiplying (a) the number of shares of Warrant Stock to be purchased by Holder by (b) the
Warrant Price as determined in accordance with the terms hereof or, if applicable, an election to
net exercise this Warrant as provided in Section 2.7 hereof for the number of shares to be acquired
in connection with such exercise. Without limiting the generality of the foregoing, the Holder may
deliver the subscription form attached hereto duly executed by Holder in order to exercise this
Warrant in connection with an Initial Public Offering or a Change of Control, with the exercise
and payment to be contingent upon consummation of the transaction.

               2.2     Form of Payment. Payment for the Warrant Stock upon exercise may be
made by (a) a check payable to the Company’s order, (b) wire transfer of funds to the Company,
(c) cancellation of indebtedness of the Company to Holder, (d) by net exercise as provided in
Section 2.7 hereof, or (e) any combination of the foregoing.




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               2.3     Partial Exercise. Upon a partial exercise of this Warrant, the number of
shares of Warrant Stock issuable upon exercise of this Warrant immediately prior to such exercise
shall be reduced by (a) the aggregate number of shares of Warrant Stock issued upon such exercise
of this Warrant and (b) if applicable, the number of shares of Warrant Stock deemed surrendered
in connection with a net exercise as provided for in Section 2.7 hereof.

                2.4   No Fractional Shares. No fractional shares may be issued upon any
exercise of this Warrant. If upon exercise of this Warrant in whole or in part, a fraction of a share
would otherwise result, then in lieu of such fractional share, the Company shall pay to Holder an
amount in cash equal to such fraction of a share multiplied by the applicable Warrant Price.

                2.5    Subscription Form. As a condition to the exercise of this Warrant, Holder
shall execute the subscription form attached hereto as Exhibit 1, confirming and acknowledging
that the representations and warranties of the original Holder set forth in Section 5 of the Purchase
Agreement as they apply to Holder are true and correct as of the date of exercise.

                2.6      Authorization and Further Assurances. The Company represents and
warrants to the Holder that the execution, delivery and performance of this Warrant and the
transactions contemplated by it, including the exercise of the Warrants and the issuance of the
Warrant Stock, have been duly authorized by all necessary action, and do not (a) require any
consent or approval of any holders of Equity Interests of the Company, except those already
obtained; (b) contravene the Organic Documents of the Company; or (c) violate or cause a default
under any Applicable Law. From and after the date of this Warrant, upon the request of any
Investor or the Company, the Company and the Investors shall execute and deliver such
instruments, documents or other writings as may be reasonably necessary or desirable to confirm
and carry out and to effectuate fully the intent and purposes of this Warrant. Without limiting the
generality of the foregoing, if any filings, approvals or consents from any governmental or
regulatory authority or stock exchange are required in connection with the issuance of the Warrants
or the performance of the terms thereof or the consummation of the transactions contemplated
thereby, including the exercise in full thereof and the issuance of any Warrant Stock or other
securities pursuant to the terms thereof (including the issuance of shares of Common Stock upon
the conversion of any Warrant Stock that are Preferred Stock) (each, a “Required Governmental
Approval”), the Company shall, at its sole cost and expense, cooperate with the Holders and use
its reasonable efforts to make all necessary filings, applications and registrations with respect to,
and obtain as promptly as practicable, all Required Governmental Approvals. Notwithstanding
anything herein or any Warrant Stock to the contrary, if the performance of the terms of the
Warrants or any Warrant Stock (including the issuance of any securities pursuant thereto) is limited
by any governmental, stock exchange or other regulatory requirement, (i) the Holders shall be
entitled to exercise or convert the Warrants and/or the Warrant Stock to the fullest extent permitted
by such governmental, stock exchange or other regulatory requirement, (ii) the Company shall
issue the maximum number of Warrant Stock or other securities pursuant thereto as may be
permitted by such governmental, stock exchange or other regulatory requirement, (iii) the Holders’
rights, the Company’s obligations with respect to any portion of the Warrants and/or the Warrant
Stock that are so limited shall continue without regard to the expiration of any time periods or
other limitations, (iv) the Company shall continue to cooperate with the Holders and use its
reasonable efforts to obtain all Required Governmental Approvals as promptly as practicable
thereafter, and (v) the Company shall issue to the Holders the Warrant Stock or other securities


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not so issued as soon as practicable after such securities can be issued without violating
any governmental, stock exchange or other regulatory requirement.

               2.7     Net Exercise Election.

                     (a)       Holder may elect to convert all or any portion of this Warrant,
without the payment by Holder of any additional consideration, by the surrender of this Warrant
to the Company, with the net exercise election selected in the subscription form attached hereto,
duly executed by Holder, into up to the number of shares of Warrant Stock that is obtained under
the following formula:

                                            X = Y (A-B)
                                                  A

where    X = the number of shares of Warrant Stock to be issued to Holder pursuant to a net
             exercise of this Warrant effected pursuant to this Section 2.7.
         Y = the number of shares of Warrant Stock with respect to which Holder is exercising
             its purchase rights under this Warrant.
         A = the fair market value of one share of Warrant Stock, determined at the time of such
             net exercise as set forth in the last paragraph of this Section 2.7.
         B = the Warrant Price.

The Company will promptly respond in writing to an inquiry by Holder as to the then current fair
market value of one share of Warrant Stock.

                       (b)       For purposes of the above calculation, fair market value of one
share of Warrant Stock shall be determined by the Company’s Board of Directors in good faith;
provided, however, that if on the relevant exercise date for which such value must be determined,
a public market exists for the Company’s Common Stock, then the fair market value per share of
the Warrant Stock shall be determined by reference to the market price of the Common Stock as
follows: (i) if this Warrant is being exercised in connection with the Company’s Initial Public
Offering, the fair market value shall be the per-share offering price to the public as set forth in the
Company’s final prospectus filed with the Securities and Exchange Commission, or (ii) otherwise,
the fair market value shall be the average of (A) the closing bid and asked prices of the Common
Stock quoted in the Over-The-Counter Market Summary or (B) the last reported sale price of the
Common Stock or the closing price quoted on the exchange on which the Common Stock is listed,
whichever is applicable, as published in the Western Edition of The Wall Street Journal for the
five (5) trading days prior to the date as of which the value of the fair market value is to be
determined.

        3.     ISSUANCE OF STOCK. Except as set forth in Section 4 hereof, this Warrant
shall be deemed to have been exercised immediately prior to the close of business on the date of
its surrender for exercise as provided above, and the Person entitled to receive the shares of
Warrant Stock issuable upon such exercise shall be treated for all purposes as the holder of record
of such shares as of the close of business on such date. As soon as practicable on or after and, in
any event, within two Business Days of, such date, the Company shall issue and deliver to the


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Person or Persons entitled to receive the same a certificate or certificates for the number of whole
shares of Warrant Stock issuable upon such exercise, together with payment of any fractional
shares pursuant to Section 2.4 hereof. In connection with exercise of this Warrant, Holder shall
execute joinder agreements and/or counterpart signature pages to the Shareholder Agreements, and
thereby be entitled to the rights and be subject to all other obligations of the holders of capital
stock party to such Shareholder Agreements.

         4.     AUTOMATIC EXERCISE IN CONNECTION WITH CERTAIN
TRANSACTIONS. Any portion of this Warrant that has not been exercised prior to the earlier
of (i) the consummation of a Change of Control and (ii) the Expiration Date shall automatically be
deemed net exercised in full pursuant to Section 2.7 hereof immediately prior to such Change of
Control or the Expiration Date. The Company shall give Holder seven (7) days advance written
notice prior to the anticipated consummation of a Change of Control.

        5.     ADJUSTMENT PROVISIONS. The number and character of shares of Warrant
Stock issuable upon exercise of this Warrant and the Warrant Price therefor, are subject to
adjustment upon each event specified in Sections 5.1 through 5.4 hereof occurring between the
date this Warrant is issued and the earlier of the time that it is exercised in full or the Expiration
Date:

               5.1     Adjustment for Stock Splits and Stock Dividends. The Warrant Price
and the number of shares of Warrant Stock for which this Warrant remains exercisable shall each
be proportionally adjusted to reflect any stock dividend, stock split, reverse stock split or other
similar event affecting the number of outstanding shares of Warrant Stock.

                5.2     Adjustment for Other Dividends and Distributions. In case the
Company shall make or issue, or shall fix a record date for the determination of eligible holders
entitled to receive a dividend or other distribution payable with respect to the Warrant Stock that
is payable in (a) securities of the Company (other than issuances with respect to which adjustment
is made under Section 5.1 or Section 5.3 hereof) or (b) assets (other than cash, dividends paid on
shares of Warrant Stock that is Preferred Stock) (each, a “Dividend Event”), that are permitted
pursuant to the terms of the Purchase Agreement, and such dividend or distribution is actually
made, then, and in each such case, Holder, upon exercise of this Warrant at any time after such
Dividend Event, shall receive, in addition to the shares of Warrant Stock, the securities, cash or
other assets that would have been payable to Holder if Holder had completed such exercise of this
Warrant, immediately prior to such Dividend Event, provided that with respect to Warrant Stock
that is not Common Stock, if a dividend or distribution is made or issued (or a record date therefor
is fixed) with respect to the Common Stock, then such dividend or distribution shall be treated as
having been made on the Warrant Stock with respect to the shares of Common Stock issuable upon
the conversion of such Warrant Stock.

                5.3   Adjustment for Consolidation, Merger. In case the Company shall
consolidate with or merge with or into one or more other corporations or other entities, and
pursuant to such consolidation or merger stock, other securities or other property is issued or paid
to holders of the Warrant Stock, other than a Liquidation Event (each, a “Reorganization Event”),
then, and in each such case, Holder, upon the exercise of this Warrant after the consummation of
such Reorganization Event shall be entitled to receive, in lieu of the stock or other securities and


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property that Holder would have been entitled to receive upon such exercise prior to such
Reorganization Event, the stock or other securities or property which Holder would have been
entitled to receive upon the consummation of such Reorganization Event if, immediately prior to
such Reorganization Event, Holder had completed such exercise of this Warrant, all subject to
further adjustment as provided in this Warrant. If after such Reorganization Event, this Warrant
is exercisable for securities of a corporation or other entity other than the Company, then such
corporation or entity shall duly execute and deliver to Holder a supplement hereto acknowledging
such corporation’s or other entity’s obligations under this Warrant; and in each such case, the terms
of this Warrant shall be applicable to the shares of stock or other securities or property receivable
upon the exercise of this Warrant after the consummation of such Reorganization Event.

                5.4    Conversion of Stock. In each case not otherwise covered in Section 5.3
where prior to the exercise of this Warrant or the Expiration Date all (a) the outstanding Warrant
Stock is converted, pursuant to the terms of the Restated Certificate, into Common Stock or other
securities or property, or (b) the Warrant Stock otherwise ceases to exist or to be authorized under
the Restated Certificate (each, a “Stock Event”), then Holder, upon exercise of this Warrant at any
time after such Stock Event, shall receive, in lieu of the number of shares of Warrant Stock that
would have been issuable upon exercise of this Warrant immediately prior to such Stock Event,
the stock and other securities and property that Holder would have been entitled to receive upon
the Stock Event, if, immediately prior to such Stock Event, Holder had been the record holder of
the Warrant Stock received upon exercise of this Warrant before giving effect to such Stock Event
(or the record date therefor).

               5.5    Notice of Adjustments. The Company shall promptly give written notice
of each adjustment under this Section 5 of the Warrant Price or the number of shares of Warrant
Stock or other securities that remain issuable upon exercise of this Warrant. The notice shall
describe the adjustment and show in reasonable detail the facts on which the adjustment or
readjustment is based.

               5.6    No Change Necessary. The form of this Warrant need not be changed
because of any adjustment in the Warrant Price or in the number of shares of Warrant Stock
issuable upon its exercise.

                5.7    Reservation of Stock. If the number of shares of Warrant Stock or other
securities issuable upon exercise of this Warrant that are authorized and reserved for issuance upon
exercise of this Warrant shall not be sufficient to effect the exercise of this Warrant in full, the
Company shall promptly take such corporate action as may, in the opinion of its counsel, be
necessary to increase its authorized but unissued shares of Warrant Stock or other securities
issuable upon exercise of this Warrant as shall be sufficient for such purpose.

                5.8    Non-Circumvention. The Company shall not, by amendment of its
organizational documents or through any reorganization, transfers of assets, consolidation, merger,
dissolution, issuance or sale of securities or any other action, avoid or seek to avoid the observance
or performance of any of the terms to be observed or performed by it hereunder, and will at all
times use commercially reasonable efforts to assist in the carrying out of the provisions of this
Warrant and in taking all such actions as may reasonably be requested by the Requisite Majority
Holders in order to protect the conversion privileges of the Holder consistent with the terms of this


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Warrant; provided however, that the Company shall not be deemed to have avoided observance or
performance of any of the terms of this Warrant, if the Company shall amend, or if the holders of
the Company’s capital stock waive rights under, the Company’s organizational documents, in a
manner that does not (individually or when considered in the context of any other actions being
taken in connection with such amendments or waivers) adversely affect the rights of the Holder
hereunder in a manner different from the effect that such amendments or waivers have on the rights
of other holders of the same series and class as the Warrant Stock; provided, further, that (x) no
holder of the Company’s capital stock shall have been provided with any payment, rights or other
remuneration in consideration for any such amendment or waiver and (y) to the extent applicable,
such amendment or waiver applies equitably and ratably to each class of capital stock of the
Company (including each series of Preferred Stock). Without limiting the generality of the
foregoing, the Company (a) shall not increase the par value of any shares of Warrant Stock above
the Warrant Price then in effect, and (b) shall take all such actions as may be necessary or
appropriate in order that the Company may validly and legally issue fully paid and non-assessable
shares of Warrant Stock upon the conversion of this Warrant.

     6.  REPRESENTATIONS; WARRANTIES AND CERTAIN AGREEMENTS
OF HOLDER. Holder hereby represents and warrants to, and agrees with the Company that:

              6.1     Representations. In order to induce the Company to issue this Warrant to
the original Holder, the original Holder has made the representations and warranties to the
Company as set forth in Section 5 of the Purchase Agreement.

               6.2     Legends. Holder understands and agrees that the certificates evidencing
the Securities will bear legends substantially similar to those set forth below in addition to any
other legend that may be required by applicable law, by the Company’s Certificate of Incorporation
or Bylaws, or by any agreement between the Company and Holder:

               (a)   THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN
REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”) AND
MAY NOT BE OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR
HYPOTHECATED UNLESS AND UNTIL REGISTERED UNDER THE ACT OR, IN THE
OPINION OF COUNSEL SATISFACTORY TO THE ISSUER OF THESE SECURITIES, SUH
OFFER, SALE OR TRANSFER, PLEDGE OR HYPOTHECATION IS IN COMPLIANCE
THEREWITH.

                  (b)  THE SHARES REPRESENTED BY THIS CERTIFICATE ARE
SUBJECT TO A 180 DAY MARKET STAND-OFF RESTRICTION AS SET FORTH IN A CERTAIN
AGREEMENT BETWEEN THE ISSUER AND THE ORIGINAL HOLDER OF THESE SHARES,
A COPY OF WHICH MAY BE OBTAINED AT THE PRINCIPAL OFFICE OF THE ISSUER. AS
A RESULT OF SUCH AGREEMENT, THESE SHARES MAY NOT BE TRADED PRIOR TO 180
DAYS AFTER THE EFFECTIVE DATE OF THE PUBLIC OFFERING OF THE COMMON
STOCK OF THE ISSUER HEREOF. SUCH RESTRICTION IS BINDING ON TRANSFEREES
OF THESE SHARES.

                     (c)    Any legend required by the laws of the State of California, including
any legend required by the California Department of Corporations and Sections 417 and 418 of


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the California Corporations Code or any other state securities laws.

        The legend set forth in (a) above shall be removed by the Company from any certificate
evidencing the Securities upon delivery to the Company of an opinion of counsel, reasonably
satisfactory to the Company, that a registration statement under the Act is at that time in effect
with respect to the legended security or that such security can be freely transferred in a public sale
(other than pursuant to Rule 144 or Rule 145 under the Act) without such a registration statement
being in effect and that such transfer will not jeopardize the exemption or exemptions from
registration pursuant to which the Company issued the Securities. No opinion shall be required
for routine transactions under Rule 144.

                6.3    “Market Stand-Off” Agreement. Holder hereby agrees that Holder shall
be bound by the market standoff provision set forth in Section 3.11 of the Eighth Amended and
Restated Investors’ Rights Agreement, dated as of August 2, 2019, by and among the Company
and certain parties thereto, as may be amended from time to time (the “Rights Agreement”). The
Company agrees that, following exercise of this Warrant (in whole or in part) for so long was
Holder holds any Warrant Stock, Holder shall be entitled to the registration rights (and any related
rights) granted to Holders (as that term is defined in the Rights Agreement) in Section 3 of the
Rights Agreement, irrespective of anything to the contrary in the Rights Agreement, and that
Company shall use reasonable efforts to cause the Holder to enjoy such rights, including obtaining
consent of the stockholders of the Company to amend the Rights Agreement. Holder further agrees
to execute such agreements as may be reasonably requested by the underwriters in connection with
QIPO that are consistent with this Section 6.3 or that are necessary to give further effect thereto.

        7.       NO RIGHTS OR LIABILITIES AS STOCKHOLDER. This Warrant does not
by itself entitle Holder to any voting rights or other rights as a stockholder of the Company. In the
absence of affirmative action by Holder to purchase Warrant Stock by exercise of this Warrant, no
provisions of this Warrant, and no enumeration herein of the rights or privileges of Holder, shall
cause Holder to be a stockholder of the Company for any purpose.

       8.      GENERAL PROVISIONS.

                8.1    Transfer Tax. The Company shall pay any and all documentary, stamp and
similar issue or transfer tax (“Transfer Tax”) due on the issue of Warrant Stock or certificates
representing such shares or securities pursuant to the terms and conditions of this Warrant.
Provided however, that the Company shall not be required to pay any Transfer Tax that may be
payable in respect of the issue or delivery (or any transfer involved in the issue or delivery) of
Warrant Stock to a beneficial owner other than the beneficial owner of the Warrant Stock
immediately prior to the exercise of the Warrant. No issue or delivery of Warrant Stock to a
beneficial owner other than the beneficial owner of the Warrant Stock immediately prior to the
exercise of the Warrant shall be made unless and until the person requesting such issue or delivery
has paid to the Company the amount of any such Transfer Tax or has established to the satisfaction
of the Company that such Transfer Tax has been paid or is not payable.

               8.2   Transfer. This Warrant may be assigned, conveyed or transferred (each a
“Transfer”), in whole or in part, without the Company’s prior written consent to a Person that is
not a Competitor. Prior to a Transfer, the Holder will use commercially reasonable, good faith


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efforts to provide the Company at least five (5) business days’ notice of an intended Transfer,
including the identity of the proposed transferee, and will discuss with the Company the reasonable
concerns of the Company concerning the proposed Transfer. Prior to consummation of a Transfer,
the Holder will deliver a written notice from a Senior Officer of the Holder confirming that the
transferee is not a Competitor including reasonable supporting detail and demonstrating
compliance with the foregoing requirements. The rights and obligations of the Company and the
Holder under this Warrant shall be binding upon and benefit their respective permitted successors,
assigns, heirs, administrators and transferees.

                8.3    Governing Law. This Warrant shall be governed by and construed under
the internal laws of the State of Delaware without giving effect to any conflict of law principles
that would result in the application of the laws of a different jurisdiction.

               8.4    Counterparts. This Warrant may be executed in two or more counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same instrument. Counterparts may be delivered via electronic mail (including pdf or “tif”), or
other transmission method and any counterpart so delivered shall be deemed to have been duly
and validly delivered and be valid and effective for all purposes. Holders may (but shall have no
obligation to) accept any signature, contract formation or record-keeping through electronic
means, which shall have the same legal validity and enforceability as manual or paper-based
methods, to the fullest extent permitted by Applicable Law, including the Federal Electronic
Signatures in Global and National Commerce Act, the New York State Electronic Signatures and
Records Act, or any similar state law based on the Uniform Electronic Transactions Act. Upon
request by any Holder, any electronic signature or delivery shall be promptly followed by a
manually executed or paper document.

               8.5    Headings. The headings and captions used in this Warrant are used only
for convenience and are not to be considered in construing or interpreting this Warrant. All
references in this Warrant to Sections and Exhibits shall, unless otherwise provided, refer to
sections hereof and exhibits attached hereto, all of which exhibits are incorporated herein by this
reference.

                8.6    Notices. Unless otherwise provided herein, any notice required or
permitted under this Warrant shall be given in writing and shall be deemed effectively given (a) at
the time of personal delivery, if delivery is in person or via electronic mail (provided confirmation
of receipt by the intended recipient is received); (b) one (1) Business Day after deposit with an
express overnight courier for United States deliveries or sent via facsimile, or three (3) Business
Days after deposit with an international express overnight air courier for deliveries outside of the
United States, in each case with proof of delivery from the courier requested; or (c) four (4)
Business Days after deposit in the United States mail by certified mail (return receipt requested)
for United States deliveries, when addressed to the party to be notified at the address indicated for
such party in Section 10.9 of the Purchase Agreement, or at such other address as any party hereto
may designate for itself to receive notices by giving ten (10) days’ advance written notice to all
other parties in accordance with the provisions of this Section 8.6.

              8.7   Amendment; Waiver. This Warrant and all other Warrants issued under
the Purchase Agreement may be amended and provisions may be waived by the Requisite Majority


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Holders. Any amendment or waiver effected in accordance with this Section 8.7 shall be binding
upon each holder of any Warrants at the time outstanding, each future holder of the Warrants and
the Company.

               8.8     Severability. If one or more provisions of this Warrant are held to be
unenforceable under applicable law, then such provision(s) shall be excluded from this Warrant to
the extent they are unenforceable and the remainder of this Warrant shall be interpreted as if such
provision(s) were so excluded and shall be enforceable in accordance with its terms.

               8.9      Entire Agreement. This Warrant and the documents referred to herein,
together with all the exhibits and schedules hereto and thereto, constitute the entire agreement and
understanding of the parties with respect to the subject matter hereof and supersedes any and all
prior negotiations, correspondence, warrants, agreements, understandings duties or obligations
between the parties with respect to the subject matter hereof.

                                  [SIGNATURE PAGE FOLLOWS]




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       IN WITNESS WHEREOF, the parties hereto have executed this Warrant to Purchase
Stock as of the date first written above.

 THE COMPANY:

 PROTERRA INC

 By:

 Name:

 Title:




              [SIGNATURE PAGE TO WARRANT TO PURCHASE STOCK OF PROTERRA INC]
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       IN WITNESS WHEREOF, the parties hereto have executed this Warrant to Purchase
Stock as of the date first written above.

AGREED AND ACKNOWLEDGED:

HOLDER:

[NAME OF HOLDER]

 IF AN INDIVIDUAL:                              IF AN ENTITY:


 By:
         (duly authorized signature)            (please print or type complete name of entity)


 Name:                                          By:
         (please print or type full name)                (duly authorized signature)


                                                Name:
                                                         (please print or type full name)


                                                Title:
                                                         (please print or type full title)

 Date:                                          Date:




                [SIGNATURE PAGE TO WARRANT TO PURCHASE STOCK OF PROTERRA INC]
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                                        EXHIBIT 1
                               FORM OF SUBSCRIPTION
                (To be completed and signed only upon exercise of Warrant)


       To: Proterra Inc (the “Company”)

     We refer to that certain Warrant to Purchase Stock of the Company issued on [ISSUE
DATE] (the “Warrant”).

       Select one of the following two alternatives:
        Cash Exercise. On the terms and conditions set forth in the Warrant, the
       undersigned Holder hereby elects to purchase           shares of             Stock
       of Proterra Inc (the “Warrant Stock”), pursuant to the terms of the attached
       Warrant, and tenders herewith payment of the purchase price for such shares in full.
       This exercise  IS  IS NOT conditioned upon the completion of the Initial
       Public Offering or a Change in Control.

        Net Exercise Election. On the terms and conditions set forth in the Warrant,
       the undersigned Holder elects to convert the Warrant into shares of Warrant Stock
       by net exercise election pursuant to Section 2.7 of the Warrant. This conversion is
       exercised with respect to ____________________ shares of _________ Stock of
       Proterra Inc (the “Warrant Stock”) covered by the Warrant.

        In exercising the Warrant, the undersigned Holder hereby confirms and acknowledges that
the representations and warranties set forth in the Warrant as they apply to the undersigned Holder
are true and complete as of this date. Please issue a certificate or certificates representing such
shares of Warrant Stock in Holder’s name and deliver such certificate(s) to Holder at the address
set forth below.

       .


                                          (Address)

                                          (City, State, Zip Code)

                                          (Federal Tax Identification Number)
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       WHEREFORE, the undersigned Holder has executed and delivered the Warrant and this
Subscription Form as of the date set forth below.

HOLDER:




 IF AN INDIVIDUAL:                              IF AN ENTITY:


 By:
         (duly authorized signature)            (please print or type complete name of entity)


 Name:                                          By:
         (please print or type full name)                (duly authorized signature)


                                                Name:
                                                         (please print or type full name)


                                                Title:
                                                         (please print or type full title)

 Date:                                          Date:
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                         EXHIBIT C



                    SECURITY AGREEMENT
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                                                                            EXECUTION VERSION


                                  SECURITY AGREEMENT


        SECURITY AGREEMENT (this “Agreement”) dated as of August 4, 2020, among
(i) Proterra Inc, a corporation duly organized and validly existing under the laws of the State of
Delaware (“Proterra”), (ii) each other entity, if any, that becomes a “Grantor” hereunder as
contemplated by Section 5.12 (each such entity together with Proterra, collectively, the “Grantors”
and each, a “Grantor”), and (iii) CSI GP I LLC, a Delaware limited liability company, as collateral
agent (the “Collateral Agent”) for the Secured Parties (as defined below).

        Pursuant to the Note Purchase Agreement, dated as of August 4, 2020 (as amended,
supplemented, restated, extended, renewed or replaced from time to time, the “Note Purchase
Agreement”), among Proterra and the Investors (as defined therein) from time to time party thereto
(the “Investors”), Proterra has proposed to issue and sell to the Investors and the Investors have
agreed to purchase Notes (as defined in the Note Purchase Agreement) for the consideration set
forth in, and upon the terms and conditions provided in, the Note Purchase Agreement.

        The Grantors will derive substantial direct and indirect benefit from the issuance and sale
of the Notes (as defined in the Note Purchase Agreement).

       It is a condition precedent to the obligation of the Investors to purchase the Notes (as
defined in the Note Purchase Agreement) that the Grantors shall have executed and delivered this
Agreement to the Collateral Agent and the Investors.

       Accordingly, the parties hereto agree as follows:

               Section 1. Definitions, Etc.

              1.01 Certain Uniform Commercial Code Terms. As used herein, the terms
“Account”, “Chattel Paper”, “Commercial Tort Claim”, “Commodity Account”, “Deposit
Account”, “Document”, “Equipment”, “General Intangible”, “Goods”, “Instrument”, “Inventory”,
“Letter-of-Credit Right”, “Promissory Note”, and “Tangible Chattel Paper” have the respective
meanings set forth in Article 9 of the UCC, and the terms “Financial Asset”, “Securities Account”,
“Security”, have the respective meanings set forth in Article 8 of the UCC.

               1.02    Additional Definitions. In addition, as used herein:

               “Collateral” has the meaning assigned to such term in Section 3.

               “Copyright License” means any agreement, written or oral, now or hereafter in
       effect, naming any Grantor as licensor or licensee, granting any right under any Copyright,
       including the grant of rights to manufacture, distribute, exploit and sell materials derived
       from any Copyright.

               “Copyrights” means, with respect to any Person, all of the following now owned or
       hereafter acquired by such Person, all of such Person’s right, title, and interest in and to the
       following: (a) all copyrights and works of authorship arising under the laws of the United
       States, any other country or any political subdivision thereof, whether as author, assignee,


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claimant, transferee, licensee, or otherwise, whether registered or unregistered and whether
published or unpublished, and (b) all registrations and applications for registration of any
such copyright in the United States or other applicable jurisdiction, including registrations,
recordings, supplemental registrations and pending applications for registration in the
United States Copyright Officeo.

        “UCC” means the Uniform Commercial Code as in effect from time to time in the
State of New York.

       “Equity Issuers” means, collectively, (a) the respective Persons identified on
Annex 3 (Part A) under the caption “Equity Issuer”, (b) any other Person that shall at any
time be a Subsidiary of any Grantor, and (c) the issuer of any Equity Interests hereafter
owned by any Grantor.

       “Excluded Deposit Accounts” means (a) Trust Accounts, (b) zero balance
disbursement accounts and (c) other Deposit Accounts maintained in the Ordinary Course
of Business containing cash amounts that do not exceed at any time $100,000 for any each
such account and $250,000 in the aggregate for all such Deposit accounts under this clause
(c).

         “Excluded Assets” means (a) any fee-owned Real Estate and any leasehold interests
in Real Estate, (b) any governmental licenses or state or local franchises, charters or
authorizations, to the extent a security interest in any such licenses, franchise, charter or
authorization would be prohibited or restricted thereby (including any legally effective
prohibition or restriction) after giving effect to the applicable anti-assignment clauses of
the UCC and other Applicable Law, other than the proceeds and products thereof the
assignment of which is expressly deemed effective under the UCC or other Applicable Law
notwithstanding such prohibition, (c) letter of credit rights (except to the extent perfection
can be accomplished through the filing of UCC-1 financing statements or equivalent
filing), (d) commercial tort claims with an individual value of less than $1,000,000, (e)
assets and personal property for which a pledge thereof or a security interest therein is
prohibited by Applicable Law (including any legally effective requirement to obtain the
consent of any Governmental Authority) or contractual requirement after giving effect to
the applicable anti-assignment clauses of the UCC and other Applicable Law, other than
the proceeds and products thereof the assignment of which is expressly deemed effective
under the UCC or other Applicable Law notwithstanding such prohibition, (f) any “margin
stock” and Equity Interests of any Person to the extent, and for so long as, the pledge of
such Equity Interests would be prohibited by the terms of any applicable joint venture
agreement or shareholders’ agreement applicable to such Person, after giving effect to the
applicable anti-assignment clauses of the UCC and other Applicable Law, (g) any Excluded
Equity Interests, (h) any “intent to use” trademark application at all times prior to the first
use thereof, whether by the actual use thereof in commerce, the recording of a statement of
use with the United States Patent and Trademark Office or otherwise, provided, that upon
submission and acceptance by the United States Patent and Trademark Office of an
amendment to allege use of an intent-to-use trademark application pursuant to 15 U.S.C.
Section 1060(a) (or any successor provision) such intent-to-use application shall constitute
Collateral, (i) any contractual requirement, license or permit to which a Grantor or any of


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its property (including personal property) is subject, and any property subject to a purchase
money security interest, capital lease or similar arrangement with any Person if, to the
extent, and for so long as, the grant of a Lien thereon to secure the Obligations constitutes
a breach of, a violation of, or a default under, or invalidation of, or creates a right of
termination in favor of any party (other than any Grantor) to, such contractual requirement,
license, permit, purchase money arrangement, capital lease or similar arrangement (but
only to the extent any of the foregoing is not rendered ineffective by, or is otherwise
unenforceable under, the UCC); (j) any Excluded Account, (k) any property or assets
acquired after the date of the Initial Closing under Note Purchase Agreement (including
any property acquired through any acquisition, consolidation, amalgamation or merger of
a Person, but excluding any Borrowing Base Assets (as defined in the Senior Loan
Agreement)), if at the time of such acquisition, the granting of a security interest therein or
a pledge thereof is prohibited by any contractual requirement to the extent and for so long
as such contractual requirement prohibits such security interest or pledge, (l) any property
subject to a certificate of title (including motor vehicles) (except to the extent perfection
can be accomplished through the filing of UCC-1 financing statements), and (m) any other
assets if and for so long as the Collateral Agent and Proterra agree in writing that the cost
of creating or perfecting pledges or security interests in such assets or obtaining title
insurance or surveys in respect of such assets shall be excessive in view of the benefits to
be obtained by the Secured Parties therefrom; provided that notwithstanding anything
herein to the contrary, Excluded Assets shall not include any proceeds, replacements or
substitutions of the foregoing Property (unless such proceeds, replacements or substitutions
otherwise constitute Excluded Assets).

        “Excluded Equity Interests” means (a) any of the outstanding voting Equity
Interests of any CFC or CFCHC that is a direct Foreign Subsidiary of a Grantor in excess
of 65% of all the voting Equity Interests of such CFC or CFCHC, and (b) any voting Equity
Interests of any CFC or CHCHC that is not a direct Foreign Subsidiary of a Grantor.

         “Foreign Subsidiary” means a Subsidiary that is a “controlled foreign corporation”
under Section 957 of the Code, such that a guaranty by such Subsidiary of the Obligations
or a Lien on the assets of such Subsidiary to secure the Obligations would result in material
tax liability to the Grantors.

        “Governmental Authority” means any federal, state, local, foreign or other agency,
authority, body, commission, court, instrumentality, political subdivision, central bank, or
other entity or officer exercising executive, legislative, judicial, taxing, regulatory or
administrative powers or functions for any governmental, judicial, investigative, regulatory
or self-regulatory authority (including the Financial Conduct Authority, the Prudential
Regulation Authority and any supra-national bodies such as the European Union or
European Central Bank).

         “Initial Pledged Shares” means the Equity Interests of each Equity Issuer that are
beneficially owned by any Grantor on the date hereof and identified in Annex 3 (Part A)
as of the date hereof.




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        “Intellectual Property” means any and all intellectual property of a Person,
including inventions, designs, Patents, Copyrights, Trademarks, trade secrets under
applicable law and other rights in know-how and confidential or proprietary information,
customer lists, software and databases; all embodiments or fixations thereof and all related
documentation, applications, registrations and franchises; all licenses or other rights to use
any of the foregoing; all books and records relating to the foregoing; and all rights,
priorities and privileges related thereto and all rights to sue at law or in equity for any past,
present or future infringement or other impairment thereof, including the right to receive
all income, royalties and other proceeds therefrom whatsoever accruing thereunder or
pertaining thereto.

      “Intellectual Property License” means any Patent License, Trademark License,
Copyright License or other Intellectual Property or Software license or sublicense
agreement to which any Grantor is a party.

        “Investment Property” the respective meanings set forth in Article 9 of the UCC.

        “Joinder” has the meaning specified in Section 5.12 hereof.

         “Laws” means, collectively, all international, foreign, federal, state, provincial,
territorial, municipal and local statutes, treaties, rules, regulations, ordinances, codes and
administrative or judicial precedents or authorities, including the interpretation or
administration thereof by any Governmental Authority charged with the enforcement,
interpretation or administration thereof, and all applicable administrative orders, directed
duties, requests, licenses, authorizations and permits of, and agreements with, any
Governmental Authority.

        “Licensor” means any Person from whom any Grantor obtains the right to use any
Intellectual Property.

        “Lien Waiver” means an agreement, in form and substance reasonably satisfactory
to the Collateral Agent, by which (a) for any material Collateral is located on leased
premises or premises subject to a mortgage, the lessor or mortgagee, as applicable, waives
or subordinates any Lien it may have on the Collateral, and agrees to permit the Collateral
Agent to enter upon the premises and remove the Collateral or to use the premises to store
or dispose of the Collateral; (b) for any Collateral is held by a warehouseman, processor,
shipper, customs broker or freight forwarder, such Person waives or subordinates any Lien
it may have on the Collateral, agrees to hold any Documents in its possession relating to
the Collateral as agent for Collateral Agent, and agrees to deliver the Collateral to the
Collateral Agent upon request; (c) for any Collateral held by a repairman, mechanic or
bailee, such Person acknowledges the Collateral Agent’s Lien, waives or subordinates any
Lien it may have on the Collateral, and agrees to deliver the Collateral to Collateral Agent
upon request and (d) for any Collateral subject to a Licensor’s Intellectual Property rights,
the Licensor grants to Collateral Agent the right, vis-à-vis such Licensor, to enforce
Collateral Agent’s Liens with respect to the Collateral, including the right to dispose of it
with the benefit of the Intellectual Property, whether or not a default exists under any
applicable License; provided that, for the avoidance of doubt, no Lien Waiver shall be


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required hereunder if the collateral agent under the Senior Loan Agreement has required a
lien waiver with respect to the same property.

        “Patent License” means any agreement, written or oral, now or hereafter in effect,
naming any Grantor as licensor or licensee, granting any right under any Patent, including
the grant of rights to manufacture, distribute, exploit and sell materials derived from any
Patent.

        “Patents” means, with respect to any Person, all of the following now owned or
hereafter acquired by such Person and arising under the laws of the United States or any
other applicable jurisdiction: (a) all patents and pending applications in the United States
Patent and Trademark Office or any similar office in any other applicable jurisdiction, and
(b) all reissues, reexaminations, continuations, divisionals, continuations-in-part, or
extensions thereof, and the inventions, discoveries or designs disclosed or claimed therein
.

       “Pledged Shares” means, collectively:

       (i) the Initial Pledged Shares, and

        (ii) 100% of all other issued and outstanding Equity Interests of each Subsidiary
that are now or hereafter directly or indirectly beneficially owned by any Grantor, whether
or not registered in the name of such Grantor,

        together with, in each case of the immediately foregoing clauses (i) and (ii), (a) all
certificates representing the same, (b) all shares, securities, moneys or other property
representing a dividend on or a distribution or return of capital on or in respect of the
Pledged Shares, or resulting from a split-up, revision, reclassification or other like change
of the Pledged Shares or otherwise received in exchange therefor, and any warrants, rights
or options issued to the holders of, or otherwise in respect of, the Pledged Shares, and
(c) without prejudice to any provision of any of the Financing Documents prohibiting any
merger or consolidation by an Equity Issuer, all Equity Interests of any successor entity of
any such merger or consolidation; provided that in no event shall Pledged Shares include
any Excluded Asset.

      “Secured Obligations” means, without duplication, (a) all Obligations and (b) all
costs and expenses incurred in connection with the enforcement and collection of the
Obligations, including the fees, charges and disbursements of counsel.

       “Secured Parties” means, collectively, the Collateral Agent, the Investors and the
other holders of the Secured Obligations, and “Secured Party” means any one of them.

       “Software” means (a) all computer generated programs, including source code and
object code versions, (b) all data, databases and compilations of data, whether machine
readable or otherwise, and (c) all documentation, training materials and configurations
related to any of the foregoing.




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              “Subsidiary” has the meaning specified in the Note Purchase Agreement. Unless
       otherwise qualified, all references to a “Subsidiary” (or to “Subsidiaries”) in this
       Agreement shall refer to a direct or indirect Subsidiary (or to direct or indirect Subsidiaries)
       of Proterra.

              “Trademark License” means any agreement, now or hereafter in effect, whether
       written or oral, providing for the grant by or to any Grantor of any right to use any
       Trademark.

                “Trademarks” means, with respect to any Person, now owned or hereafter acquired,
       all of such Person’s right, title and interest (other than as a licensee) in and to the following
       and arising under the laws of the United States or any other applicable jurisdiction: (a) all
       trademarks, service marks, trade names, brand names, domain names, corporate names,
       company names, business names, fictitious business names, trade dress, logos, other source
       or business identifiers and designs, all registrations and recordings thereof (if any), (b) all
       registrations and applications filed in connection therewith in the United States Patent and
       Trademark Office or any similar office in any other applicable jurisdiction, and all
       extensions or renewals thereof, and (c) all goodwill associated therewith or symbolized
       thereby.

              “Trust Accounts” means Deposit Accounts or Securities Accounts containing cash,
       cash equivalents or Securities (a) held exclusively for payroll and payroll taxes, (b) held
       exclusively for employee benefit payments and expenses related to a Grantor’s employees,
       (c) required to be collected, remitted or withheld exclusively to pay taxes (including,
       without limitation, federal and state withholding taxes (including the employer’s share
       thereof)) or (d) held by any Grantor expressly in trust or as an escrow or fiduciary for
       another person which is not an Grantor.

              1.03 Other Defined Terms. All other capitalized terms used and not otherwise
defined herein have the meanings ascribed to them in the Note Purchase Agreement.

              1.04 Interpretation. Section 10.8 of the Note Purchase Agreement is herein
incorporated by reference mutatis mutandis.

                  Section 2. Representations and Warranties. Each Grantor represents and
warrants to the Secured Parties as set forth below; provided that, any term or provision hereof or
in any other Financing Document to the contrary notwithstanding, (i) with respect to the
effectiveness of this Agreement and the other Financing Documents and the issuance of the Notes,
the representations and warranties set forth below are hereby made, re-made and deemed to be
made on and as of (and only on and as of) the date of this Agreement, the date of the Initial Closing
under Note Purchase Agreement and the dates referred to in the immediately succeeding clause
(ii), and (ii) to the extent any of the representations and warranties set forth below are made, re-
made or deemed to be made or re-made at any time after the date of the Initial Closing under the
Note Purchase Agreement pursuant to any amendment, consent, waiver or other document or
instrument related to this Agreement or any other Financing Document, such representations and
warranties shall be made, re-made or deemed to be made or re-made, as the case may be, on and




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as of (and only on and as of) the date or dates provided in such amendment, consent, waiver or
other document or instrument, as the case may be.

                2.01 Organizational Matters; Enforceability, Etc. Each Grantorisduly organized,validlyexistingand
in good standing under the laws of the jurisdiction of its organization. The execution, delivery and
performance of this Agreement, and the grant of the Liens pursuant hereto, (a) are within such
Grantor’s powers and have been duly authorized by all necessary corporate or other action, (b) do
not require any consent or approval of, registration or filing with, or any other action by, any
Governmental Authority or any third party, except for (i) such as have been obtained or made and
are in full force and effect and (ii) filings and recordings in respect of the Liens created pursuant
hereto, (c) will not violate any applicable Law or the charter, by-laws or other organizational
documents of such Grantor and its Subsidiaries or any order of any Governmental Authority, other
than any such violations that would not, individually or in the aggregate, reasonably be expected
to have a material adverse effect on Proterra’s financial condition or business as now conducted,
(d) will not violate or result in a default under any indenture, agreement or other instrument binding
upon such Grantor or any of its assets, or give rise to a right thereunder to require any payment to
be made by any such Person, other than any of the foregoing that would not, individually or in the
aggregate, reasonably be expected to have a material adverse effect on Proterra’s financial
condition or business as now conducted, and (e) except for the Liens created pursuant hereto, will
not result in the creation or imposition of any Lien on any asset of such Grantor or its Subsidiaries.

                This Agreement has been duly executed and delivered by such Grantor and
constitutes a legal, valid and binding obligation of such Grantor, enforceable against such Grantor
in accordance with its terms, except as such enforceability may be limited by (a) bankruptcy,
insolvency, reorganization, moratorium or similar Laws of general applicability affecting the
enforcement of creditors’ rights and (b) the application of general principles of equity (regardless
of whether such enforceability is considered in a proceeding in equity or at law).

               None of the Grantors nor any of their respective Subsidiaries is, or is required to be
registered as, an “investment company” as defined in, or subject to regulation under, the
Investment Company Act of 1940, as amended.

                2.02 Title. Such Grantor is the sole record owner or co-owner and sole beneficial
owner or co-owner of the Collateral and no Lien exists upon the Collateral (and no right or option
to acquire the same exists in favor of any other Person) other than (a) the Liens created or provided
for herein, which Liens constitute valid and enforceable first and prior perfected Liens on the
Collateral (except Permitted Liens), and (b) Permitted Liens.

                2.03 Names, Etc. The full and correct legal name, type of organization,
jurisdiction of organization, organizational ID number (if applicable) and mailing address of such
Grantor as of the date hereof are correctly set forth in Annex 1. Said Annex 1 correctly specifies
the place of business of such Grantor or, if such Grantor has more than one place of business, the
location of the chief executive office of such Grantor.

              2.04 Changes in Circumstances. Such Grantor has not (a) within the period of
four months prior to the date hereof, changed its location (as determined in accordance with
Section 9-307 of the UCC), (b) except as specified in Annex 1, heretofore changed its name,


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(c) except as specified in Annex 2, heretofore become a “new debtor” (as defined in
Section 9-102(a)(56) of the UCC) with respect to a currently effective security agreement
previously entered into by any other Person or (d) within the period of four months prior to the
date hereof, been party to a merger, consolidation or other change in organizational structure.

               2.05 Pledged Shares. The Pledged Shares of such Grantor constitute: 100% of
all issued and outstanding Equity Interests of each Equity Issuer that are directly or indirectly
beneficially owned by such Grantor, whether or not registered in the name of such Grantor, other
than any Excluded Equity Interests.

              Annex 3 (Part A) correctly identifies, as of the date hereof (or, in the case of any
supplement to said Annex 3 (Part A) as required by Sections 5.12(a) and (b) hereof, as of the date
of such supplement), (A) the respective Equity Issuers of the Pledged Shares, (B) in the case of
any corporate Equity Issuer, the respective class and par value of the Pledged Shares, (C) the
respective number of the Pledged Shares and registered owner thereof, and (D) whether the
Pledged Shares are certificated or uncertificated.

                The Initial Pledged Shares are, and all other Pledged Shares in which such Grantor
shall hereafter grant a security interest pursuant to Section 3 will be, (i) duly authorized, validly
issued, fully paid and non-assessable (in the case of any Equity Interests issued by a corporation)
and (ii) duly authorized and validly issued and outstanding (in the case of any Equity Interests in
any other entity).

               2.06 Promissory Notes. Annex 3 (Part B) sets forth a complete and correct list
of all Promissory Notes (other than any held in a Securities Account) owned by such Grantor as
of the date hereof (or, in the case of any supplement to said Annex 3 (Part B) as required by
Sections 5.12(a) and (b) hereof, as of the date of such supplement).

                2.07 Intellectual Property. Annexes 4, 5 6, and 7 respectively, set forth a
complete and correct list of (a) all Copyrights, (b) all Patents, (c) all Trademarks and (d) all
Intellectual Property Licenses that are necessary for such Grantor’s business (excluding any Shrink
Wrap Software and any licenses that are granted to or received from customers or suppliers that
are incidental to the products being transferred or acquired) of such Grantor as of the date hereof
(or, in the case of any supplement to said Annex 4, 5, 6, and 7 as required by Sections 5.12(a) and
(b) hereof, as of the date of such supplement).

                 2.08 Deposit Accounts and Securities Accounts. Annex 8 sets forth a complete
and correct list of all Deposit Accounts (other than Excluded Accounts), Securities Accounts (other
than Excluded Accounts) and Commodity Accounts (other than Excluded Accounts) of such
Grantor as of the date hereof (or, in the case of any supplement to said Annex 8 as required by
Sections 5.12(a) and (b) hereof, as of the date of such supplement).

             2.09 Commercial Tort Claims. Annex 9 sets forth a complete and correct list of
all Commercial Tort Claims (other than, as long as no Default or Event of Default exists, a
Commercial Tort Claim for less than $500,000).




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              2.10 Fair Labor Standards Act. Any goods now or hereafter produced by such
Grantor or any of its Subsidiaries included in the Collateral have been and will be produced in
substantial compliance with the requirements of the Fair Labor Standards Act, as amended.

        Section 3. Collateral. As collateral security for the payment or performance, as the case
may be, in full when due (whether at stated maturity, by acceleration or otherwise) of the Secured
Obligations, each Grantor hereby pledges and grants to the Collateral Agent, for the benefit of the
Secured Parties, a security interest in all of such Grantor’s right, title and interest in, to and under
the following property, in each case whether tangible or intangible, wherever located, whether now
existing or hereafter coming into existence, and whether now owned by such Grantor or hereafter
acquired or in which such Grantor now has or at any time in the future may acquire any right, title
or interest (all of the property described in this Section 3 being collectively referred to herein as
the “Collateral”):

               (a)     all Accounts;

               (b)     all Chattel Paper, including electronic chattel paper;

               (c)     all Commercial Tort Claims;

               (d)     all Deposit Accounts and Securities Accounts;

               (e)     all Documents;

               (f)     all General Intangibles;

               (g)     all Goods, including Inventory, Equipment and fixtures;

               (h)     all Instruments;

               (i)     all Investment Property;

               (j)     all Letter-of-Credit Rights;

               (k)     all Supporting Obligations;

               (l)     all Intellectual Property, Intellectual Property Licenses and Software;

               (m)     all monies;

                (n)   all accessions to, substitutions for, and all replacements, products, and cash
and non-cash proceeds of the foregoing, including proceeds of and unearned premiums with
respect to insurance policies, and claims against any Person for loss, damage or destruction of any
Collateral; and

             (o)    all books and records (including customer lists, files, correspondence, tapes,
computer programs, print-outs and computer records) pertaining to the foregoing;

Notwithstanding anything to the contrary, “Collateral” shall not include any Excluded Assets.


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      Section 4. Covenants; Further Assurances; Remedies; Application of Proceeds;
Termination; Etc. In furtherance of the grant of the security interest pursuant to Section 3, the
Grantors hereby jointly and severally agree with the Secured Parties as follows:

               4.01 Delivery and Other Perfection. Each Grantorshall(attheGrantors’expense)promptly fromtime
to time give, execute, deliver, file, record, authorize or obtain all such financing statements,
continuation statements, notices, instruments, documents, agreements or consents or other papers
as may be necessary or desirable in the judgment of the Collateral Agent to create, preserve,
perfect, maintain the perfection of or validate the security interest granted pursuant hereto or to
enable the Collateral Agent to exercise and enforce its rights with respect to such security interest,
and, without limiting the foregoing, shall:

                (a)     with respect to (i) the Pledged Shares and (ii) each Promissory Note,
        Investment Property and Financial Asset constituting part of the Collateral with a value in
        excess of $1,000,000 individually or $2,000,000 in the aggregate, (x) promptly from time
        to time upon the Collateral Agent’s written request, deliver to the Collateral Agent for the
        benefit of the Secured Parties the certificates or instruments representing or evidencing the
        same, duly endorsed in blank or accompanied by such instruments of assignment and
        transfer in such form and substance as the Collateral Agent may reasonably request, all of
        which thereafter shall be held by the Collateral Agent for the benefit of the Secured Parties,
        pursuant to the terms of this Agreement, as part of the Collateral and (y) promptly from
        time to time upon the Collateral Agent’s written request, take such other action as the
        Collateral Agent may reasonably deem necessary or appropriate to duly record or otherwise
        perfect the security interest created hereunder in such Collateral; provided that,
        notwithstanding anything to the contrary, such obligations may be satisfied by delivering
        such certificates or instruments to the collateral agent under the Senior Loan Agreement;

                (b)     promptly from time to time upon the Collateral Agent’s written request,
        deliver to the Collateral Agent for the benefit of the Secured Parties any and all Instruments
        constituting part of the Collateral with a value in excess of $1,000,000 individually or
        $2,000,000 in the aggregate, endorsed and/or accompanied by such instruments of
        assignment and transfer in such form and substance as the Collateral Agent may request;
        provided that (other than in the case of Promissory Notes constituting part of the Collateral)
        until the occurrence and during the continuance of an Event of Default, (i) such Grantor
        may retain for collection in the ordinary course any Instruments received by such Grantor
        in the ordinary course of business to the extent permitted by the Note Purchase Agreement
        and (ii) the Collateral Agent shall, promptly upon request of such Grantor, make
        appropriate arrangements for making any Instrument delivered by such Grantor available
        to such Grantor for purposes of presentation, collection or renewal (any such arrangement
        to be effected, to the extent requested by the Collateral Agent, against trust receipt or like
        document); provided that, notwithstanding anything to the contrary, such obligations may
        be satisfied by delivering such Instruments to the collateral agent under the Senior Loan
        Agreement;

                (c)     promptly from time to time upon the Collateral Agent’s written request (or,
        in the case of sub-paragraph (i) below, within 60 days after the date hereof), enter into such
        control agreements, each in form and substance reasonably acceptable to the Collateral


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Agent, as may be required to perfect the security interest created hereby in any and all (i)
Deposit Accounts, Securities Accounts and Commodity Accounts (in each case, other than
Excluded Accounts), (ii) Investment Property, (iii) electronic chattel paper and (iv) Letter-
of-Credit Rights, and upon the Collateral Agent’s written request, will promptly furnish to
the Collateral Agent true copies thereof; provided that, notwithstanding anything to the
contrary, the obligations under clauses (i) and (ii) above may be satisfied by delivering or
taking such action for the benefit of the collateral agent under the Senior Loan Agreement,
provided always that the Collateral Agent is a party to any control agreement entered into
or delivered in accordance with this paragraph (c);

        (d)    promptly from time to time upon the Collateral Agent’s written request,
execute and deliver such short-form security agreements, notices of grant of security
interest or similar documents as the Collateral Agent may reasonably deem necessary or
desirable to protect the interests of the Secured Parties in respect of that portion of the
Collateral consisting of Intellectual Property pending and registered Copyrights, Patents
and Trademarks;

        (e)     in the event for any reason the Law of any jurisdiction other than New York
becomes or is applicable to the Collateral of any Grantor or any part thereof, or to any of
the Secured Obligations, such Grantor agrees upon the Collateral Agent’s written request,
to execute and deliver all such instruments and to do all such other things as may be
necessary or desirable in the reasonable judgment of the Collateral Agent to create,
preserve, perfect, maintain the perfection of or validate the security interest granted
pursuant hereto or to enable the Collateral Agent to exercise and enforce its rights with
respect to such security interest under the Law of such other jurisdiction (and, if a Grantor
shall fail to do so promptly upon the written request of the Collateral Agent, then the
Collateral Agent may execute any and all such requested documents on behalf of such
Grantor pursuant to the power of attorney granted in Section 4.14);

        (f)    if any Collateral in the possession of a warehouseman, processor,
repairman, mechanic, shipper, freight forwarder or other Person, and, to the extent (i) the
aggregate book value of Inventory at such location is greater than $1,000,000, (ii) the
collateral agent under the Senior Loan Agreement has requested a lien waiver and (iii) the
Collateral Agent requests in writing that such Grantor obtain a Lien Waiver, such Grantor
agrees to notify such agents in writing of the security interest of the Collateral Agent and
use commercially reasonable efforts to deliver a Lien Waiver in favor of the Collateral
Agent;

       (g)    keep full and accurate books and records relating to the Collateral, and
stamp or otherwise mark such books and records in such manner as the Collateral Agent
may reasonably require in order to reflect the security interests granted by this Agreement;

        (h)     permit representatives of the Secured Parties, upon reasonable notice, at any
time during normal business hours to inspect and make abstracts from its books and records
pertaining to the Collateral, and permit representatives of the Secured Parties to be present
at such Grantor’s place of business to receive copies of communications and remittances
relating to the Collateral, and forward copies of any notices or communications received


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       by such Grantor with respect to the Collateral, all in such manner as the Secured Parties
       may require;

                4.02 Preservation of Rights. Neither the Collateral Agent nor any other Secured
Party shall be required to take steps necessary to preserve any rights against prior parties to any of
the Collateral.

               4.03    Special Provisions Relating to Certain Collateral.

               (a)     Pledged Shares and Investment Property.

                       (i)     The Grantors will cause the Pledged Shares to constitute at all times:
               100% of all issued and outstanding Equity Interests of each Equity Issuer that are
               directly or indirectly beneficially owned by any Grantor, whether or not registered
               in the name of such Grantor, other than any Excluded Equity Interest.

                        (ii)   Except as set forth in Section 4.03(a)(iv) below, the Grantors shall
               have the right to exercise all voting, consensual and other powers of ownership
               pertaining to the Pledged Shares or Investment Property (the “Pledged Interests”)
               for all purposes not prohibited by the terms of this Agreement, the other Financing
               Documents or any other instrument or agreement referred to herein or therein.

                       (iii)   Except as set forth in Section 4.03(a)(iv) below, the Grantors shall
               be entitled to receive and retain any dividends, distributions or other proceeds on
               the Pledged Interests paid in cash out of earned surplus to the extent permitted in
               the Note Purchase Agreement.

                        (iv)    Upon the occurrence and during the continuance of an Event of
               Default and following at least one (1) Business Days’ prior written notice from the
               Collateral Agent (A) all rights of each Grantor to receive dividends, distributions
               and other proceeds on the Pledged Interests which it would otherwise be authorized
               to receive and retain pursuant to Section 4.03(a)(ii) shall immediately cease, and all
               dividends, distributions and other proceeds on the Pledged Interests shall be paid
               directly to the Collateral Agent (and, if the Collateral Agent shall so request in
               writing, the Grantors jointly and severally agree to execute and deliver to the
               Collateral Agent appropriate additional dividend, distribution and other orders and
               documents to that end) and the Collateral Agent shall have the right to make
               application thereof to the Secured Obligations in accordance with Section 4.13, (B)
               all rights of each Grantor to exercise the voting and other rights and powers it would
               otherwise be entitled to exercise pursuant to Section 4.03(a)(ii) shall immediately
               cease, and (C) all of the Pledged Interests shall be registered in the name of the
               Collateral Agent or its nominee, and the Collateral Agent or its nominee shall
               thereafter during the continuance of such Event of Default have the sole right to
               exercise (1) all voting, corporate and other rights and powers pertaining to the
               Pledged Interests at any meeting of shareholders of the relevant Equity Issuer or
               Equity Issuers or otherwise and (2) any and all rights of conversion, exchange and
               subscription and any other rights, privileges or options pertaining to the Pledged



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   Interests as if it were the absolute owner thereof (including, without limitation, the
   right to exchange at its discretion any and all of the Pledged Interests upon the
   merger, consolidation, reorganization, recapitalization or other fundamental change
   in the corporate structure of any Equity Issuer, or upon the exercise of any right,
   privilege or option pertaining to such Pledged Interests, and in connection
   therewith, the right to deposit and deliver any and all of the Pledged Interests with
   any committee, depositary, transfer agent, registrar or other designated agency
   upon such terms and conditions as the Collateral Agent may reasonably determine),
   and, if the Collateral Agent shall so request in writing, the Grantors jointly and
   severally agree to execute and deliver to the Collateral Agent appropriate
   documents to permit the Collateral Agent to exercise any such right, power,
   privilege or option, in each case of this clause (iv), without liability to the Collateral
   Agent (and the Collateral Agent shall have no duty to any Grantor to exercise any
   such right, power, privilege or option and shall not be responsible for any failure to
   do so or delay in so doing).

           (v)     Upon the occurrence and during the continuance of an Event of
   Default, each Grantor hereby authorizes and instructs each Equity Issuer of any
   Pledged Interests pledged by such Grantor hereunder to (i) comply with any
   instructions received by it from the Collateral Agent in writing that (x) states that
   an Event of Default has occurred and is continuing and (y) is otherwise in
   accordance with the terms of this Agreement, without any other or further
   instructions from such Grantor, and each Grantor agrees that each Equity Issuer
   shall be fully protected in so complying, and (ii) upon the occurrence and during
   the continuance of an Event of Default, pay any dividends, distributions and other
   proceeds on the Pledged Interests directly to the Collateral Agent.

   (b)     Promissory Notes.

           (i)     Except as set forth in Section 4.03(b)(ii) below, the Grantors shall
   be entitled to receive and retain any payments made in respect of the Promissory
   Notes to the extent permitted in the Note Purchase Agreement.

           (ii)    Upon the occurrence and during the continuance of an Event of
   Default and following at least one (1) Business Days’ prior written notice from the
   Collateral Agent, which may be exercised with respect to any or all matters set forth
   below, (A) all rights of each Grantor to receive payments made in respect of the
   Promissory Notes which it would otherwise be authorized to receive and retain
   pursuant to Section 4.03(b)(i) shall immediately cease, and all payments made in
   respect of the Promissory Notes shall be paid directly to the Collateral Agent (and,
   if the Collateral Agent shall so request in writing, the Grantors jointly and severally
   agree to execute and deliver to the Collateral Agent appropriate additional
   documents to that end) and the Collateral Agent shall have the right to make
   application thereof to the Secured Obligations in accordance with Section 4.13, and
   (B) all of the Promissory Notes shall be registered in the name of the Collateral
   Agent or its nominee, and the Collateral Agent or its nominee shall thereafter during
   the continuance of such Event of Default have the sole right to exercise any and all


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               rights of conversion, exchange and subscription and any other rights, privileges or
               options pertaining to the Promissory Notes as if it were the absolute owner thereof
               (including, without limitation, the right to exchange at its discretion any and all of
               the Promissory Notes upon the merger, consolidation, reorganization,
               recapitalization or other fundamental change in the corporate structure of the
               obligor thereof, or upon the exercise of any right, privilege or option pertaining to
               such Promissory Notes, and in connection therewith, the right to deposit and deliver
               any and all of the Promissory Notes with any committee, depositary, transfer agent,
               registrar or other designated agency upon such terms and conditions as the
               Collateral Agent may reasonably determine), and, if the Collateral Agent shall so
               request in writing, the Grantors jointly and severally agree to execute and deliver
               to the Collateral Agent appropriate documents to permit the Collateral Agent to
               exercise any such right, power, privilege or option, in each case of this clause (ii),
               without liability to the Collateral Agent (and the Collateral Agent shall have no
               duty to any Grantor to exercise any such right, power, privilege or option and shall
               not be responsible for any failure to do so or delay in so doing).

                (c)    Instruments; Tangible Chattel Paper; Documents. Upon the written request
of the Collateral Agent, the Grantors will (i) promptly deliver to the Collateral Agent each original
of each (A) Instrument and item of Tangible Chattel Paper at any time constituting part of the
Collateral with a value in excess of $1,000,000 individually, or $2,000,000 in the aggregate, and
(B) Document pursuant to which any property constituting Collateral with a value in excess of
$1,000,000 individually or $2,000,000 in the aggregate, shall be stored or shipped (in each case of
the foregoing clauses (A) and (B), duly endorsed in a manner satisfactory to the Collateral Agent),
and (ii) cause each original of each item of Tangible Chattel Paper at any time constituting part of
the Collateral with a value in excess of $1,000,000 individually or $2,000,000 in the aggregate,
and each copy thereof, to bear a conspicuous legend, in form and substance reasonably satisfactory
to the Collateral Agent, indicating that such Tangible Chattel Paper is subject to the security
interest granted hereby and that purchase of such Tangible Chattel Paper by a Person other than
the Collateral Agent and the other Secured Parties without the consent of the Collateral Agent and
the Secured Parties would violate the rights of the Collateral Agent and the Secured Parties;
provided that, notwithstanding anything to the contrary, such obligations may be satisfied by
delivering such Instruments, Tangible Chattel Paper or Document to the collateral agent under the
Senior Loan Agreement.

                (d)    Insurance. Each Grantor shall maintain insurance with respect to the
Collateral, covering casualty, hazard, theft, malicious mischief, flood and other risks, in amounts,
with endorsements and with insurers (with a Best rating of at least A+, unless otherwise approved
by the Collateral Agent in its discretion) reasonably satisfactory to Collateral Agent. From time
to time upon request, the Grantors shall deliver to the Collateral Agent the originals or certified
copies of its insurance policies. Unless the Collateral Agent shall agree otherwise, each policy
shall, within 30 days of the Initial Closing, include satisfactory endorsements (i) showing the
Collateral Agent as loss payee; (ii) requiring 30 days prior written notice to Collateral Agent in the
event of cancellation of the policy for any reason whatsoever; and (iii) specifying that the interest
of the Collateral Agent shall not be impaired or invalidated by any act or neglect of any Grantor
or the owner of the property, nor by the occupation of the premises for purposes more hazardous
than are permitted by the policy. If any Grantor fails to provide and pay for any insurance, the


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Collateral Agent may, at its option, but shall not be required to, procure the insurance and charge
the Grantors therefor. Each Grantor agrees to deliver to the Collateral Agent, promptly upon
Collateral Agent’s request thereof, copies of all material reports made to insurance companies.
While no Event of Default exists, Grantors may settle, adjust or compromise any insurance claim,
as long as the proceeds (other than proceeds from workers’ compensation or D&O insurance) are
delivered to collateral agent under the Senior Loan Agreement (or if there is no Senior Loan
Agreement, the Collateral Agent). If an Event of Default exists, only the Collateral Agent shall be
authorized to settle, adjust and compromise such claims. Any awards arising from condemnation
of any Collateral shall be paid to the collateral agent under the Senior Loan Agreement (or if there
is no Senior Loan Agreement, the Collateral Agent). If requested by any Grantor in writing within
15 days after receipt by the collateral agent under the Senior Loan Agreement (or if there is no
Senior Loan Agreement, the Collateral Agent) of any insurance proceeds or condemnation award
relating to any loss or destruction of Inventory, Equipment or Real Estate, Grantors may use such
proceeds or awards to repair or replace such Inventory, Equipment or Real Estate as long as (i) no
Default or Event of Default exists, (ii) such repair or replacement is promptly undertaken and
concluded, in accordance with plans reasonably satisfactory to the collateral agent under the Senior
Loan Agreement (or if there is Senior Loan Agreement, the Collateral Agent), (iii) replacement
buildings are constructed on the sites of the original casualties and are of comparable size, qualify
and utility to the destroyed buildings, (iv) the repaired or replaced property is free of Liens, other
than Permitted Liens that are not Purchase Money Liens, (v) Obligors comply with disbursement
procedures for such repair or replacement as the collateral agent under the Senior Loan Agreement
(or if there is no Senior Loan Agreement, the Collateral Agent) may reasonably require, and (v)
the aggregate amount of such proceeds or awards from any single casualty or condemnation does
not exceed $5,000,000.

                (e)     Commercial Tort Claims. Each Grantor shall notify the Collateral Agent in
writing of the initiation of any Commercial Tort Claim (other than, as long as no Default of Event
of Default exists, a Commercial Tort Claim for less than $500,000). Each Grantor shall execute
and deliver such statements, documents and notices and do and cause to be done all such things as
may be necessary or desirable in the judgment of the Collateral Agent or as required by Law to
create, preserve, perfect, maintain the perfection of or validate the security interest granted
pursuant hereto in any such Commercial Tort Claim or to enable the Collateral Agent to exercise
and enforce its rights with respect to such security interest in any such Commercial Tort Claim.

                (f)    Waiver of Certain Provisions of Organic Documents. Each Grantor
irrevocably waives any and all of its rights under those provisions of the Organic Documents or
any equity holders agreement of each of its Subsidiaries that (a) prohibit, restrict, condition, or
otherwise affect the grant hereunder of any Lien on any of the Pledged Interests or any enforcement
action (including the sale, transfer or disposition of such Pledged Interests to the Collateral Agent
or a third party) which may be taken in respect of any such Lien or (b) otherwise conflict with the
terms of this Agreement. If applicable, each Grantor represents and warrants to the Collateral
Agent that written waivers of any such restrictions have been executed by all holders of Pledged
Interests that are not Grantors and that all such written waivers have been delivered to the
Collateral Agent. The Grantors hereby agree that the collateral agent under the Senior Loan
Agreement (or if there is no Senior Loan Agreement, the Collateral Agent) shall be deemed to be
the “holder of record” with respect the Pledged Interests in the event that, during the continuance



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of any Event of Default, it elects to exercise remedies or otherwise transfer of any Pledged
Interests.

                (g)    Securities Accounts. Each Grantor irrevocably authorizes and directs each
securities intermediary or other Person with which any securities account or similar investment
property is maintained, if any, upon written instruction of the Collateral Agent (with a copy to
Proterra), to dispose of such Collateral at the direction of the Collateral Agent and comply with
the instructions originated by Collateral Agent without further consent of any Grantor. The
Collateral Agent agrees with the Grantors that such instruction shall not be given by the Collateral
Agent unless an Event of Default has occurred and is continuing and that any such instruction shall
be made in accordance with the Intercreditor Agreement.

               (h)     Intellectual Property.

                       (i)    The Collateral Agent or its designee may file this Agreement (or, if
               applicable, such short form intellectual property security agreements as the parties
               may agree upon with respect to the Grantors’ Patents, Trademarks and Copyrights)
               with the United States Copyright Office and the United States Patent and
               Trademark Office or any similar office or agency in any other country or any
               political subdivision thereof.

                       (ii)    To the extent (i) the collateral agent under the Senior Loan
               Agreement has requested a lien waiver (it being understood that this sub-paragraph
               (i) shall not apply in the event that the relevant Intellectual Property License (x)
               does not form part of the Collateral under and as defined in the Senior Loan
               Agreement but (y) does form part of the Collateral under this Agreement) and (ii)
               the Collateral Agent requests in writing that such Grantor obtain a Lien Waiver,
               such Grantor will use its commercially reasonable efforts to secure all Lien
               Waivers, consents and approvals necessary or appropriate for the assignment to or
               benefit of the Collateral Agent of any Intellectual Property License of such Grantor
               and to enforce the security interests granted hereunder.

                       (iii)   Such Grantor (either itself or through licensees) shall not do any act
               or omit to do any act whereby any of the Intellectual Property which is material to
               the business of such Grantor may lapse, or become abandoned, dedicated to the
               public, or unenforceable, or which would materially and adversely affect the
               validity, grant or enforceability of the security interest granted herein.

                      (iv)     Such Grantor (either itself or through licensees) shall not, with
               respect to any Trademarks which are material to the business of such Grantor, cease
               the use of any of such Trademarks or fail to maintain the level of the quality of
               products sold and services rendered under any of such Trademark at a level at least
               substantially consistent with the quality of such products and services as of the date
               hereof, and such Grantor shall use commercially reasonable efforts to ensure that
               licensees of such Trademarks use such consistent standards of quality.




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           (v)     Such Grantor will notify the Collateral Agent promptly if it knows
   that any application or registration relating to any Patent, Trademark or Copyright
   that is material to the Business of such Grantor may become forfeited, abandoned
   or dedicated to the public, or of any adverse determination or development
   (including the institution of, or any such determination or development in, any
   proceeding in the United States Patent and Trademark Office, the United States
   Copyright Office or any similar office, court or tribunal in any country) regarding
   such Grantor’s rights in or ownership, validity, enforceability or use of any Patent,
   Trademark or Copyright or such Grantor’s right to register the same or to own and
   maintain the same.

           (vi)   Not later than 45 days after the commencement of each fiscal
   quarter, such Grantor, either by itself or through any agent, employee, licensee or
   designee, shall report any filing or acquisition of any application or registration of
   any Patent, Trademark or Copyright with the United States Patent and Trademark
   Office, the United States Copyright Office or any similar office or agency in any
   other country or any political subdivision thereof. Upon request of the Collateral
   Agent, such Grantor shall execute and deliver, and have recorded, short form
   intellectual property security agreements substantially in the form attached at
   Exhibit B hereof and any and all agreements, instruments, documents, and papers
   as the Collateral Agent may reasonably request to evidence the Collateral Agent’s
   security interest in any registered or applied for Copyright, Patent or Trademark
   and the goodwill and General Intangibles of such Grantor relating thereto or
   represented thereby.

           (vii) Such Grantor will take all commercially reasonable and necessary
   steps in the United States Patent and Trademark Office, the United States Copyright
   Office or any similar office or agency in any other country or any political
   subdivision thereof, to maintain and pursue any existing application (and to obtain
   the relevant registration) including filing of responses to office actions issued by
   the United States Patent and Trademark Office and the United States Copyright
   Office or any similar office or agency in any other country or any political
   subdivision thereof, and to maintain each registration of Patent, Copyright or
   Trademark owned by such Grantor, including the filing of applications for renewal,
   affidavits of use and affidavits of incontestability and the payment of maintenance
   fees; provided, that the decision to (x) take such steps set forth in this clause (vii)
   and (y) file new, previously unfiled applications for registration of Intellectual
   Property, in each case, shall be made in such Grantor's reasonable business
   judgment unless otherwise required to be taken hereunder.

           (viii) In the event that any Intellectual Property that is (A) material to the
   business of any Grantor and (B) owned by or exclusively licensed to any Grantor
   is infringed, misappropriated or diluted by a third party, such Grantor shall (i)
   promptly notify the Collateral Agent after such Grantor has knowledge thereof and
   (ii) take such commercially reasonable actions as such Grantor shall reasonably
   deem appropriate under the circumstances to protect such Intellectual Property
   including, to the extent such Grantor shall reasonably deem appropriate under the


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               circumstances, seeking injunctive relief and seeking damages for such
               infringement, misappropriation or dilution.

                      (ix)     Such Grantor shall not incorporate into any proprietary Software
               licensed or distributed by such Grantor any Open Source Software, except as could
               not reasonably be expected to have a Material Adverse Effect.

                       (x)    Such Grantor acknowledges and agrees that the Collateral Agent
               shall have no duties with respect to any Intellectual Property or Intellectual Property
               Licenses of any Grantor. Without limiting the generality of this Section 4.03(x),
               Grantors acknowledge and agree that the Collateral Agent shall not be under any
               obligation to take any steps necessary to preserve the rights in the Collateral
               consisting of Intellectual Property or Intellectual Property Licenses against any
               other Person, but the Collateral Agent may do so at its option from and after the
               occurrence and during the continuance of an Event of Default, and all expenses
               incurred in connection therewith (including reasonable fees and expenses of
               attorneys and other professionals) shall be for and at the sole cost of the Grantors.

                4.04 Locations; Names, Etc. No Grantor shall (i) change its location (as
determined in accordance with Section 9-307 of the UCC), (ii) change its legal name, (iii) change
its form of organization or (iv) agree to or authorize any modification of the terms of any item of
Collateral that would result in a change thereof from one Uniform Commercial Code category to
another such category (such as from a General Intangible to Investment Property), if the effect
thereof would be to result in a loss of perfection of, or diminution of priority for, the security
interests created hereunder in such item of Collateral, or the loss of control (within the meaning of
Section 9-104, 9-105, 9-106 or 9-107 of the UCC) over such item of Collateral, unless, in each
case of the immediately foregoing clauses (i) through (iv), such Grantor has provided at least 15
days’ prior written notice thereof to the Secured Parties and such change or modification is not
otherwise restricted by the terms of any Financing Document.

              4.05 Further Assurances. Each Grantor agrees that, from time to time upon the
written request (with e-mail being sufficient) of the Collateral Agent, such Grantor will (at such
Grantor’s expense) execute, deliver, file and record any statement, assignment, instrument,
document agreement or other paper and do such other acts and things as the Collateral Agent may
reasonably request in order to fully effect the purposes of this Agreement.

               4.06 Advances by Collateral Agent. On failure of any Grantor to perform any of
the covenants and agreements contained herein following the Collateral Agent’s written request,
the Collateral Agent may, at its sole option and in its sole discretion, perform the same and in so
doing may expend such sums as the Collateral Agent may reasonably deem advisable in the
performance thereof, including, without limitation, the payment of any insurance premiums, the
payment of any taxes, a payment to obtain a release of a Lien that is prohibited under the terms of
the Note Purchase Agreement ), expenditures made in defending against any adverse claim and all
other expenditures that the Collateral Agent may make for the protection of the security hereof or
that it may be compelled to make by operation of Law. All such sums and amounts so expended
shall be repayable by the Grantors on a joint and several basis promptly upon timely notice thereof
and demand therefor and shall constitute additional Secured Obligations. Subject to the foregoing,


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the Collateral Agent may make any payment hereby authorized in accordance with any bill,
statement or estimate procured from the appropriate public office or holder of the claim to be
discharged, without inquiry into the accuracy of such bill, statement or estimate or into the validity
of any tax assessment, sale, forfeiture, tax lien, title or claim, except to the extent such payment is
being contested in good faith by a Grantor in appropriate proceedings and against which adequate
reserves are being maintained in accordance with GAAP.

                4.07 Protection of Collateral. All expenses of protecting, storing, warehousing,
insuring, handling, maintaining and shipping any Collateral, all Taxes payable with respect to any
Collateral (including any sale thereof), and all other payments required to be made by Collateral
Agent to any Person to realize upon any Collateral, shall be borne and paid by the Grantors.
Collateral Agent shall not be liable or responsible in any way for the safekeeping of any Collateral,
for any loss or damage thereto (except for reasonable care in its custody while Collateral is in
Collateral Agent’s actual possession), for any diminution in the value thereof, or for any act or
default of any warehouseman, carrier, forwarding agency or other Person whatsoever, but the same
shall be at Grantors’ sole risk.

               4.08 Each Grantor shall use commercially reasonable efforts to defend its title to
Collateral and Collateral Agent’s Liens therein against all Persons, claims and demands, except
Permitted Liens.

               4.09    Remedies.

                (a)     Rights and Remedies Generally upon Event of Default. Upon the
occurrence and during the continuance of an Event of Default, the Collateral Agent shall have, in
addition to the rights and remedies provided in this Agreement, in the other Financing Documents
and in any other instrument or document securing, evidencing or relating to the Secured
Obligations, all of the rights and remedies of a secured party under the UCC (whether or not the
Uniform Commercial Code is in effect in the jurisdiction where the rights and remedies are
asserted) and such additional rights and remedies to which a secured party is entitled under
applicable Law or in equity, including the right, to the fullest extent permitted by applicable Law,
to exercise all voting, consensual and other powers of ownership pertaining to the Collateral as if
the Collateral Agent were the sole and absolute owner thereof (and each Grantor agrees to take all
such action as may be appropriate to give effect to such right). Without limiting the generality of
the foregoing, to the fullest extent permitted by applicable Law, and without demand of
performance or other demand, presentment, protest, advertisement or notice of any kind (except
any notice that cannot be legally waived, as described in Section 4.07(c)) to or upon any Grantor
or any other Person (all and each of such demands, defenses, advertisements and notices are hereby
expressly waived by each of the Grantors, to the fullest extent permitted by applicable Law), upon
the occurrence and during the continuance of an Event of Default:

                      (i)    the Collateral Agent may enter on any premises on which any of the
               Collateral may be located and, without resistance or interference by the Grantors,
               take possession of any of the Collateral and remove any of the Collateral from any
               such premises for the purpose of effecting the sale or other disposition thereof;




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          (ii)     the Collateral Agent in its discretion may, in its name or in the name
   of any Grantor or otherwise, demand, sue for, collect or receive any money or other
   property at any time payable or receivable on account of or in exchange for any of
   the Collateral, but shall be under no obligation to do so;

          (iii)   the Collateral Agent may make any reasonable compromise or
   settlement deemed desirable with respect to any of the Collateral and may extend
   the time of payment, arrange for payment in installments or otherwise modify the
   terms of any of the Collateral;

          (iv)    the Collateral Agent may require the Grantors to notify (and each
   Grantor hereby authorizes the Collateral Agent to so notify) each account debtor in
   respect of any Account, Chattel Paper or General Intangible, and each obligor on
   any Instrument, constituting part of the Collateral that such Collateral has been
   assigned to the Collateral Agent hereunder, and to instruct that any payments due
   or to become due in respect of such Collateral shall be made directly to the
   Collateral Agent or as they may direct (and if any such payments, or any other
   proceeds of Collateral, are received by any Grantor they shall be held in trust by
   such Grantor for the benefit of the Collateral Agent and the other Secured Parties
   and as promptly as possible remitted or delivered to the Collateral Agent);

          (v)     the Collateral Agent may require the Grantors to assemble the
   Collateral at such place or places, reasonably convenient to the Collateral Agent
   and the Grantors, as the Collateral Agent may direct;

           (vi)    the Collateral Agent may declare the entire right, title and interest of
   such Grantor in and to all Intellectual Property vested in the Collateral Agent, in
   which event such rights, title and interest shall immediately vest, in the Collateral
   Agent, and the Collateral Agent shall be entitled to (a) exercise the power of
   attorney referred to in Section 4.16 to execute, cause to be acknowledged and
   notarized and record said absolute assignment with the applicable governmental
   authority; (b) take and use, practice under or sell the Intellectual Property and the
   right to carry on the business and use the assets of such Grantor in connection with
   which the Intellectual Property has been used; and (c) direct such Grantor to refrain,
   in which event such Grantor shall refrain, from using or practicing the Intellectual
   Property in any manner whatsoever, directly or indirectly, and such Grantor shall
   execute such further documents that the Collateral Agent may reasonably request
   to further confirm this and to transfer ownership of the Intellectual Property to the
   Collateral Agent; and

            (vii) the Collateral Agent may sell, lease, assign, give option or options
   to purchase, or otherwise dispose of and deliver all or any part of the Collateral (or
   contract to do any of the foregoing), at public or private sale or sales, at any
   exchange, broker’s board or office of the Collateral Agent or any other Secured
   Party or elsewhere, by one or more contracts, in one or more parcels, for cash, upon
   credit, for future delivery (without thereby assuming any credit risk) or otherwise,
   at such place or places, at such time or times, at such price or prices and upon such


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               terms and conditions as the Collateral Agent deems advisable in its sole discretion,
               and without demand of performance or other demand, presentment, protest,
               advertisement or notice of any kind (except any notice that cannot be legally
               waived, as described in Section 4.07(c)) to or upon any Grantor or any other Person
               (all and each of such demands, defenses, advertisements and notices are hereby
               expressly waived by each of the Grantors, to the fullest extent permitted by
               applicable Law). The Collateral Agent, any other Secured Party or anyone else
               may be the purchaser, lessee, assignee or recipient of any or all of the Collateral so
               disposed of at any public sale or sales (and, to the extent permitted by applicable
               Law, at any private sale or sales) and thereafter hold the same absolutely, free from
               any claim, right or equity of whatever kind (including, without limitation, any right
               or equity of redemption, stay or appraisal (statutory or otherwise)) of any Grantor,
               which claims, rights and equities are hereby expressly waived and released. The
               Collateral Agent may, without notice or publication, adjourn any public or private
               sale or cause the same to be adjourned from time to time by announcement at the
               time and place fixed for the sale, and such sale may be made at any time or place
               to which the sale may be so adjourned.

The net proceeds of each collection, sale or other disposition under this Section 4.09 after
deducting all reasonable costs and expenses of every kind incurred by the Collateral Agent and the
other Secured Parties in connection therewith or incidental to the care and safekeeping of any of
the Collateral or in any way relating to the Collateral or the rights of the Collateral Agent or the
other Secured Parties hereunder (including, without limitation, the reasonable attorneys’ fees and
disbursements) shall be applied in accordance with Section 4.13.

The Collateral Agent and the other Secured Parties acknowledge and agree that the Collateral
Agent’s rights hereunder are subject to the terms and conditions set forth in the Intercreditor
Agreement. The Collateral Agent and the other Secured Parties agree to be bound by the terms of
the Intercreditor Agreement.

                 (b)     Certain Securities Act Limitations. The Grantors recognize that, by reason
of (i) certain prohibitions contained in the Securities Act of 1933, as amended, applicable state
securities laws and other and applicable laws, (ii) the lack of a ready market for all or any part of
the Collateral, or (iii) a limited number of potential buyers of all or any part of the Collateral, the
Collateral Agent may be unable to effect a public sale of all or any part of the Collateral and may
be compelled, with respect to all or any part of the Collateral, to resort to one or more private sales
thereof to a restricted group of purchasers (for example, to a restricted group of purchasers who
will be obliged to agree, among other things, to acquire all or any part of the Collateral for their
own account, for investment and not with a view to the distribution or resale thereof). The Grantors
acknowledge that any such private sales may be at prices and on terms less favorable to the seller
than those obtainable through a public sale without such restrictions, and, notwithstanding such
circumstances, agree that any such private sale shall be deemed to have been made in a
commercially reasonable manner; provided that if the Collateral Agent resorts to such a private
sale, it shall use its good faith judgment in carrying out such sale. Neither the Collateral Agent
nor any other Secured Party shall have any obligation to engage in public sales or any obligation
to delay the sale of all or any part of the Collateral for the period of time necessary to permit the
issuer thereof to register it for public sale.


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              (c)     Notice. To the extent the Collateral Agent is required by applicable law to
give reasonable prior notice of any sale or other disposition of all or any part of the Collateral and
such notice cannot be legally waived hereunder, the Grantors agree that notice delivered in
accordance with the notice provisions of Section 8.7 of the Note Purchase Agreement at least ten
Business Days before the time of sale or other event giving rise to the requirement of such notice
shall be deemed to constitute reasonable prior notice. The Collateral Agent shall not be obligated
to make any sale or other disposition of all or any part of the Collateral regardless of notice having
been given.

                (d)     Grant of Intellectual Property License. For the purpose of enabling the
Collateral Agent to exercise the rights and remedies under this Section 4.09, at such time as the
Collateral Agent shall be lawfully entitled to exercise such rights and remedies following the
occurrence of and during the continuance of an Event of Default, each Grantor hereby (a) grants
to the Collateral Agent an irrevocable, nonexclusive license (exercisable without payment of
royalty or other compensation to any Grantor) to use, license or sublicense, during the continuance
of an Event of Default, any Intellectual Property now owned or licensed (to the extent such Grantor
has the right to grant a license or sublicense in the underlying license) or hereafter acquired by or
licensed to such Grantor, and wherever the same may be located (and with respect to Trademarks,
subject to reasonable quality control), and including in such license access to all media in which
any of the licensed items may be recorded or stored and to all computer software and programs
used for the compilation or printout thereof, and the right (but not the obligation) to prosecute and
maintain all Intellectual Property of such Grantor and the right to sue for past infringement of the
Intellectual Property; and (b) irrevocably agrees that the Collateral Agent may sell any of such
Grantor’s Inventory directly to any Person, including Persons who have previously purchased the
Grantor’s Inventory from such Grantor and in connection with any such sale or other enforcement
of the Collateral Agent’s rights under this Agreement, may sell Inventory which bears any
Trademark owned by or licensed to such Grantor.

               4.10 Deficiency. If the proceeds of sale, collection or other realization of or upon
the Collateral pursuant to Section 4.07 are insufficient to cover the costs and expenses of such
realization and the payment in full of the Secured Obligations, the Grantors shall remain jointly
and severally liable for the deficiency.

                4.11 Private Sale. Neither the Collateral Agent nor any other Secured Party shall
incur any liability as a result of the sale of the Collateral, or any part thereof, at any private sale
pursuant to Section 4.07 conducted in a commercially reasonable manner. Each Grantor hereby
waives any claims against the Collateral Agent and the other Secured Parties or any of them arising
by reason of the fact that the price at which the Collateral, or any part thereof, may have been sold
at such a private sale was less than the price that might have been obtained at a public sale or was
less than the aggregate amount of the Secured Obligations, even if the Collateral Agent and the
other Secured Parties or any of them accepts the first offer received and does not offer the
Collateral, or any part thereof, to more than one offeree.

                4.12 Access. In addition to all other rights and remedies of the Collateral Agent,
upon the occurrence and during the continuance of an Event of Default the Collateral Agent shall
have the right to enter and remain upon the various premises of any of the Grantors without cost
or charge to the Collateral Agent, and use the same, together with materials, supplies, books and


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records of any of the Grantors for the purpose of collecting and liquidating all or any part of the
Collateral, or for preparing for sale and conducting the sale of all or any part of the Collateral,
whether by foreclosure, auction or otherwise. In addition, upon the occurrence and during the
continuance of an Event of Default the Collateral Agent may remove the Collateral, or any part
thereof, from such premises and/or any records with respect thereto, in order to effectively collect
or liquidate such Collateral or part thereof.

               4.13 Nonexclusive Nature of Remedies. Failure by the Collateral Agent or any
other Secured Party to exercise any right, remedy or option available to them under applicable
Law or under this Agreement, the other Financing Documents or any other agreement relating to
the Secured Obligations, or any delay by the Collateral Agent or any other Secured Party in
exercising the same, shall not operate as a waiver of any such right, remedy or option. To the
extent permitted by applicable Law, neither the Collateral Agent, any other Secured Party, nor any
party acting as attorney for the Collateral Agent or any other Secured Party, shall be liable
hereunder for any acts or omissions or for any error of judgment or mistake of fact or Law other
than their gross negligence or willful misconduct hereunder. The rights and remedies of the
Collateral Agent and the other Secured Parties under this Agreement shall be cumulative and not
exclusive of any other right or remedy that the Collateral Agent or any other Secured Party may
have.

                4.14 Retention of Collateral. To the extent permitted under applicable Law, in
addition to all other rights and remedies of the Collateral Agent, upon the occurrence and during
the continuance of an Event of Default the Collateral Agent may, after providing the notices
required by Sections 9-620 and 9-621 of the UCC (or any successor section) or otherwise
complying with the requirements of applicable Law of the relevant jurisdiction, accept or retain
all or any portion of the Collateral in satisfaction of the Secured Obligations. Unless and until the
Collateral Agent shall have provided such notices, however, the Collateral Agent shall not be
deemed to have accepted or retained any Collateral in satisfaction of any Secured Obligations for
any reason.

                4.15 Application of Proceeds. Upon the occurrence and during the continuance
of an Event of Default, any payments in respect of the Secured Obligations and any proceeds of
the Collateral, when received by the Collateral Agent or any of the other Secured Parties in cash
or its equivalent, will be applied in reduction of the Secured Obligations in an order determined in
the Collateral Agent’s sole discretion.

                4.16 Attorney-in-Fact. Without limiting any rights or powers granted by this
Agreement to the Collateral Agent, each Grantor hereby irrevocably designates and appoints the
Collateral Agent (and each of its designees and agents), on behalf of the Secured Parties, with full
power of substitution, as the true and lawful attorney-in-fact of such Grantor, with full irrevocable
power and authority to (upon the occurrence and during the continuance of an Event of Default)
take any or all of the following actions:

               (a)    Endorse a Grantor’s name on any Payment Item or other proceeds of
Collateral (including proceeds of insurance) that come into Collateral Agent’s possession or
control;



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             (b)     notify any account debtors of the assignment of their Accounts, demand and
enforce payment of Accounts by legal proceedings or otherwise, and generally exercise any rights
and remedies with respect to Accounts;

               (c)     settle, adjust, modify, compromise, discharge or release any Accounts or
other Collateral, or any legal proceedings brought to collect Accounts or Collateral;

             (d)      sell or assign any Accounts and other Collateral upon such terms, for such
amounts and at such times as the Collateral Agent deems advisable;

              (e)     collect, liquidate and receive balances in Deposit Accounts, Securities
Accounts or investment accounts (other than Trust Accounts), and take control, in any manner, of
proceeds of Collateral;

               (f)   prepare, file and sign the Company’s name to a proof of claim or other
document in a bankruptcy of an account debtor, or to any notice, assignment or satisfaction of Lien
or similar document;

                (g)     receive, open and dispose of mail addressed to the Company, and notify
postal authorities to deliver any such mail to an address designated by the Collateral Agent;

             (h)   endorse any Chattel Paper, Document, Instrument, bill of lading, or other
document or agreement relating to any Accounts, Inventory or other Collateral;

               (i)   use the Company’s stationery and sign its name to verifications of Accounts
and notices to account debtors;

               (j)    use information contained in any data processing, electronic or information
systems relating to Collateral;

                (k)   make and adjust claims under insurance policies;

              (l)     take any action as may be necessary or appropriate to obtain payment under
any letter of credit, banker’s acceptance or other instrument for which the Company is a
beneficiary;

               (m)     in the case of any Intellectual Property, execute and deliver, and have
recorded, any and all agreements, instruments, documents and papers as the Collateral Agent may
request to evidence the Collateral Agent's security interest in such Intellectual Property and the
goodwill and general intangibles of such Grantor relating thereto or represented thereby;

                (n)   exercise any voting or other rights under or with respect to any Investment
Property; and

            (o)     take all other actions as the Collateral Agent deems appropriate to fulfill the
Company’s obligations under the Financing Documents.




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                4.17 Duty of Collateral Agent. Other than the exercise of reasonable care to
assure the safe custody of the Collateral while in the possession of the Collateral Agent hereunder,
the Collateral Agent shall have no duty or liability to preserve rights pertaining thereto, it being
understood and agreed that the Grantors shall be responsible for preservation of all rights in the
Collateral, and the Collateral Agent shall be relieved of all responsibility for the Collateral upon
surrendering it or tendering the surrender of it to the Grantors. The Collateral Agent shall be
deemed to have exercised reasonable care in the custody and preservation of the Collateral in its
possession if such Collateral is accorded treatment substantially equal to that which the Collateral
Agent accords its own property, which shall be no less than the treatment employed by a reasonable
and prudent agent in the industry, it being understood that the Collateral Agent shall not have
responsibility for taking any necessary steps to preserve rights against any parties with respect to
any of the Collateral. In the event of a public or private sale of Collateral pursuant to this
Agreement, the Collateral Agent shall have no obligation to clean, repair or otherwise prepare the
Collateral for sale.

                4.18 Perfection and Recordation. Each Grantor authorizes the Collateral Agent,
at the Grantors’ expense, to file and record one or more Uniform Commercial Code financing
statements and other filing and recording documents and instruments (including, without
limitation, fixture filings, continuation statements, amendments and supplements, and intellectual
property filings in the United States Patent and Trademark Office and United States Copyright
Office or any similar office or agency in any other country or any political subdivision thereof)
with respect to the Collateral, and each Grantor authorizes the Collateral Agent to use collateral
descriptions in such financing statements and other filing and recording documents and
instruments that are broader (including, without limitation, “all assets” and “all personal property
and fixtures” and words to similar effect) and/or less specific than the description of the Collateral
contained in Section 3 hereof. Each Grantor ratifies any action taken by the Collateral Agent before
the Initial Closing to effect or perfect its Lien on any Collateral.

               4.19    Proceeds to be Turned Over to the Collateral Agent; Collateral Account.

               (a)      Upon the occurrence and during the continuance of an Event of Default at
the written request of the Collateral Agent all proceeds received by any Grantor consisting of cash,
checks and other near-cash items (including, without limitation, any such amounts which are
received by any Grantor in respect of any Pledged Shares, Promissory Notes, Accounts, Chattel
Paper, General Intangibles or Instruments) shall be received in trust for the benefit of the Collateral
Agent and the other Secured Parties, shall be segregated from other funds of such Grantor and
shall promptly be turned over to the Collateral Agent as Collateral in the exact form received by
such Grantor (with any and all necessary endorsements).

               (b)     Unless applied by the Collateral Agent to the Secured Obligations then due
and payable, all proceeds consisting of cash, checks and other near-cash items received by the
Collateral Agent following the occurrence and during the continuance of an Event of Default
pursuant to this Agreement with respect to the Collateral may be deposited into an account (the
“Cash Collateral Account”) that is either (i) held in the name of a Grantor and subject to a control
agreement in favor of the Collateral Agent, for the benefit of the Secured Parties, duly executed
by such Grantor, the financial institution with which such account is maintained and the Collateral
Agent, (ii) held in the name of the Collateral Agent with a financial institution selected by the


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Collateral Agent in its sole discretion or (iii) held in the name of the collateral agent under the
Senior Loan Agreement with a financial institution selected by such collateral agent in its sole
discretion.

                (c)     All proceeds consisting of cash, checks and other near-cash items while held
by the Collateral Agent in the Cash Collateral Account shall continue to be held as collateral
security for all of the Secured Obligations and shall not constitute payment thereof until applied
by the Collateral Agent in accordance with Section 4.13.

               4.20    Continuing Agreement; Termination.

               (a)     This Agreement shall be a continuing agreement in every respect and shall
remain in full force and effect so long as any of the Secured Obligations remains outstanding.
When all Secured Obligations shall have been paid and satisfied in full, this Agreement shall
terminate, and the Collateral Agent shall (at the expense of the Grantors) forthwith cause to be
assigned, transferred and delivered, against receipt but without any recourse, warranty or
representation whatsoever, any remaining Collateral in its possession, to or on the order of the
respective Grantor and to be released and cancelled all licenses granted to the Collateral Agent in
Section 4.03(c)(i). The Collateral Agent shall also, at the expense of the respective Grantor,
execute and deliver to the respective Grantor upon such termination such Uniform Commercial
Code termination statements and such other documentation as shall be reasonably requested by the
respective Grantor to effect the termination and release of the Liens of the Collateral Agent created
hereby on the Collateral as required by this Section 4.20(a). Notwithstanding the foregoing, all
releases and indemnities provided under this Agreement shall survive termination of this
Agreement.

                (b)     This Agreement shall continue to be effective or be automatically
reinstated, as the case may be, if at any time payment, in whole or in part, of any of the Secured
Obligations is rescinded or must otherwise be restored or returned by the Collateral Agent or any
other Secured Party as a preference, fraudulent conveyance or otherwise under any federal,
provincial or foreign Law now or hereafter in effect relating to bankruptcy, winding-up,
insolvency, reorganization, receivership, plans of arrangement or relief or protection of debtors or
at common law or in equity all as though such payment had not been made; provided that in the
event payment of all or any part of the Secured Obligations is rescinded or must be restored or
returned, all costs and expenses (including, without limitation, reasonable attorneys’ fees and
disbursements) incurred by the Collateral Agent or any other Secured Party in defending and
enforcing such reinstatement shall be deemed to be included as a part of the Secured Obligations.

                (c)    Subject at all times to the provisions of the Intercreditor Agreement
(including, without limitation, Section 5 thereof), if any of the Collateral shall be sold, transferred
or otherwise disposed of by any Grantor to a Person other than a Grantor or a Subsidiary of
Proterra, in a transaction permitted by the Note Purchase Agreement, then (i) the Lien of the
Collateral Agent created hereby on such Collateral shall be automatically released and (ii) the
Collateral Agent, at the request and expense of such Grantor, shall execute and deliver to such
Grantor all releases or other documents reasonably necessary to evidence the release of the Liens
of the Collateral Agent created hereby on such Collateral.



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                Section 5. Miscellaneous.

               5.01 Notices. All notices, requests, consentsanddemandshereundershallbedelivered in accordance
with Section 8.7 of the Note Purchase Agreement.

                5.02 No Waiver. Neither the Collateral Agent nor any other Secured Party shall
by any act (except by a written instrument pursuant to Section 5.03 hereof and Section 8.9 of the
Note Purchase Agreement), delay, indulgence, omission or otherwise be deemed to have waived
any right, power or remedy hereunder or to have acquiesced in any Event of Default. No failure
on the part of the Collateral Agent or any other Secured Party to exercise, and no course of dealing
with respect to, and no delay in exercising, any right, power or remedy hereunder shall operate as
a waiver thereof; nor shall any single or partial exercise by the Collateral Agent or any other
Secured Party of any right, power or remedy hereunder preclude any other or further exercise
thereof or the exercise of any other right, power or remedy. A waiver by the Collateral Agent or
any other Secured Party of any right, power or remedy hereunder on any one occasion shall not be
construed as a bar to any right, power or remedy which the Collateral Agent or such other Secured
Party would otherwise have on any future occasion. The rights, powers and remedies herein are
cumulative and are not exclusive of any rights, powers or remedies provided by Law.

               5.03 Amendments, Etc. None of the terms or provisions of this Agreement may
be waived, altered, amended, supplemented or otherwise modified except in accordance with
Section 8.9 of the Note Purchase Agreement.

               5.04 Successors and Assigns. The provisions of this Agreement shall be binding
upon and inure to the benefit of the parties hereto and their respective successors and assigns
permitted hereby, except that no Grantor may assign or otherwise transfer any of its rights or
obligations hereunder without the prior written consent of the Majority Holders and the Collateral
Agent. Nothing in this Agreement, expressed or implied, shall be construed to confer upon any
Person (other than the parties hereto, their respective successors and assigns permitted hereby) any
legal or equitable right, remedy or claim under or by reason of this Agreement.

               5.05 Counterparts. This Agreement may be executed in any number of
counterparts, all of which taken together shall constitute one and the same instrument and any of
the parties hereto may execute this Agreement by signing any such counterpart. Delivery of an
executed counterpart of a signature page of this Agreement by facsimile or other electronic
imaging means (e.g. “pdf” or “tif”) shall be effective as delivery of a manually executed
counterpart of this Agreement. Collateral Agent may (but shall have no obligation to) accept any
signature, contract formation or record-keeping through electronic means, which shall have the
same legal validity and enforceability as manual or paper-based methods, to the fullest extent
permitted by Applicable Law, including the Federal Electronic Signatures in Global and National
Commerce Act, the New York State Electronic Signatures and Records Act, or any similar state
law based on the Uniform Electronic Transactions Act. Upon request by Collateral Agent, any
electronic signature or delivery shall be promptly followed by a manually executed or paper
document.




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               5.06    Governing Law; Consent to Forum; Etc.

           (a)  Governing Law. UNLESS EXPRESSLY PROVIDED IN ANY FINANCING
DOCUMENT, THIS AGREEMENT, THE OTHER FINANCING DOCUMENTS AND ALL CLAIMS
SHALL BE GOVERNED BY THE LAWS OF THE STATE OF NEW YORK, WITHOUT GIVING
EFFECT TO ANY CONFLICT OF LAW PRINCIPLES THAT WOULD RESULT IN THE
APPLICATION OF THE LAWS OF A DIFFERENT JURISDICTION.

               (b)     Consent to Forum.

                       (i)     EACH GRANTOR HEREBY CONSENTS TO THE EXCLUSIVE
               JURISDICTION OF ANY STATE COURT SITTING IN BOROUGH OF
               MANHATTAN OR THE UNITED STATES DISTRICT COURT OF THE
               SOUTHERN DISTRICT OF NEW YORK, IN ANY DISPUTE, ACTION,
               LITIGATION OR OTHER PROCEEDING RELATING IN ANY WAY TO ANY
               FINANCING DOCUMENTS, AND AGREES THAT ANY DISPUTE, ACTION,
               LITIGATION OR OTHER PROCEEDING SHALL BE BROUGHT BY IT
               SOLELY IN ANY SUCH COURT. EACH GRANTOR IRREVOCABLY AND
               UNCONDITIONALLY WAIVES ALL CLAIMS, OBJECTIONS AND
               DEFENSES THAT IT MAY HAVE REGARDING ANY SUCH COURT’S
               PERSONAL OR SUBJECT MATTER JURISDICTION, VENUE OR
               INCONVENIENT FORUM. EACH GRANTOR AND EACH SECURED PARTY
               IRREVOCABLY AND UNCONDITIONALLY SUBMITS TO THE
               JURISDICTION OF SUCH COURTS AND CONSENTS TO SERVICE OF
               PROCESS IN THE MANNER PROVIDED FOR NOTICES IN THE
               FINANCING DOCUMENTS. A final judgment in any proceeding of any such
               court shall be conclusive and may be enforced in other jurisdictions by suit on the
               judgment or any other manner provided by Applicable Law.

                       (ii)   Nothing herein shall limit the right of any Secured Party to bring
               proceedings against any Grantor in any other court, nor limit the right of any party
               to serve process in any other manner permitted by Applicable Law. Nothing in this
               Agreement shall be deemed to preclude enforcement by any Secured Party of any
               judgment or order obtained in any forum or jurisdiction.

                (c)     Waivers by Grantors. To the fullest extent permitted by Applicable Law,
each Grantor waives (a) the right to trial by jury (which the Secured Parties hereby also waive) in
any proceeding or dispute of any kind relating in any way to any Financing Documents,
Obligations or Collateral under this Agreement; (b) presentment, demand, protest, notice of
presentment, default, non-payment, maturity, release, compromise, settlement, extension or
renewal of any commercial paper, accounts, documents, instruments, chattel paper and guaranties
at any time held by any Secured Party on which any Grantor may in any way be liable, and hereby
ratifies anything any Secured Party may do in this regard; (c) notice prior to taking possession or
control of any Collateral under this Agreement; (d) any bond or security that might be required by
a court prior to allowing any Secured Party to exercise any rights or remedies; (e) the benefit of all
valuation, appraisement and exemption laws; (f) any claim against any indemnitee, on any theory
of liability, for special, indirect, consequential, exemplary or punitive damages (as opposed to


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direct or actual damages) in any way relating to any Enforcement Action, Obligations, Financing
Documents or transactions relating thereto; and (g) notice of acceptance hereof. Each Grantor
acknowledges that the foregoing waivers are a material inducement to the Secured Parties to enter
into the Financing Documents and that they are relying upon the foregoing in their dealings with
the Grantors. The Grantors have reviewed the foregoing waivers with their legal counsel and have
knowingly and voluntarily waived their jury trial and other rights following consultation with legal
counsel. In the event of litigation, this Agreement may be filed as a written consent to a trial by
the court.

                (d)     Service of Process. Nothing herein shall in any way be deemed to limit the
ability of the Collateral Agent or the other Secured Parties to serve any process or summonses in
any manner permitted by applicable Law.

                5.07 Waiver of Immunity. To the extent that any Grantor may be or become
entitled to claim for itself or its property or revenues any immunity on the ground of sovereignty
or the like from suit, court jurisdiction, attachment prior to judgment, attachment in aid of
execution of a judgment or execution of a judgment, and to the extent that in any such jurisdiction
there may be attributed such an immunity (whether or not claimed), such Grantor hereby
irrevocably agrees not to claim and hereby irrevocably waives such immunity with respect to its
obligations under this Agreement.

               5.08 Captions. The captions and section headings appearing herein are included
solely for convenience of reference and are not intended to affect the interpretation of any
provision of this Agreement.

               5.09 Agents and Attorneys-in-Fact. The Collateral Agent and any other Secured
Party may employ agents and attorneys-in-fact in connection herewith and shall not be responsible
for the negligence or misconduct of any such agents or attorneys-in-fact selected by it in good
faith.

                5.10 Severability. If any provision hereof is invalid and unenforceable in any
jurisdiction, then, to the fullest extent permitted by Law, (a) the other provisions hereof shall
remain in full force and effect in such jurisdiction and shall be liberally construed in favor of the
Collateral Agent and the other Secured Parties in order to carry out the intentions of the parties
hereto as nearly as may be possible and (b) the invalidity or unenforceability of any provision
hereof in any jurisdiction shall not affect the validity or enforceability of such provision in any
other jurisdiction.

               5.11    Additional Grantors; Supplements to Annexes.

               (a)    Each Person that is required from time to time after the date of this
Agreement to become a Grantor under this Agreement pursuant to the Note Purchase Agreement
shall execute and deliver to the Collateral Agent and the other Secured Parties a supplemental
agreement (together with all appendices thereto, a “Joinder”) to this Agreement, in substantially
the form attached hereto as Exhibit A. Upon the execution and delivery of a Joinder by any Person,
such Person shall automatically and immediately, and without any further action on the part of any
Person, become a “Grantor” under and for all purposes of this Agreement as if originally named



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as a Grantor herein, and each of the Annexes hereto shall be supplemented in the manner specified
in such Joinder. In addition, upon the execution and delivery of a Joinder, the new Grantor makes
the representations and warranties set forth in Section 2 hereof. The execution and delivery of any
Joinder shall not require the consent of any other Grantor hereunder. The rights and obligations
of each Grantor hereunder shall remain in full force and effect notwithstanding the addition of any
Grantor hereunder.

                (b)      Promptly following delivery of financial statements pursuant to Sections
7.1(a)(i) and (ii) of the Note Purchase Agreement, the Grantors shall, upon the Collateral Agent’s
written request, deliver to the Collateral Agent and the other Secured Parties, supplements to
Annexes 1 through 5 to this Agreement, in each case as necessary to reflect changes and additions
thereto arising after the date hereof. Such supplements shall become part of this Agreement as of
the date of delivery to the Collateral Agent and the other Secured Parties.

               5.12    Set-Off.

                (a)    Set-Off Generally. Upon the occurrence and during the continuance of any
Event of Default, the Collateral Agent, each other Secured Party and each of their respective
Affiliates are hereby authorized at any time and from time to time, to the fullest extent permitted
by law, to set off and apply any and all deposits (general or special, time or demand, provisional
or final) at any time held and other indebtedness at any time owing by the Collateral Agent, any
other Secured Party or any such Affiliate to or for the credit or the account of Proterra or any other
Grantor against any and all of the obligations of Proterra or such other Grantor now or hereafter
existing under this Agreement or any other Financing Document to the Collateral Agent, any other
Secured Party or any such Affiliate, irrespective of whether or not the Collateral Agent, such other
Secured Party or such Affiliate shall have made any demand and although such obligations of
Proterra or such other Grantor may be contingent or unmatured or are owed to a branch office or
Affiliate of the Collateral Agent or of such other Secured Party different from the branch office or
Affiliate holding such deposit or obligated on such indebtedness. The Collateral Agent and the
other Secured Parties agree promptly to notify Proterra after any such set-off and application,
provided that the failure to give such notice shall not affect the validity of such set-off and
application. The rights of the Collateral Agent, each other Secured Party and each of their
respective Affiliates under this Section 5.12 are in addition to other rights and remedies (including
other rights of set-off) that the Collateral Agent, such other Secured Party and their respective
Affiliates may have.

               (b)      Exercise of Rights Not Required. Nothing contained herein shall require
the Collateral Agent, any other Secured Party or any of their respective Affiliates to exercise any
such right or shall affect the right of the Collateral Agent, any other Secured Party or any of their
respective Affiliates to exercise, and retain the benefits of exercising, any such right with respect
to any other indebtedness or obligation of Proterra or any other Grantor.

                5.13 Entire Agreement. This Agreement, the other Financing Documents, and
any separate letter agreements with respect to fees payable to the Collateral Agent or the other
Secured Parties, constitute the entire agreement among the parties with respect to the subject matter
hereof and thereof and supersede any and all previous agreements and understandings, oral or
written, relating to the subject matter hereof and thereof. EACH GRANTOR ACKNOWLEDGES,


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REPRESENTS AND WARRANTS THAT IN DECIDING TO ENTER INTO THIS
AGREEMENT AND THE OTHER FINANCING DOCUMENTS OR IN TAKING OR NOT
TAKING ANY ACTION HEREUNDER OR THEREUNDER, IT HAS NOT RELIED, AND
WILL NOT RELY, ON ANY STATEMENT, REPRESENTATION, WARRANTY,
COVENANT, AGREEMENT OR UNDERSTANDING, WHETHER WRITTEN OR ORAL, OF
OR WITH THE COLLATERAL AGENT OR ANY OTHER SECURED PARTY OTHER THAN
THOSE EXPRESSLY SET FORTH IN THIS AGREEMENT AND THE OTHER FINANCING
DOCUMENTS.

              5.14 No Fiduciary Relationship. Each Grantor acknowledges that none of the
Collateral Agent nor any other Secured Party has a fiduciary relationship with, or fiduciary duty
to, any Grantor arising out of or in connection with this Agreement or the other Financing
Documents. This Agreement and the other Financing Documents do not create a joint venture
among the parties.

                 5.15 Other Security. To the extent that any of the Secured Obligations are now
or hereafter secured by property of the Grantors other than the Collateral (including, without
limitation, real property owned by a Grantor), or by a guarantee, by an endorsement or by property
of any other Person, then to the extent permitted by applicable Law the Collateral Agent shall have
the right to proceed against such other property, guarantee or endorsement upon the occurrence
and during the continuance of an Event of Default, and the Collateral Agent shall have the right,
in its sole discretion, to determine which rights, security, Liens, security interests or remedies the
Collateral Agent shall at any time pursue, relinquish, subordinate, modify or take with respect
thereto, without in any way modifying or affecting any of them or the Secured Obligations or any
of the rights of the Collateral Agent or the other Secured Parties under applicable Law, under this
Agreement, under any of the other Financing Documents or under any other document relating to
the Secured Obligations.

                                [SIGNATURE PAGES FOLLOW]




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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed and delivered as of the day and year first above written.


PROTERRA INC, as Grantor


By:_______________________________________
   Name:
   Title:




                           [Signature Page to Security Agreement]
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 CSI GP I LLC, as Collateral Agent


By:_______________________________________
By:_______________________________________
   Name: Ewa Kozicz
   Name:
   Title: Co-Head
   Title:


By:_______________________________________
   Name: Vusal Najafov
   Title: Co-Head




                             [Signature Page to Security Agreement]
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                                           EXHIBIT A

                                   Form of Joinder Agreement

                                   JOINDER AGREEMENT


              JOINDER AGREEMENT dated as of ________ __, ____ (this “Joinder”) made
by [NAME OF ADDITIONAL GRANTOR], a [ENTITY TYPE AND JURISDICTION] (the
“Additional Grantor”), in favor of CSI GP I LLC, as collateral agent (the “Collateral Agent”) for
the Secured Parties.

               A.      Reference is made to (i) Note Purchase Agreement, dated as of August 4,
2020 (as amended, supplemented, restated, extended, renewed or replaced from time to time, the
“Note Purchase Agreement”), among Proterra Inc, a corporation duly organized and validly
existing under the laws of the State of Delaware (“Proterra,”) and the Investors (as defined therein)
from time to time party thereto (the “Investors”), and (ii) the Security Agreement, dated as of
August 4, 2020 (as amended, supplemented, restated, extended, renewed or replaced from time to
time, the “Security Agreement”), among the Grantors party thereto and the Collateral Agent.
Capitalized terms used herein but not defined herein shall have the meanings ascribed to such
terms in the Security Agreement.

              B.      Pursuant to the Note Purchase Agreement, Proterra agreed to issue and sell
to the Investors and the Investors agreed to purchase Notes (as defined in the Note Purchase
Agreement) for the consideration set forth in, and upon the terms and conditions provided in, the
Note Purchase Agreement. The Additional Grantor will derive substantial direct and indirect
benefit from such issuance and sale of the Notes (as defined in the Note Purchase Agreement).

              C.      The Note Purchase Agreement requires that the Additional Grantor become
a Grantor under the Security Agreement.

                 D.    Section 5.12 of the Security Agreement provides that upon the execution
and delivery by any Person of a supplemental agreement to the Security Agreement in the form of
this Joinder, such Person shall automatically and immediately, and without any further action on
the part of any Person, become a “Grantor” under and for all purposes of the Security Agreement
as if originally named as a Grantor therein.

               Accordingly, the Additional Grantor agrees, for the benefit of the Collateral Agent
and the other Secured Parties, as follows:

                SECTION 1. In accordance with Section 5.12 of the Security Agreement, the
Additional Grantor by its signature below hereby becomes a “Grantor” under and for all purposes
of the Security Agreement with the same force and effect as if it were originally named as a Grantor
therein. Without limiting the generality of the foregoing, the Additional Grantor (a) hereby
expressly assumes all obligations and liabilities of a Grantor under the Security Agreement and (b)
as collateral security for the payment or performance, as the case may be, in full when due (whether
at stated maturity, by acceleration or otherwise) of the Secured Obligations, the Additional Grantor
(as provided in Section 3 of the Security Agreement) hereby pledges and grants to the Collateral


                                          Exhibit A, Page 1
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Agent, for the benefit of the Secured Parties, a security interest in all of the Additional Grantor’s
right, title and interest in, to and under the Collateral, in each case whether tangible or intangible,
wherever located, whether now existing or hereafter coming into existence, and whether now
owned by the Additional Grantor or hereafter acquired or in which the Additional Grantor now
has or at any time in the future may acquire any right, title or interest. As of the date hereof, each
reference in the Security Agreement to a “Grantor” and “Grantors” shall be deemed to include the
Additional Grantor.

             SECTION 2. Each of the Annexes to the Security Agreement are hereby
supplemented in the manner specified in Appendix A hereto.

                 SECTION 3. The Additional Grantor hereby represents and warrants, with respect
to itself and its obligations, that the representations and warranties set forth in Section 2 of the
Security Agreement and Section 4.26 of the Note Purchase Agreement are true and correct as of
the date hereof, unless expressly stated to relate solely to an earlier date, in which case such
representations and warranties shall be true and correct as of such earlier date. In addition, the
Additional Grantor hereby represents and warrants that this Joinder has been duly authorized,
executed and delivered by the Additional Grantor and that this Joinder constitutes a legal, valid
and binding obligation of the Additional Grantor, enforceable against the Additional Grantor in
accordance with its terms, except as such enforceability may be limited by (a) bankruptcy,
insolvency, reorganization, moratorium or similar Laws of general applicability affecting the
enforcement of creditors’ rights and (b) the application of general principles of equity (regardless
of whether such enforceability is considered in a proceeding in equity or at law).

              SECTION 4. The Additional Grantor hereby instructs its counsel to deliver any
opinions required by the Collateral Agent or the other Secured Parties to be delivered in connection
with the execution and delivery hereof.

               SECTION 5. Except as expressly supplemented hereby, the Security Agreement
shall remain in full force and effect in accordance with its terms.

                SECTION 6. If any provision hereof is invalid and unenforceable in any
jurisdiction, then, to the fullest extent permitted by Law, (a) the other provisions hereof shall
remain in full force and effect in such jurisdiction and shall be liberally construed in favor of the
Collateral Agent and the other Secured Parties in order to carry out the intentions of the parties
hereto as nearly as may be possible and (b) the invalidity or unenforceability of any provision
hereof in any jurisdiction shall not affect the validity or enforceability of such provision in any
other jurisdiction.

             SECTION 8. The provisions of Sections 5.06(b), (c) and (d) of the Security
Agreement are hereby incorporated herein by reference as if such provisions were fully set forth
herein.

               SECTION 9. This Joinder, the other Financing Documents, and any separate letter
agreements with respect to fees payable to the Collateral Agent or the other Secured Parties,
constitute the entire agreement among the parties with respect to the subject matter hereof and




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thereof and supersede any and all previous agreements and understandings, oral or written, relating
to the subject matter hereof and thereof.

                SECTION 10. This Joinder may be executed in any number of counterparts, all of
which taken together shall constitute one and the same instrument and any of the parties hereto
may execute this Joinder by signing any such counterpart. Delivery of an executed counterpart of
a signature page of this Joinder by facsimile or other electronic imaging means (e.g. “pdf” or “tif”)
shall be effective as delivery of a manually executed counterpart of this Joinder. Collateral Agent
may (but shall have no obligation to) accept any signature, contract formation or record-keeping
through electronic means, which shall have the same legal validity and enforceability as manual
or paper-based methods, to the fullest extent permitted by Applicable Law, including the Federal
Electronic Signatures in Global and National Commerce Act, the New York State Electronic
Signatures and Records Act, or any similar state law based on the Uniform Electronic Transactions
Act. Upon request by Collateral Agent, any electronic signature or delivery shall be promptly
followed by a manually executed or paper document.

               SECTION 11. Governing Law; Consent to Forum; Etc.

                  (a)   Governing Law. UNLESS EXPRESSLY PROVIDED IN ANY
       FINANCING DOCUMENT, THIS JOINDER, THE OTHER FINANCING DOCUMENTS AND
       ALL CLAIMS SHALL BE GOVERNED BY THE LAWS OF THE STATE OF NEW YORK,
       WITHOUT GIVING EFFECT TO ANY CONFLICT OF LAW PRINCIPLES THAT WOULD
       RESULT IN THE APPLICATION OF THE LAWS OF A DIFFERENT JURISDICTION.

                       (b)     Consent to Forum.

                               (i)   EACH ADDITIONAL GRANTOR HEREBY CONSENTS
                    TO THE EXCLUSIVE JURISDICTION OF ANY STATE COURT SITTING
                    IN BOROUGH OF MANHATTAN OR THE UNITED STATES DISTRICT
                    COURT OF THE SOUTHERN DISTRICT OF NEW YORK, IN ANY
                    DISPUTE, ACTION, LITIGATION OR OTHER PROCEEDING
                    RELATING IN ANY WAY TO ANY FINANCING DOCUMENTS, AND
                    AGREES THAT ANY DISPUTE, ACTION, LITIGATION OR OTHER
                    PROCEEDING SHALL BE BROUGHT BY IT SOLELY IN ANY SUCH
                    COURT. EACH ADDITIONAL GRANTOR IRREVOCABLY AND
                    UNCONDITIONALLY WAIVES ALL CLAIMS, OBJECTIONS AND
                    DEFENSES THAT IT MAY HAVE REGARDING ANY SUCH COURT’S
                    PERSONAL OR SUBJECT MATTER JURISDICTION, VENUE OR
                    INCONVENIENT FORUM. EACH ADDITIONAL GRANTOR AND EACH
                    SECURED PARTY IRREVOCABLY AND UNCONDITIONALLY
                    SUBMITS TO THE JURISDICTION OF SUCH COURTS AND CONSENTS
                    TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR
                    NOTICES IN THE FINANCING DOCUMENTS. A final judgment in any
                    proceeding of any such court shall be conclusive and may be enforced in other
                    jurisdictions by suit on the judgment or any other manner provided by
                    Applicable Law.



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                       (ii)      Nothing herein shall limit the right of any Secured Party to bring
            proceedings against any Additional Grantor in any other court, nor limit the right of
            any party to serve process in any other manner permitted by Applicable Law. Nothing
            in this Joinder shall be deemed to preclude enforcement by any Secured Party of any
            judgment or order obtained in any forum or jurisdiction.

                 (c)     Waivers by Additional Grantors. To the fullest extent permitted by
Applicable Law, each Additional Grantor waives (a) the right to trial by jury (which the
Secured Parties hereby also waive) in any proceeding or dispute of any kind relating in any
way to any Financing Documents, Obligations or Collateral under this Joinder; (b)
presentment, demand, protest, notice of presentment, default, non-payment, maturity,
release, compromise, settlement, extension or renewal of any commercial paper, accounts,
documents, instruments, chattel paper and guaranties at any time held by any Secured Party
on which any Additional Grantor may in any way be liable, and hereby ratifies anything any
Secured Party may do in this regard; (c) notice prior to taking possession or control of any
Collateral under this Joinder; (d) any bond or security that might be required by a court
prior to allowing any Secured Party to exercise any rights or remedies; (e) the benefit of all
valuation, appraisement and exemption laws; (f) any claim against any indemnitee, on any
theory of liability, for special, indirect, consequential, exemplary or punitive damages (as
opposed to direct or actual damages) in any way relating to any Enforcement Action,
Obligations, Financing Documents or transactions relating thereto; and (g) notice of
acceptance hereof. Each Additional Grantor acknowledges that the foregoing waivers are a
material inducement to the Secured Parties to enter into the Financing Documents and that
they are relying upon the foregoing in their dealings with the Additional Grantors. The
Additional Grantors have reviewed the foregoing waivers with their legal counsel and have
knowingly and voluntarily waived their jury trial and other rights following consultation
with legal counsel. In the event of litigation, this Joinder may be filed as a written consent
to a trial by the court.



                        [SIGNATURE PAGES FOLLOW]




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              IN WITNESS WHEREOF, the Additional Grantor has caused this Joinder to be
duly executed and delivered as of the day and year first above written.


                                        [NAME OF ADDITIONAL GRANTOR]


                                        By:______________________________________
                                           Name:
                                           Title:




                                    Exhibit A, Page 5
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Accepted and agreed:


CSI GP I LLC, as Collateral Agent


By:_______________________________________
   Name:
   Title:




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                         Appendix A


   SUPPLEMENTS TO ANNEXES TO SECURITY AGREEMENT




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                                         ANNEX 1

                                     FILING DETAILS

Correct Legal Name: Proterra Inc

Jurisdiction and Type of Organization: Delaware Corporation.

Organizational ID Number: File Number 4784627

Mailing address:
1815 Rollins Road
Burlingame, CA 94010

Silicon Valley Office (Headquarters & Location of CEO):
1815 Rollins Road
Burlingame, CA 94010




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                                 ANNEX 2

                            NEW DEBTOR EVENTS

None.




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                                  ANNEX 3

                 PLEDGED SHARES AND PROMISSORY NOTES

Part A

None.

Part B

None.




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                                       ANNEX 4

                                LIST OF COPYRIGHTS



Country      Status     App. No./Reg. No.          Filing     Reg. Date          Work
                                                   Date
United     Registered   VA 1-954-702            03-Apr-       03-Apr-     Proterra Logo
States                                          2015          2015




                              Annex 4 to Security Agreement
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                                             ANNEX 5

                                         LIST OF PATENTS




Reference                                   Patent       Issue     Application     Filing
                        Title                                                                 Country    Status
   No.                                      Number       Date       Number         Date
00041-0001-   VEHICLE BATTERY SYSTEMS     8453773      6/4/2013    12/459,074    6/26/2009   United      Issued
00000         AND METHODS                                                                    States

00041-        VEHICLE BATTERY SYSTEMS     2009261982   12/4/2014   2009261982    6/26/2009   Australia   Issued
0001-00110    AND METHODS

00041-        VEHICLE BATTERY SYSTEMS     2728679      8/2/2016    2728679       6/26/2009   Canada      Issued
0001-00131    AND METHODS

00041-        VEHICLE BATTERY SYSTEMS     2307218      9/30/2015   9771205.3     6/26/2009   European    Issued
0001-00155    AND METHODS                                                                    Patent
                                                                                             Office
00041-        VEHICLE BATTERY SYSTEMS     318588       3/19/2014   MX/a/2010/ 6/26/2009      Mexico      Issued
0001-00223    AND METHODS                                          014560

00041-        LOW-FLOOR ELECTRIC BUS      9252417      2/2/2016    13/887,135    5/3/2013    United      Issued
0001-01000                                                                                   States
00041-        VEHICLE BATTERY SYSTEMS                              15183066.8    6/29/2009   European    Pending
0001-01155    AND METHODS                                                                    Patent
                                                                                             Office
00041-        LOW-FLOOR ELECTRIC BUS      9680139      6/13/2017   14/992,900    1/11/2016   United      Issued
0001-03000                                                                                   States
00041-        LOW-FLOOR ELECTRIC          10505164     12/10/201   15/589,170    5/8/2017    United      Issued
0001-04000    VEHICLE                                  9                                     States
00041-        ELECTRIC BUS                                         16/601,801    10/15/201   United      Pending
0001-05000                                                                       9           States
00041-        CHARGING STATIONS FOR       8324858      12/4/2012   12/496,569    7/1/2009    United      Issued
0002-00000    ELECTRIC VEHICLES                                                              States

00041-        CHARGING STATIONS FOR       2009266952   8/29/2013   2009266952    7/1/2009    Australia   Issued
0002-00110    ELECTRIC VEHICLES

00041-        CHARGING STATIONS FOR       2729356      2/7/2017    2729356       7/1/2009    Canada      Issued
0002-00131    ELECTRIC VEHICLES

00041-        CHARGING STATIONS FOR       2296933      10/5/2016   9774471.8     7/1/2009    European    Issued
0002-00155    ELECTRIC VEHICLES                                                              Patent
                                                                                             Office




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Reference                                   Patent          Issue     Application     Filing
                        Title                                                                    Country   Status
   No.                                      Number          Date       Number         Date
00041-       CHARGING STATIONS FOR         210178         4/1/2015    210178        7/1/2009    Israel     Issued
0002-00186   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR         298780         5/2/2012    MX/a/2010/ 7/1/2009       Mexico     Issued
0002-00223   ELECTRIC VEHICLES                                        014551

00041-       Methods and Systems for       8829853        9/9/2014    13/678,493    11/15/201   United     Issued
0002-01000   Charging Vehicles                                                      2           States

00041-       CHARGING STATIONS FOR         3141417        2/27/2019   16191966.7    7/1/2009    European   Issued
0002-01155   ELECTRIC VEHICLES                                                                  Patent
                                                                                                Office
00041-       CHARGING STATIONS FOR         315272         11/12/201   MX/a/2012/ 7/1/2009       Mexico     Issued
0002-01223   ELECTRIC VEHICLES                            3           005077

00041-       CHARGING SYSTEMS FOR          9446672        9/20/2016   14/449,842    8/1/2014    United     Issued
0002-02000   ELECTRIC VEHICLES                                                                  States

00041-       CHARGING SYSTEMS FOR          10112498       10/30/201   15/244,277    8/23/2016   United     Issued
0002-03000   ELECTRIC VEHICLES                            8                                     States

00041-       CHARGING SYSTEMS FOR          9908435        3/6/2018    15/485,385    4/12/2017   United     Issued
0002-04000   ELECTRIC VEHICLES                                                                  States

00041-       CHARGING SYSTEMS FOR                                     16/149,919    10/2/2018   United     Pending
0002-05000   ELECTRIC VEHICLES                                                                  States

00041-       CHARGING OF ELECTRIC          9352658        5/31/2016   13/518,847    11/26/201   United     Issued
0003-00000   VEHICLES                                                               3           States
00041-       CHARGING STATIONS FOR         2785516        9/17/2019   2785516       12/22/201   Canada     Issued
0003-00131   ELECTRIC VEHICLES                                                      0

00041-       CHARGING STATIONS FOR         317386         1/22/2014   MX/a/2012/ 12/22/201      Mexico     Issued
0003-00223   ELECTRIC VEHICLES                                        007381     0

00041-       ELECTRIC VEHICLES AND         10232724       3/19/2019   15/145,280    5/3/2016    United     Issued
0003-01000   CHARGING STATIONS                                                                  States

00041-       CHARGING STATIONS FOR         10518656       12/31/201   16/266,175    2/4/2019    United     Issued
0003-02000   ELECTRIC VEHICLES                            9                                     States

00041-       ELECTRIC VEHICLES AND                                    16/691,695    11/22/201   United     Pending
0003-03000   CHARGING STATIONS                                                      9           States

00041-       SYSTEMS AND METHODS FOR       9365128        6/14/2016   13/643,541    4/11/2013   United     Issued
0005-00000   AUTOMATIC CONNECTION                                                               States
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION


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Reference                               Patent          Issue     Application     Filing
                      Title                                                                  Country   Status
   No.                                  Number          Date       Number         Date
00041-       SYSTEMS AND METHODS FOR                              2797575       4/26/2011   Canada     Pending
0005-00131   AUTOMATIC CONNECTION
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR   ZL20118002     9/14/2016   2.0118E+11    4/26/2011   China      Issued
0005-00139   AUTOMATIC CONNECTION      6409.5
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR                              11777906.6    4/26/2011   European   Pending
0005-00155   AUTOMATIC CONNECTION                                                           Patent
             AND CHARGING OF AN                                                             Office
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR   9764653        9/19/2017   15/144,406    5/2/2016    United     Issued
0005-01000   CHARGING AN ELECTRIC                                                           States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR   9975444        5/22/2018   15/694,421    9/1/2017    United     Issued
0005-02000   CHARGING AN ELECTRIC                                                           States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR   10384553       8/20/2019   15/958,165    4/20/2018   United     Issued
0005-03000   CHARGING AN ELECTRIC                                                           States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR                              16/502,123    7/3/2019    United     Pending
0005-04000   CHARGING AN ELECTRIC                                                           States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR                              16/907,766    6/22/2020   United     Pending
0005-05000   CHARGING AN ELECTRIC                                                           States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR   9496730        11/15/201   13/193,278    7/28/2011   United     Issued
0006-00000   BATTERY MANAGEMENT                       6                                     States

00041-       SYSTEMS AND METHODS FOR   2.0118E+11     12/21/201   2.0118E+11    7/28/2011   China      Issued
0006-00139   BATTERY MANAGEMENT                       6

00041-       SYSTEMS AND METHODS FOR                  4/1/2020    11822290      7/28/2011   European   Issued
0006-00155   BATTERY MANAGEMENT                                                             Patent
                                                                                            Office




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Reference                                   Patent          Issue     Application     Filing
                        Title                                                                    Country   Status
   No.                                      Number          Date       Number         Date
00041-       SYSTEMS AND METHODS FOR       324330         10/10/201   MX/a/2013/ 7/28/2011      Mexico     Issued
0006-00223   BATTERY MANAGEMENT                           4           002538

00041-       METHODS FOR ELECTRIC BUS      9496735        11/15/201   13/825,531    5/22/2013   United     Issued
0007-00000   CHARGING TO INCREASE                         6                                     States
             BATTERY LIFE
00041-       SYSTEMS AND METHODS FOR       8975866        3/10/2015   14/249,175    4/9/2014    United     Issued
0009-00000   BATTERY LIFE MAXIMIZATION                                                          States
             UNDER FIXED-ROUTE
             APPLICATIONS
00041-       SYSTEMS AND METHODS FOR       2851503        1/7/2020    2851503       10/10/201   Canada     Issued
0009-00131   BATTERY LIFE MAXIMIZATION                                              2
             UNDER FIXED-ROUTE
             APPLICATIONS
00041-       SYSTEMS AND METHODS FOR       2766216        5/27/2020   12840270.8    10/10/201   European   Issued
0009-00155   BATTERY LIFE MAXIMIZATION                                              2           Patent
             UNDER FIXED-ROUTE                                                                  Office
             APPLICATIONS
00041-       BUS                           D642092        7/26/2011   29/368,987    8/31/2010   United     Issued
0010-00000                                                                                      States
00041-       SIDE-FACING VEHICLE           9718367        8/1/2017    14/420,872    2/10/2015   United     Issued
0011-01000   CHARGING SYSTEMS                                                                   States

00041-       SYSTEMS AND METHODS FOR                                  2890753       11/13/201   Canada     Pending
0013-00131   ENABLING FAST CHARGING                                                 3
             OF AN ELECTRIC VEHICLE AT A
             CHARGING STATION

00041-       SYSTEMS AND METHODS FOR       2920022        1/10/2018   13855153.6    11/13/201   European   Issued
0013-00155   ENABLING FAST CHARGING                                                 3           Patent
             OF AN ELECTRIC VEHICLE AT A                                                        Office
             CHARGING STATION

00041-       ELECTRIC VEHICLE CHARGING     9925887        3/27/2018   14/442,200    5/12/2015   United     Issued
0013-01000   INTERFACE                                                                          States

00041-       SYSTEMS AND METHODS FOR       3299212        10/30/201   17200683.5    11/13/201   European   Issued
0013-01155   ENABLING FAST CHARGING                       9                         3           Patent
             OF AN ELECTRIC VEHICLE AT A                                                        Office
             CHARGING STATION

00041-       ELECTRIC VEHICLE CHARGING     10696174       6/30/2020   15/890,534    2/7/2018    United     Pending
0013-02000   INTERFACE                                                                          States




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Reference                                  Patent       Issue      Application     Filing
                       Title                                                                  Country   Status
   No.                                     Number       Date        Number         Date
00041-       TRANSMISSION CONTROL        8827867      9/9/2014    14/179,388     2/12/2014   United     Issued
4001-00000   SYSTEM FOR AN ELECTRIC                                                          States
             VEHICLE
00041-       ELECTRIC VEHICLE CHARGING   10377251     8/13/2019   14/670,027     3/26/2015   United     Issued
4002-00000   INTERFACE                                                                       States

00041-       CHARGING OF A FLEET OF      10017068     7/10/2018   14/309,560     6/19/2014   United     Issued
4003-00000   ELECTRIC VEHICLES                                                               States

00041-       CHARGING OF A FLEET OF                               15172411.9     6/16/2015   European   Pending
4003-00155   ELECTRIC VEHICLES                                                               Patent
                                                                                             Office
00041-       CHARGING OF AN ELECTRIC                              16/005,156     6/11/2018   United     Pending
4003-01000   VEHICLE FLEET                                                                   States

00041-       SYSTEMS AND METHODS FOR     10125799     11/13/201   14/701,880     5/1/2015    United     Issued
4006-00000   MOUNTING OBJECTS TO A                    8                                      States
             STRUCTURE
00041-       SYSTEMS AND METHODS FOR                              2927219        4/14/2016   Canada     Pending
4006-00131   MOUNTING OBJECTS TO A
             STRUCTURE
00041-       SYSTEMS AND METHODS FOR                              16167678.8     4/29/2016   European   Pending
4006-00155   MOUNTING OBJECTS TO A                                                           Patent
             STRUCTURE                                                                       Office
00041-       CHARGE HEAD LANDING         9809122      11/7/2017   14/980,697     12/28/201   United     Issued
4007-00000   SWITCH                                                              5           States
00041-       DETERMINING VEHICLE         9315111      4/19/2016   14/755,738     6/30/2015   United     Issued
4008-00000   POSITION USING RFID                                                             States

00041-       ACCELERATION CONTROL FOR    9096135      8/4/2015    14/498,422     9/26/2014   United     Issued
4009-00000   AN ELECTRIC VEHICLE                                                             States

00041-       CONTROLLING ELECTRIC        9321355      4/26/2016   14/755,981     6/30/2015   United     Issued
4011-00000   VEHICLE OPERATION BASED                                                         States
             ON INCLINATION
00041-       SYSTEM AND METHOD TO        9776520      10/3/2017   14/671,163     3/27/2015   United     Issued
4012-00000   ASSIST IN VEHICLE                                                               States
             POSITIONING
00041-       ELECTRIC VEHICLE CHARGING   9321366      4/26/2016   14/564,378     12/9/2014   United     Issued
4013-00000   BY ADJUSTING CHARGER                                                            States
             CURRENT
00041-       SCALABLE ENERGY STORAGE                              14/586,349     12/30/201   United     Pending
4014-00000   SYSTEM                                                              4           States




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Reference                                   Patent       Issue       Application     Filing
                        Title                                                                   Country   Status
   No.                                      Number       Date         Number         Date
00041-       STEERING CONTROL              9302702     4/5/2016    14/671,296      3/27/2015   United     Issued
4017-00000   MECHANISMS FOR AN                                                                 States
             ELECTRIC VEHICLE
00041-       WINDOW GASKET FOR A           9296286     3/29/2016   14/661,033      3/18/2015   United     Issued
4018-00000   VEHICLE                                                                           States
00041-       ENERGY CONTROL                9352635     5/31/2016   14/675,200      3/31/2015   United     Issued
4019-00000   MECHANISMS FOR AN                                                                 States
             ELECTRIC VEHICLE
00041-       VEHICLE ACCESSIBILITY                                 15/087,132      3/31/2016   United     Pending
4020-00000   SYSTEM                                                                            States
00041-       HARNESSING HEAT DURING        9260025     2/16/2016   14/661,060      3/18/2015   United     Issued
4022-00000   ELECTRIC VEHICLE CHARGING                                                         States

00041-       BATTERY SYSTEM COOLING        9905893     2/27/2018   14/788,249      6/30/2015   United     Issued
4024-00000                                                                                     States
00041-       BATTERY SYSTEM COOLING                                15/869,705      1/12/2018   United     Pending
4024-01000                                                                                     States
00041-       METHOD OF DOCKING AN          9878637     1/30/2018   14/980,672      12/28/201   United     Issued
4025-00000   ELECTRIC VEHICLE FOR                                                  5           States
             CHARGING
00041-       METHOD OF DOCKING AN                                  16206520.5      12/22/201   European   Pending
4025-00155   ELECTRIC VEHICLE FOR                                                  6           Patent
             CHARGING                                                                          Office
00041-       BRAKING SYSTEM OF A                                   14/964,860      12/10/201   United     Pending
5003-00000   HEAVY-DUTY VEHICLE                                                    5           States

00041-       STATE OF CHARGE               9423465     8/23/2016   14/755,891      6/30/2015   United     Issued
5005-00000   DETERMINATION                                                                     States
00041-       POSITIONING SYSTEM FOR        9550428     1/24/2017   15/088,359      4/1/2016    United     Issued
5006-00000   ELECTRIC CHARGING                                                                 States

00041-       HEATED CHARGING               9321364     4/26/2016   14/788,060      6/30/2015   United     Issued
5008-00000   INTERFACE OF ELECTRIC                                                             States
             VEHICLE
00041-       SPRING LOADED BRUSH           9522603     12/20/201   14/984,468      12/30/201   United     Issued
5011-00000   CARRIER                                   6                           5           States
00041-       ELECTRIC VEHICLE CHARGING                             14/985,126      12/30/201   United     Pending
5019-00000   TO REDUCE UTILITY COST                                                5           States

00041-       ELECTRIC VEHICLE CHARGING                             2952372         12/21/201   Canada     Pending
5019-00131   TO REDUCE UTILITY COST                                                6




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Reference                                      Patent       Issue     Application     Filing
                         Title                                                                   Country   Status
   No.                                         Number       Date       Number         Date
00041-       METHOD OF DOCKING AN            9987939      6/5/2018    15/231,992    8/9/2016    United     Issued
5023-00000   ELECTRIC VEHICLE FOR                                                               States
             CHARGING
00041-       Multi Protocol Charge Ports     9669719      6/6/2017    15/227,163    8/3/2016    United     Issued
6001-00000                                                                                      States
00041-       Multi Protocol Charge Ports                              2966747       5/10/2017   Canada     Pending
6001-00131
00041-       Multi Protocol Charge Ports                              17170709.4    5/11/2017   European   Pending
6001-00155                                                                                      Patent
                                                                                                Office
00041-       MULTI-PROTOCOL CHARGE           10442301     10/15/201   15/589,281    5/8/2017    United     Issued
6001-01000   PORT FOR AN ELECTRIC BUS                     9                                     States

00041-       ELECTRIC MOTOR CONTROL          9764658      9/19/2017   15/188,757    6/21/2016   United     Issued
6002-00000   BY TORQUE PERTURBATION                                                             States

00041-       BATTERY SYSTEM OF AN            10272758     4/30/2019   15/341,401    11/2/2016   United     Issued
6004-00000   ELECTRIC VEHICLE                                                                   States

00041-       BATTERY SYSTEM OF AN                                     2983327       10/23/201   Canada     Pending
6004-00131   ELECTRIC VEHICLE                                                       7

00041-       BATTERY SYSTEM OF AN                                     17197629.3    10/20/201   European   Pending
6004-00155   ELECTRIC VEHICLE                                                       7           Patent
                                                                                                Office
00041-       BATTERY SYSTEM OF AN            10647189     5/12/2020   16/354,653    3/15/2019   United     Issued
6004-01000   ELECTRIC VEHICLE                                                                   States

00041-       BATTERY SYSTEM OF AN                                     16/847,917    4/14/2020   United     Pending
6004-02000   ELECTRIC VEHICLE                                                                   States

00041-       THERMAL EVENT                   9954259      4/24/2018   15/372,000    12/7/2016   United     Issued
6005-00000   MANAGEMENT SYSTEM FOR                                                              States
             AN ELECTRIC VEHICLE
00041-       THERMAL EVENT                                            2985451       11/14/201   Canada     Pending
6005-00131   MANAGEMENT SYSTEM FOR                                                  7
             AN ELECTRIC VEHICLE
00041-       THERMAL EVENT                                            17201211.4    11/10/201   European   Pending
6005-00155   MANAGEMENT SYSTEM FOR                                                  7           Patent
             AN ELECTRIC VEHICLE                                                                Office
00041-       THERMAL EVENT DETECTION         10658714     5/19/2020   15/925,964    3/20/2018   United     Issued
6005-01000   AND MANAGEMENT SYSTEM                                                              States
             FOR AN ELECTRIC VEHICLE




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Reference                                  Patent        Issue     Application     Filing
                       Title                                                                  Country   Status
   No.                                     Number        Date       Number         Date
00041-       SYSTEMS AND METHODS TO                                15/485,772    4/12/2017   United     Pending
6006-00000   IMPROVE PERFORMANCE OF                                                          States
             AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                                2999008       3/23/2018   Canada     Pending
6006-00131   IMPROVE PERFORMANCE OF
             AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                                18165137.3    3/29/2018   European   Pending
6006-00155   IMPROVE PERFORMANCE OF                                                          Patent
             AN ELECTRIC VEHICLE                                                             Office

00041-       ELECTRIC VEHICLE CHARGING                             15/705,920    9/15/2017   United     Pending
6007-00000   BY ADJUSTING CHARGER                                                            States
             CURRENT
00041-       LIMITING VOLTAGE SPIKES                               15/699,405    9/8/2017    United     Pending
7001-00000   DURING ELECTRIC VEHICLE                                                         States
             CHARGING
00041-       EFFICIENCY OPTIMIZATION OF                            15/656,037    7/21/2017   United     Pending
7003-00000   MULTI-MOTOR ELECTRIC                                                            States
             VEHICLES
00041-       EFFICIENCY OPTIMIZATION OF                            3010088       6/29/2018   Canada     Pending
7003-00131   MULTI-MOTOR ELECTRIC
             VEHICLES
00041-       EFFICIENCY OPTIMIZATION OF                            18181986.3    7/5/2018    European   Pending
7003-00155   MULTI-MOTOR ELECTRIC                                                            Patent
             VEHICLES                                                                        Office
00041-       CONTROLLING THE                                       3012936       7/31/2018   Canada     Pending
7007-00131   POWERTRAIN OF A VEHICLE

00041-       CONTROLLING THE                                       18186897.7    8/1/2018    European   Pending
7007-00155   POWERTRAIN OF A VEHICLE                                                         Patent
                                                                                             Office
00041-       CONTROLLING THE              10272899     4/30/2019   15/727,221    10/6/2017   United     Issued
7007-01000   POWERTRAIN OF A VEHICLE                                                         States

00041-       CONTROLLING THE              10538231     1/21/2020   16/354,586    3/15/2019   United     Issued
7007-02000   POWERTRAIN OF A VEHICLE                                                         States

00041-       DEPOT CHARGING OF AN                                  3078598       10/5/2018   Canada     Pending
7008-00131   ELECTRIC VEHICLE FLEET

00041-       DEPOT CHARGING OF AN                                  18797228.6    10/5/2018   European   Pending
7008-00155   ELECTRIC VEHICLE FLEET                                                          Patent
                                                                                             Office



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Reference                                   Patent        Issue      Application     Filing
                        Title                                                                   Country       Status
   No.                                      Number        Date        Number         Date
00041-       DEPOT CHARGING OF AN                                   PCT/US2018     10/5/2018   World          Pending
7008-00304   ELECTRIC VEHICLE FLEET                                 /054649                    Intellectual
                                                                                               Property
                                                                                               Organizatio
                                                                                               n
00041-       DEPOT CHARGING OF AN                                   16/753,647     4/3/2020    United         Pending
7008-02000   ELECTRIC VEHICLE FLEET                                                            States

00041-       CONTROLLING THE                                        3019673        10/3/2018   Canada         Pending
7009-00131   POWERTRAIN OF A VEHICLE

00041-       CONTROLLING THE               3467354      3/4/2020    18199052.4     10/8/2018   European       Issued
7009-00155   POWERTRAIN OF A VEHICLE                                                           Patent
                                                                                               Office
00041-       CONTROLLING THE                                        16/153,329     10/5/2018   United         Pending
7009-01000   POWERTRAIN OF A VEHICLE                                                           States

00041-       DYNAMIC BUS ROUTING                                    16/723,130     12/20/201   United         Pending
7010-01000                                                                         9           States
00041-       OVERCURRENT PROTECTION                                 15/955,052     4/17/2018   United         Pending
8001-00000   FOR BATTERY SYSTEMS                                                               States

00041-       OVERCURRENT PROTECTION                                 3037545        3/21/2019   Canada         Pending
8001-00131   FOR BATTERY SYSTEMS

00041-       OVERCURRENT PROTECTION                                 19164104.2     3/20/2019   European       Pending
8001-00155   FOR BATTERY SYSTEMS                                                               Patent
                                                                                               Office
00041-       BALANCING ENERGY IN A                                  16/169,594     10/24/201   United         Pending
8002-00000   PARALLELIZED BATTERY                                                  8           States
             SYSTEM
00041-       LOCATING AN ELECTRIC                                   16/228,918     12/21/201   United         Pending
8006-01000   VEHICLE IN A CHARGING                                                 8           States
             STATION
00041-       ELECTRIC VEHICLE              10690234     6/23/2020   16/353,244     3/14/2019   United         Issued
8007-00000   POWERTRAIN                                                                        States
00041-       ELECTRIC VEHICLE                                       3074310        3/3/2020    Canada         Pending
8007-00131   POWERTRAIN
00041-       TEMPERATURE                                            16/429,222     6/3/2019    United         Pending
8008-00000   MANAGEMENT SYSTEMS AND                                                            States
             METHODS FOR ELECTRIC
             VEHICLE
00041-       TEMPERATURE                                                           5/28/2020   Canada         Pending
8008-00131   MANAGEMENT SYSTEMS AND



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Reference                                  Patent        Issue      Application     Filing
                       Title                                                                   Country   Status
   No.                                     Number        Date        Number         Date
             METHODS FOR ELECTRIC
             VEHICLE

00041-       ADAPTIVE POWERTRAIN                                 16/781,400       2/4/2020    United     Pending
9001-01000   CONTROL OF AN ELECTRIC                                                           States
             VEHICLE
00041-       CHARGING SYSTEM FOR                                 3074829          3/6/2020    Canada     Pending
9003-00131   ELECTRIC VEHICLES

00041-       CHARGING SYSTEM FOR                                 16/817,813       3/13/2020   United     Pending
9003-01000   ELECTRIC VEHICLES                                                                States

00041-       BATTERY CASSETTE                                    62/906,931       9/27/2019   United     Pending
9004-00600                                                                                    States
00041-       BATTERY VENT SYSTEM                                 16/713,042       12/13/201   United     Pending
9005-00000                                                                        9           States
00041-       BATTERY SYSTEM OF AN                                62/898,301       9/10/2019   United     Pending
9006-00600   ELECTRIC VEHICLE                                                                 States

00041-       SYSTEMS AND METHOD FOR                              16/806,048       3/2/2020    United     Pending
9009-00000   MANAGEMENT OF ELECTRIC                                                           States
             VEHICLE SUPPLY EQUIPMENT

             CHARGING SYSTEM FOR AN                              16/205,825       11/30/201   United     Non
             ELECTRIC VEHICLE                                                     1           States     Final
                                                                                                         Action
                                                                                                         Mailed




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                                             ANNEX 6

                                     LIST OF TRADEMARKS


Country         Trademark   Classes     Status     App. No.   Reg.    Filing Date       Reg. Date
                                                              No.
United States   PROTERRA    9, 12       Registered 77/983,282 4230384 27-Jan-2010       23-Oct-
WR File No.                                                                             2012
022198.7005

United States   PROTERRA    42          Registered 77/921,623 4478357 27-Jan-2010       4-Feb-2014
WR File No.
.022198.7006

United States   PROTERRA    9, 12, 42 Pending      88/093,236   n/a      27-Aug-2018    n/a
WR File No.
022198-7011



United States               9, 12, 42 Registered 87/120,131 5897517 28-Jul-2016         29-Oct-2019
WR File No.
022198-7002

United States               9, 12, 42 Pending      88/093,247   n/a      27-Aug-2018    n/a
WR File No.
022198.7012

United States   PROTERRA    42          Pending    88/559,554 n/a        1-Aug-2019     n/a
WR File No.     APEX
022198-7015

United States   PROTERRA    12          Registered 86/386,295 4731122 5-Sep-2014        5-May-2015
WR File No.     CATALYST
022198.7007

United States   APEX        42          Pending    88/315,030   n/a      2-Feb-2019     n/a
WR File No.
022198-7014

United States   CATALYST    12          Registered 86/611,754 4831980 28-Apr-2015 13-Oct-2015
WR File No.
022198.7008

United States   DUOPOWER    12          Registered 87/638,135 5991622 9-Oct-2017        18-Feb-2020
WR File No.
022198-7010



United States   ECORIDE     12          Registered 85/108,762 4226218 16-Aug-2010 16-Oct-2012
WR File No.
022198.7004




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Country         Trademark   Classes      Status      App. No.  Reg.    Filing Date Reg. Date
                                                               No.
United States   REVOLUTIONI 41           Registered 88/409,981 5902895 30-Apr-2019 n/a
WR File No.     ZING
022198-7013     TRANSIT
Canada          PROTERRA    12           Registered 1700609     TMA     31-Oct-2014     17-Jun-2019
WR File No.                                                     1026357
022198-8005

Canada          PROTERRA    9, 12, 42    Pending     1933521    n/a      30-Nov-2018 n/a
WR File No.                                                                             (appl. based on WIPO
022198-8015                                                                             Intl. Reg.)




Canada                      9, 12, 42 Registered 1813758        TMA     12-Dec-2016 2-Aug-2019
WR File No.                                                     1046588
022198-8002



Canada          PROTERRA    12           Registered 1697804     TMA     10-Oct-2014     17-Jun-2019
WR File No.     CATALYST                                        1025458
022198-8003

Canada          CATALYST    12           Registered 1742587     TMA     20-Aug-2015     17-Jun-2019
WR File No.                                                     1025503
022198-8004

Canada          DUOPOWER    12           Pending     1864650    n/a      26-Oct-2017    n/a
WR File No.
022198-8005

EU              PROTERRA    9, 12, 42 Registered 1446462        1446462 13-Sep-2018     25-Jul-2019
WR File No.                                                                             (13-Sep-2018 (based
022198.8012                                                                             on WIPO)

EU                          9, 12, 42 Registered 1457389        1457389 27-Aug-2018 12-Sept-2019
WR File No.                                                                             (27-Aug-2018 based
022198.8014                                                                             on WIPO)

UK              PROTERRA    9, 12, 42 Pending        1446462    n/a      14-Oct-2019    n/a
WR File No.
022198.8016

UK                          9, 12, 42 Registered 1457389        1457389 14-Oct-2019     16-Apr-2020
WR File No.                                                                             (27-Aug-2018 (based
022198.8017                                                                             on WIPO)

Intl. Reg.      PROTERRA    9, 12, 42 Registered 1446462        1446462 13-Sep-2018     13-Sep-2018
(WIPO)
WR File No
022198. 8011




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Country        Trademark   Classes     Status     App. No.   Reg.    Filing Date Reg. Date
                                                             No.
Intl. Reg.                 9, 12,42    Registered 1457389    1457389 27-Aug-2018 27-Aug-2018
(WIPO)
WR File No
022198. 8013

Intl. Reg.     DUOPOWER    12          Registered 1381092    1381092 25-Oct-2017     25-Oct-2017
(WIPO)
WR File No.
022198.8009




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                                       ANNEX 7

                     INTELLECTUAL PROPERTY LICENSES




1. Master Agreement between Mobility Forefront LLC, a wholly owned subsidiary of
   Mitsui & Co. Ltd (“Mobility”) and Proterra Inc dated March 29, 2019 concerning battery
   purchase by Mobility and lease by Mobility of batteries to Proterra transit bus customers
   and ongoing Proterra warranty obligations for the batteries contains contingent
   obligations to Proterra Intellectual Property if Proterra is unable to provide warranty
   service to customers.


2. All contracts using the Company’s standard forms of Product Supply Agreement and
   Purchase Order Terms and Conditions set forth that suppliers are granted a license to use
   the Company’s specifications and provided materials for the purpose of the applicable
   agreement.


3. The Company has pledged the free use of the following three patents (the “Single Blade
   Technology”), as it relates its current overhead charging technology. Details of this
   pledge are described in a press release accessible at https://www.proterra.com/press-
   release/proterra-opens-its-electric-vehicle-fast-charging-technology-to-mass-transit-
   industry/.


4. The Company is on the SAE working committee developing SAE J3105 standards for
   Electric Vehicle Power Transfer System Using a Mechanized Coupler. To the extent the
   Company’s patents read on the final J3105 standard adopted by SAE International, the
   Company has pledged to license those necessary patents on fair, reasonable and non-
   discriminatory terms. The Company is also on the SAE working committee developing
   SAE J3125 standards for Integration of Battery Pack Systems in Bus Electrification and
   would provide a pledge to license those patents that read on the final J3125 standard
   adopted by SAE International on fair, reasonable and non-discriminatory terms.


5. The counter parties to the agreements listed below paid or may pay certain engineering
   service fees to the Company pursuant to such agreements for the custom development
   work:

     •   Agreement for the One-Time Supply of a Battery Electric Vehicle (“BEV”) System
         Prototype and Advisory Consultancy Services, dated November 1, 2017 between
         Proterra Inc and Navistar, Inc.

     •   Development Agreement between Alexander Dennis Limited and Proterra Inc dated
         February 12, 2018 regarding a battery electric vehicle system for use in Alexander


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    Dennis manufactured double decker coach buses, as amended on January 17, 2019,
    March 1, 2019, and May 13, 2019.

•   Master Supply Agreement between Alexander Dennis Limited and Proterra Inc
    dated May 13, 2019 regarding a battery electric vehicle system for use in Alexander
    Dennis manufactured double decker coach buses.

•   Product Supply Agreement dated June 22, 2018 between Van Hool NV and Proterra
    Inc regarding a battery electric vehicle system for use in Van Hool manufactured
    coach buses.

•   Development Agreement dated July 26, 2018 between Thomas Built Buses Inc and
    Proterra Inc regarding a battery electric vehicle system for use in a Thomas Built
    Buses school bus.

•   Development Agreement dated May 3, 2019 between Daimler Trucks North
    America LLC and its subsidiaries Thomas Built Buses, Inc. and Freightliner
    Custom Chassis Corporation regarding a battery electric vehicle system for us in a
    Thomas Built Buses school bus.

•   Development Agreement between Proterra Inc., and Optimal Inc., dated February
    20, 2020, regarding Proterra’s manufacture and integration of a BEV System into
    the protype Vehicle.

•   Development Agreement between Daimler Purchasing Coordination Corp. (DPCC)
    on behalf of Mercedes-Benz Special Trucks (MBS), and Proterra Inc., dated
    October 10, 2018 regarding Proterra’s supply and integration of Proterra EV
    Products into the truck to create the BEV Prototype.

•   Framework Joint Development Agreement between Mitsui & Co. LTD and Proterra
    Inc, dated March 29, 2019 related to proposing, planning and developing potential
    second life applications for Proterra’s battery systems




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                                              ANNEX 8

                LIST OF DEPOSIT ACCOUNTS, SECURITIES ACCOUNTS
                           AND COMMODITY ACCOUNTS

Deposit Accounts

  Institution Name       Account Number       Account Type   Average balance in       Name of Account
    and Address                                                   account                Owner


   Bank of America,        3360202116             ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.             (AP Account)                      operating account)
     PO Box 15284
    Wilmington DE
         19850
   Bank of America,        1416800807             ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.           (Payroll Account)                   operating account)
     PO Box 15284
    Wilmington DE
         19850
   Bank of America,        1416800548             ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.          (Operating Account)                   sweep account)
     PO Box 15284
    Wilmington DE
         19850
   Bank of America,        1416215378         Cash sweep     $6 million (June 30,        Proterra Inc
          N.A.            (Master/Sweep)                            2020)               BLKACCT FBO
     PO Box 15284                                                                    Bank of America, NA
    Wilmington DE
         19850
   Bank of America,        14168008002            ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.              (Lockbox)                         sweep account)
     PO Box 15284
    Wilmington DE
         19850
      Merrill Lynch         88Q-03267            Asset       $52 million (June 30,      Proterra Inc
 2049 Century Park E    (Asset management)    management           2020)
        11/12 FL
    Century City CA
         90067
  Silicon Valley Bank      3301048094             ZBA         $0 (ZBA linked to         Proterra Inc
 3353 Peachtree Road     (Analysis Checking                   sweep account)
    NE, Suite M-10           Account)
   Atlanta GA 30326
  Silicon Valley Bank      3300830812             ZBA         $0 (ZBA linked to         Proterra Inc
 3353 Peachtree Road     (Payroll Account)                    sweep account)
    NE, Suite M-10
   Atlanta GA 30326




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 Silicon Valley Bank      6600002469          Cash sweep       $53,141 (June 30,        Proterra Inc
3353 Peachtree Road       (Cash Sweep                               2020)
   NE, Suite M-10           Account)
  Atlanta GA 30326
 Silicon Valley Bank   3302177619 (Cash      Cash collateral   $131,470 (June 30,       Proterra Inc
3353 Peachtree Road    collateral account)                          2020)           (restricted cash – LC
   NE, Suite M-10                                                                         for MTA)
  Atlanta GA 30326
 Silicon Valley Bank   3301249848 (Cash      Cash collateral   $375,000 (June 30,       Proterra Inc
3353 Peachtree Road    collateral account)                          2020)           (restricted cash – LC
   NE, Suite M-10                                                                    for workers comp
  Atlanta GA 30326                                                                         policy)
     Philadelphia              NA            Cash collateral       $169,423             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond -
  Walnut Creek, CA           SCVTA)
       94597
     Philadelphia                NA          Cash collateral      $2,905,109            Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA       City of San Jose)
       94597
     Philadelphia              NA            Cash collateral       $589,704             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA            CTA)
       94597
     Philadelphia               NA           Cash collateral      $1,532,187            Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA      City and County of
       94597              San Francisco)
     Philadelphia               NA           Cash collateral      $1,637,906            Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA            SCVTA)
       94597
     Philadelphia              NA            Cash collateral       $471,796             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA       Foothill Transit)
       94597
     Philadelphia              NA            Cash collateral       $920,098             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA         Toronto TC)
       94597
     Philadelphia              NA            Cash collateral       $660,096             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA      Delaware Transit
       94597                  Corp)


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     Philadelphia             NA            Cash collateral    $460,448         Proterra Inc
 Insurance Company     (Cash security for                                     (restricted cash)
   1277 Treat Blvd    performance bond –
  Walnut Creek, CA    San Francisco MTA)
       94597
     Philadelphia              NA           Cash collateral   $1,431,400        Proterra Inc
 Insurance Company    (Cash security for                                      (restricted cash)
   1277 Treat Blvd    performance bond –
  Walnut Creek, CA    Miami-Dade County)
       94597



Securities Accounts

       None.


Commodity Accounts

       None.




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                                 ANNEX 9

                   LIST OF COMMERCIAL TORT CLAIMS

None.




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                        EXHIBIT B

                Form of IP Security Agreement
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                                      SECURITY AGREEMENT

   FORM OF [COPYRIGHT] [PATENT] [TRADEMARK] SECURITY AGREEMENT

        THIS [COPYRIGHT] [PATENT] [TRADEMARK] SECURITY AGREEMENT, dated
as of [●], 2020, is made by PROTERRA INC. (the “Grantor”), in favor of [●], as collateral agent
(in such capacities, together with its successors and permitted assigns, the “Collateral Agent”)
for the Secured Parties.

                                          W I T N E S E T H:

       WHEREAS, pursuant to that certain Note Purchase Agreement, dated as of [●], 2020 (as
amended, supplemented, restated, extended, renewed or replaced from time to time, the “Note
Purchase Agreement”), among Grantor and the Investors from time to time party thereto, the
Investors have agreed to purchase Notes for consideration set forth in, and upon the terms and
conditions provided therein; and

        WHEREAS, Grantor is a party to that certain Security Agreement, dated as of [●], 2020
(as may be amended, restated, amended and restated, supplemented or otherwise modified from
time to time, the “Security Agreement”), pursuant to which Grantor is required to execute and
deliver this [Copyright] [Patent] [Trademark] Security Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth
herein and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, it is hereby agreed that:

                       Section 1.     Defined Terms. Capitalized terms used herein without
definition are used as defined in the Note Purchase Agreement or Security Agreement.

                        Section 2.        Grant of Security Interest in [Copyright] [Trademark]
[Patent] Collateral. Grantor, as collateral security for the prompt and complete payment and
performance when due (whether at stated maturity, by acceleration or otherwise) of the Obligations
of Grantor, hereby grants to the Collateral Agent for the benefit of the Secured Parties a Lien on
and security interest in, all of its right, title and interest in, to and under the following Collateral of
such Grantor (the “[Copyright] [Patent] [Trademark] Collateral”):

               (a)     [all of its United States copyright registrations and applications, including,
without limitation, those referred to on Schedule 1 hereto;

                (b)     all renewals, reversions and extensions of the foregoing; and

              (c)     all income, royalties, proceeds and liabilities at any time due or payable or
asserted under and with respect to any of the foregoing, including, without limitation, all rights to
sue and recover at law or in equity for any past, present and future infringement, violation or other
impairment thereof.]

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                              (a)    [all of its United States issued patents and applications,
               including, without limitation, those referred to on Schedule 1 hereto;

                (b)   all reissues, reexaminations, continuations,            continuations-in-part,
divisionals, renewals and extensions of the foregoing; and

              (c)     all income, royalties, proceeds and liabilities at any time due or payable or
asserted under and with respect to any of the foregoing, including, without limitation, all rights to
sue and recover at law or in equity for any past, present and future infringement, violation or other
impairment thereof.]

               or

                              (a)    [all of its United States trademark registrations and
               applications, including, without limitation, those referred to on Schedule 1 hereto;

               (b)     all renewals and extensions of the foregoing;

              (c)    all goodwill of the business connected with the use of, and symbolized by,
each such trademark; and

                (d)     all income, royalties, proceeds and liabilities at any time due or payable or
asserted under and with respect to any of the foregoing, including, without limitation, all rights to
sue and recover at law or in equity for any past, present and future infringement, misappropriation,
dilution, violation or other impairment thereof.]

                         Section 3.     Security Agreement. The security interest granted pursuant
to this [Copyright] [Patent] [Trademark] Security Agreement is granted in conjunction with the
security interest granted to the Collateral Agent pursuant to the Security Agreement and Grantor
hereby acknowledges and agrees that the rights and remedies of the Collateral Agent with respect
to the security interest in the [Copyright] [Patent] [Trademark] Collateral made and granted hereby
are more fully set forth in the Security Agreement. In the event that any provision of this
[Copyright] [Patent] [Trademark] Security Agreement is deemed to conflict with the Security
Agreement, the provisions of the Security Agreement shall control.

                      Section 4.     Counterparts. This [Copyright] [Patent] [Trademark]
Security Agreement may be executed in any number of counterparts and by different parties in
separate counterparts, each of which when so executed shall be deemed to be an original and all
of which taken together shall constitute one and the same agreement. Signature pages may be
detached from multiple separate counterparts and attached to a single counterpart.

       Section 5.     Governing Law.        This [Copyright] [Patent] [Trademark] Security
Agreement and the rights and obligations of the parties hereto shall be governed by, and construed
and interpreted in accordance with, the law of the State of New York.

      Section 6.     Financing Document. This [Copyright] [Patent] [Trademark] Security
Agreement constitutes a “Financing Document” under and as defined in the Note Purchase
Agreement and is subject to the terms and provisions therein regarding Financing Documents. In
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the event of a conflict between the terms and conditions of this [Copyright][Patent][Trademark]
Agreement and the terms and conditions of the Note Purchase Agreement, the terms and conditions
of the Note Purchase Agreement shall control.




                                  [Signature Pages Follow]
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IN WITNESS WHEREOF, Grantor has caused this [Copyright] [Patent] [Trademark] Security
Agreement to be executed and delivered by its duly authorized officer as of the date first set forth
above.

                                                PROTERRA INC.
                                                as Grantor


                                                By:
                                                Name:
                                                Title:




                 [Signature Page To [Copyright] [Patent] [Trademark] Security Agreement]
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ACCEPTED AND AGREED
as of the date first above written:

[●], as Collateral Agent


By:
Name:
Title:




                  [Signature Page To [Copyright] [Patent] [Trademark] Security Agreement]
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                                  Schedule 1

                   [Copyrights] [Patents] [Trademarks]




     [Signature Page To [Copyright] [Patent] [Trademark] Security Agreement]
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                         EXHIBIT D



          SHORT FORM IP SECURITY AGREEMENTS
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                                      SECURITY AGREEMENT

   FORM OF [COPYRIGHT] [PATENT] [TRADEMARK] SECURITY AGREEMENT

        THIS [COPYRIGHT] [PATENT] [TRADEMARK] SECURITY AGREEMENT, dated
as of [●], 2020, is made by PROTERRA INC. (the “Grantor”), in favor of [●], as collateral agent
(in such capacities, together with its successors and permitted assigns, the “Collateral Agent”)
for the Secured Parties.

                                          W I T N E S E T H:

       WHEREAS, pursuant to that certain Note Purchase Agreement, dated as of [●], 2020 (as
amended, supplemented, restated, extended, renewed or replaced from time to time, the “Note
Purchase Agreement”), among Grantor and the Investors from time to time party thereto, the
Investors have agreed to purchase Notes for consideration set forth in, and upon the terms and
conditions provided therein; and

        WHEREAS, Grantor is a party to that certain Security Agreement, dated as of [●], 2020
(as may be amended, restated, amended and restated, supplemented or otherwise modified from
time to time, the “Security Agreement”), pursuant to which Grantor is required to execute and
deliver this [Copyright] [Patent] [Trademark] Security Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth
herein and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, it is hereby agreed that:

                       Section 1.     Defined Terms. Capitalized terms used herein without
definition are used as defined in the Note Purchase Agreement or Security Agreement.

                        Section 2.        Grant of Security Interest in [Copyright] [Trademark]
[Patent] Collateral. Grantor, as collateral security for the prompt and complete payment and
performance when due (whether at stated maturity, by acceleration or otherwise) of the Obligations
of Grantor, hereby grants to the Collateral Agent for the benefit of the Secured Parties a Lien on
and security interest in, all of its right, title and interest in, to and under the following Collateral of
such Grantor (the “[Copyright] [Patent] [Trademark] Collateral”):

               (a)     [all of its United States copyright registrations and applications, including,
without limitation, those referred to on Schedule 1 hereto;

                (b)     all renewals, reversions and extensions of the foregoing; and

              (c)     all income, royalties, proceeds and liabilities at any time due or payable or
asserted under and with respect to any of the foregoing, including, without limitation, all rights to
sue and recover at law or in equity for any past, present and future infringement, violation or other
impairment thereof.]

                or
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                              (a)    [all of its United States issued patents and applications,
               including, without limitation, those referred to on Schedule 1 hereto;

                (b)   all reissues, reexaminations, continuations,            continuations-in-part,
divisionals, renewals and extensions of the foregoing; and

              (c)     all income, royalties, proceeds and liabilities at any time due or payable or
asserted under and with respect to any of the foregoing, including, without limitation, all rights to
sue and recover at law or in equity for any past, present and future infringement, violation or other
impairment thereof.]

               or

                              (a)    [all of its United States trademark registrations and
               applications, including, without limitation, those referred to on Schedule 1 hereto;

               (b)     all renewals and extensions of the foregoing;

              (c)    all goodwill of the business connected with the use of, and symbolized by,
each such trademark; and

                (d)     all income, royalties, proceeds and liabilities at any time due or payable or
asserted under and with respect to any of the foregoing, including, without limitation, all rights to
sue and recover at law or in equity for any past, present and future infringement, misappropriation,
dilution, violation or other impairment thereof.]

                         Section 3.     Security Agreement. The security interest granted pursuant
to this [Copyright] [Patent] [Trademark] Security Agreement is granted in conjunction with the
security interest granted to the Collateral Agent pursuant to the Security Agreement and Grantor
hereby acknowledges and agrees that the rights and remedies of the Collateral Agent with respect
to the security interest in the [Copyright] [Patent] [Trademark] Collateral made and granted hereby
are more fully set forth in the Security Agreement. In the event that any provision of this
[Copyright] [Patent] [Trademark] Security Agreement is deemed to conflict with the Security
Agreement, the provisions of the Security Agreement shall control.

                      Section 4.     Counterparts. This [Copyright] [Patent] [Trademark]
Security Agreement may be executed in any number of counterparts and by different parties in
separate counterparts, each of which when so executed shall be deemed to be an original and all
of which taken together shall constitute one and the same agreement. Signature pages may be
detached from multiple separate counterparts and attached to a single counterpart.

       Section 5.     Governing Law.        This [Copyright] [Patent] [Trademark] Security
Agreement and the rights and obligations of the parties hereto shall be governed by, and construed
and interpreted in accordance with, the law of the State of New York.

      Section 6.     Financing Document. This [Copyright] [Patent] [Trademark] Security
Agreement constitutes a “Financing Document” under and as defined in the Note Purchase
Agreement and is subject to the terms and provisions therein regarding Financing Documents. In
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the event of a conflict between the terms and conditions of this [Copyright][Patent][Trademark]
Agreement and the terms and conditions of the Note Purchase Agreement, the terms and conditions
of the Note Purchase Agreement shall control.




                                  [Signature Pages Follow]
          Case 23-11120-BLS           Doc 690-2       Filed 12/06/23       Page 219 of 288




IN WITNESS WHEREOF, Grantor has caused this [Copyright] [Patent] [Trademark] Security
Agreement to be executed and delivered by its duly authorized officer as of the date first set forth
above.

                                                PROTERRA INC.
                                                as Grantor


                                                By:
                                                Name:
                                                Title:




                 [Signature Page To [Copyright] [Patent] [Trademark] Security Agreement]
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ACCEPTED AND AGREED
as of the date first above written:

[●], as Collateral Agent


By:
Name:
Title:




                  [Signature Page To [Copyright] [Patent] [Trademark] Security Agreement]
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                                  Schedule 1

                   [Copyrights] [Patents] [Trademarks]




     [Signature Page To [Copyright] [Patent] [Trademark] Security Agreement]
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                         EXHIBIT E



                PERFECTION CERTIFICATE
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                                                                        EXECUTION VERSION

                                PERFECTION CERTIFICATE

                                        AUGUST 4, 2020

               Reference is hereby made to that certain Security Agreement, dated as of August 4,
2020 (as amended, supplemented, restated, extended, renewed or replaced from time to time, the
“Security Agreement”), by and among Proterra Inc (the “Company”), other grantors party thereto
from time to time and CSI GP I LLC, in its capacity as collateral agent for the Secured Parties (in
such capacity, the “Collateral Agent”). Capitalized terms used but not defined herein have the
meanings assigned to such terms in the Security Agreement or the Note Purchase Agreement, as
applicable.

               The undersigned hereby certifies to the Collateral Agent and each holder of Notes
as follows, as of the date hereof:

1.     Name

       (a)    The exact legal name of the Company as that name appears in its organizational
documents, filed with the Secretary of State of the Company’s jurisdiction of incorporation, is as
follows:

               Proterra Inc

        (b)     The exact name of the Company as that name appears on all Federal tax returns for
the last five years is as follows:

               Proterra Inc

        (c)    The following is a true, correct and complete list of all other names (including trade
names or similar appellations) used by the Company, or any other business or organization to
which the Company became the successor by merger, consolidation, continuance, acquisition,
change in form, nature or jurisdiction of organization or otherwise, now or at any time during the
past five years and in the case of any such business or organization, any chief executive office or
other principal place of address used thereby during such period to the extent known to the
Company:

 Entity Name                                       Other Names
          Proterra Inc                             Proterra Inc will do business in California as
                                                   Proterra Bus Company, 1 Whitlee Court,
                                                   Greenville SC 26907

                                                   In Florida, doing business as Proterra Electric
                                                   Buses Inc.

                                                   In Texas, doing business as Proterra Electric
                                                   Buses, Inc.
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 Entity Name                                       Other Names
                                                   In Utah, doing business as Proterra Electric
                                                   Buses Inc.

                                                   In North Carolina, doing business as Proterra
                                                   Electric Buses, Inc.




       (d)      The following is the Company’s federal employer identification number:

 Entity Name                                       FEIN
          Proterra Inc                             XX-XXXXXXX


2.     Current Locations

       (a)      The following is the jurisdiction of organization of the Company:

 Entity Name                                       Jurisdiction of Organization
          Proterra Inc                                           Delaware


       (b)      The chief executive office of the Company is located at the following address:

                       1815 Rollins Road, Burlingame, California 94010


       (c)     The following is a true, correct and complete list of all other locations in which the
Company maintains any books or records relating to any accounts, contract rights, chattel paper,
general intangibles or mobile goods:

                (i)    in the United States of America:

                       1815 Rollins Road, Burlingame, California 94010

                       383 Cheryl Lane, City of Industry, California 91789

                       1 Whitlee Court, Greenville, South Carolina, 26907

                (ii)   outside the United States of America:

                       None.



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      (d)    The following is a true, correct and complete list of all other places of business of
the Company:

               (i)    in the United States of America:

               1. 1815 Rollins Road, Burlingame, California 94010

               2. 1835 Rollins Road, Burlingame, California 94010

               3. 1 Whitlee Court, Greenville, South Carolina 29607

               4. 5 Hercules Way, Greenville, South Carolina 29605

               5. One Parkway South, Greenville, South Carolina 29615

               6. 2299 Ridge Road, Greenville, South Carolina 29607

               7. 383-393 South Cheryl Lane, City of Industry, California 91789

               8. 294 S. Leland Norton Way, Suite 1A, San Bernardino, CA 92408

               9. 511-A South Florida Ave, Greenville, South Carolina 29611

               10. Expeditors International of Washington Inc, 425 Valley Drive Brisbane,
                   California 94005

               11. Expeditors International of Washington Inc, 1001 & 1075 Montague
                   Expressway, Milpitas, California 95035


               (ii)   outside the United States of America:

                      None.

       (e)     The following is a true, correct and complete list of all other locations where any
inventory or equipment of the Company is located, the value of which held at any such location is
in excess of $500,000, excluding buses used for demonstration purposes temporarily at or near
customer or prospective customer locations and specifically identified on Schedule 11(d):

               (i)    in the United States of America:

               1. 1815 Rollins Road, Burlingame, California 94010

               2. 1 Whitlee Court, Greenville, South Carolina 29607

               3. 2299 Ridge Road, Greenville, South Carolina 29607

               4. 383-393 South Cheryl Lane, City of Industry, California 91789

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                5. Rhombus, 15301 Century Drive, Suite 204, Dearborn, MI 48120 (chargers
                   stored at our contract manufacturer)

                6. Expeditors International of Washington Inc, 1001 & 1075 Montague
                   Expressway, Milpitas, California 95035

                (ii)    outside the United States of America:

                        None.

        (f)      The following is a true, correct and complete list of the names and addresses of all
persons or entities (other than (i) the Company and (ii) as set forth in Section 4(b) below) such as
lessees, consignees, warehousemen or purchasers of chattel paper, which have possession or are
intended to have possession of any of the Collateral (as defined in the Security Agreement)
consisting of chattel paper, inventory or equipment, the value of which held by each such person
or entity is in excess of $500,000:

              1. New York City Transit Authority

                 215 Broadway, Brooklyn, NY 11211

              2. Jones Lang LaSalle Americas (Illinois)

                 180 N Stetson Ave Suite 840, Chicago, IL 60601

3.     Prior Locations

       (a)    Set forth below is a true, correct and complete list of each location or place of
business previously (but not currently) maintained by the Company or at which books or records
were previously (but not currently) maintained with respect to the items describe in §2(c) above at
any time during the past four months:

                None.

        (b)     The Company has not changed its jurisdiction of organization or chief executive
office at any time during the past four months (if the Company has, set forth below is the prior
jurisdiction of organization or location of chief executive office of the Company):

                None.

4.     Real Property Owned or Leased

Set forth below is a true, correct and complete list of all locations where the Company owns or
leases real property:

       (a)      Owned property:

                None.

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       (b)     Leased property:

               1. 1815 Rollins Road, Burlingame, California 94010

               2. 1835 Rollins Road, Burlingame, California 94010

               3. 1 Whitlee Court, Greenville, South Carolina 29607

               4. 5 Hercules Way, Greenville, South Carolina 29605

               5. One Parkway South, Greenville, South Carolina 29615
               6. 2299 Ridge Road, Greenville, South Carolina 29607

               7. 511-A South Florida Ave, Greenville, South Carolina 29611
               8. 383-393 South Cheryl Lane, City of Industry, California 91789

               9. 294 S. Leland Norton Way, Suite 1A, San Bernardino, CA 92408

               10. Expeditors International of Washington Inc, 425 Valley Drive Brisbane,
                   California 94005

               11.Expeditors International of Washington Inc, 1001 & 1075 Montague
                   Expressway, Milpitas, California 95035

               12. 2791 Research Drive, Rochester Hills, Michigan

               13. 100 West Big Beaver Road, Suite 200, Troy, Michigan

5.     Intellectual Property

Set forth on Schedule 5 attached hereto is a true, correct and complete list of all United States and
foreign patents, copyrights, trademarks, trade names and service marks registered or for which
applications are pending in the name of the Company.

6.     Deposit Accounts, Securities Accounts and Commodities Accounts

Set forth on Schedule 6 attached hereto is a true, correct and complete list of all bank accounts
(including lockbox, securities and commodities accounts) maintained by the Company (provide
name and address of depository bank, type of account and account number).

7.     Investment Property

Set forth on Schedule 7 attached hereto is a true, correct and complete list of (i) all stocks, bonds,
debentures, notes and other securities and investment property owned by the Company, except to
the extent such investment is held in or credited to a securities account set forth on Schedule 6,


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and (ii) all limited liability company, partnership and limited partnership interests owned by the
Company (provide name of issuer, description of security or interest and value).

8.      Commercial Tort Claims

Set forth on Schedule 8 attached hereto is a true, correct and complete description of all existing
commercial tort claims having a value in excess of $500,000 held by the Company (provide brief
description of each claim).

9.      Letter of Credit Rights

Set forth on Schedule 9 attached hereto is a true, correct and complete description of all existing
letter of credit rights (provide name or issuer and brief description).

10.     Key Man Life Insurance

Set forth on Schedule 10 attached hereto is a list of all key man life insurance policies maintained
by the Company.

11.     Other Collateral.

Set forth on Schedule 11 attached hereto is a true, correct and complete list of all of the following
types of Collateral, together with the location (in the case of clauses (c) through (i)) of such
Collateral, owned or held by the Company: (a) all material agreements generating revenue in
excess of $1,000,000, (b) all contracts with and grant agreements from any governmental authority
generating revenues in excess of $500,000, (c) all aircraft, airplanes, ships, boats, and vessels, (d)
all rolling stock owned by the Company for its own business use, excluding rolling stock built for
sale, (e) all oil, gas, minerals and as extracted collateral, including, without limitation, any
wellhead or minehead used in the extraction of minerals, (f) all farm products, (g) all timber, (h)
all motor vehicles excluding vehicles built for sale or included in section (d) above and (i) all other
equipment of the Company which are subject to any certificate of title or other registration statute
of the United States, any state or any other jurisdiction; provided, that, in the case of the foregoing
clauses (c) through (i), no such list or description shall be required to the extent the aggregate fair
market value of all such collateral described in the foregoing clauses (c) through (i) does not exceed
on the date hereof $500,000.

12.     Extraordinary Transactions.

All of the Collateral has been originated by the Company in the ordinary course of business or
consists of goods which have been acquired by the Company in the ordinary course of business
from a person in the business of selling goods of that kind, except for those purchases, acquisitions
and other transactions listed below:

None.




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                    [Signature pages follow]




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        IN WITNESS WHEREOF, the undersigned hereby executes this Perfection Certificate
as of the date first written above.

                                                  PROTERRA INC



                                                  By:
                                                  Name:
                                                  Title:




                           [Signature Page to Perfection Certificate]
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                                                          SCHEDULE 5

                                                   INTELLECTUAL PROPERTY

Patents


  Reference                                Patent        Issue     Application     Filing
                        Title                                                                 Country     Status
     No.                                   Number        Date       Number         Date
 00041-       VEHICLE BATTERY SYSTEMS     8453773      6/4/2013    12/459,074    6/26/2009   United      Issued
 0001-00000   AND METHODS                                                                    States

 00041-       VEHICLE BATTERY SYSTEMS     2009261982   12/4/2014   2009261982    6/26/2009   Australia   Issued
 0001-00110   AND METHODS

 00041-       VEHICLE BATTERY SYSTEMS     2728679      8/2/2016    2728679       6/26/2009   Canada      Issued
 0001-00131   AND METHODS

 00041-       VEHICLE BATTERY SYSTEMS     2307218      9/30/2015   9771205.3     6/26/2009   European    Issued
 0001-00155   AND METHODS                                                                    Patent
                                                                                             Office
 00041-       VEHICLE BATTERY SYSTEMS     318588       3/19/2014   MX/a/2010/ 6/26/2009      Mexico      Issued
 0001-00223   AND METHODS                                          014560

 00041-       LOW-FLOOR ELECTRIC BUS      9252417      2/2/2016    13/887,135    5/3/2013    United      Issued
 0001-01000                                                                                  States
 00041-       VEHICLE BATTERY SYSTEMS                              15183066.8    6/29/2009   European    Pending
 0001-01155   AND METHODS                                                                    Patent
                                                                                             Office
 00041-       LOW-FLOOR ELECTRIC BUS      9680139      6/13/2017   14/992,900    1/11/2016   United      Issued
 0001-03000                                                                                  States
 00041-       LOW-FLOOR ELECTRIC          10505164     12/10/201   15/589,170    5/8/2017    United      Issued
 0001-04000   VEHICLE                                  9                                     States
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Reference                                  Patent        Issue     Application     Filing
                        Title                                                                 Country     Status
   No.                                     Number        Date       Number         Date
00041-       ELECTRIC BUS                                          16/601,801    10/15/201   United      Pending
0001-05000                                                                       9           States
00041-       CHARGING STATIONS FOR        8324858      12/4/2012   12/496,569    7/1/2009    United      Issued
0002-00000   ELECTRIC VEHICLES                                                               States

00041-       CHARGING STATIONS FOR        2009266952   8/29/2013   2009266952    7/1/2009    Australia   Issued
0002-00110   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR        2729356      2/7/2017    2729356       7/1/2009    Canada      Issued
0002-00131   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR        2296933      10/5/2016   9774471.8     7/1/2009    European    Issued
0002-00155   ELECTRIC VEHICLES                                                               Patent
                                                                                             Office
00041-       CHARGING STATIONS FOR        210178       4/1/2015    210178        7/1/2009    Israel      Issued
0002-00186   ELECTRIC VEHICLES

00041-       CHARGING STATIONS FOR        298780       5/2/2012    MX/a/2010/ 7/1/2009       Mexico      Issued
0002-00223   ELECTRIC VEHICLES                                     014551

00041-       Methods and Systems for      8829853      9/9/2014    13/678,493    11/15/201   United      Issued
0002-01000   Charging Vehicles                                                   2           States

00041-       CHARGING STATIONS FOR        3141417      2/27/2019   16191966.7    7/1/2009    European    Issued
0002-01155   ELECTRIC VEHICLES                                                               Patent
                                                                                             Office
00041-       CHARGING STATIONS FOR        315272       11/12/201   MX/a/2012/ 7/1/2009       Mexico      Issued
0002-01223   ELECTRIC VEHICLES                         3           005077

00041-       CHARGING SYSTEMS FOR         9446672      9/20/2016   14/449,842    8/1/2014    United      Issued
0002-02000   ELECTRIC VEHICLES                                                               States
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Reference                                 Patent      Issue     Application     Filing
                       Title                                                               Country     Status
   No.                                    Number      Date       Number         Date
00041-       CHARGING SYSTEMS FOR        10112498   10/30/201   15/244,277    8/23/2016   United     Issued
0002-03000   ELECTRIC VEHICLES                      8                                     States

00041-       CHARGING SYSTEMS FOR        9908435    3/6/2018    15/485,385    4/12/2017   United     Issued
0002-04000   ELECTRIC VEHICLES                                                            States

00041-       CHARGING SYSTEMS FOR                               16/149,919    10/2/2018   United     Pending
0002-05000   ELECTRIC VEHICLES                                                            States

00041-       CHARGING OF ELECTRIC        9352658    5/31/2016   13/518,847    11/26/201   United     Issued
0003-00000   VEHICLES                                                         3           States
00041-       CHARGING STATIONS FOR       2785516    9/17/2019   2785516       12/22/201   Canada     Issued
0003-00131   ELECTRIC VEHICLES                                                0

00041-       CHARGING STATIONS FOR       317386     1/22/2014   MX/a/2012/ 12/22/201      Mexico     Issued
0003-00223   ELECTRIC VEHICLES                                  007381     0

00041-       ELECTRIC VEHICLES AND       10232724   3/19/2019   15/145,280    5/3/2016    United     Issued
0003-01000   CHARGING STATIONS                                                            States

00041-       CHARGING STATIONS FOR       10518656   12/31/201   16/266,175    2/4/2019    United     Issued
0003-02000   ELECTRIC VEHICLES                      9                                     States

00041-       ELECTRIC VEHICLES AND                              16/691,695    11/22/201   United     Pending
0003-03000   CHARGING STATIONS                                                9           States

00041-       SYSTEMS AND METHODS FOR     9365128    6/14/2016   13/643,541    4/11/2013   United     Issued
0005-00000   AUTOMATIC CONNECTION                                                         States
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
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Reference                                Patent        Issue     Application     Filing
                      Title                                                                 Country     Status
   No.                                   Number        Date       Number         Date
00041-       SYSTEMS AND METHODS FOR                             2797575       4/26/2011   Canada     Pending
0005-00131   AUTOMATIC CONNECTION
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR    ZL20118002   9/14/2016   2.0118E+11    4/26/2011   China      Issued
0005-00139   AUTOMATIC CONNECTION       6409.5
             AND CHARGING OF AN
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR                             11777906.6    4/26/2011   European   Pending
0005-00155   AUTOMATIC CONNECTION                                                          Patent
             AND CHARGING OF AN                                                            Office
             ELECTRIC VEHICLE AT A
             CHARGING STATION
00041-       SYSTEMS AND METHODS FOR    9764653      9/19/2017   15/144,406    5/2/2016    United     Issued
0005-01000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR    9975444      5/22/2018   15/694,421    9/1/2017    United     Issued
0005-02000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR    10384553     8/20/2019   15/958,165    4/20/2018   United     Issued
0005-03000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR                             16/502,123    7/3/2019    United     Pending
0005-04000   CHARGING AN ELECTRIC                                                          States
             VEHICLE AT A CHARGING
             STATION
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Reference                                 Patent        Issue     Application     Filing
                       Title                                                                 Country     Status
   No.                                    Number        Date       Number         Date
00041-       SYSTEMS AND METHODS FOR                              16/907,766    6/22/2020   United     Pending
0005-05000   CHARGING AN ELECTRIC                                                           States
             VEHICLE AT A CHARGING
             STATION
00041-       SYSTEMS AND METHODS FOR     9496730      11/15/201   13/193,278    7/28/2011   United     Issued
0006-00000   BATTERY MANAGEMENT                       6                                     States

00041-       SYSTEMS AND METHODS FOR     2.0118E+11   12/21/201   2.0118E+11    7/28/2011   China      Issued
0006-00139   BATTERY MANAGEMENT                       6

00041-       SYSTEMS AND METHODS FOR                  4/1/2020    11822290      7/28/2011   European   Issued
0006-00155   BATTERY MANAGEMENT                                                             Patent
                                                                                            Office
00041-       SYSTEMS AND METHODS FOR     324330       10/10/201   MX/a/2013/ 7/28/2011      Mexico     Issued
0006-00223   BATTERY MANAGEMENT                       4           002538

00041-       METHODS FOR ELECTRIC BUS    9496735      11/15/201   13/825,531    5/22/2013   United     Issued
0007-00000   CHARGING TO INCREASE                     6                                     States
             BATTERY LIFE
00041-       SYSTEMS AND METHODS FOR     8975866      3/10/2015   14/249,175    4/9/2014    United     Issued
0009-00000   BATTERY LIFE MAXIMIZATION                                                      States
             UNDER FIXED-ROUTE
             APPLICATIONS
00041-       SYSTEMS AND METHODS FOR     2851503      1/7/2020    2851503       10/10/201   Canada     Issued
0009-00131   BATTERY LIFE MAXIMIZATION                                          2
             UNDER FIXED-ROUTE
             APPLICATIONS
00041-       SYSTEMS AND METHODS FOR     2766216      5/27/2020   12840270.8    10/10/201   European   Issued
0009-00155   BATTERY LIFE MAXIMIZATION                                          2           Patent
             UNDER FIXED-ROUTE                                                              Office
             APPLICATIONS
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Reference                                   Patent      Issue     Application     Filing
                        Title                                                                Country     Status
   No.                                      Number      Date       Number         Date
00041-       BUS                           D642092    7/26/2011   29/368,987    8/31/2010   United     Issued
0010-00000                                                                                  States
00041-       SIDE-FACING VEHICLE           9718367    8/1/2017    14/420,872    2/10/2015   United     Issued
0011-01000   CHARGING SYSTEMS                                                               States

00041-       SYSTEMS AND METHODS FOR                              2890753       11/13/201   Canada     Pending
0013-00131   ENABLING FAST CHARGING                                             3
             OF AN ELECTRIC VEHICLE AT A
             CHARGING STATION

00041-       SYSTEMS AND METHODS FOR       2920022    1/10/2018   13855153.6    11/13/201   European   Issued
0013-00155   ENABLING FAST CHARGING                                             3           Patent
             OF AN ELECTRIC VEHICLE AT A                                                    Office
             CHARGING STATION

00041-       ELECTRIC VEHICLE CHARGING     9925887    3/27/2018   14/442,200    5/12/2015   United     Issued
0013-01000   INTERFACE                                                                      States

00041-       SYSTEMS AND METHODS FOR       3299212    10/30/201   17200683.5    11/13/201   European   Issued
0013-01155   ENABLING FAST CHARGING                   9                         3           Patent
             OF AN ELECTRIC VEHICLE AT A                                                    Office
             CHARGING STATION

00041-       ELECTRIC VEHICLE CHARGING     10696174   6/30/2020   15/890,534    2/7/2018    United     Pending
0013-02000   INTERFACE                                                                      States

00041-       TRANSMISSION CONTROL          8827867    9/9/2014    14/179,388    2/12/2014   United     Issued
4001-00000   SYSTEM FOR AN ELECTRIC                                                         States
             VEHICLE
00041-       ELECTRIC VEHICLE CHARGING     10377251   8/13/2019   14/670,027    3/26/2015   United     Issued
4002-00000   INTERFACE                                                                      States
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Reference                                 Patent      Issue     Application     Filing
                       Title                                                               Country     Status
   No.                                    Number      Date       Number         Date
00041-       CHARGING OF A FLEET OF      10017068   7/10/2018   14/309,560    6/19/2014   United     Issued
4003-00000   ELECTRIC VEHICLES                                                            States

00041-       CHARGING OF A FLEET OF                             15172411.9    6/16/2015   European   Pending
4003-00155   ELECTRIC VEHICLES                                                            Patent
                                                                                          Office
00041-       CHARGING OF AN ELECTRIC                            16/005,156    6/11/2018   United     Pending
4003-01000   VEHICLE FLEET                                                                States

00041-       SYSTEMS AND METHODS FOR     10125799   11/13/201   14/701,880    5/1/2015    United     Issued
4006-00000   MOUNTING OBJECTS TO A                  8                                     States
             STRUCTURE
00041-       SYSTEMS AND METHODS FOR                            2927219       4/14/2016   Canada     Pending
4006-00131   MOUNTING OBJECTS TO A
             STRUCTURE
00041-       SYSTEMS AND METHODS FOR                            16167678.8    4/29/2016   European   Pending
4006-00155   MOUNTING OBJECTS TO A                                                        Patent
             STRUCTURE                                                                    Office
00041-       CHARGE HEAD LANDING         9809122    11/7/2017   14/980,697    12/28/201   United     Issued
4007-00000   SWITCH                                                           5           States
00041-       DETERMINING VEHICLE         9315111    4/19/2016   14/755,738    6/30/2015   United     Issued
4008-00000   POSITION USING RFID                                                          States

00041-       ACCELERATION CONTROL FOR    9096135    8/4/2015    14/498,422    9/26/2014   United     Issued
4009-00000   AN ELECTRIC VEHICLE                                                          States

00041-       CONTROLLING ELECTRIC        9321355    4/26/2016   14/755,981    6/30/2015   United     Issued
4011-00000   VEHICLE OPERATION BASED                                                      States
             ON INCLINATION
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Reference                                  Patent     Issue     Application     Filing
                        Title                                                              Country     Status
   No.                                     Number     Date       Number         Date
00041-       SYSTEM AND METHOD TO         9776520   10/3/2017   14/671,163    3/27/2015   United     Issued
4012-00000   ASSIST IN VEHICLE                                                            States
             POSITIONING
00041-       ELECTRIC VEHICLE CHARGING    9321366   4/26/2016   14/564,378    12/9/2014   United     Issued
4013-00000   BY ADJUSTING CHARGER                                                         States
             CURRENT
00041-       SCALABLE ENERGY STORAGE                            14/586,349    12/30/201   United     Pending
4014-00000   SYSTEM                                                           4           States
00041-       STEERING CONTROL             9302702   4/5/2016    14/671,296    3/27/2015   United     Issued
4017-00000   MECHANISMS FOR AN                                                            States
             ELECTRIC VEHICLE
00041-       WINDOW GASKET FOR A          9296286   3/29/2016   14/661,033    3/18/2015   United     Issued
4018-00000   VEHICLE                                                                      States
00041-       ENERGY CONTROL               9352635   5/31/2016   14/675,200    3/31/2015   United     Issued
4019-00000   MECHANISMS FOR AN                                                            States
             ELECTRIC VEHICLE
00041-       VEHICLE ACCESSIBILITY                              15/087,132    3/31/2016   United     Pending
4020-00000   SYSTEM                                                                       States
00041-       HARNESSING HEAT DURING       9260025   2/16/2016   14/661,060    3/18/2015   United     Issued
4022-00000   ELECTRIC VEHICLE CHARGING                                                    States

00041-       BATTERY SYSTEM COOLING       9905893   2/27/2018   14/788,249    6/30/2015   United     Issued
4024-00000                                                                                States
00041-       BATTERY SYSTEM COOLING                             15/869,705    1/12/2018   United     Pending
4024-01000                                                                                States
00041-       METHOD OF DOCKING AN         9878637   1/30/2018   14/980,672    12/28/201   United     Issued
4025-00000   ELECTRIC VEHICLE FOR                                             5           States
             CHARGING
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                         Title                                                              Country     Status
   No.                                      Number     Date       Number         Date
00041-       METHOD OF DOCKING AN                                16206520.5    12/22/201   European   Pending
4025-00155   ELECTRIC VEHICLE FOR                                              6           Patent
             CHARGING                                                                      Office
00041-       BRAKING SYSTEM OF A                                 14/964,860    12/10/201   United     Pending
5003-00000   HEAVY-DUTY VEHICLE                                                5           States

00041-       STATE OF CHARGE               9423465   8/23/2016   14/755,891    6/30/2015   United     Issued
5005-00000   DETERMINATION                                                                 States
00041-       POSITIONING SYSTEM FOR        9550428   1/24/2017   15/088,359    4/1/2016    United     Issued
5006-00000   ELECTRIC CHARGING                                                             States

00041-       HEATED CHARGING               9321364   4/26/2016   14/788,060    6/30/2015   United     Issued
5008-00000   INTERFACE OF ELECTRIC                                                         States
             VEHICLE
00041-       SPRING LOADED BRUSH           9522603   12/20/201   14/984,468    12/30/201   United     Issued
5011-00000   CARRIER                                 6                         5           States
00041-       ELECTRIC VEHICLE CHARGING                           14/985,126    12/30/201   United     Pending
5019-00000   TO REDUCE UTILITY COST                                            5           States

00041-       ELECTRIC VEHICLE CHARGING                           2952372       12/21/201   Canada     Pending
5019-00131   TO REDUCE UTILITY COST                                            6

00041-       METHOD OF DOCKING AN          9987939   6/5/2018    15/231,992    8/9/2016    United     Issued
5023-00000   ELECTRIC VEHICLE FOR                                                          States
             CHARGING
00041-       Multi Protocol Charge Ports   9669719   6/6/2017    15/227,163    8/3/2016    United     Issued
6001-00000                                                                                 States
00041-       Multi Protocol Charge Ports                         2966747       5/10/2017   Canada     Pending
6001-00131
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Reference                                   Patent      Issue     Application     Filing
                         Title                                                               Country     Status
   No.                                      Number      Date       Number         Date
00041-       Multi Protocol Charge Ports                          17170709.4    5/11/2017   European   Pending
6001-00155                                                                                  Patent
                                                                                            Office
00041-       MULTI-PROTOCOL CHARGE         10442301   10/15/201   15/589,281    5/8/2017    United     Issued
6001-01000   PORT FOR AN ELECTRIC BUS                 9                                     States

00041-       ELECTRIC MOTOR CONTROL        9764658    9/19/2017   15/188,757    6/21/2016   United     Issued
6002-00000   BY TORQUE PERTURBATION                                                         States

00041-       BATTERY SYSTEM OF AN          10272758   4/30/2019   15/341,401    11/2/2016   United     Issued
6004-00000   ELECTRIC VEHICLE                                                               States

00041-       BATTERY SYSTEM OF AN                                 2983327       10/23/201   Canada     Pending
6004-00131   ELECTRIC VEHICLE                                                   7

00041-       BATTERY SYSTEM OF AN                                 17197629.3    10/20/201   European   Pending
6004-00155   ELECTRIC VEHICLE                                                   7           Patent
                                                                                            Office
00041-       BATTERY SYSTEM OF AN          10647189   5/12/2020   16/354,653    3/15/2019   United     Issued
6004-01000   ELECTRIC VEHICLE                                                               States

00041-       BATTERY SYSTEM OF AN                                 16/847,917    4/14/2020   United     Pending
6004-02000   ELECTRIC VEHICLE                                                               States

00041-       THERMAL EVENT                 9954259    4/24/2018   15/372,000    12/7/2016   United     Issued
6005-00000   MANAGEMENT SYSTEM FOR                                                          States
             AN ELECTRIC VEHICLE
00041-       THERMAL EVENT                                        2985451       11/14/201   Canada     Pending
6005-00131   MANAGEMENT SYSTEM FOR                                              7
             AN ELECTRIC VEHICLE
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Reference                                  Patent      Issue     Application     Filing
                       Title                                                                Country     Status
   No.                                     Number      Date       Number         Date
00041-       THERMAL EVENT                                       17201211.4    11/10/201   European   Pending
6005-00155   MANAGEMENT SYSTEM FOR                                             7           Patent
             AN ELECTRIC VEHICLE                                                           Office
00041-       THERMAL EVENT DETECTION      10658714   5/19/2020   15/925,964    3/20/2018   United     Issued
6005-01000   AND MANAGEMENT SYSTEM                                                         States
             FOR AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                              15/485,772    4/12/2017   United     Pending
6006-00000   IMPROVE PERFORMANCE OF                                                        States
             AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                              2999008       3/23/2018   Canada     Pending
6006-00131   IMPROVE PERFORMANCE OF
             AN ELECTRIC VEHICLE

00041-       SYSTEMS AND METHODS TO                              18165137.3    3/29/2018   European   Pending
6006-00155   IMPROVE PERFORMANCE OF                                                        Patent
             AN ELECTRIC VEHICLE                                                           Office

00041-       ELECTRIC VEHICLE CHARGING                           15/705,920    9/15/2017   United     Pending
6007-00000   BY ADJUSTING CHARGER                                                          States
             CURRENT
00041-       LIMITING VOLTAGE SPIKES                             15/699,405    9/8/2017    United     Pending
7001-00000   DURING ELECTRIC VEHICLE                                                       States
             CHARGING
00041-       EFFICIENCY OPTIMIZATION OF                          15/656,037    7/21/2017   United     Pending
7003-00000   MULTI-MOTOR ELECTRIC                                                          States
             VEHICLES
00041-       EFFICIENCY OPTIMIZATION OF                          3010088       6/29/2018   Canada     Pending
7003-00131   MULTI-MOTOR ELECTRIC
             VEHICLES
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Reference                                  Patent      Issue     Application     Filing
                       Title                                                                Country       Status
   No.                                     Number      Date       Number         Date
00041-       EFFICIENCY OPTIMIZATION OF                          18181986.3    7/5/2018    European       Pending
7003-00155   MULTI-MOTOR ELECTRIC                                                          Patent
             VEHICLES                                                                      Office
00041-       CONTROLLING THE                                     3012936       7/31/2018   Canada         Pending
7007-00131   POWERTRAIN OF A VEHICLE

00041-       CONTROLLING THE                                     18186897.7    8/1/2018    European       Pending
7007-00155   POWERTRAIN OF A VEHICLE                                                       Patent
                                                                                           Office
00041-       CONTROLLING THE              10272899   4/30/2019   15/727,221    10/6/2017   United         Issued
7007-01000   POWERTRAIN OF A VEHICLE                                                       States

00041-       CONTROLLING THE              10538231   1/21/2020   16/354,586    3/15/2019   United         Issued
7007-02000   POWERTRAIN OF A VEHICLE                                                       States

00041-       DEPOT CHARGING OF AN                                3078598       10/5/2018   Canada         Pending
7008-00131   ELECTRIC VEHICLE FLEET

00041-       DEPOT CHARGING OF AN                                18797228.6    10/5/2018   European       Pending
7008-00155   ELECTRIC VEHICLE FLEET                                                        Patent
                                                                                           Office
00041-       DEPOT CHARGING OF AN                                PCT/US2018    10/5/2018   World          Pending
7008-00304   ELECTRIC VEHICLE FLEET                              /054649                   Intellectual
                                                                                           Property
                                                                                           Organizatio
                                                                                           n
00041-       DEPOT CHARGING OF AN                                16/753,647    4/3/2020    United         Pending
7008-02000   ELECTRIC VEHICLE FLEET                                                        States

00041-       CONTROLLING THE                                     3019673       10/3/2018   Canada         Pending
7009-00131   POWERTRAIN OF A VEHICLE
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                        Title                                                               Country     Status
   No.                                     Number      Date       Number         Date
00041-       CONTROLLING THE              3467354    3/4/2020    18199052.4    10/8/2018   European   Issued
7009-00155   POWERTRAIN OF A VEHICLE                                                       Patent
                                                                                           Office
00041-       CONTROLLING THE                                     16/153,329    10/5/2018   United     Pending
7009-01000   POWERTRAIN OF A VEHICLE                                                       States

00041-       DYNAMIC BUS ROUTING                                 16/723,130    12/20/201   United     Pending
7010-01000                                                                     9           States
00041-       OVERCURRENT PROTECTION                              15/955,052    4/17/2018   United     Pending
8001-00000   FOR BATTERY SYSTEMS                                                           States

00041-       OVERCURRENT PROTECTION                              3037545       3/21/2019   Canada     Pending
8001-00131   FOR BATTERY SYSTEMS

00041-       OVERCURRENT PROTECTION                              19164104.2    3/20/2019   European   Pending
8001-00155   FOR BATTERY SYSTEMS                                                           Patent
                                                                                           Office
00041-       BALANCING ENERGY IN A                               16/169,594    10/24/201   United     Pending
8002-00000   PARALLELIZED BATTERY                                              8           States
             SYSTEM
00041-       LOCATING AN ELECTRIC                                16/228,918    12/21/201   United     Pending
8006-01000   VEHICLE IN A CHARGING                                             8           States
             STATION
00041-       ELECTRIC VEHICLE             10690234   6/23/2020   16/353,244    3/14/2019   United     Issued
8007-00000   POWERTRAIN                                                                    States
00041-       ELECTRIC VEHICLE                                    3074310       3/3/2020    Canada     Pending
8007-00131   POWERTRAIN
00041-       TEMPERATURE                                         16/429,222    6/3/2019    United     Pending
8008-00000   MANAGEMENT SYSTEMS AND                                                        States
             METHODS FOR ELECTRIC
             VEHICLE
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                       Title                                                              Country     Status
   No.                                    Number     Date       Number         Date
00041-       TEMPERATURE                                                     5/28/2020   Canada     Pending
8008-00131   MANAGEMENT SYSTEMS AND
             METHODS FOR ELECTRIC
             VEHICLE
00041-       ADAPTIVE POWERTRAIN                               16/781,400    2/4/2020    United     Pending
9001-01000   CONTROL OF AN ELECTRIC                                                      States
             VEHICLE
00041-       CHARGING SYSTEM FOR                               3074829       3/6/2020    Canada     Pending
9003-00131   ELECTRIC VEHICLES

00041-       CHARGING SYSTEM FOR                               16/817,813    3/13/2020   United     Pending
9003-01000   ELECTRIC VEHICLES                                                           States

00041-       BATTERY CASSETTE                                  62/906,931    9/27/2019   United     Pending
9004-00600                                                                               States
00041-       BATTERY VENT SYSTEM                               16/713,042    12/13/201   United     Pending
9005-00000                                                                   9           States
00041-       BATTERY SYSTEM OF AN                              62/898,301    9/10/2019   United     Pending
9006-00600   ELECTRIC VEHICLE                                                            States

00041-       SYSTEMS AND METHOD FOR                            16/806,048    3/2/2020    United     Pending
9009-00000   MANAGEMENT OF ELECTRIC                                                      States
             VEHICLE SUPPLY EQUIPMENT

             CHARGING SYSTEM FOR AN                            16/205,825    11/30/201   United     Non
             ELECTRIC VEHICLE                                                1           States     Final
                                                                                                    Action
                                                                                                    Mailed
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Trademarks


 Country         Trademark          Classes   Status       App. No.     Reg. No.   Filing     Reg. Date
                                                                                   Date
 United States   PROTERRA           9, 12     Registered   77/983,282   4230384    27-Jan-    23-Oct-
 WR File No.                                                                       2010       2012
 022198.7005

 United States   PROTERRA           42        Registered   77/921,623   4478357    27-Jan-    4-Feb-2014
 WR File No.                                                                       2010
 .022198.7006

 United States   PROTERRA           9, 12, 42 Pending      88/093,236   n/a        27-Aug-    n/a
 WR File No.                                                                       2018
 022198-7011



 United States                      9, 12, 42 Registered   87/120,131   5897517    28-Jul-    29-Oct-
 WR File No.                                                                       2016       2019
 022198-7002

 United States                      9, 12, 42 Pending      88/093,247   n/a        27-Aug-    n/a
 WR File No.                                                                       2018
 022198.7012

 United States   PROTERRA APEX      42        Pending      88/559,554   n/a        1-Aug-     n/a
 WR File No.                                                                       2019
 022198-7015

 United States   PROTERRA           12        Registered   86/386,295   4731122    5-Sep-2014 5-May-
 WR File No.     CATALYST                                                                     2015
 022198.7007

 United States   APEX               42        Pending      88/315,030   n/a        2-Feb-2019 n/a
 WR File No.
 022198-7014
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Country         Trademark          Classes     Status       App. No.     Reg. No.   Filing     Reg. Date
                                                                                    Date
United States   CATALYST           12          Registered   86/611,754   4831980    28-Apr-    13-Oct-
WR File No.                                                                         2015       2015
022198.7008

United States   DUOPOWER           12          Registered   87/638,135   5991622    9-Oct-2017 18-Feb-
WR File No.                                                                                    2020
022198-7010



United States   ECORIDE            12          Registered   85/108,762   4226218    16-Aug-    16-Oct-
WR File No.                                                                         2010       2012
022198.7004

United States   REVOLUTIONIZING 41             Registered   88/409,981   5902895    30-Apr-    n/a
WR File No.     TRANSIT                                                             2019
022198-7013

Canada          PROTERRA           12          Registered   1700609      TMA        31-Oct-    17-Jun-
WR File No.                                                              1026357    2014       2019
022198-8005

Canada          PROTERRA           9, 12, 42   Pending      1933521      n/a        30-Nov-    n/a
WR File No.                                                                         2018       (appl. based
022198-8015                                                                                    on WIPO Intl.
                                                                                               Reg.)



Canada                             9, 12, 42 Registered     1813758      TMA        12-Dec-    2-Aug-
WR File No.                                                              1046588    2016       2019
022198-8002



Canada          PROTERRA           12          Registered   1697804      TMA        10-Oct-    17-Jun-
WR File No.     CATALYST                                                 1025458    2014       2019
022198-8003
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Country        Trademark          Classes    Status       App. No.   Reg. No.   Filing    Reg. Date
                                                                                Date
Canada         CATALYST           12         Registered   1742587    TMA        20-Aug-   17-Jun-
WR File No.                                                          1025503    2015      2019
022198-8004

Canada         DUOPOWER           12         Pending      1864650    n/a        26-Oct-    n/a
WR File No.                                                                     2017
022198-8005

EU             PROTERRA           9, 12, 42 Registered    1446462    1446462    13-Sep-   25-Jul-
WR File No.                                                                     2018      2019
022198.8012                                                                               (13-Sep-2018
                                                                                          (based on
                                                                                          WIPO)

EU                                9, 12, 42 Registered    1457389    1457389    27-Aug-   12-Sept-
WR File No.                                                                     2018      2019
022198.8014                                                                               (27-Aug-2018
                                                                                          based on
                                                                                          WIPO)

UK             PROTERRA           9, 12, 42 Pending       1446462    n/a        14-Oct-   n/a
WR File No.                                                                     2019
022198.8016

UK                                9, 12, 42 Registered    1457389    1457389    14-Oct-   16-Apr-
WR File No.                                                                     2019      2020
022198.8017                                                                               (27-Aug-2018
                                                                                          (based on
                                                                                          WIPO)

Intl. Reg.     PROTERRA           9, 12, 42 Registered    1446462    1446462    13-Sep-   13-Sep-
(WIPO)                                                                          2018      2018
WR File No
022198. 8011

Intl. Reg.                        9, 12,42   Registered   1457389    1457389    27-Aug-   27-Aug-
(WIPO)                                                                          2018      2018
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 Country           Trademark                Classes   Status            App. No.      Reg. No.   Filing    Reg. Date
                                                                                                 Date
 WR File No
 022198. 8013

 Intl. Reg.        DUOPOWER                 12        Registered        1381092       1381092    25-Oct-   25-Oct-
 (WIPO)                                                                                          2017      2017
 WR File No.
 022198.8009




Copyrights


 Country          Status     App. No./Reg. No.                 Filing       Reg. Date             Work
                                                               Date
 United         Registered   VA 1-954-702                03-Apr-            03-Apr-        Proterra Logo
 States                                                  2015               2015
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                                              SCHEDULE 6

  DEPOSIT ACCOUNTS, SECURITIES ACCOUNTS, COMMODITIES ACCOUNTS

Deposit Accounts


  Institution Name       Account Number        Account Type   Average balance in       Name of Account
    and Address                                                    account                Owner


   Bank of America,        3360202116              ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.             (AP Account)                       operating account)
     PO Box 15284
    Wilmington DE
         19850
   Bank of America,        1416800807              ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.           (Payroll Account)                    operating account)
     PO Box 15284
    Wilmington DE
         19850
   Bank of America,        1416800548              ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.          (Operating Account)                    sweep account)
     PO Box 15284
    Wilmington DE
         19850
   Bank of America,        1416215378           Cash sweep    $6 million (June 30,        Proterra Inc
          N.A.            (Master/Sweep)                             2020)               BLKACCT FBO
     PO Box 15284                                                                     Bank of America, NA
    Wilmington DE
         19850
   Bank of America,        14168008002             ZBA         $0 (ZBA linked to         Proterra Inc
          N.A.              (Lockbox)                          sweep account)
     PO Box 15284
    Wilmington DE
         19850
      Merrill Lynch         88Q-03267             Asset       $52 million (June 30,      Proterra Inc
 2049 Century Park E    (Asset management)     management           2020)
        11/12 FL
    Century City CA
         90067
  Silicon Valley Bank      3301048094              ZBA         $0 (ZBA linked to         Proterra Inc
 3353 Peachtree Road     (Analysis Checking                    sweep account)
    NE, Suite M-10           Account)
   Atlanta GA 30326
  Silicon Valley Bank      3300830812              ZBA         $0 (ZBA linked to         Proterra Inc
 3353 Peachtree Road     (Payroll Account)                     sweep account)
    NE, Suite M-10
   Atlanta GA 30326
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 Institution Name       Account Number       Account Type      Average balance in    Name of Account
   and Address                                                      account             Owner


 Silicon Valley Bank      6600002469          Cash sweep       $53,141 (June 30,        Proterra Inc
3353 Peachtree Road       (Cash Sweep                               2020)
   NE, Suite M-10           Account)
  Atlanta GA 30326
 Silicon Valley Bank   3302177619 (Cash      Cash collateral   $131,470 (June 30,       Proterra Inc
3353 Peachtree Road    collateral account)                          2020)           (restricted cash – LC
   NE, Suite M-10                                                                         for MTA)
  Atlanta GA 30326
 Silicon Valley Bank   3301249848 (Cash      Cash collateral   $375,000 (June 30,       Proterra Inc
3353 Peachtree Road    collateral account)                          2020)           (restricted cash – LC
   NE, Suite M-10                                                                    for workers comp
  Atlanta GA 30326                                                                         policy)
     Philadelphia              NA            Cash collateral       $169,423             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond -
  Walnut Creek, CA           SCVTA)
       94597
     Philadelphia                NA          Cash collateral      $2,905,109            Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA       City of San Jose)
       94597
     Philadelphia              NA            Cash collateral       $589,704             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA            CTA)
       94597
     Philadelphia               NA           Cash collateral      $1,532,187            Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA      City and County of
       94597              San Francisco)
     Philadelphia               NA           Cash collateral      $1,637,906            Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA            SCVTA)
       94597
     Philadelphia              NA            Cash collateral       $471,796             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA       Foothill Transit)
       94597
     Philadelphia              NA            Cash collateral       $920,098             Proterra Inc
Insurance Company       (Cash security for                                            (restricted cash)
  1277 Treat Blvd      performance bond –
  Walnut Creek, CA         Toronto TC)
       94597
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  Institution Name     Account Number       Account Type      Average balance in   Name of Account
    and Address                                                    account            Owner


     Philadelphia             NA            Cash collateral       $660,096           Proterra Inc
 Insurance Company     (Cash security for                                          (restricted cash)
   1277 Treat Blvd    performance bond –
  Walnut Creek, CA     Delaware Transit
       94597                 Corp)
     Philadelphia             NA            Cash collateral       $460,448           Proterra Inc
 Insurance Company     (Cash security for                                          (restricted cash)
   1277 Treat Blvd    performance bond –
  Walnut Creek, CA    San Francisco MTA)
       94597
     Philadelphia              NA           Cash collateral      $1,431,400          Proterra Inc
 Insurance Company    (Cash security for                                           (restricted cash)
   1277 Treat Blvd    performance bond –
  Walnut Creek, CA    Miami-Dade County)
       94597

Securities Accounts

       None.


Commodity Accounts

       None.
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                               SCHEDULE 7

                        INVESTMENT PROPERTY



None.
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                               SCHEDULE 8

                       COMMERCIAL TORT CLAIMS


None.
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                               SCHEDULE 9

                       LETTER OF CREDIT RIGHTS


None.
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                               SCHEDULE 10

                       KEY MAN LIFE INSURANCE


None.
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                                    SCHEDULE 11

                               OTHER COLLATERAL

   (a)

1. Master Agreement with Mobility Forefront LLC, a wholly owned subsidiary of Mitsui &
   Co., Ltd dated March 29, 2019 for the purchase of batteries from Proterra and the
   subsequent lease of those batteries to Proterra customers, and the collaboration on
   commercialization of second life applications for batteries, and related agreements (the
   “Mitsui Agreements”).

2. Guaranty and Side Agreement, by and among Proterra Inc, Onset Financial, Inc. and
   Keystone, dated July 29, 2016, for certain guarantees relating to a Lease Agreement for
   use of five forty-foot fast charge battery electric buses and related charging equipment by
   and between Aon Center and Onset Financial (the “Aon Center Guaranty and Side
   Agreement”).

3. Guaranty and Side Agreement by and among Proterra Inc, Onset Financial, Inc. and
   Keystone, dated July 29, 2016 for certain guarantees relating to a Lease Agreement for
   use of five forty-foot fast charge battery electric buses and related charging equipment by
   and between SL PRU/Prudential Plaza and Onset Financial (the “SL PRU/Prudential
   Plaza Guaranty and Side Agreement”).

4. Product Supply Agreement dated June 22, 2018 between Van Hool NV and Proterra Inc
   regarding a battery electric vehicle system for use in Van Hool manufactured coach
   buses.

5. Product Supply Agreement – Exqui.City dated May 15, 2020 between Van Hool NV and
   Proterra Inc regarding a battery electric vehicle system for use in Van Hool manufactured
   e-Exqui.City vehicles.

6. Development Agreement dated July 26, 2018 between Thomas Built Buses Inc and
   Proterra Inc regarding a battery electric vehicle system for use in a Thomas Built Buses
   school bus.

7. Development Agreement dated May 3, 2019 between Daimler Trucks North America
   LLC and its subsidiaries Thomas Built Buses, Inc. and Freightliner Custom Chassis
   Corporation regarding a battery electric vehicle system for us in a Thomas Built Buses
   school bus.

8. Development Agreement between Proterra Inc., and Optimal Inc., dated February 20,
   2020, regarding Proterra’s manufacture and integration of a BEV System into the protype
   Vehicle.

9. Development Agreement between Daimler Purchasing Coordination Corp. (DPCC) on
   behalf of Mercedes-Benz Special Trucks (MBS), and Proterra Inc., dated October 10,
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     2018 regarding Proterra’s supply and integration of Proterra EV Products into the truck to
     create the BEV Prototype.

  10. Development Agreement between Alexander Dennis Limited and Proterra Inc dated
      February 12, 2018 regarding a battery electric vehicle system for use in Alexander
      Dennis manufactured double decker coach buses, as amended on January 17, 2019,
      March 1, 2019, and May 13, 2019.

  11. Master Supply Agreement between Alexander Dennis Limited and Proterra Inc dated
      May 13, 2019 regarding a battery electric vehicle system for use in Alexander Dennis
      manufactured double decker coach buses. This agreement was terminated by Proterra Inc
      on November 29, 2019.

  12. Vehicle Lease Agreement dated March 31, 2017 between Eaton Corporation and Proterra
      Inc, PO 0011-40937 dated March 31, 2017 and PO 0011-40937 Amendment 1 dated June
      15, 2017 regarding the use of a test bus and charger and certain engineering support
      service.

  13. Agreement for the One-Time Supply of a Battery Electric Vehicle (“BEV”) System
      Prototype and Advisory Consultancy Services, dated November 1, 2017 between Proterra
      Inc and Navistar, Inc.

  14. Battery Electric Vehicle Prototype Agreement between VDL ETS BV (Netherlands) and
      Proterra Inc dated December 7, 2018 regarding a battery electric vehicle system for use in
      a specific VDL bus.

  15. Development Agreement between Bustech Pty Ltd (Australia) and Proterra Inc dated July
      17, 2020 regarding Proterra’s manufacture and integration of a BEV system into the
      prototype vehicle.

  16. Customer Contracts:


                                                Contract No. EB11-2 for the manufacture and
                                                delivery of forty foot all-electric buses,
                                                between King County and Proterra Inc dated
                                                August 1, 2014, as amended on March 20,
                                                2015.

                                                Contract Agreement No. EB11-2 by and
                                                between King County Metro Transit and
                                                Proterra Inc dated August 1, 2014, for the
                                                Manufacture and Delivery of 40 Foot Heavy
                                                Duty Low Floor All-Electric Transit Buses,
                                                dated August 1, 2014, as amended by formal
                                                letter dated March 20, 2015 from Leo
King County Metro (Washington)                  Hrechanyk at King County Metro Transit.
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                                            Contract No. EB11-2 for the manufacture and
                                            delivery of two forty-foot fast charge
                                            battery electric buses and associated charging
                                            stations, between King County and Proterra
                                            Inc dated August 1, 2014, as amended on
                                            March 20, 2015 for one forty foot fast charge
                                            battery electric bus, as amended August 17,
                                            2017 for three additional fast charge stations.

                                            Contract No. EB17-1P for the manufacture
                                            and delivery of eight forty-foot fast charge
                                            battery electric buses between King County
                                            and Proterra Inc. dated August 15, 2017
                                            utilizing Washington State DES Contract
                                            09214.

                                            Contract No. 15-001 for the purchase of two
                                            forty-foot fast charge battery electric buses,
                                            between Foothill Transit and Proterra Inc
                                            dated January 7, 2015.

                                            Contract No. 15-055 for the exercise of
                                            options for 13 Extended Range Catalyst XR
                                            Proterra Buses between Foothill Transit and
                                            Proterra Inc dated August 19, 2016.

                                            Contract No. 09-034 Purchase of Three (3) 35
                                            Foot Fast Charge Battery Electric Buses with
                                            Associated Fast Charging Equipment by and
                                            between Foothill Transit and Proterra LLC
                                            dated July 7, 2009 as amended by that certain
                                            Amendment No. 1 dated December 12, 2009,
                                            Amendment No. 2 dated February 24, 2010,
                                            Amendment No. 3 dated June 30, 2010,
                                            Amendment No. 4 dated August 19, 2010,
                                            Amendment No. 5 dated January 29, 2011,
                                            Amendment No. 6 dated March 6, 2011,
                                            Amendment No. 7 dated June 9, 2011,
                                            Amendment No. 8 dated April 4, 2012 and
                                            Amendment 9 dated November 21, 2012.

                                            Contract No. 12-006 Purchase of Twelve (12)
                                            35 Foot Fast Charge Battery Electric Buses by
                                            and between Foothill Transit and Proterra Inc
Foothill Transit (California)               dated July 29, 2013.
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                                            Contract No. 12-007 Amended, Reissued and
                                            Restated Electric Bus Charging Stations
                                            Maintenance by and between Foothill Transit
                                            and Proterra Inc dated October 24, 2014, as a
                                            replacement of a contract originally dated
                                            September 5, 2012.

                                            Contract No. 13-029 Electric Bus Charging
                                            Equipment Upgrade by and between Foothill
                                            Transit and Proterra Inc dated August 10,
                                            2013.

                                            Contract No. 15-001 Purchase of Two (2) 40-
                                            Foot Fast Charge Battery Electric Buses by
                                            and between Foothill Transit and Proterra, Inc
                                            dated January 7, 2015.

                                            Contract No. 15-009 Purchase and Installation
                                            of Electric Charging Station by and between
                                            Foothill Transit and Proterra Inc dated
                                            September 18, 2014.

                                            Contract No. 16-009 for the provision,
                                            installation and commissioning of two Fast
                                            Charge Stations between Foothill Transit and
                                            Proterra Inc dated June 22, 2017.

                                            Contract No. 17-085 Purchase and Installation
                                            of Charger System at Arcadia Operations &
                                            Maintenance Facility – SOW: Design,
                                            Produce and Install (14) Proterra 60kW
                                            remote bus chargers and dispensers and (2) 90
                                            x 90’ solar-ready canopy structures, and
                                            perform related construction and installation
                                            at Foothill Transit’s Arcadia Operations and
                                            Maintenance Facility dated 04/20/2019

                                            Contract No. 17-085 Amendment No. 1 to
                                            Purchase and Installation of Charger System
                                            Agreement dated 04/26/2019 – Additional
                                            Charging Station – 125kW Depot Plug-in DC
                                            Charging Station

                                            Contract No. Pro_Cat_15-001 for the
Transit Authority of River City (TARC)      purchase of Catalyst Forty-Foot Electric Bus,
(Kentucky)                                  between Transit Authority of River City and
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                                            Proterra Inc dated June 25, 2015, as amended
                                            on January 12, 2016.

                                            Transit Authority of River City Thirty-Five
                                            Foot Electric Bus Purchase Contract No. P-
                                            2509, by and between The Transit Authority
                                            of River City and Proterra Inc dated January
                                            27, 2014.

                                            Contract No. Pro_Cat_15-002 for the
                                            purchase and sale of five forty-foot fast
                                            charge battery electric buses and one
                                            associated fast charging station, between
                                            Transit Authority of Lexington-Fayette Urban
                                            County Government and Proterra Inc dated
                                            November 19, 2015.



                                             Exercise of options from Lextran for 1 40’
Transit Authority of Lexington-Fayette Urban Catalyst FC bus. Purchase order # C0000256-
County Government (LexTran) (Kentucky)       000 dated June 22, 2017.

                                            Contract No. S-2021268 for LoNo Electric
                                            Buses, between Dallas Area Rapid Transit and
                                            Proterra Inc dated March 11, 2016, as
                                            amended on August 23, 2016 and August 9,
                                            2016.

                                            Contract No. C-2021268 Modification 1 dated
                                            08/09/2016, Modification 2 dated 07/26/2016,
                                            Modification 3 dated 09/13/2016,
                                            Modification 4 dated 10/12/2016,
                                            Modification 5 dated 11/29/2016,
                                            Modification 6 dated 09/29/2017,
                                            Modification 7 dated 10/10/2018,
Dallas Area Rapid Transit (DART) (Texas)    Modification 8 dated 2/12/2020.

                                            Contract No. P16-2201 for the purchase and
                                            sale of three forty-foot fast charge battery
                                            electric buses and two associated fast
                                            charging stations, between Pioneer Valley
                                            Transit Authority and Proterra Inc dated
                                            March 26, 2016.

Pioneer Valley Transit Authority (PVTA)     Contract No. P20-40912 Purchase Order for
(Massachussetts)                            Purchase of (4) 40 foot Catalyst E2 Buses,
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                                              Configurables, (4) Diagnostic Tools (6) 60
                                              kW PCS Chargers dated 02/07/2020.

                                              Contract between Regional Transportation
                                              Commission of Washoe County, Nevada
                                              (RTC) and Proterra Inc dated August 8, 2016,
                                              approving the exercise of options for vehicles
                                              under the August 9, 2012 Transit Vehicle
                                              Purchase Agreement.

                                              Memorandum of Agreement by and between
                                              Regional Transportation Commission of
                                              Washoe County and Proterra Inc regarding
                                              the warranty service work that is scheduled to
                                              be performed on the four 35 foot fast charge
                                              battery electric buses owned by Regional
                                              Transportation Commission of Washoe
                                              County, dated March 31, 2015.



                                              Contract between Regional Transportation
                                              Commission of Washoe County, Nevada
                                              (RTC) and Proterra Inc dated August 22,
                                              2017, approving the exercise of options for
                                              twelve vehicles under the August 9, 2012
                                              Transit Vehicle Purchase Agreement.

                                              Contract – Electric Vehicle Purchase
                                              Agreement between Regional Transportation
                                              Commission of Washoe County ad Proterra
                                              Inc. dated December 9, 2019.

                                              Amendment No. 1 to Contract dated
                                              December 9, 2019, amend contract milestones
                                              and critical path schedule of the Purchase
                                              Agreement (in conjunction with Force
                                              Majeure Notice.

                                              Professional Services Agreement, Effective
                                              Date February 28, 2020, Design and
Regional Transportation Commission of         Engineering and Construction Project
Washoe County, Nevada (“Reno”) (Nevada)       Management Services.

                                              Contract for the purchase and sale of two
Associated Student of University of Montana   forty-foot fast charge battery electric buses
(ASU) (Montana)                               and one associated fast charging station,
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                                               between Associated Student of University of
                                               Montana and Proterra Inc dated May 20,
                                               2016.

                                               Contract to provide 5 battery electric buses
                                               and associated charging equipment for lease,
                                               between 601 W Companies LLC, Brickell 13
                                               Chicago LLC, and Heller Aon LLC, and
                                               Jones Lang LaSalle Americas (Illinois), L.P.
                                               and Proterra Inc dated July 19, 2016.

                                               Contract to provide five battery electric buses
                                               and associated charging equipment for lease,
                                               between SL PRU LLC Jones Lang LaSalle
Jones Lang LaSalle Americas (Illinois), L.P.   Americas (Illinois), L.P and Proterra Inc dated
(JLL) (Illinois)                               July 19, 2016.

                                               Contract for the purchase and sale of twenty-
                                               five electric buses and associated charging
                                               equipment between Proterra Inc and
                                               Southeastern Pennsylvania Transportation
Southeastern Pennsylvania Transportation       Authority, dated February 2, 2017 (the
Authority (SEPTA) (Pennsylvania)               “SEPTA Contract”).

                                               Contract for the purchase and sale of six
                                               electric buses and associated charging
                                               equipment between Proterra Inc and Park City
                                               Municipal Corporation, dated January 30,
                                               2017 (the “Park City Contract”).

                                               Battery Services Agreement for the servicing
                                               of batteries for six electric buses between
                                               Proterra Inc and Park City Municipal
                                               Corporation, dated January 30, 2017.

Park City Municipal Corporation (Park City)    Contract for the sale of seven battery electric
(Utah)                                         buses dated November 27, 2018.

                                               Contract No. 001 Purchase and Sale of Six (6)
                                               35 Foot Fast Charge Battery Electric Buses
                                               and One Associated Fast Charging Station by
                                               and between Worcester Regional Transit
                                               Authority and Proterra Inc dated March 5,
                                               2013 as amended by that certain Amendment
                                               No. 1 dated June 3, 2013, Amendment No. 2
Worcester Regional Transit Authority           dated June 16, 2013, and Amendment No. 3
(WRTA) (Massachusetts)                         dated June 16, 2013.
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                                              Memorandum of Understanding by and
                                              between Worcester Regional Transit
                                              Authority and Proterra Inc regarding the
                                              warranty service work that is scheduled to be
                                              performed on the six (6) 35 Foot Fast Charge
                                              Battery Electric Buses owned by Worcester
                                              Regional Transit Authority, dated January 9,
                                              2015.

                                              Transit Vehicle Purchase Agreement between
                                              Regional Transportation Commission of
                                              Washoe County and Proterra Inc dated
                                              August 24, 2012 as amended by that Contract
                                              Amendment dated March 27, 2013 and that
                                              Second Contract Amendment dated May 9,
                                              2013.

                                              Contract No. 001 Purchase and Sale of Four
                                              (4) 35 Foot Fast Charge Battery Electric
                                              Buses and Two (2) Associated Fast Charging
                                              Stations by and between the City of Seneca
                                              and Proterra Inc dated June 18, 2012 as
                                              amended that certain Amendment No.1 dated
                                              September 6, 2012 and Amendment No. 2
                                              dated September 19, 2013.

                                              Asset Purchase Agreement between Proterra
                                              Inc and the City of Seneca for the sale and
                                              purchase of an engineering prototype and
                                              demonstration bus dated January 30, 2015.

                                              Contract No. [PO70642] Dated March 6, 2019
                                              – Purchase and Sale of (2) 35 Foot Battery
                                              Electric Buses and (2) Associated Charging
                                              Stations.

                                              Amendment No. 1 to Contract [PO70642]
                                              dated March 6, 2019-Purchase and Sale of (2)
                                              35 Foot Battery Electric Buses and (2)
                                              Associated Charging Stations dated June 26,
City of Seneca (South Carolina)               2019

                                              Contract No. 2492 Purchase and Sale of Three
                                              (3) 35 Foot Fast Charge Battery Electric
City of Tallahassee (Florida)                 Buses and Associated Fast Charging Station
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                                             by and between the City of Tallahassee and
                                             Proterra Inc dated August 11, 2011.

                                             . Contract No. 996153 Purchase & Sale of
                                             (15) 35’ Model XR + Battery Electric Buses
                                             and Turn-Key charging solution, (5) Depot
                                             Charging Stations, and 2 Overhead Fast
                                             Charging Stations.

                                             Contract No. 996153 Change Order No. 1 to
                                             First Amendment to 09/20/2019 dated April
                                             27, 2020.

                                             Contract No. 001 between San Joaquin
                                             Regional Transit District and Proterra Inc for
                                             the purchase of two (2) 35 Foot Battery
                                             Electric Buses and one (1) Fast Charging
                                             Station dated November 19, 2012.

                                             Contract between San Joaquin Regional
                                             Transit District (SJRTD) and Proterra Inc
                                             dated August 03, 2017, approving the exercise
                                             of options for five, forty-foot extended range
                                             vehicles under the September 22, 2016 Transit
San Joaquin Regional Transit District        Vehicle Purchase Agreement No. 2016-022-
(Stockton) (California)                      MSE.

                                             Contract No. 10-222 between VIA
                                             Metropolitan Transit for three (3) 35 Foot
VIA Metropolitan Transit (San Antonio)       Battery Electric Transit Buses and one (1)
(Texas)                                      Charging System dated August 18, 2010.

                                             Contract No. 2013389-C between Nashville
                                             Metropolitan Transit Authority and Proterra
                                             Inc for the Purchase of seven (7) 35 Foot
                                             Battery Electric Buses and one (1) Fast
                                             Charge Station dated December 19, 2013

                                             Purchase Order No. KRH 00007-0000118899
                                             between Nashville Metropolitan Transit
                                             Authority and Proterra Inc for the purchase of
                                             two (2) 35 Foot Battery Electric Buses dated
                                             November 3, 2014.

                                             Purchase Order No. KRH 00007-0000120354
Nashville Metropolitan Transit Authority     between Nashville Metropolitan Transit
(Tennessee)                                  Authority and Proterra Inc for the purchase of
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                                               one (1) Overhead Fast Charging system dated
                                               February 5, 2015.

                                           Contract No. 137175 for the three-year lease
                                           of five forty-foot extended range vehicles
                                           between New York City Transit Authority
New York City Transit Authority (New York) and Proterra Inc. dated August 11, 2017.

                                               Contract No. P16265 for the purchase of five
                                               forty-foot battery electric buses and five depot
                                               chargers, between Santa Clara Valley
                                               Transportation Authority and Proterra Inc
                                               dated September 18, 2017.

                                               Contract No. P16130 for the purchase of five
                                               forty-foot battery electric buses and five depot
                                               chargers, between Santa Clara Valley
Santa Clara Valley Transportation Authority    Transportation Authority and Proterra Inc
(VTA) (California)                             dated September 17, 2018.

                                               Contract No. 1788(a) – GRANT CA-90-2016
                                               for the purchase of two forty-foot battery
                                               electric buses and two depot chargers,
                                               between Eastern Contra Costa Transit
Eastern Contra Costa Transit Authority (Tri-   Authority and Proterra Inc dated December 5,
Delta)                                         2016.

                                               Contract between District of Columbia
                                               Department of Transportation and Proterra for
                                               the purchase of 14 50kW chargers and 14 40’
                                               Catalyst E2 buses off of the Washington State
                                               contract. Purchase order # PO565845 dated
                                               July 25, 2017.

                                               Amendment of Solicitation / Modification of
DC Department of Transportation (DDOT)         Contract Unforeseen Work, Site Conditions,
(District of Columbia)                         Environmental Study dated August 6, 2018.

                                               Purchase Order 3648 issued on April 3, 2017
                                               by Kitsap Transit for the manufacture and
                                               delivery of one Proterra Catalyst E2 forty-foot
                                               battery electric bus utilizing Washington State
Kitsap Transit (Washington)                    DES Contract 09214.

                                               Purchase Order 17 30383 issued on July 21,
                                               2017 by the City of Everett for the
City of Everett (Washington)                   manufacture and delivery of four Proterra
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                                                  Catalyst E2 forty-foot battery electric buses
                                                  by June 1, 2018 and three buses by June 1,
                                                  2019 utilizing Washington State DES
                                                  Contract 09214.

                                                  Purchase Order 12/31/2019 CB19259 (2) 40’
                                                  Catalyst E2 (2) 60kW PCS $1963630.00
                                                  dated December 31, 2019

                                                  Purchase Order Amended 03/03/20 CB19259
                                                  (2) 40’ Catalyst E2 (2) 60kW PCS
                                                  $1980230.00 dated December 31, 2019

                                                  Contract No. PT-04-17 issued on August 9,
                                                  2017 by Pierce Transit for the manufacture
                                                  and delivery of three Proterra Catalyst E2
                                                  forty-foot battery electric bus utilizing
Pierce Transit (Washington)                       Washington State DES Contract 09214.

                                                  Contract between SporTran and Proterra for
                                                  the purchase of 5 50kW chargers and 5 40’
                                                  Catalyst E2 buses. Purchase order # 2017-
Sportran (Louisiana)                              00003641 dated May 3, 2017.

                                                  Contract between Rock Island County
                                                  Metropolitan Mass Transit District and
                                                  Proterra for 3 40’ Catalyst E2 buses and 2
                                                  50kW chargers dated June 14, 2017.

                                                  Agreement for Purchase, Manufacture and
                                                  Delivery of 40 Foot Heavy Duty Low Floor
                                                  Battery Electric Buses and Charging Stations
                                                  dated April 17, 2017 between MetroLink and
                                                  the Company.

                                                  Capital Lease Agreement dated September 5,
                                                  2017 between Rock Island Metropolitan Mass
                                                  Transit District and the Company for battery
                                                  leasing.

Rock Island County Metropolitan Mass              Contract for the purchase of five battery
Transit District (Metrolink) (Moline, Illinois)   electric buses dated February 18, 2019

                                                  Contract between Duluth Transit Authority
                                                  and Proterra for 7 40’ Catalyst E2 buses and 7
                                                  50 kW Chargers. Contract # 040-15-011.1
Duluth Transit Authority (Minnesota)              dated June 30, 2017.
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                                            Contract between Delaware Transportation
                                            Corporation and Proterra for 6 35’ Catalyst E2
                                            buses, 6 50kW chargers, and 2 Overhead
                                            chargers. Contract # 17-044 dated August 23,
                                            2017.

                                            Contract 17-044 – Change Order 1 –
                                            Correction to Original K to represent the (2)
                                            Overhead Chargers (Total 3) dated June 13,
                                            2018

                                            Contract 17-044 – Change Order 2 – Fuel
                                            Focus Addition & ITS Cabinet Bus Bar
                                            Addition dated January 3, 2020

                                            Contract 20-001 – Purchase & Sale of (8) 35’
                                            & (2) 40’ Catalyst Buses, (2) Overhead
                                            Inverted-pantograph Fast-Charging Stations,
                                            (10) Plug-in Chargers dated August 27, 2019

                                            Contract 20-001 – Amendment No 1 to
                                            Original K to include the Charging Station
                                            Infrastructure Price dated September 20, 2019

                                            Contract 20-001 – Change Order No 1 –
                                            Added a Detail on Permit Set to Install Rebar
                                            Dowels January 31, 2020

                                            Contract 20-001- Change Order 2 – Changing
                                            from Customer supplied leased tires to
                                            Michelin X In City Energy Z LR L-
Delaware Transportation Corporation         315/80R22.5. (2) 40’ E2 Buses dated June 4,
(DDART) (Delaware)                          2020

                                            Contract between Exelon Business Services
                                            LLC and Proterra Inc for the Purchase and
                                            Sale of two 40 Foot Battery Electric Buses,
Baltimore Gas & Electric (Exelon)           dated December 15, 2017.

                                            Agreement between Port Authority of New
                                            York and New Jersey dated April 12, 2018
                                            and the Company for battery electric buses.

                                            Supply & Delivery Proterra 40” Electric
                                            Buses Bid 52412; Purchase Order
Port Authority of New York and New Jersey   4500068446 dated February 28, 2018
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                                                Change Order (Additional 12 Buses) dated
                                                November 30, 2018

                                                Change Order (Additional 18 Buses) dated
                                                November 22, 2019

Clemson Area Transit (CATBus) (South            Notice to Proceed dated September 7, 2017
Carolina)                                       for battery electric buses.

                                                Purchase order dated April 17, 2018 for 10
                                                buses

                                                Change Order #1 dated March 26, 2019

                                                Change Order #2 dated December 20, 2019

                                                Purchase Order & Attachment A – City of
                                                San Jose Purchase Order Standard Terms and
San Jose Airport                                Conditions (Revised) dated April 17, 2019

                                                Agreement for 3 buses, April 6, 2016

                                                Contract for Purchase and Sale of Three (3)
                                                40’ Battery Electric Buses and Four (4)
                                                Associated Charging Stations dated March 13,
City of Visalia                                 2018

                                                Contract No. P2018-02, Purchase and Sale of
                                                Five (5) 40 Foot Battery electric Buses and
                                                Eight (8) Associated Charging Stations dated
Fresno County Rural Transit                     March 14, 2018

                                                Agreement for 5 buses, April 6, 2016

                                                Product Purchase Contract No FRSNO-
                                                0000074901for Two (2) Low Floor 40’ All
City of Fresno (FAX) (California)               Electric Buses dated March 5, 2019

                                                Agreement for 1 bus (August 2007, fuel cell
City of Burbank                                 bus)

                                                Contract No. JTB-06.22.18-1, between Travel
                                                Plaza, LLC. And Proterra Inc for the purchase
                                                and sale of three (3) 40 foot battery electric
                                                buses, and two (2) associated charging
Honolulu – Japanese Tourism Board (JTB)         stations, and extended warranty, signed July
(Hawaii)                                        9, 2018
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                                               Contract No. 18-S-M-002, between San
                                               Mateo County Transit District and Proterra
                                               Inc for the purchase and delivery of 10 (ten)
                                               40 foot battery electric buses, and 6 (six)
                                               charging stations, signed June 27, 2018

                                               Amendment No 1 to Original Contract dated
SamTrans (California)                          June 15, 2018

                                               PO #21800617-00, between City of Asheville
                                               and Proterra Inc for the purchase of 1 (one) 35
                                               foot electric bus with charging station, 2-year
                                               warranty along with commission and
Asheville Redefines Transit (North Carolina)   activation

                                               PO# 70642, between Raleigh-Durham Airport
                                               Authority and Proterra Inc, for the purchase of
                                               4 (four) 40-foot electric buses with 4 (four)
Raleigh-Durham Airport Authority (North        charging stations and 4 (four) bridge
Carolina)                                      technology systems

                                               Contract No. C17FT101878289, between the
                                               Chicago Transit Authority and Proterra Inc.,
                                               for manufacture and delivery of up to 45
                                               (forty-five) Low Floor, 40 (forty) foot all
                                               electric transit buses and the design-build and
                                               installation of up to 13 (thirteen) en-route
                                               charging stations and associated spare parts
Chicago Transit Authority (Illinois)           dated May 30, 2018

                                               Contract for the lease of three battery electric
Rhode Island Public Transit Authority          buses dated October 1, 2018

                                               Contract for one battery electric bus dated
Eureka Transit Service (California)            October 1, 2018

                                               Contract for two battery electric buses dated
                                               November 21, 2018.

                                              Contract for two battery electric buses dated
Greenville Transit Authority (South Carolina) February 19, 2019.

                                               Contract for two battery electric buses dated
Lubbock Citibus (Texas)                        April 27, 2019
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                                             Contract for Purchase and Sale of Three (3)
                                             40’ Battery Electric Buses and Four (4)
                                             Associated Charging Stations dated March 13,
                                             2018

                                             Contract for three battery electric buses dated
                                             June 12, 2019.

                                             Contract No. 2017-10574 – Formal
                                             Agreement (Buses 1-10) – Purchase Orders
                                             dated January 1, 2018

                                             Purchase Order (Buses 11-13) dated June 12,
                                             2019

                                             Purchase Order (Buses 14-16), (6) Plug-in
                                             Charging Stations dated October 25, 2019

                                             Change Order #1 – Arc Flash Study dated
                                             November 14, 2019

                                             Change Order No 2 – dated April 14, 2020
                                             (Cost associated with conducting a second
                                             Arc Flash Study to be incorporated in the As-
Greensboro Transit Authority (North          Builts for the GTA Phase II Charging
Carolina)                                    Infrastructure Project – Dated 05/14/2020)

                                             Contract for one battery electric bus dated
Redding Area Bus Authority (California)      December 13, 2018.

Missoula Urban Transportation District       Contract for six battery electric buses dated
(Montana)                                    December 13, 2018

                                             Contract for two battery electric buses dated
                                             May 7, 2019

                                             Battery Lease Assignment, Purchase Order
                                             and Confirmation for two (2) 4-pack of
Breckenridge (Colorado)                      batteries dated June 25, 2020

                                             Contract for six battery electric buses dated
                                             October 26, 2018

                                             Agreement to Purchase Chargers for Electric
San Francisco International Airport          Vehicles – Delivery Site SFO PLOT 700 – (3)
(California)                                 125kW Chargers dated May 1, 2020
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                                            Contract for ten battery electric buses dated
                                            April 8, 2019.

                                            Contract for a second set of ten battery
                                            electric buses, dated April 8, 2019

                                            Amendment No. 1 – (5) Additional Buses
                                            dated May,28, 2019

Toronto Transit Commission (Ontario,        Amendment No. 2 – Design Changes to Buses
Canada)                                     1-25 dated March 4, 2020

                                            Contract for two battery electric buses dated
Alabama A&M University (Alabama)            May 30, 2019.

                                            Contract for four battery electric buses dated
                                            June 28, 2019

                                            Purchase Order 1105653 – (4) 62.5KW Plug-
                                            In Depot Chargers dated June 28, 2019

Ride On Montgomery County Transit           Purchase Order 1105653 – (4) 62.5KW Plug-
(Maryland)                                  In Depot Chargers dated June 28, 2019

                                            Contract for one battery electric bus dated
City of Artesia (California)                December 19, 2018

                                            Contract No. 2019-12 Purchase and Sale of
                                            Three (3) 35’ Battery Electric Buses and
                                            Three (3) associated charging stations dated
                                            May 15, 2019

                                            Amendment No. 1 to Bus and Charging
                                            Station Purchase Agreement dated May 15,
                                            2019 – Section 3.B.1.a-b deleted dated May
City of Arvin                               19, 2019

                                            Contract for two battery electric buses dated
                                            October 31, 2018.

                                            Contract for 21 battery electric buses dated
                                            October 31, 2018

                                            Contract for 18 battery electric buses dated
Edmonton Transit System (Alberta, Canada)   April 30, 2019
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                                Amending Agreement #1 dated July 9, 2018;
                                Amending Agreement #2 dated September 14,
                                2018; Amending Agreement #3 dated
                                September 27, 2018; Amending Agreement
                                #4 dated October 23, 2018; Amending
                                Agreement #5 dated November 26, 2018;
                                Amending Agreement #5 dated November 26,
                                2018; Amending Agreement #6 dated
                                February 14, 2019;Amending Agreement #7
                                dated June 10, 2019; Amending Agreement
                                #8 dated July 22, 2019; Amending Agreement
                                #9 dated November 21, 2019; Amending
                                Agreement #10 dated December 31, 2019;
                                Amending Agreement #11 dated March 3,
                                2020

                                Change to C-Release 4000018060 – Lease
                                Bus 1-2, (21) Catalyst E2 Max, (14) ABB
                                Pantograph 600v Charging Station, (2) ABB
                                Pantograph 480V Charging Station, (6) PCS
                                600V Charging Station, (1) PCS 480V
                                Charging Station dated February 15, 2019

                                Change to C-Release 4000018060 – Lease
                                Bus 1-2, (21) Catalyst E2 Max, (14) ABB
                                Pantograph 600v Charging Station, (2) ABB
                                Pantograph 480V Charging Station, (6) PCS
                                600V Charging Station, (1) PCS 480V
                                Charging Station dated May 17, 2019
                                Change to C-Release 4000028334 [Lot 2]
                                (18) Catalyst E2 Max dated May 22, 2019
                                C-Release 4000031305 – (21) Surveillance
                                Camera Systems [Lot 1] dated May 23, 2019
                                Change Order #1 – Contract Changes dated
                                July 3, 2019

                                C-Release 4000038347 – (1) ABB HVC 150P
                                Charging Station [Lot 2B], (10) Charging
                                Station Install (PECO) [Lot 2B] dated July 18,
                                2019
                                Change Order #2 – Contract Changes dated
                                July 25, 2019
                                Change Order #3 – Contract Changes dated
                                October 21, 2019
                                Change Order #4 – Contract Changes October
                                21, 2019
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                                              Change Order #5 – Contract Changes dated
                                              February 5, 2020
                                              Change to C-Release 4000028334 – [Lot 2]
                                              (18) Catalyst E2 Max (Lot 2) dated December
                                              3, 2019
                                              Change to C-Release 4000018060 – Lease
                                              Bus 1-2, (21) Catalyst E2 Max (Lot 1), (14)
                                              ABB Pantograph 600v Charging Station, (2)
                                              ABB Pantograph 480V Charging Station, (7)
                                              PCS 480V Charging Station, (1) Battery Pack
                                              dated March 3, 2020
                                              Change to C-Release 4000038347 – (2)
                                              Catalyst E2 Max (Lot_2B), (10) ABB HVC
                                              150P Charging Station [Lot 2B], (1) Charging
                                              Station Install (PECO) [Lot 2B] dated March
                                              3, 2020
                                              Contract for three battery electric buses dated
                                              June 19, 2019
                                              Amendment No 1 to Original K – Scope &
                                              Price for Design & Installation of (2) Depot
                                              Charging Stations dated October 16, 2019
                                              Amendment No 2 & Change Order No. 1 to
                                              Original K – NTP 10/21/2019 & Change
                                              Order Request January 6, 2020
                                              Change Order 1 – Construction Cost
                                              associated with Design of Charging
                                              Infrastructure dated November 5, 2019
Research Triangle Regional Public             Change Order No. 2 – Excavate/Bore through
Transportation Authority (Triangle Transit)   rock for power feeds from MDP to chargers
(North Carolina)                              June 12, 2019

                                              Contract for two battery electric buses dated
                                              January 31, 2019

                                           GMT Change Order 17/Project Change Order
                                           No. 1 to Original Contract – Upgrade
                                           Infotainment to Luminator InfoTransit with
Green Mountain Transit Authority (Vermont) Voice Annunciator dated February 25, 2019

                                              Contract for two battery electric buses dated
                                              May 23, 2019

                                              Purchase Order and Confirmation (4) 4-Pack
Wichita Transit (Kansas)                      Battery dated December 3, 2019

Charleston Area Regional Transportation       Contract for three battery electric buses dated
Authority(CARTA)                              June 11, 2019
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                                             Contract 19-PRO007 Purchase & Sales of (3)
                                             40’ BE Buses & (3) Charging Stations dated
                                             October 9, 2019

                                             Contract 19-PRO008 Purchase and Sale of (3)
                                             40’ BE Buses & (3) Charging Stations dated
                                             November 1, 2019

                                             Purchase Order 101214 – (3) 40’ Catalyst, (3)
                                             Depot Charging Stations dated June 11, 2019

                                             Purchase Order 101220 – (1) Design &
                                             Installation of 125kW Chargers dated July 16,
                                             2019

                                             Purchase Order 101227 – (6) Design &
                                             Installation of 125kW Chargers, Utility
                                             Locate and Geotech Analysis, Boundary &
                                             Topographic Survery August 28, 2019

                                             Battery Lease Assignment, Purchase Order
                                             and Confirmation for three (3) 4-pack of
                                             batteries dated March 3, 2020

                                             Contract for 20 battery electric buses dated
University of Georgia Transit System         February 28, 2019

                                             Contract for two battery electric buses dated
                                             May 17, 2019

                                             Contract No. 200417 Modification No 1
                                             (Decrease) – Appearance (Exterior Graphics)
                                             dated October 10, 2019

                                             Contract No. 200417 Modification No 2
                                             (Increase) – Additional (2) 40’ Catalyst E2
Capital Metropolitan Transportation          (440 kWh) – 125kW Depot/Plug-in Charger
Authority (CapMetro) (Texas)                 J1772 dated December 12, 2019
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                                              Contract for 25 battery electric buses dated
                                              June 26. 2019

                                              Change Order #1 – LADOT Bus
                                              Configuration Option Changes for 35’
                                              Electric Buses dated October 23, 2019

                                              Change Order 2 Charger Project-Design
                                              Procurement & Installation of (13) ABB
City of Los Angeles Department of             HVC150 150kW Charging Equipment dated
Transportation (LADOT) (California)           October 23, 2019

Santa Cruz Metropolitan Transit District      Contract for four battery electric buses dated
(SCMTD) (California)                          April 12, 2019

                                              Purchase Order 32469 for three (3) E2 (440
                                              kWh) Bus, (3) 123 kW Charger, Project
                                              Turnkey Solution dated November 14, 2019

                                              Purchase Order No 32469_Change Order 1 –
                                              For Additional labor and material for the
                                              increase in concrete pad size for the chargers
                                              and dispensers; and Additional structural and
                                              electrical design engineering service to
                                              document the concrete pad dimensional
                                              changes and conduit re-routing dated July 8,
Alexandria Transit Company (DASH)             2020

Ann Arbor Public Schools (California)         Agreement to Purchase Chargers for Electric
                                              Vehicles dated July 08, 2020

Brazos Transit District (TAMU) ( Texas)       Purchase Order No 11017 for three (3) 40’
                                              Proterra Catalyst XR-Specs and three (3)
                                              Charger Equipment dated November 19, 2019
                                              Purchase Order 2019-CAO-101 (2) Catalyst
Bow Valley Regional Transit Services          E2Max Electric Low Floor Accessible Transit
Commission (BANFF) (Alberta, CAN)             Buses (660kWh), (2) 125kW Charger dated
                                              August 13, 2019
                                              Purchase Order 2019-CAO-101 Addition: (1)
                                              Recommended Spares Package, (2) Add
                                              Driver Window Delete 3M Crystalline dated
                                              October 22, 2019
                                              Purchase Order 2019-CAO-101 (1) Catalyst
                                              E2 Max Electric Low Floor Accessible
                                              Transit Buses (660kWh), (1) 125kW Charger,
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                                               Add Drive Window Delete 3M Crystalline
                                               dated March 5, 2020
                                               Purchase Order No. MTD2000962 – One (1)
Broward County (Florida)                       Proterra Catalyst E2 40-Foot Pro-Drive, Low-
                                               Floor, Electric Bus, Spare Parts, Diagnostic
                                               Software, Diagnostic Tools, Training and
                                               Manuals dated July 13, 2020
                                               Purchase Order No. MTD2000963 – (1) Plug-
                                               in Charger, (1) On-Route Charger, Cord, OH
                                               Charging System Commissioning dated July
                                               13, 2020

Central Florida Regional Transportation        Purchase Order 2000878 – (1) 35’ E2
Authority (LYNX) (Florida)                     Roadrunner dated March 10, 2020

Charlotte Douglas International Airport        Contract No. 2020000538 to Provide Electric
(CLT) (North Carolina)                         Buses dated May 29, 2019

                                               Purchase Order 20010230 (5) 35’ Catalyst E2,
                                               (5) 125kWh PCS dated November 19, 2019

Cherokee Nation (Oklahoma)                     Contract Purchase and Sale of (2) 35’ Battery
                                               Electric Buses dated December 9, 2019
                                               Amendment No. 001 to Purchase and Sale
                                               Agreement dated January 30, 2020
                                               Purchase Order 247713 (2) Buses – Tools &
                                               Manuals dated January 31, 2020

Des Moines Area Regional Transit Authority     Contract for Purchase & Sale (7) 40’ BE
(DESMO) (Iowa)                                 Buses & (7) Charging Stations dated July 30,
                                               2018
                                               Purchase Order PO26182 (1-7) 40’ BE Buses
                                               dated August 3, 2018
                                               Purchase Order PO29754 Chargers 1-5
                                               125kW dated April 10, 2019
                                               Purchase Order PO30161 Chargers 6-7
                                               125kW dated May 7, 2019

Duke University (North Carolina)               Purchase Order No 4550626532 for two (2)
                                               Buses dated August 21, 2018

Eagle County Transit (EAGLE) (Colorado)        Contract No. P2020-01-ECO Transit Purchase
                                               & Sale of Three (3) 40 Foot Battery Electric
                                               Buses and Three (3) Associated Charging
                                               Stations dated April 14, 2020
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First Student Group / Thomas Built Bus         Agreement to Purchase Charger for Electric
(North Carolina)                               Vehicles dated December 20, 2019 (1) 60kW
                                               PCS Charger Location: First Student Inc.
                                               Purchase Order Change (Amends Order No.
                                               1605000896 dated 03/05/2020) dated March
                                               8, 2020


F&P Development, LLC – First Student           Contractor Agreement for Turn-Key
Group/Thomas Built Bus (Virginia)              Installation dated April 23, 2020

                                               Agreement to Purchase Chargers for Electric
                                               Vehicles for (1) PCS 60kW Charger with (4)
                                               dispensers dated April 23, 2020

Google Bus / Prime Electric                    Agreement to Purchase Chargers for Electric
                                               Vehicles (2) Chargers 60wK PCS dated May
                                               20, 2020

Greater Bridgeport Transit Authority (GBT)     Contract for Purchase & Sale of Up to Five
(Connecticut)                                  (5) 40' BE Buses & Up to Five (5) Associated
                                               Charging Stations dated October 18, 2019
                                               Purchase Order G475 - Training dated
                                               February 28, 2020

Hampton Roads Transit (HRT) (Virginia)         Contract for six (6) 40' 440kWh E2 Catalyst
                                               Buses dated September 24, 2019

Highland Electric Transportation               Agreement to Purchase Charger for Electric
                                               Vehicles dated December 19, 2019 (1) 60kW
                                               PCS Location: Beverly Middle School

John Wayne Airport, Orange County              Contract No. MA-280-20011580 (3) 35'
(California)                                   Catalyst E2, (3) In-Depot Chargers 12kW
                                               SEA J1772 CCS Type 1 dated May 14, 2020

City and Borough of Juneau (Alaska)            Contract No. 20-185 for Purchase and Sale of
                                               (1) 40" Battery Electric Buses dated February
                                               24, 2020
                                               Purchase Order 112512 -40' Catalyst, Options,
                                               Battery Warranty, Diagnostic Software, Spare
                                               Parts and Tools dated February 27, 2020
                                               Purchase Order 112673 - Electric Bus
                                               Charger & Startup & Commissioning dated
                                               February 27, 2020
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Kerlin Bus Sales & Leasing Inc.                 Agreement to Purchase and Distribute
                                                Chargers for Electric Vehicles dated June 22,
                                                2020

City of Madison (Metro Transit) (MTMAD)         Contract for Purchase of Services - (3) 40'
(Wisconsin)                                     Catalyst E2 - (3) 125kW Chargers dated
                                                October 23, 2019

                                                Amendment No 1 to Original Contract,
                                                Madison Auxiliary Heating System Letter
                                                03/27/2020, Aux Heat Hose Warranty dated
                                                April 28, 2020

City of Modesto (California)                    Contract No. 2018-03 - Purchase and Sale of
                                                Five (5) 40 Foot Battery Electric Buses and
                                                Eight (8) Associated Charging Stations dated
                                                September 4, 2018

Miami-Dade County - DOT (Florida)               Battery-Electric Transit Buses & Charging
                                                System dated October 18, 2019

Port Arthur Transit (PAT) (Texas)               Contract No. P2018-07-Port Arthur to
                                                Purchase and Sale of (6) 35' BE Buses - (3)
                                                Charging Stations dated December 23, 2019

City of Rock Hill (South Carolina)              Purchase Orders PO# DP 22837 - Transit
                                                Management Software dated March 11, 2019
                                                Purchase Orders PO# DP 22838 – Charging
                                                Infrastructure dated March 11, 2019
                                                Purchase Orders PO# DP 22839 - (7) E2
                                                Buses dated March 11, 2019

Roseville Community Schools                     Agreement to Purchase Chargers for Electric
                                                Vehicles dated July 8, 2020

Sacramento Airport (SAC) (California)           Purchase Order No PA81245143 for Electric
                                                Shuttle Buses, Plug-In Chargers, and
                                                Overhead Charger Dated September 14, 2017

Sacramento Regional Transit District            Contract for Purchase of Catalyst E2 Buses
(Sacramento RT) - Electrify America             Through Georgia State Procurement dated
(California)                                    August 16, 2019
                                                First Amendment - Bus Delivery Procedure &
                                                Acceptance dated October 9, 2019
                                                Second Amendment – Exhibit A1 & B1 dated
                                                October 18, 2019
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                                              Third Amendment – Exhibit A2 dated
                                              November 21, 2019
                                              Purchase Order for (9) Electric Shuttle Buses
                                              (10) In-Depot Plug-in Chargers dated January
                                              8, 2020

San Diego Regional Airport Authority          Purchase Order No. 211137, Change Order 2
                                              Four (4) 35' Foot Transit Bus, Four (4) EV
                                              Chargers for Buses dated November 27, 2019

Southern Teton Area Rapid Transit             Contract for Purchase & Sale of (8) 40; BE
(Wyoming)                                     Buses & (9) Charging Stations dated
                                              November 12, 2019

Summit County (Summit Stage)                  Contract P2019-01-Summit County for
                                              Purchase and Sale of (3) 40' BE Buses and (3)
                                              Charging Stations dated November 01, 2019

Tompkins Consolidated Area Transit, Inc.      Contract for (7) E240-foot battery electric
(New York)                                    buses (individually the “Bus” and collectively
                                              the “Buses”), four(4) bus
                                              chargers(individually the “Charger” and
                                              collectively the “Chargers”), training, with
                                              support and part replacement

University of Florida (USF) (Florida)         University of Florida Product Purchase
                                              Agreement for Buses and Chargers dated
                                              March 13, 2020

VIA Boulder Mobility Services                 (1) Purchase Order 125kW Proterra Charger
                                              & Dispenser; (1) 60kW Proterra Charger &
                                              Dispenser dated 11/27/2019

Virginia, The Commonwealth of                 Contract E194-81688 between the
                                              Commonwealth of Virginia and Proterra Inc
                                              dated 07/01/2019

City of Wilsonville                           City of Wilsonville Goods and Services
                                              Contract for Proterra Catalyst Battery Electric
                                              Buses and Depot Charging Stations Dated
                                              November 19, 2018

                                              City of Wilsonville First Amendment to
                                              Goods and Services Contract dated February
                                              28, 2019
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 Yosemite National Park                         General Services Administration Contract No
                                                GS-30F-026BA- Federal Supply Service for
                                                Buses and Chargers dated December 4, 2018

                                                Amendment of Solicitation/Modification of
                                                Contract #001 dated May 16, 2018

                                                Amendment of Solicitation/Modification of
                                                Contract PS-A636 dated May 29, 2018

 Zion National Park (NPS)                       Order for Supplies or Services Order No.
                                                140P1318F0095 for two (2) 35-Foot Electric
                                                Buses dated September 12, 2018

                                                Amendment of Solicitation/Modification of
                                                Contract No PS-A636 dated April 18, 2014

                                                Amendment of Solicitation/Modification of
                                                Contract No P00001 dated May 12, 2018

                                                Amendment of Solicitation/Modification of
                                                Contract P00002 dated June 28, 2017


(b)

Economic Incentive Agreements:

              California Energy Commission Grant Agreement, Grant Award Number ARV-
              18-026 for Project: Scaling Zero-Emission Vehicle Manufacturing in California
              Project dated June 12, 2019 to May 30, 2022.

(d)

Rolling stock owned by the Company for its own business use, excluding rolling stock built for
sale:

                                                                            Registration
 Description                                   Serial Number                   State
 Engineering Bus                               1M9TH16J2JS816318                SC
 Engineering Bus                               1M9TH16J2GS816098                SC
 Engineering Bus                               1M9TH16J7HS816146                SC
 Engineering Bus                               1M9TH16J2GS816103                SC
 Engineering Bus                               7JZTH13J3LS000262                SC
 Engineering Bus                               7JZTH13J8KS000191                SC
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Demo Bus                                   1M9TG16J4HS816142            SC
Demo Bus                                   1M9TH16J0GS816102            SC
Demo Bus                                   1M9TH16J2JS816240            SC
Demo Bus                                   1M9TH16J9ES816063            SC
Demo Bus                                   1M9TH16J1GS816092            SC
Demo Bus                                   7JZTH12J5KS000098            SC
Demo Bus                                   7JZTH12J3KS000097            SC
Demo Bus                                   1M9TH16J1HL816135            SC
Demo Bus                                   1M9TH16J5JS816233            SC
Demo Bus                                   1M9TH16J1JS816231            SC
Demo Bus                                   1M9TH16J6JL816283            SC
Demo Bus                                   1M9TG16J5JS816347            SC
Demo Bus                                   1M9TH16JXHS816144            SC
Demo Team Chevy Silverado 3500HD           1GB3CZCL4CF165635            SC
Demo Team Chevy Silverado 3500HD           1GCJK33174F152333            SC
Demo Team International ProStar Semi-
Truck                                      3HSDJAPR8GN290358            SC
Demo Team TE80DG Bus Trailer               1DADLD039DM021065            SC
Demo Team TE80DG Bus Trailer               1DADLD032JM022344            SC
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                                               EXHIBIT F


                              [FORM] COMPLIANCE CERTIFICATE

                                                                 Financial Statement Date: [_____,_____]

TO:       CSI GP I LLC, as Collateral Agent (as defined below) and the Investors party to the Note
          Purchase Agreement (as defined below) as of the date hereof

RE:       Note Purchase Agreement dated as of [●], 2020 (as amended, restated, amended and restated,
          supplemented, or otherwise modified from time to time, the “Note Purchase Agreement”), by and
          among PROTERRA INC, a Delaware corporation (the “Company”), the Subsidiaries of the
          Company identified on the signature pages thereto or otherwise joined from time to time thereto
          as a guarantor (such Subsidiaries are referred to hereinafter each individually as a “Guarantor”
          and collectively as the “Guarantors”), the parties party to thereto from time to time as Investors,
          and CSI GP I LLC (“CSI”), as collateral agent (the “Collateral Agent”).

DATE:     [●], 2020


        The undersigned hereby certifies (solely in a capacity as an officer of the Company and not in any
individual or personal capacity) as of the date hereof that [he/she] is the chief financial officer of the
Company and that, as such, [he/she] is authorized to execute and deliver this Compliance Certificate to the
Collateral Agent and the Investors, and that:

                 [Use following paragraphs 1-4 for fiscal year-end financial statements]

         1.      Each Obligor has delivered the year-end audited consolidated and consolidating financial
statements required by Section 7.1(a)(i) of the Note Purchase Agreement for the fiscal year of the Obligors
ended as of the above date, 1 which consolidated statements are audited and certified (without qualification
(or similar notation) as to scope or going concern (it being understood that any qualification with respect
to the stated maturity date of the Notes or the Senior Bank Debt is permissible)) by a firm of independent
certified public accountants of recognized standing selected by Obligors, and shall set forth in comparative
form corresponding figures for the preceding fiscal year and other information acceptable to the Collateral
Agent.

        2.      Concurrently with the delivery of financial statements in paragraph 1(a) above, each
Obligor has delivered to the Investors copies of all management letters and other material reports submitted
to Obligors by their accountants in connection with such financial statements, as required by
Section 7.1(a)(iv) of the Note Purchase Agreement.

         3.       Each Obligor has delivered to the Investors projections of Obligors’ consolidated balance
sheets, results of operations and cash flow for the next fiscal year, on a month by month basis, and for the
next three fiscal years, year by year, as required by Section 7.1(a)(vi) of the Note Purchase Agreement. 2
As required by Section 4.11 of the Note Purchase Agreement, all projections have been prepared in good
faith, based on reasonable assumptions in light of the circumstances at such time.


1 NTD:   Fiscal year end statements are required to be delivered within 120 days after the close of each
fiscal year thereafter
2 NTD: Projections are to be delivered no later than 45 days after the end of each fiscal year.
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         4.       Each Obligor has, during the fiscal year to which this Compliance Certificate relates,
delivered to the Investors quarterly certificates of a Senior Officer listing (A) all applications filed or
acquired by the Company for copyrights, patents or trademarks since the date of the prior certificate (or, in
the case of the first such certificate, since the date of the Note Purchase Agreement), (B) all acquired
registrations or issuances of registrations or letters on existing applications by the Company for copyrights,
patents and trademarks received since the date of the prior certificate (or, in the case of the first such
certificate, since the date of the Note Purchase Agreement), and (C) all trademark licenses, copyright
licenses and patent licenses entered into by the Company since the date of the prior certificate (or, in the
case of the first such certificate, since the date of the Note Purchase Agreement), as required by
Section 7.1(a)(v) of the Note Purchase Agreement.

        5.       Each Obligor has delivered to the Investors copies of any proxy statements, financial
statements or reports that any Obligor has made generally available to its shareholder; copies of any regular,
periodic and special reports or registration statements or prospectuses that any Obligor filed with the
Securities and Exchange Commission or any other Governmental Authority, or any securities exchange;
and copies of any press releases or other statements made available by an Obligor to the public concerning
material changes to or developments in the business of such Obligor, as required by Section 7.1(a)(vii) of
the Note Purchase Agreement.

       6.      Each Obligor has delivered to the Investors copies of all annual reports to be filed in
connection with each Plan or Foreign Plan, as required by Section 7.1(a)(viii) of the Note Purchase
Agreement.

              [Use following paragraph 1 for month-end financial statements delivered with
                                   respect to the applicable month]

         1.      Each Obligor has delivered the unaudited balance sheets required by Section 7.1(a)(ii) of
the Note Purchase Agreement for the calendar month of the Obligors and Subsidiaries as of the end of such
calendar month and the related statements of income and cash flow for such calendar month and for the
portion of the fiscal year then elapsed, on a consolidated bases for Obligors and its Subsidiaries, setting
forth in comparative form corresponding figures for the preceding fiscal year and which are hereby certified
by a the chief financial officer or other Senior Officer of the Company as prepared in accordance with
GAAP and fairly presenting the financial position and results of operation for such month and period,
subject to normal year-end adjustments and the absence of footnotes. 3

                                                [select one:]

         [7.][2.] [no Event of Default has occurred and is continuing.]

                                                   —or—

         [8.][3.] [the following is a list of each Event of Default which has occurred and is continuing, and
its nature and status:]

         [9.][4.] The financial statements referenced in paragraph 1 hereof were prepared in accordance
with GAAP and fairly present in all material respects the financial positions and results of operations of
Obligors and Subsidiaries at the dates and for the periods indicated and, for unaudited financial statements,
subject to normal year-end adjustments and the absence of footnotes. The financial statements referenced
in paragraph 1 do not contain any untrue statement of a material fact, nor fail to disclose any material fact

3 NTD:   Month end statements are required to be delivered within 30 days after the end of each month.
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necessary to make such statement not materially misleading. The Obligors and their Subsidiaries are
Solvent on a consolidated basis.

        [10.][5.] The financial covenant analyses and information set forth on Schedule A attached hereto
are, based on the financial statements referenced in paragraph 1 hereof, true and accurate in all material
respects on and as of the date of this Compliance Certificate.

        Delivery of an executed counterpart of a signature page of this Compliance Certificate by fax
transmission or other electronic mail transmission (e.g. “pdf” or “tif”) shall be effective as delivery of a
manually executed counterpart of this Compliance Certificate.


                                                 PROTERRA INC, a Delaware corporation


                                                 By:
                                                 Name:
                                                 Title:
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                                               Schedule A

                      Financial Statement Date: [_____, _____] (“Statement Date”)

        Section 7.1(k) – Minimum Liquidity 4

         As of the Statement Date, the product of multiplying the amount of “Cash Burn” from operations
for the three (3) month period ending on the last day of the month ending on the Statement Date by four (4)
is $[●] (the “Cash Burn Threshold”).

        Liquidity for the month ending on the Statement Date is $[●], and [is][is not] not less than the
greater of (i) seventy-five million Dollars ($75,000,000) and (ii) the Cash Burn Threshold.

        The financial covenant in Section 7.1k therefor [has]/[has not] been complied with.

       Further details as to the calculation of the Cash Burn Threshold and Liquidity are set out in
Schedule A-1 hereto.




4 NTD: The Company and its Subsidiaries must maintain Liquidity as of the last day of each month of not

less than the greater of (i) seventy-five million Dollars ($75,000,000) and (ii) an amount equal to the
product of multiplying the amount of “Cash Burn” from operations for the three (3) month period ending
on the end of such month by four.
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                                               Schedule A-1



     A. Liquidity
     1. Unrestricted cash and Cash Equivalents held by the Company and its          $____
        Subsidiaries in an account that is subject to the Collateral Agent’s
        perfected security interest; plus
     2. Availability (as defined in the Senior Loan Agreement as in effect on the   $____
        date of the Note Purchase Agreement).
     3. Liquidity is equal to the aggregate of A1 and A2                            $____
     B. Cash Burn for the month ended [•] 5
     1. Unrestricted cash and Cash Equivalents of the Company and its               $____
        Subsidiaries on the last day of the immediately preceding month,
        excluding in the determination thereof any increase in such Unrestricted
        cash and Cash Equivalents resulting from the incurrence of any Debt or
        other borrowings of Borrowed Money and proceeds from the sale or other
        issuance of any Equity Interests; minus

     2. Unrestricted cash and Cash Equivalents of the Company and its               $(____)
        Subsidiaries on the Statement Date, excluding in the determination
        thereof any increase in such Unrestricted cash and Cash Equivalents
        resulting from the incurrence of any Debt or other borrowings of
        Borrowed Money and proceeds from the sale or other issuance of any
        Equity Interests.
     C. Cash Burn for the month ended [•] 6
     3. Unrestricted cash and Cash Equivalents of the Company and its               $____
        Subsidiaries on the last day of the immediately preceding month,
        excluding in the determination thereof any increase in such Unrestricted
        cash and Cash Equivalents resulting from the incurrence of any Debt or
        other borrowings of Borrowed Money and proceeds from the sale or other
        issuance of any Equity Interests; minus
     4. Unrestricted cash and Cash Equivalents of the Company and its               $(____)
        Subsidiaries on the Statement Date, excluding in the determination
        thereof any increase in such Unrestricted cash and Cash Equivalents
        resulting from the incurrence of any Debt or other borrowings of
        Borrowed Money and proceeds from the sale or other issuance of any
        Equity Interests.
     D. Cash Burn for the month ended [•] 7
     5. Unrestricted cash and Cash Equivalents of the Company and its               $____
        Subsidiaries on the last day of the immediately preceding month,
        excluding in the determination thereof any increase in such Unrestricted
        cash and Cash Equivalents resulting from the incurrence of any Debt or
        other borrowings of Borrowed Money and proceeds from the sale or other
        issuance of any Equity Interests; minus
     6. Unrestricted cash and Cash Equivalents of the Company and its               $(____)
        Subsidiaries on the Statement Date, excluding in the determination
5 Cash burn for the first month of the relevant quarter.
6 Cash burn for the second month of the relevant quarter.
7 Cash burn for the third month of the relevant quarter.
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   thereof any increase in such Unrestricted cash and Cash Equivalents
   resulting from the incurrence of any Debt or other borrowings of
   Borrowed Money and proceeds from the sale or other issuance of any
   Equity Interests.
E. Cash Burn Threshold
7. Cash Burn Threshold is equal to the aggregate of B, C and D multiplied   $____
   by four (4):
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                                         SCHEDULE C
                                   SCHEDULE OF COMPETITORS


    1. New Flyer and its Affiliates*
    2. Volvo Group and its Affiliates
    3. BYD Auto Co., Ltd. and its Affiliates
    4. Paccar, Inc. and its Affiliates
    5. Navistar International Corporation and its Affiliates
    6. Cummins, Inc. and its Affiliates
    7. Bluebird and its Affiliates
    8. MarcoPolo and its Affiliates
    9. Temsa and its Affiliates
    10. Van Hool and its Affiliates
    11. Akasol and its Affiliates
    12. CATL and its Affiliates
    13. XALT Energy and its Affiliates
    14. Northvolt and its Affiliates
    15. Panasonic and its Affiliates
    16. Samsung and its Affiliates
    17. LG Chem and its Affiliates
* as the term is defined in Section 3 of this Agreement, but excluding any Affiliate of such Person that
holds an equity interest in, or otherwise invests in, such Person but does not itself directly and materially
compete with the Company’s business.
**as the term is defined in Section 3 of the Agreement.
